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12                              UNITED STATES DISTRICT COURT

13                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

14

15 Kimberly Carleste Newman, Lisa Cabrera,         Case No.
   Catherine Jones, and Denotra Nicole Lewis,
16                                                 CLASS ACTION COMPLAINT FOR
                 Plaintiffs,                       DECLARATORY JUDGMENT,
17                                                 RESTITUTION AND DAMAGES
          vs.
18
   Google LLC, YouTube LLC, Alphabet Inc,
19 and DOES 1 through 100, inclusive,
                                                   Trial Date: None Set
20                Defendants.

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 1               Plaintiffs, Kimberly Carleste Newman, Lisa Cabrera, Catherine Jones, and Denotra Nicole

 2 Lewis, bring this lawsuit (the “Lawsuit”), individually and on behalf of a putative class of similarly

 3 situated persons, against Defendant YouTube LLC (“YouTube”), and its parent companies,

 4 Google LLC (“Google”) and Alphabet Inc. (collectively referred to as “Google/YouTube” or

 5 “Defendants,” unless otherwise specified).

 6               Substantial overlaps exists between the claims, allegations, putative classes and issues in

 7 this Lawsuit with case pending before this Court captioned Divino Group, LLC et al., v. Google,

 8 LLC, et al, Case No. 5:19-cv-004749 – VKD (N.D. Cal.) (“Divino”). After reviewing Civil L.R. 3-

 9 12 governing related cases, it is unclear whether this Lawsuit technically meets the specific criteria

10 and elements required for relation under Local Rule 3-12. Specifically, this Lawsuit does not

11 involve all of “the same parties,” or the identical “property” owned by the same parties in Divino. It

12 is also unclear whether the “transactions” are the same within the meaning of Local Rule 3-12 or

13 whether the “events” consist of the identical unlawful conduct of restricting of access to the

14 YouTube platform based on the profiling and discriminatory use of a person’s personal identity or

15 viewpoint in Divino that may be different from the racial identity profiling and discrimination

16 against Plaintiffs and the members of the Class in this Lawsuit. Consequently, while Plaintiffs do

17 not believe that all of the requirements for designating the Lawsuit “related” come within the

18 definition of Local Rule 3-12, Plaintiffs are not opposed to having this Lawsuit related to, or
19 otherwise coordinated with, the pending proceedings in Divino.

20 I.            INTRODUCTION AND PREFATORY STATEMENT OF THE CASE
21               1.     Plaintiffs are African American content creators, viewers, and consumers who bring

22 this Lawsuit to redress overt, intentional, and systematic racial discrimination perpetrated by

23 Google/YouTube to deny them and other members of a protected racial classification under the law

24 equal access to YouTube, the most “ubiquitous” provider of public video content and internet

25 access services in the history of the world.

26               2.     Defendants are members of the largest business enterprise, private or public, in the

27 world. Through this enterprise, Defendants exercise complete, absolute, and “unfettered” control

28 over access to approximately 95% of all video content that is available to the public. This includes

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 1 absolute control over any and all posting, viewing, engagement, advertising, personal data, and

 2 revenue monetization rights of the 2.3 billion consumers who access and use YouTube.

 3               3.   Defendants are also the largest creators, promoters, and sponsors of video content on

 4 YouTube. Thus, in addition to hosting and regulating video content and services on YouTube,

 5 Defendants compete directly with Plaintiffs and their content for the same access, audiences,

 6 viewership, advertising, marketing, and revenue based services on YouTube.

 7               4.   In exercising these unprecedented powers, Defendants contract with Plaintiffs and

 8 all persons similarly situated to provide equal access to YouTube and all of its related services,

 9 subject only to viewpoint neutral content rules and criteria that apply equally to all.

10               5.   In reality, however, Defendants’ access restrictions and denials imposed on

11 Plaintiffs and all persons similarly situated are not the result of an identity and viewpoint blind

12 review and application of the rules to actual video material. Instead, Defendants have an

13 irreconcilable commercial conflict of interest: on the one hand, Defendants act as content creators

14 or sponsors of video content, competing directly with Plaintiffs and all persons similarly situated

15 for the same services, audiences, advertisers, and revenue streams on the YouTube platform; on the

16 other hand, Defendants act as absolute regulators and monetizers of all YouTube content and

17 services, and exercise unfettered authority to determine viewer and service access by enforcing

18 their Community Guidelines and Terms of Service (the “TOS”) against their competitors, based on
19 the identity or viewpoint of Plaintiffs and all other persons similarly situated.

20               6.   Under the pretext of honest content and service regulation, Defendants rig the game,

21 by using their power to restrict and block Plaintiffs and other similarly situated competitors, based

22 on racial identity or viewpoint discrimination for profit. Defendants also abuse their power by not

23 subjecting their own videos to the same Community Guidelines and TOS that they apply to all

24 other YouTube users. As a result, Defendants are not subject to filtering or blocking restrictions,

25 even where Defendants’ videos contain material that violates their own rules.

26               7.   Among the many abuses that Defendants have perpetrated against Plaintiffs and all

27 other persons similarly situated, are Defendants’ practices of allowing racist hate speech to go

28 unregulated on Plaintiffs’ channels, resulting in lost subscribers and viewership, and the

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 1 surreptitious “bugging” of Plaintiffs’ videos by the insertion, attachment, appending, or embedding

 2 of metadata and other signals that allow Defendants’ filtering tools to target Plaintiffs and all other

 3 persons similarly situated, based on race, identity and/or the viewpoint of the creator, her channel

 4 subscribers, and viewers.

 5               8.    This intentional and systematic racial discrimination violates Defendants’ legal

 6 obligations under the contract(s), and is unlawful under federal and state antidiscrimination laws,

 7 false advertising, unlawful business practices, and free speech laws. It is unlawful whether it is

 8 done for profit, or out of ideological animus.

 9               9.    Interfering with the contractual and legal rights of Plaintiffs and all persons similarly

10 situated to access and use YouTube based in any way, part, or degree on their race, identity or

11 viewpoint, violates YouTube’s TOS and is unlawful under the strict prohibitions against racial

12 discrimination in contract and business practices enshrined in federal and California law. That is

13 racism, overt intentional and systematic.

14               10.   Defendants knowingly, intentionally, and systematically employ artificial

15 intelligence (“A.I.”), algorithms, computer and machine based filtering and review tools to “target”

16 Plaintiffs and all other persons similarly situated, by using information about their racial, identity

17 and viewpoint to restrict access and drive them off YouTube.

18               11.   Under the pretext of finding that videos violate some vague, ambiguous, and non-
19 specific video content rule, Defendants use computer driven racial, identity and viewpoint profiling

20 and filtering tools to restrict, censor, and denigrate Plaintiffs and all persons similarly situated on

21 YouTube, wholly or in part, because they are African American, black, members of a protected

22 racial classification under the law, or identify as such, or with a related viewpoint.

23               12.   Since at least 2017, Defendants’ filtering and review tools and procedures are

24 embedded with computer code or other machine based “triggers” that profile the personal racial

25 identity or viewpoint of the user. Defendants admit that their filtering tools use information about

26 the identity of the YouTube creators, subscribers and viewers to “target” members of protected

27 racial classifications under the law and impose access restrictions on them that are not racially,

28 identity or viewpoint neutral; nor are they based on, or supported by actual material in the videos;

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 1 and Defendants treat such videos as if they violate YouTube’s content based Community

 2 Guidelines and TOS, by denying full YouTube platform access and related services.

 3               13.   On March 19, 2017, Defendants publicly admitted that they improperly censored

 4 videos using their “Restricted Mode” filtering that were posted or produced by members of the

 5 LGBTQ+ Community, based upon the identity and orientation of the speaker, rather than upon the

 6 content of the video. Defendants also promised to remove all restricted filtering on videos posted

 7 or produced by LGBTQ+ members and groups, and changed their filtering algorithm, and manual

 8 review policies and practices to address the risk that videos posted by LGBTQ+ vloggers were

 9 being censored because of the identity or viewpoint of the speaker.

10               14.   On April 27, 2017, Johanna Wright, Vice President of Product Management for

11 Google/YouTube, took to the airwaves and news media to promise the global “YouTube

12 Community,” that Defendants would ensure that “Restricted Mode” would not “filter out content

13 belonging to individuals or groups based on certain attributes like gender, gender identity, political

14 viewpoints, race, religion or sexual orientation.” While Ms. Wright conceded that “Restricted

15 Mode will never be perfect, [Google/YouTube] hope to build on [their] progress so far to continue

16 making [their] systems more accurate and the overall “Restricted Mode” experience better over

17 time.”

18               15.   On September 14, 2017, Defendants invited independent YouTubers and content
19 creators to address concerns that the platform’s video review algorithm and practices discriminated

20 against certain minority groups, including LGBTQ+, African American, and other users of color or

21 vulnerable minorities. At the meeting, Defendants admitted that their content filtering and review

22 tools were “targeting” African American, LGBTQ+, and other “minority” users. They further

23 admitted that this resulted in the application of erroneous or unwarranted blocking restrictions and

24 access denials for users that were based, at least in part, on the user’s racial or sexual identity or

25 viewpoints, rather than a content violation of YouTube’s rules or Terms of Service.

26               16.   Defendants also represented that they were working on a “fix,” and that neither user

27 identity nor viewpoint has any role in the application of YouTube’s content based access rules and

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 1 restrictions or should otherwise interfere with a user’s right to access the myriad of services that

 2 Defendants offer to users.1

 3               17.   But things have only gotten worse with respect to Defendants’ racial profiling and

 4 “targeting” of African American and members of other protected racial classifications under the

 5 law who use YouTube.

 6               18.   In January 2018, Defendants got caught red handed. During a recorded call between

 7 a user and a supervisor, who Defendants now identify as the “Floor Manager” for their customer

 8 service advertising services center in Bangalore, India, Defendants represented to the user that its

 9 “holiday special” video was not eligible for advertising services because the filtering tools had

10 identified the user as being involved with the “gay thing.” Under what the manager expressly

11 stated was “company policy,” the filtering algorithm determined that the video contained

12 “shocking” or “sexually explicit” content, not because of any actual material in the video, but

13 because the “company” considered video content created by a “gay” user or content that discussed

14 the “gay thing” as ineligible for advertising or promotion. Defendants considered content created

15 or viewed by “gay” persons to be “shocking” or “sexually explicit.”

16               19.   This pattern and practice or “policy” of denying users equal access to YouTube

17 based on their racial, sexual, or other individual identities or viewpoints occurred to the same user

18 after the January 2018 call with Defendants, on at least five other occasions. The pattern and
19 practice has become so pervasive that many prominent and quality content creators have lost more

20 than 90% of their viewers, advertisers, revenue, and other access rights in the last 24 months solely

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     One of the persons who attended the meeting is Stephanie Frosch, a prominent and popular
23 LGBTQ+ content creator on YouTube. Ms. Frosch is a named plaintiff in another class action
   lawsuit pending in this District, captioned Divino Group, et al. v. Google LLC, et al., Case No.
24 5:19-cv-004749-VKD (N.D. Cal.). In that case, Ms. Frosch testified under oath the she and the
   other attendees were required to execute multiple non-disclosure agreements (the “NDAs”) before
25 and at the event. The NDAs prevented her, and any anyone else who attended the meeting, from
   disclosing any information about the meeting. On March 23, 2020, after Plaintiffs threatened to
26 move to set aside the NDAs as void and unenforceable, Defendants agreed to release her from her
   obligations under the NDAs. See Declaration of Stephanie Frosch Submitted in Support of
27 Plaintiffs’ Application to File a Sur Reply to Address New Authority. A true and correct copy of
   the Declaration of Stephanie Frosch (Dkt. #40) is attached as Exhibit A.
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 1 because they are identified as African American, LGBTQ+ or other protected racial classifications

 2 under the law.

 3               20.   The Plaintiffs in this Lawsuit also face the same sort of overt, intentional, and

 4 systemic identity and viewpoint discrimination, with one important difference: Defendants do not

 5 discriminate against Plaintiffs only because of sex based identity or viewpoint profiling, but

 6 primarily because they identify as African American, or with other protected racial classifications

 7 under the law.

 8               21.   This is unlawful race discrimination. Unlike any other form of prohibited

 9 discrimination, it has been outlawed in the United States since 1865, when Congress enacted

10 section 1981 and other civil rights laws intended to wipe out, prohibit, and make any and all racial

11 discrimination in contracts and business practices unlawful.

12               22.   Defendants know and admit that they discriminate, including admissions that since

13 at least 2017, they use content based filtering and access review tools, systems, and practices that

14 “target” African Americans and other members of protected racial classifications under the law.

15               23.   Nonetheless, Defendants have failed to “fix” the discriminatory defects in their

16 content and access review systems and stop the “targeting” as promised. Defendants continue to

17 knowingly, intentionally, and systematically block, demonetize, and deny Plaintiffs and other

18 persons similarly situated, their contractual and other legal rights to access YouTube based on the
19 color of their skin or other protected racial traits, rather than the material in their videos.

20               24.   Defendants also abuse their dual roles as content reviewers and content creators on

21 YouTube. Specifically, under the pretext of unfettered “discretion” to serve as sole “censors” of

22 content on the YouTube platform, Defendants use racial profiling to restrict the reach and access of

23 Plaintiffs and other third party users who compete directly with Defendants and their sponsored

24 video content for click per minute (“CPM”), advertising, and other revenue stream and services on

25 YouTube.

26               25.   Instead of “fixing” the digital racism that pervades the filtering, restricting, and

27 blocking of user content and access on YouTube, Defendants have decided to double down and

28 continue their racist and identity based practices because they are profitable. By utilizing their

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 1 unilateral control over 95% of the world’s public video content, Defendants unlawfully

 2 misappropriate viewers, CPM, advertising, and other revenues that belong to, or would otherwise

 3 be available to, Plaintiffs and other third party users, but for the discriminatory restrictions that

 4 unlawfully restrict and block Plaintiffs’ content and access to YouTube services.

 5               26.   This is race discrimination. It is knowing and intentional. Defendants knowingly

 6 used and continue to use discriminatory content filtering review tools and procedures that “target”

 7 Plaintiffs and other persons similarly situated, for access restrictions because they are African

 8 American, persons of color, or are identified by Defendants as having an ethnicity or other personal

 9 immutable traits and/or viewpoints, not because the actual video content or material violates

10 YouTube’s purportedly neutral content rules.

11               27.   Defendants’ racist profiling and practices are also systematic. By using A.I.,

12 algorithms and other computerized machine based filtering tools (in lieu of having humans perform

13 the “ubiquitous” task of reviewing and deciding whether the material or content in billions of hours

14 of videos uploaded daily to YouTube) to sanction Plaintiffs, Defendants engage in a knowing and

15 intentional practice that unlawfully discriminates against users based on race or other protected

16 racial classifications under the law, or viewpoints.

17               28.   Defendants’ conduct is knowing, intentional, and systematic, regardless of whether

18 Defendants are motivated by ideological animus towards black and members of other protected
19 racial classifications under the law, or they merely use racial and identity profiling to restrict access

20 for profit, and/or to save costs, resources, labor, and time necessary to lawfully review actual video

21 content and determine, in a viewpoint neutral manner, whether a rule violation has occurred that

22 triggers a content based access restriction or sanction on YouTube. In short, Defendants’ use of

23 racism for profit is every bit unlawful as ideological racism, since, in either case, it discriminates

24 against Plaintiffs because they are African Americans or members of other protected racial

25 classifications under the law.

26               29.   Defendants do not disagree. Susan Wojcicki, YouTube’s CEO, has taken to the

27 airwaves over the last three years to repeatedly and unequivocally deny that Defendants

28 discriminate against anyone when it comes to content or access restrictions to YouTube, while

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 1 insisting that all decisions, wrong or right, are the product of good faith, viewpoint neutral, and

 2 identity blind content reviews and decisions.

 3               30.   On or about June 14, 2020, Wojcicki publicly announced that in conjunction with

 4 Alphabet, Defendant YouTube was starting a $100 million fund "dedicated to amplifying and

 5 developing the voices of Black creators and artists and their stories." In a blog post Thursday,

 6 Wojcicki said, "At YouTube, we believe Black lives matter and we all need to do more to

 7 dismantle systemic racism.” See https://www.marketwatch.com/story/youtube-is-starting-a-100-

 8 million-fund-for-black-creators-artists-2020-06-11.

 9               31.   Given Defendants’ stated concerns regarding systemic racism, Defendants have

10 some serious explaining to do when it comes to the Plaintiffs and the other persons similarly

11 situated using YouTube. Plaintiffs would prefer that Defendants spend their money to stop the

12 racist practices that pervade the YouTube platform, including:

13                     a.     Abusing Artificial Intelligence Programs, Algorithms and Other
14 Filtering Tools to digitally profile, redline, and target Plaintiffs and all persons similarly situated

15 on the YouTube platform, for access restrictions, blocking, demonetization, suspensions and

16 removals from the platform based on the racial identity or viewpoint of the video creator, her

17 subscribers, and/or the viewers of her videos by inserting or appending to individual videos race,

18 identity or viewpoint based metadata, thereby forcing Plaintiffs to self-censor and refrain from
19 posting videos regarding issues and current events which are important to the African American

20 community, such as requiring Plaintiffs to avoid or hide references to abbreviations like “BLM,”

21 “KKK;” terms such as “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial

22 Profiling,” “Police Shootings,” “Police Brutality,” “Black Lives Matter;” names of individuals such

23 as those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan;” names of organizations such

24 as “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are

25 known and particular to the African American community, despite the fact that the videos involved

26 do not contain any hate speech, profanity, or nudity, and at most, contain very short references or

27 quotations from recognized news sources, which are properly attributed.

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 1                  b.     Preventing Full Revenue Generation for videos of Plaintiffs and all
 2 persons similarly situated who are not afforded full monetization, Channel Membership and

 3 Livestream donations for videos that are otherwise eligible under Defendants’ rules, but have been

 4 demonetized or limited in monetization because of Defendants’ addition of metadata and use of

 5 algorithms and filtering tools that profile creators, subscribers and viewers based on their race or

 6 viewpoint, rather than on the actual content of the video.

 7                  c.     Misapplying “Restricted Mode” to the videos of Plaintiffs and all persons
 8 similarly situated, which address or discuss issues of importance to their communities, merely

 9 because the videos have titles or tags which include “abbreviations like “BLM,” “KKK;” terms

10 such as “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

11 Shootings,” “Police Brutality,” “Black Lives Matter;” names of individuals such as those killed by

12 law enforcement, “Bill Cosby,” “Louis Farrakhan;” names of organizations such as “Ku Klux

13 Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are known and

14 particular to the African American community, despite the fact that the videos do not contain

15 materials which discuss drug use or the abuse or drinking of alcohol; overly detailed conversations

16 about or depictions of sexual activity; graphic depictions of violence, violent acts; natural disasters

17 or tragedies or violence in the news; specific details about events related to terrorism, war, crime

18 and political conflicts that resulted in death or serious injury, even if no graphic imagery is shown;
19 inappropriate language, including profanity, or content that is gratuitously incendiary,

20 inflammatory, or demeaning toward an individual or group.

21                  d.     Shadow Banning Entire Channels And Individual Videos of Plaintiffs
22 and all persons similarly situated on the YouTube platform based on the race, identity or viewpoint

23 of the video creator, her subscribers, and/or the viewers of her videos, so that the channel and/or

24 individual videos do not appear in searches using the YouTube search application, and viewers

25 cannot locate new videos which discuss issues and current events that are important to the

26 communities of African Americans and members of other protected racial classifications under the

27 law.

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 1                 e.      Deputizing Other YouTube Users To Flag Channels And Videos on the
 2 YouTube platform in order to restrict, block, and/or censor the videos of Plaintiffs and all persons

 3 similarly situated, and then, in acting on false or unconfirmed complaints of purported rule

 4 violations, Defendants remove, restrict, and/or demonetize, individual videos and/or suspend the

 5 channels without first verifying that the flagged video contains material that violates a specific

 6 Community Guideline or Term of Service.

 7                 f.      Interfering With Livestream Broadcasts of Plaintiffs and all persons
 8 similarly situated by inserting new voice content and/or visual images into the video stream,

 9 unrelated to the Livestream topic; throttling, interrupting or cutting off the Livestream broadcast

10 while in progress; deleting positive viewer comments; and promoting, sponsoring, allowing and/or

11 inserting offensive, misogynistic, racist, or obscene comments or engagement in direct violation of

12 YouTube’s Community Guidelines based on the race of the creators, channel subscribers and/or

13 viewers, or their viewpoints.

14                 g.      Excluding From “Trending” And “Up Next” YouTube Video
15 Recommendations the videos of Plaintiffs and all persons similarly situated which, even though

16 they comply with Defendants’ Community Guidelines and TOS, are excluded from Defendants’

17 promotional applications based on the race, identities, and viewpoints of the creators, channel

18 subscribers and/or viewers. Defendants’ practices muffle the voices of Plaintiffs and all persons
19 similarly situated on the YouTube platform and reduce the racial diversity of the opinions and

20 information posted on the platform.

21                 h.      Freezing Analytic Numbers Of Subscribers And Viewers for the channels
22 of Plaintiffs and all persons similarly situated. In suspending the accurate analytic information for

23 the channels of Plaintiffs and all persons similarly situated, Defendants prevent them from

24 qualifying for YouTube Partnership benefits such as monetization, mobile Livestreaming, Channel

25 Membership, and SuperChat; as well as deprive them of the opportunity to grow their channels and

26 generate revenue.

27                 i.      Promoting And Profiting From Hate Speech by allowing racist and
28 misogynist hate speech videos that target Plaintiffs and all persons similarly situated on the

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 1 YouTube platform in direct violation of Defendants’ Community Guidelines and TOS, and

 2 affording such videos monetization, despite the fact that such videos have been flagged by

 3 Plaintiffs and/or their subscribers as violating Defendants’ standards, and despite having received

 4 repeated complaints regarding those videos.

 5                     j.     Interfering With, Obstructing, Delaying And Ignoring Appeals to
 6 prevent Plaintiffs and all persons similarly situated from obtaining a timely manual review of video

 7 content and reversal of Defendants’ erroneous decisions to suspend their channels and to remove,

 8 restrict monetization, or restrict access to videos deprives them of their rights to communicate with

 9 their intended audience and/or to earn revenue, unless and until, Defendants lift the suspension,

10 removal, and/or restriction, if ever.

11               32.   Regardless of what Defendants’ internal motivations are, Defendants are not above

12 the law nor are they too big to “self-regulate” by complying with the law, including the long

13 established prohibition on race discrimination in contract.

14               33.   Until such time as Defendants make good on their promises, representations, and

15 obligations to “fix” this racism and compensate Plaintiffs and other similarly situated victims of

16 Defendants’ unlawful and repugnant discriminatory conduct, Defendants will continue to engage in

17 intentional race discrimination that violates their agreements with Plaintiffs, as well as established

18 federal and state laws that govern the relationship between the parties.
19               34.   Plaintiffs can no longer wait for Defendants to implement the “fix” they promised

20 years ago. Nor should they have to. Whether Defendants’ “motive” for refusing to do so is based

21 on profit, ideology, or “no reason at all,” the knowing use of a person’s, race, skin color or some

22 other immutable personal trait or viewpoint to filter and review access to YouTube, is digital racial

23 profiling, redlining, and discrimination. It is illegal.

24               35.   It is time for Ms. Wojcicki, and the other senior officers of Google YouTube, to put

25 up or shut up. If Defendants truly believe that they are engaged in good faith, viewpoint neutral

26 content regulation on YouTube, then Defendants should produce the computer code and permit an

27 expert review of that code to examine the “triggers” for review and restriction of content.

28 Defendants can then, under oath in deposition and other sworn testimony, and through other

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 1 discovery, explain to Plaintiffs, the Court, and the public why their prior admissions and other

 2 evidence of “targeting” African Americans and members of other protected racial classifications

 3 under the law, are not true.

 4               36.   Until that time, Defendants’ unsupported denials, or recent portrayal of the

 5 discriminatory conduct as “mistakes” or the result of a “he said, she said” misunderstanding

 6 between its employees and officers, is not a lawful reason to deny Plaintiffs their day in court.

 7               37.   Despite a whole lot of “telling,” Defendants have made no attempt to “show” that

 8 their actions do not discriminate based on the race, identity or viewpoint of Plaintiffs or the

 9 hundreds of millions of other users who fall victim to discrimination by Defendants.

10               38.   Defendants’ refusal to do so is mystifying, if not damning. The computer code and

11 information about how Defendants’ A.I., algorithms, and other machine based filtering operate,

12 developed and have changed since Defendants purchased YouTube in 2007. Such evidence will

13 resolve the extent to which Defendants use filtering tools to profile and discriminate against

14 YouTube users based on their race, identity or viewpoints.

15               39.   For whatever reason, Defendants do not deny they are engaged in intentional and

16 systematic racial discrimination on YouTube, but only that they can be held to account under the

17 law. Despite informal and formal legal requests for the computer code and information about how

18 content filtering works on YouTube, Defendants claim that section 230(c) of the Communication
19 Decency Act (47 U.S.C., § 230(c)) (“Section 230(c)”) is both a sword and a shield to hide the

20 computer code and other evidence that will show, once and for all, whether Ms. Wojcicki’s denials

21 of unlawful conduct are in fact true, or are just another in a line of false, misleading, and deceptive

22 statements to the YouTube Community.

23               40.   Defendants’ use of Section 230(c) to immunize them from having to account for

24 intentional discrimination against African Americans and other members of protected racial

25 classifications under the law, based on the users’ race, sex, or other identity or viewpoint, is itself

26 unlawful.

27               41.   Under the First Amendment, the United States Supreme Court in Denver Area

28 Educational Telecommuns. Consortium, Inc. v. Federal Communications Comm’n, 518 U.S. 727,

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 1 766-67 (1996), confirmed the obvious: a congressional law that permits a private party to regulate

 2 speech is unlawful and unconstitutional unless the law (i) is applied in a viewpoint neutral manner,

 3 (ii) is narrowly tailored so as not to create a risk of an erroneous private veto over speech, and (iii)

 4 does not interfere with or otherwise alter or obstruct the parties’ existing legal relationship,

 5 obligations, and rights or the enforcement of those rights and obligations in a court of law.

 6               42.        Defendants’ assertion that Section 230(c) permits them to use a person’s race,

 7 identity or viewpoint to block access to YouTube is unconstitutional because, at least as applied to

 8 this Lawsuit, the law is neither (i) viewpoint neutral, (ii) narrowly tailored to prevent against an

 9 erroneous veto of speech by Defendants under its rules, and/or (iii) interferes with and eviscerates

10 Defendants’ preexisting legal obligations to Plaintiffs under state and federal law, including

11 antidiscrimination, false advertising, consumer protection, and the express and implied promises set

12 forth in Defendants’ operative contract(s) with Plaintiffs.

13               43.        Plaintiffs file this lawsuit, therefore, to hold Defendants to account for their

14 intentional and systemic racist conduct and practices, by asserting claims for legal and equitable

15 relief:

16               (i.) Breach of contract, implied breach of contract covenant, and promissory estoppel;

17               (ii.) Racial discrimination in contract in violation of federal law under 42 U.S.C. § 1981;

18               (iii.) Racial discrimination in violation of the Unruh Civil Rights Act, Cal. Civ. Code § 51,
19               et seq.;

20               (iv.) Unlawful, deceptive, and unfair discriminatory business practices in violation of the

21               Unfair Competition Laws under California Business and Professions Code § 17200, et seq.;

22               (v.) False advertising and commercial disparagement in violation of the Lanham Act, 15

23               U.S.C. § 1125, et seq.;

24               (vi) Discrimination in violation of the Liberty of Speech Clause under Article I, Section 2 of

25               the California Constitution; and

26               (vii) Discrimination in violation of First Amendment of the U.S. Constitution arising from

27               Defendants’ use of Section 230(c) to immunize them from liability for discrimination.

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 1               44.   In addition, Plaintiffs also seek a declaratory judgment that: either (i) the plain

 2 language Section 230(c) does not apply to racial profiling and discriminatory access restrictions

 3 that are based on a person’s race, identity, or viewpoints, rather than the “on line material” that

 4 actually appears on YouTube; or (ii) if Section 230(c) is construed to permit on line racial, identity

 5 or viewpoint based discrimination restrictions against YouTube users, Section 230(c) is

 6 unconstitutional because it violates the First Amendment’s limits on permissive private party

 7 speech regulation.

 8

 9 II.           PARTIES
10               45.   Plaintiff Kimberly Carleste Newman, also known as Kimberly Santana (“Plaintiff

11 Newman”), is an African American woman residing in the State of California who is the creator

12 and owner of “The True Royal Family,” and “True Royal,” two YouTube channels dedicated to

13 developing and posting videos that discuss and present information regarding issues and current

14 events which are important to the African American community. Plaintiff Newman created “The

15 True Royal Family” channel in 2015, followed by “True Royal,” in 2016. Since its creation,

16 Plaintiff Newman’s “The True Royal Family” channel has posted more than 1654 separate videos,

17 only 954 of which are still posted because Defendants removed 700 or more individual videos and

18 have refused to restore them; the “True Royal” channel has posted 209 videos. “The True Royal
19 Family” channel has garnered a total of 4.4 million views since creation, and the “True Royal”

20 channel has garnered 583,000 views since creation. Plaintiff Newman is a YouTube “partner,” and

21 has generated total revenue of $2,672.68 for videos posted on “The True Royal Family,” and

22 $123.96 for videos posted on “True Royal.”

23               46.   Plaintiff Lisa Cabrera (“Plaintiff Cabrera”) is an African American woman residing

24 in the State of New Jersey who is the creator and owner of “Lisa Cabrera” and “Lisa C,” two

25 YouTube channels dedicated to developing and posting videos that discuss and present information

26 regarding issues and current events which are important to the African American community.

27 Plaintiff Cabrera created the “Lisa Cabrera” channel in 2015. Since creation, Plaintiff Cabrera’s

28 “Lisa Cabrera” channel has posted 4,423 videos (68 of which Defendants archived for unknown

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 1 reasons and can no longer be viewed by anyone), which have garnered 20 million views. Plaintiff

 2 Cabrera is a YouTube partner who has generated a total of $25,500 for videos posted on the “Lisa

 3 Cabrera” channel.

 4               47.   Plaintiff Catherine Jones (“Plaintiff Jones”) is an African American woman residing

 5 in the State of Vermont who is the creator and owner of “Cooking with Carmen Caboom,” a

 6 YouTube cooking channel for African Americans, and “Carmen Caboom,” and “Carmen Caboom

 7 Reloaded,” two YouTube channels dedicated to developing and posting both parodies and serious

 8 videos that discuss and present information about issues and current events which are important to

 9 the African American community. Plaintiff Jones created the “Carmen Caboom” channel in 2010,

10 a backup “Carmen Caboom” channel in 2014, the “Cooking with Carmen Caboom” channel in

11 2015 and the “Carmen Caboom Reloaded,” channel in 2018. Defendants improperly removed the

12 original “Carmen Caboom” channel for purported nudity when no video posted to the channel

13 included any nudity. Plaintiff Jones is a YouTube partner. Since creation, Plaintiff Jones’ 2014

14 “Carmen Caboom” channel has posted numerous videos, several of which Defendants improperly

15 removed as hate speech, the remaining videos have garnered approximately 500 -1,200 views per

16 video overall which have generated approximately $500 per year.

17               48.   Plaintiff Denotra Nicole Lewis (“Plaintiff Lewis”) is an African American woman

18 residing in the State of Texas who is the creator and owner of “Nicole’s View,” a YouTube channel
19 dedicated to developing and posting videos that discuss and present information regarding issues

20 and current events which are important to the African American community. Plaintiff Lewis

21 created the “Nicole’s View” channel in 2006. She became a YouTube partner sometime between

22 2016 and 2017. Plaintiff Lewis has uploaded 748 videos to the “Nicole’s View” channel, 17 of

23 which Defendants wrongly removed or archived for unknown reasons, the remainder of which have

24 generated 10.6 million views and has generated approximately $6,000-7,000 in revenue per year,

25 approximately $25,000 over the life of the channel.

26               49.   Defendant YouTube, LLC is a for-profit limited liability corporation, wholly owned

27 by Google LLC, and organized under the laws of the State of Delaware. YouTube’s principal place

28 of business is Mountain View, California and it regularly conducts business throughout California,

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 1 including Santa Clara County, California. Defendant YouTube, LLC operates the largest and most

 2 popular internet video viewer site, platform, and service in California, the United States, and the

 3 world, and holds itself out as one of the most important and largest public forums for the

 4 expression of ideas and exchange of speech available to the public. Plaintiffs are informed and

 5 believe that at all relevant times Defendant YouTube, LLC acts as an agent of Defendant Google

 6 LLC and uses, relies on, and participates with Defendant Google LLC in restricting speech on the

 7 YouTube site, platform, or service.

 8               50.   Defendant Google LLC is a for-profit, limited liability company organized under the

 9 laws of the State of Delaware, with its principal place of business in Mountain View, California; it

10 regularly conducts business throughout California, including Santa Clara County. Plaintiffs are

11 informed and believe, and thereon allege that, at all relevant times, Defendant Google LLC has

12 acted as an agent of Defendant YouTube, LLC, and controls or participates in censoring and

13 restricting speech on the YouTube service or platform.

14               51.   Defendant Alphabet Inc. is a for-profit American multinational corporation

15 conglomerate incorporated under the laws of the State of Delaware, with its principal place of

16 business in Mountain View, California. According to Defendants, Alphabet Inc. was created as art

17 of a corporate restructuring of Defendants Google, YouTube, and other subsidiary or affiliate

18 entities on October 2, 2015. At that time, Alphabet Inc. became the parent company of Google and
19 other former Google subsidiary or affiliated entities, including Defendant YouTube. Defendants

20 also claim that the creation and establishment of Alphabet Inc. was prompted by the desire to make

21 Defendants’ core businesses "cleaner and more accountable" while allowing greater autonomy to

22 group companies that operate in businesses other than internet services.

23               52.   The true names and capacities, whether individual, corporate, associate, or

24 otherwise, of Defendants Does 1 through 100, inclusive, are presently unknown to Plaintiffs, and

25 for that reason these Defendants are sued by such fictitious names. Plaintiffs are informed and

26 believe and thereon allege that each of the Doe Defendants is in some way legally responsible for

27 the violations of law, injuries, and harm caused, as alleged herein. If, and when appropriate,

28

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 1 Plaintiffs will seek leave of the Court to amend this Complaint when the true names and capacities

 2 of said defendants are known.

 3 III.          JURISDICTION AND VENUE
 4               53.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

 5 1331, 1337(a), and 2201. The Complaint includes Federal questions, and the amount in

 6 controversy arising from the claims asserted on behalf of Plaintiffs and all other persons similarly

 7 situated exceeds $5 million, exclusive of interest and costs. Plaintiffs and all other persons

 8 similarly situated also challenge the construction and constitutionality of 47 U.S.C. § 230(c)(1) and

 9 (2), and seek a declaratory judgment that this statute does not immunize Defendants for overt

10 intentional and systematic racial discrimination on the YouTube platform.

11               54.       Venue is proper in the Northern District of California (San Jose Division) under 28

12 U.S.C. § 1391. Defendants reside and/or transact business in the County of Santa Clara, and are

13 within the jurisdiction of this Court for purposes of service of process. Defendants’ TOS require

14 that Plaintiffs and all other persons similarly situated file this Lawsuit in a court of competent

15 jurisdiction located within Santa Clara County.

16 IV.           FACTS COMMON TO ALL CLAIMS
17               55.       On June 2, 2020, this Court held a hearing on Defendants’ Motion to Dismiss in

18 Divino. At the hearing, the Court asked Defendants if they were claiming immunity from liability
19 for denying access to YouTube based on the user’s race. In response, Defendants’ counsel

20 conceded that a case involving intentional race discrimination by an ISP may not be covered by

21 Section 230(c):

22               I THINK THERE COULD BE SOME STARK CASES WHERE A COURT MIGHT FIND

23               UNDER A PARTICULAR SET OF CIRCUMSTANCES THAT SOME ALLEGED

24               DISCRIMINATION DIDN'T TAKE THE FORM OF A PUBLISHER OF ACTUALLY

25               TARGETING PUBLISHER CONDUCT, AND, THEREFORE, DIDN'T COME WITHIN

26               (C)(1).

27               * * * *

28

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 1               I CAN IMAGINE SOME COURTS TAKING THE POSITION THAT A PROPERLY

 2               PLEADED CLAIM OF THE SORT THAT YOU DESCRIBE AS SORT OF FACIAL

 3               RACE DISCRIMINATION CLAIM MAY NOT BE GOOD FAITH UNDER (C)(2), I

 4               CAN IMAGINE A COURT TAKING THAT POSITION.

 5 Attached as Exhibit E is a true and correct copy of the June 2, 2020-Transcript of Oral Argument

 6 before the Hon. Virginia DeMarchi; Exhibit E at 10:45 15-22.

 7               56.   This Lawsuit is that “stark case.” Defendants are engaged in intentional race

 8 discrimination against Plaintiffs and other persons similarly situated, that violates Defendants’

 9 contractual promises not to discriminate, and also violates long established laws that prohibit

10 racism for profit.

11               57.   The central allegation in this Lawsuit is that Defendants engage in identity and

12 viewpoint-based filtering and service access restrictions that utilize and base access restrictions on

13 Plaintiffs’ race, identity, and/or viewpoints.

14               58.   Defendants profile, use, and consider Plaintiffs’ race, personal identity, or

15 viewpoint, in order to interfere with, restrict, or block video viewing, promotion, advertising,

16 engagement, and/or monetization services because Plaintiffs are African American. This is

17 unlawful and cannot be immunized by Congress.

18               59.   Defendants’ profiling, review, use, and consideration of Plaintiffs’ race, ethnicity,
19 religion, political affiliations or personal identity or viewpoints is prohibited not only under

20 Defendants’ TOS and other related agreements with Plaintiffs, but it also violates laws dating back

21 to the Civil War which prohibit racial discrimination in contract and business relationships.

22               A.    The Governing Agreements
23               60.   Each time that Plaintiffs (or any other member of the public) access the YouTube
24 user interface, Plaintiffs and Defendants execute binding contract(s) that govern the parties

25 respective rights and obligations on YouTube, including the TOS.

26               61.   The provisions in the TOS and other agreements are part of a uniform consumer
27 contract that every one of YouTube’s 2.3 billion users must execute and agree to upon accessing

28 the website.

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 1               62.   The TOS and other agreement(s) are governed by California law.

 2               63.   Under the agreement(s), Defendants designate YouTube as a “passive website,” that

 3 is open to the public, provided that any person who “uses or visits” the YouTube website or “any

 4 YouTube products software, data feeds, and services provided” consents and legally agrees to

 5 YouTube’s “TOS,” “Google’s Privacy Policy,” and “Community Guidelines,” as “incorporated by

 6 reference” and are further clarified or modified by Defendants “without notice” (collectively the

 7 “Agreement”).

 8               64.   The contract(s) allow Defendants not only collect, store, analyze, and organize the

 9 personal, financial, political, and other data for each of the YouTube Platform users, but

10 Defendants also use and sell that data to third parties on the open market.

11               65.   In 2018, Defendants’ authorized representatives testified under oath to Congress and

12 confirmed that YouTube is “a neutral public forum” in which Defendants “enforce [their] policies

13 in a politically neutral way.”

14               66.   Among other statements, Defendants affirmatively represent to the public and

15 YouTube users that all access rules and restrictions apply equally to all without consideration of the

16 race, personal identity, or viewpoint of the user and that YouTube is a “forum” where the public

17 can engage in “freedom of expression,” to communicate and interact with other users subject to

18 viewpoint neutral content based filtering and regulations that apply equally to all.
19               67.   As of the filing date of this lawsuit, YouTube’s CEO and other senior officers of

20 Defendants continue to represent and insist to the public that YouTube’s regulation and restriction

21 of access to its services is undertaken solely by “viewpoint neutral” application of specific content

22 based rules limited to actual video content and does not use, consider, or take into account the

23 user’s race, sexual identity, political or religious association, or any other personal identity trait or

24 viewpoint of the user.

25               68.   Based on Plaintiffs’ experience, and the experience of other YouTube users who are

26 members of other protected racial classifications under the law, that is a lie. And Defendants have

27 admitted as much on multiple occasions dating back to at least 2017.

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 1                     1.     The General Terms Of Use And Contract-Based Promises
 2               69.   As with many large public consumer businesses, Defendants contract with users

 3 through the use of an online, consumer form service contract(s).

 4               70.   Like many other consumer service contracts, the TOS and other related

 5 agreement(s) that govern the consumer’s respective obligations and rights is not a beacon of clarity.

 6 Specifically, Defendants utilize a myriad of confusing, ambiguous, vague, overbroad, overlapping,

 7 interconnected, and inconsistent provisions to govern the parties’ respective rights and obligations,

 8 including integrating or incorporating service and access provisions that are not specific to the

 9 YouTube platform, but apply to any service or product that Defendant Google provides or markets

10 to the public.

11               71.   In or about December 2019, Defendant Google merged its general terms of service

12 for its products and services with that of YouTube’s TOS for all purposes. Consequently, access

13 actions, restrictions, or blocking that occur on YouTube may also be used by Defendants to review,

14 restrict, block, or deny any service that either entity provides, including Android devices and use,

15 personal email, publisher advertising, confidential health record data storage and access, all

16 applications sold in Google’s Android App store, election monitoring services, public health and

17 law enforcement services search, and any and all other communication or information services that

18 Google, YouTube, or their affiliates provide to consumers or the public.
19               72.   The result is a complex and indecipherable web of service provisions that are not

20 readily available to users and require each user to locate and navigate as part of a convoluted,

21 confusing and complicated disclosure process, which may not be functionally accessible to the

22 user.

23               73.   The user is also required to figure out what agreements and provisions govern what

24 conduct and restrictions, and which agreements are in place at the time to govern the specific

25 conduct.

26               74.   This is virtually impossible, because as is the case here, Defendants routinely

27 change or amend the provisions of these agreements and do so unilaterally, without adequate notice

28 to users.

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 1               75.     Because each Plaintiff executed a new TOS agreement every time they access

 2 YouTube on their internet browsers, only Defendants know what versions of the agreements and

 3 policies apply to the conduct at issue during the period of time governing the claims in this

 4 Lawsuit.

 5               76.     The TOS and other agreement(s) exist as electronic, on line documents. The

 6 agreements are executed electronically from drop down menus. Consequently, users often do not

 7 have access to or understand the TOS or agreement(s), let alone which version of the TOS and

 8 other agreement(s) may govern a particular action or conduct that occurs on a particular date.

 9               77.     One fundamental provision of the TOS and agreement(s), however, has not changed.

10 In every TOS or agreement during the relative period of this Lawsuit, Defendants promise users

11 equal and full access to all YouTube services, subject only to viewpoint neutral content-based rules

12 that apply equally to all.

13               78.     On January 17, 2018, Defendants testified to Congress under oath that access to all

14 services offered by Defendants in connection with YouTube are available to Plaintiffs, and all

15 users, subject only to viewpoint neutral content-based rules that apply equally to all users:

16               Senator Cruz: Thank you Mr. Chairman. Welcome to each of the witnesses. I’d like to
17               start by asking each of the company representatives a simple question, which is: do you

18               consider your companies to be neutral public fora?
19               ****

20               Senator Cruz: I’m just looking for a yes or no whether you consider yourself to be a
21               neutral public forum.

22               Senator Cruz: Ms. Downs?
23               Ms. Downs: Yes, our goal is to design products for everyone, subject to our policies and the
24               limitations they impose on the types of content that people may share on our products.

25               Senator Cruz: So, you’re saying you do consider YouTube to be a neutral public forum?
26               Ms. Downs: Correct. We enforce our policies in a politically neutral way. Certain things
27               are prohibited by our Community Guidelines, which are spelled out and provided publicly

28               to all of our users.

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 1               ****

 2               Ms. Downs: As I mentioned, we enforce our policies in a politically neutral way. In terms
 3               of the specifics of Prager University, it’s a subject of ongoing litigation so I’m not free to

 4               comment on the specifics of that case.

 5 See https://www.c-span.org/video/?439849-1/facebook-twitter-youtube-officials-testify-combating-

 6 extremism and https://www.c-span.org/video/?448566-1/house-judiciary-committee-examines-

 7 social-media-filtering-practices at 02:34:28 – 02:35:29 of the full hearing recording (emphasis

 8 added).

 9               79.    Before and after that date, up to the time of the filing of this lawsuit, YouTube’s

10 CEO Susan Wojcicki and other senior officers of Defendants have repeatedly reaffirmed and

11 maintained that all of access decisions are based on viewpoint neutral application of the content

12 based rules governing the service that apply equally to all.

13               80.    Thus, whatever ambiguity exists in their agreements with Plaintiffs, Defendants

14 admit that all of the agreements and the application of the provisions in those agreements are

15 governed by a core and fundamental promise: access to the YouTube platform and all services is

16 open and available to any member of the public who uses YouTube, subject only to viewpoint

17 neutral content based rules that apply equally to all.

18               81.    That promise governs all of a user’s content based rights and obligations associated
19 with YouTube and all services. It applies not only to Plaintiffs and to all public users, but also to

20 Defendants, who sponsor video content that competes directly with Plaintiffs and other public users

21 for CPMs, viewer reach and expansion, promotion and advertising, and monetization of revenue

22 generated by each video that is posted on the YouTube platform and/or is available through viewer

23 subscription services.

24               82.    Defendants’ core, fundamental promise of ensuring equal access to YouTube, under

25 neutral content-based rules is illusory, false, and unenforceable.

26               83.    Defendants exercise “unfettered discretion” when applying YouTube’s content-

27 based service rules and provisions and determining what access to give each user. Defendants

28

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 1 admit that at least since 2016, the exercise of this “unfettered discretion” by Defendants is not

 2 viewpoint or identity neutral.

 3               84.   Since at least 2017, Defendants have grudgingly admitted that they “target” and

 4 deny access or services to Plaintiffs based, not on the video content posted by a Plaintiff, but “for

 5 any reason, or no reason,” including the race, personal identity, or personal viewpoint, of YouTube

 6 content creators, viewers, and users.

 7               85.   The practice of using its “discretion” to deny access to any Plaintiffs, or any user,

 8 based on race, identity, or viewpoint, rather than video content, violates and breaches the express

 9 and implied promises set forth in YouTube’s TOS and other service or access agreements, because

10 those agreements are governed in their entirety by California law, and expressly limit the exercise

11 of Defendants’ “discretion” to that “permitted” by law.

12               86.   Thus, Defendants’ admissions that they are engaged in identity and viewpoint based

13 access denials and targeting, breach the express and implied promises that discretionary access

14 decision must be viewpoint neutral in application and comply with all federal and state laws

15 prohibiting discrimination in contract, including 42 U.S.C. § 1981, the Unruh Act, and §§17200, et

16 seq. of the California Business & Professions Code.

17                     2.     The License Provisions
18               87.   The current (and/or prior versions) of YouTube’s TOS at issue in this discrimination
19 case require Plaintiffs to “grant” Defendants a renewable, “irrevocable” and “perpetual” license to

20 any and all video content or communication that occurs on YouTube. This includes, but is not

21 limited to, the property rights for all personal data and other revenue streams that Plaintiffs hold an

22 interest in or otherwise derive from the posting, viewing, advertising, or monetization of their

23 videos on YouTube.

24               88.   Under the TOS, Plaintiffs “grant” Defendants a “worldwide, non-exclusive, royalty-

25 free, sublicensable and transferable license to use that Content . . . in connection with the Service

26 and YouTube’s . . . . business . . . .”

27

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 1               89.   The TOS also grant other YouTube “users” a “non-exclusive, royalty-free license to

 2 access” content, “reproduce, distribute, prepare derivative works, display, and perform it . . . as

 3 enabled by a feature of the Service.”

 4               90.   This license includes the right of Defendants and other users to post and monetize

 5 Plaintiffs’ “[c]ontent or other material” that makes Plaintiffs (i) “solely responsible for” the content

 6 and its “consequences,” including (ii) all intellectual property rights and restrictions on the video

 7 content, and (iii) not posting content or seeking access to services in a manner that is “contrary to

 8 the YouTube Community Guidelines.”

 9               91.   In applying these provisions, Defendants reserve “the right to decide whether

10 Content violates these Terms,” including, “but not limited to, pornography, obscenity, or excessive

11 length,” and, “in so doing, remove such Content and/or terminate a user’s account” if, “in its sole

12 discretion . . . submitting such material is determined to be “in violation of these Terms.”

13               92.   Defendants’ acquisition of the licensing rights to 95% of the world’s public video

14 content along with the personal and financial information data that belongs to the 2.3 billion users

15 who post or view the content is not free or a gift to the largest and most powerful tech enterprise in

16 the history of the world. Rather, the license rights are obtained through for tangible and valuable

17 consideration: the right of the licensor or user to equal access to the YouTube platform and all of its

18 services, subject to and limited only by the viewpoint neutral application of YouTube’s content-
19 based rules.

20               93.   Thus, under the TOS, Defendants’ license agreement binds and requires them to

21 apply and impose access restrictions for viewpoint neutral content based violations of a third

22 party’s intellectual property rights, Defendants’ Community Guidelines, and other content based

23 terms of YouTube’s service, and to do so in a manner “permitted” by the law.

24               94.   Defendants’ past, present, and continuing violations of the TOS is a fundamental

25 and material breach of the trillion dollar licensing provisions by which Defendants obtained

26 perpetual” and “irrevocable” right to use, display, and monetize 95% of the public’s video content

27 that exists or has ever existed in the world, as well as the personal and proprietary data of the 2.3

28 billion people who use or access the site.

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 1               B.    Defendants Are Engaged In Anti-Competitive, Unlawful, Deceptive And Unfair
                       Business Practices
 2
                 95.   Defendants shuffle between three conflicting and irreconcilable roles in connection
 3
     with YouTube:
 4
                       a.     When Defendants put on their “ISP” hat, Defendants host, review, curate,
 5
     and monetize the video content of third party users who license their content, and the personal data
 6
     property rights of these users, in return for providing equal access to YouTube content and services,
 7
     subject only to viewpoint neutral rules that apply equally to all.
 8
                       b.     When Defendants put on their “creator” hat, Defendants create videos and
 9
     partner with hand-picked creators to sponsor their content, and both operate and act as the largest
10
     and most powerful of YouTube users to compete directly and aggressively with Plaintiffs and other
11
     third party users for views, reach, engagements, CPM revenue, advertisers, and a host of other user
12
     based revenue streams on YouTube.
13
                       c.     When Defendants put on their “advertiser” hat, Defendants review,
14
     categorize, and classify the video content of third party users for purposes of selling advertisements
15
     on the YouTube platform in connection with individual videos and/or YouTube channels, based on
16
     demographic information in the form of Defendants’ metadata that they generate for individual
17
     videos which is gleaned from video titles and tags (posted by Plaintiffs when the individual videos
18
     are posted to the platform), Plaintiffs’ channel profiles (which were input when the channels were
19
     first created), the profiles of Plaintiffs’ subscribers (which individual subscribers input when they
20
     first registered with Defendants) and the subscribers’ video viewing histories (which Defendants
21
     gather, analyze and summarize in the form of metadata), as well as the profiles of other users who
22
     view Plaintiffs’ videos (which were input when they first registered with Defendants) and the
23
     viewers’ video viewing histories (which Defendants also gather, analyze and summarize in the
24
     form of metadata). Using the enormous wealth of information Defendants have about the
25
     Plaintiffs, their subscribers and the viewers of their videos, Defendants can identify, price and sell
26
     advertising space on the YouTube platform in connection with individual videos posted, based on
27
     the demographics of the channel subscribers and video viewers. In this way, Defendants can
28

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 1 identify, market and sell advertising based on the race, identity and viewpoints of the YouTube

 2 users and generate revenue for Defendants, their affiliated creators, and affluent white YouTube

 3 creators, without ever reviewing any of the millions of individual videos posted on the YouTube

 4 platform. In short, Defendants divvy up the video content on the platform by race, identity and

 5 viewpoint in order to sell advertisements to third parties without regard to the actual content of

 6 videos; moreover, Defendants fully monetize those creators whose subscribers and viewers fit the

 7 “right demographic,” paying them collectively millions of dollars each month regardless of whether

 8 their individual videos comply with Defendants’ own Community Guidelines and TOS.

 9               96.   Defendants’ multiple roles create platform wide conflicts of interest, in which

10 Defendants utilize their unfettered authority to curate third party content on YouTube as a pretext

11 to impose access and content restrictions on Plaintiffs and all other persons similarly situated, that

12 are not imposed on content posted or sponsored directly or derivatively by Defendants or other

13 parties with whom they contract with for sponsorship.

14               97.   In the last four years, Defendants have invested in and expanded their business to

15 become the largest a production and media company in the world. See

16 https://www.feedough.com/youtube-business-model-how-does-youtube-make-money/.

17               98.   Among other things, Defendants announced that “[t]he company has partnered with

18 its top content creators who wanted to charge a subscription rental or purchase fees for their content
19 and made their uploaded content as paid content which requires users to pay for a subscription or

20 purchase fees to access the content of the channel.” Furthermore, Defendants decided to partner

21 with “affiliates” whose “related product” advertisements are placed with some videos on YouTube.

22 These products link to the affiliate partners, which pay a commission to Defendants if their

23 products are purchased.

24               99.   Defendants understand that the YouTube Platform has effectively surpassed its user

25 saturation point, and that monetizing and profiting from YouTube by merely hosting content on the

26 platform is no longer financially feasible to satisfy Defendants’ insatiable lust for revenue and

27 profits.

28

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 1               100.   Thus, in addition to hosting their own video channels on YouTube, Defendants have

 2 entered into lucrative preferred provider production deals with other global media companies,

 3 including PBS, MSNBC, HBO, Fox News, Breitbart, and other media and entertainment

 4 conglomerates.

 5               101.   Defendants have also entered the digital TV market with the advent of YouTube

 6 TV. Defendants use their control over third party user content, on and access to the YouTube

 7 platform to induce consumers to purchase their TV and entertainment services by using the

 8 YouTube hosting platform, user interface to that platform, and content curation powers to induce

 9 consumers to use YouTube for all digital based TV or video content, including movies, music,

10 sports, and entertainment.

11               102.   Defendants compete for that public audience or viewership unfairly and unlawfully,

12 in a manner which gives their “preferred content” a competitive advantage, by among other things,

13 using their filtering tools and criteria to restrict the access and reach of the smaller third-party users

14 it hosts on YouTube. Thus, under the pretext of making the site safe for their users, Defendants

15 arbitrarily, capriciously, and deceptively restrict access and audience reach to the videos of their

16 competitors on the platform, like Plaintiffs, while at the same time allowing their own content to

17 avoid those same restrictions and restraints -- even when that content violates their own guidelines.

18 In so doing, Defendants effectively clear space on the platform for content which they, or their
19 preferred users supply, to better reach the sites’ 2.3 billion users, by censoring the content of their

20 competitors.

21               C.     Defendants’ Tool Kit For Unlawful Conduct
22               103.   Defendants utilize a series of discriminatory, anticompetitive and unlawful
23 suppression practices and conduct to grow their profits, financial, interests, and unprecedented

24 consolidation and control over information, speech, advertising, expression, and internet

25 viewership.

26                      1.     Artificial Intelligence Algorithm Restrictions
27               104.   The central mechanism used by Defendants to achieve these objectives are A.I.
28 based algorithms (“A.I.”), and computer driven filtering tools that profile, regulate, restrict, flag,

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 1 and block creator content and access on YouTube. Defendants surreptitiously collect information

 2 regarding Plaintiffs and all other persons similarly situated, their subscribers, and the viewers of

 3 their videos, and generate metadata that is embedded, appended or associated with individual

 4 videos to facilitate Defendants’ unlawful discriminatory and anticompetitive filtering and review

 5 tools to restrict or block the video content and access to the YouTube platform by Plaintiffs and all

 6 other persons similarly situated, both as YouTube creators and as viewers.

 7               105.   Defendants claim that these algorithms are viewpoint and identity neutral, and that

 8 they ensure that the “same standards apply equally to all” when it comes to the content regulation

 9 of speech on YouTube. Defendants claim that their employees conduct “manual reviews” to

10 supplement the electronic filtering and regulation of video content.

11               106.   But the evidence, including statements by Defendants’ employees familiar with both

12 electronic and manual filtering and regulation of speech that takes place on the YouTube Platform,

13 suggests that Defendants’ representations of neutral viewpoint and identity-based content

14 regulation are also false. The A.I. and algorithmic filtering tools are embedded with code that

15 regulates content based on purely subjective, viewpoint, topic, and identity animus, and other

16 unlawful criteria. Even before October 2016, Defendants’ engineers began making changes to the

17 code and operations of the algorithms and filtering tools in order to ensure that Defendants could

18 filter videos and regulate access to video content based upon overt discrimination based on race,
19 sexual or gender orientation, ethnic, political or religious animus, as well as for financial and/or

20 anticompetitive purposes.

21               107.   Similarly, Defendants’ viewpoint bias, animus, and discrimination towards the

22 user’s identity or viewpoint is institutionally and culturally rampant in Defendants’ work place and

23 employment practices. Among other things, Defendants operate and administer “Restricted Mode”

24 through employees, including engineers and content reviewers, and independent contractors. These

25 people work in what has been widely reported and acknowledged as a dysfunctional work

26 environment and often work outside of the United States in countries and cultural settings where

27 discrimination against Plaintiffs and all other persons similarly situated is not only condoned but is

28 deeply embedded in social mores.

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 1               108.   Internal emails by and between Defendants’ employees show that many employees

 2 are routinely subjected to harassment, threats, blacklisting, discipline, and hazing based on their

 3 race, or political or religious viewpoints. The dysfunction and viewpoint bias emanate from, and

 4 are enforced at, the highest ranks of Defendants’ upper management, and drive the actions of

 5 employee supervisors, co-workers, third-party affiliates, and advertisers.

 6               109.   Consequently, even when manual employee reviews of video content are used to

 7 check and audit restrictions on videos generated from the digital algorithms or from flagging by

 8 other YouTube users, Defendants apply “Restricted Mode” and other discretionary and vague

 9 content based criteria, to restrict access to Plaintiffs’ videos using vague and undefined terms such

10 as “mature” or “sensitive” for certain audiences, solely because the video discusses a topic

11 involving abbreviations like “BLM,” “KKK;” terms such as “Black,” “White,” “Racism,”

12 “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police Shootings,” “Police Brutality,”

13 “Black Lives Matter;” names of individuals such as those killed by law enforcement, “Bill Cosby,”

14 “Louis Farrakhan;” names of organizations such as “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan

15 Brotherhood,” and/or other euphemisms that are known and particular to the African American

16 Community, or the video’s title or tag words includes these trigger words.

17               110.   Defendants’ conduct creates censorship, restraint of speech, and discrimination

18 based on the race, identity, and/or viewpoint of Plaintiffs and all other persons similarly situated,
19 not based upon video content which might violate a narrow, neutral, objective, and specifically

20 verifiable criteria that furthers a compelling and legitimate public interest.

21               111.   Defendants’ conduct also forces Plaintiffs and all other persons similarly situated to

22 self-censor and to avoid not only using abbreviations like “BLM,” “KKK;” terms such as “Black,”

23 “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police Shootings,”

24 “Police Brutality,” “Black Lives Matter;” names of individuals such as those killed by law

25 enforcement, “Bill Cosby,” “Louis Farrakhan;” names of organizations such as “Ku Klux Klan,”

26 “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are known and particular

27 to the African American Community in video titles and tag words, but to avoid mentioning these in

28 the video content, in order to avoid having Defendants remove videos or issue a “strike” against the

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 1 channel, purportedly for posting “hate speech” or violating one or more of Defendants’ unidentified

 2 Community Guidelines and TOS.

 3               112.   Defendants’ A.I. tools and practices effectively silence the voices of Plaintiffs and

 4 all other persons similarly situated concerning some of the most important issues and current events

 5 affecting their communities.

 6               113.   Because Defendants’ A.I. tools and practices single out the videos of Plaintiffs and

 7 all other persons similarly situated for adverse treatment (e.g., removal, restricted access if any,

 8 and/or limited or no monetization), the Plaintiffs and class members cannot generate sufficient

 9 viewers or subscribers to grow their channels so as to qualify for all of the Defendants’ special

10 programs and perks, such as YouTube partnership, Channel Membership, mobile Livestreaming, or

11 SuperChat applications, resulting in the creation of a ghetto tier of YouTube creators based on their

12 race, identity and/or viewpoints, who are doomed to create videos for very limited audiences for

13 little to no money.

14                      2.     Excluding Channels And Videos From Full Revenue Generation
15               114.   In addition to creating and using metadata to racially profile Plaintiffs and all other

16 persons similarly situated, as well as their subscribers and viewers, for purposes of restricting

17 access to the YouTube platform, Defendants use the same or similar metadata to limit the revenue

18 which can be generated from individual videos. Defendants use A.I., algorithms, and filtering tools
19 and practices in conjunction with the metadata they create, to prevent Plaintiffs and other persons

20 similarly situated from earning money from videos merely because the metadata reflects the video

21 title and/or tags include abbreviations like “BLM,” “KKK;” terms such as “Black,” “White,”

22 “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police Shootings,” “Police

23 Brutality,” “Black Lives Matter;” names of individuals such as those killed by law enforcement,

24 “Bill Cosby,” “Louis Farrakhan;” names of organizations such as “Ku Klux Klan,” “Nazi,” “Neo-

25 Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are known and particular to the African

26 American Community. Defendants also use the same or similar metadata to limit or prevent

27 revenue generation from videos posted by Plaintiffs or other persons similarly situated, simply

28 because the videos were created by Plaintiffs or members of other races, by other similar

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 1 communities, or by those sharing the same viewpoints, or because the videos were posted on

 2 channels that are popular with members of Plaintiffs’ communities, or are widely viewed by

 3 viewers who share Plaintiffs’ race, identity, and/or viewpoints.

 4               115.   Because Defendants use metadata based on video titles and tags to flag videos for

 5 limited monetization or demonetization, Plaintiffs and other persons similarly situated self-censor

 6 and either avoid posting videos regarding issues and current events that are important to their

 7 community (e.g., videos regarding the deaths of unarmed African Americans at the hands of law

 8 enforcement, healthcare providers’ refusals to test or treat African Americans for the Covid-19

 9 virus, the disparate infection, death and unemployment rates experienced by African Americans as

10 a result of the Covid-19 pandemic), or they misspell key words like “Black,” “White,” “Race,”

11 “Racist,” and “Racism,” or they rely on euphemisms known only to the African American

12 community.

13               116.   Defendants’ conduct and practices cause Plaintiffs and other persons similarly

14 situated to lose revenue which their fully compliant videos would otherwise have generated, as well

15 to lose subscribers and viewers, and the opportunity to grow their channels and to qualify for full

16 access to all of the perks that Defendants offer others.

17                      3.     Misapplying “Restricted Mode”
18               117.   Defendants also use the same or similar metadata to restrict access to the full
19 YouTube platform and related benefits by misapplying “Restricted Mode” to the videos of

20 Plaintiffs and all persons similarly situated. “Restricted Mode” is one of Defendants’ primary tools

21 for platform control and curation. “Restricted Mode” affects tens of millions of YouTube users

22 every single day.

23               118.   According to Alice Wu, a Senior Manager of Trust & Safety at YouTube, LLC,

24 about 1.5 percent of YouTube’s daily views (or approximately 75 million of the nearly 5 billion

25 views every single day) come from people who have activated Defendants’ “Restricted Mode.”

26               119.   According to Defendants, “Restricted Mode” is supposed to function much like a

27 curtain that blocks access to the hardcore pornography section at the corner video rental shop,

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 1 limiting viewer access by younger, sensitive audiences to video content that contains certain

 2 specifically enumerated “mature” aspects.

 3               120.   Defendants assert that “Restricted Mode” is a tool “to help institutions like schools

 4 as well as people who wanted to better control the content they see on YouTube with an option to

 5 choose an intentionally limited YouTube experience.” “Restricted Mode” also can be activated by

 6 system administrators to restrict all access on computer networks to all users and electronic devices

 7 connected to the network, including viewers who seek to access video content in public libraries,

 8 schools, and other public institutions or private workplaces.

 9               121.   While Defendants claim that viewers control the use of “Restricted Mode,” and can

10 choose to turn on “Restricted Mode” for their personal accounts, there is growing evidence that it

11 sweeps more broadly. In certain instances, for viewers who do not have YouTube accounts and

12 seek to view videos posted on YouTube by Plaintiffs and other persons similarly situated,

13 Defendants have applied “Restricted Mode” to prevent those viewers from accessing videos

14 through links posted on other social media platforms that are not owned or controlled by

15 Defendants, as well as to prevent YouTube users who have not activated “Restricted Mode” from

16 accessing those videos.

17               122.   According to Defendants, “Restricted Mode” can be applied to videos in three ways.

18                      a.     First, Defendants examine certain “signals” like the video’s metadata, title,
19 and tag words associated with the video. When creators post videos, Defendants invite them to

20 include certain information in the title or to input “tag” words which are purportedly designed to

21 help viewers find videos in which they are interested, such as a title reflecting the subject of the

22 video, and tag words indicating the video’s themes or content. Plaintiffs and other persons

23 similarly situated unwittingly provide Defendants with such titles and tag words along with their

24 posted videos. Defendants then generate metadata which is additional content that they insert into,

25 append to, or associate with the videos that are posted, which allows Defendants apply A.I.,

26 algorithms and other filtering tools to profile Plaintiffs, their subscribers and viewers, as well as

27 other persons similarly situated, and to sort them by race, identity and viewpoints. Defendants

28 ultimately apply “Restricted Mode” to the otherwise compliant videos posted by Plaintiffs and

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 1 other persons similarly situated, because the videos have titles or tag words that reflect issues of

 2 importance to African American or other racial communities, and those who simply watch videos

 3 popular in such communities – essentially relegating these videos to a limited audience which

 4 excludes white, conservative and/or “more sensitive viewers,” simply because the videos were

 5 made by or for members of protected racial classifications under the law.

 6                      b.     Second, Defendants claim that such metadata “signals” identify videos

 7 which violate Defendants’ Community Guidelines or TOS. However, these “signals” are used by

 8 Defendants as a pretext to segregate disfavored content using “Restricted Mode,” regardless of

 9 whether the video contains material which is unsuitable for children, younger audiences or more

10 sensitive viewers. Defendants themselves create all such metadata and insert, embed or associate

11 that metadata which reflects demographic information regarding the video creators, channel

12 subscribers and viewers, along with individual videos to create more “signals” for A.I., algorithms,

13 and filtering tools to utilize. Thus, in certain cases, videos that would otherwise pass through the

14 filtering process without incident, are flagged for restrictions by Defendants; not because of

15 anything in the video content, but because of metadata or other “signal” information that

16 Defendants themselves have inserted, embedded or associated with the video. These signals

17 include information about the race, identity and/or individual viewpoint of the video creator, her

18 subscribers, and her viewers.
19                      c.     Third, Defendants also purportedly use “Restricted Mode” to passively

20 restrict a video if it is “flagged” as “inappropriate” by anyone in the “community” of YouTube

21 users. According to Defendants, the so-called “flagged” videos are subsequently reviewed by a

22 “team” of human reviewers for “violations” of Community Guidelines and/or TOS. But flagged

23 videos are subject to Defendants’ own internal review procedures that are race, identity and

24 viewpoint based, so that many flagged videos posted by Plaintiffs and other persons similarly

25 situated may never receive an independent content review by a human being, much less a YouTube

26 employee.

27               123.   As shown below, when a network administrator or an individual viewer activates

28 “Restricted Mode,” each video subject to “Restricted Mode” appears with Defendant‘s custom

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 1 stamp of disapproval, including a red face including a red square bearing a foreboding facial

 2 expression, together with text showing “This video is unavailable with Restricted Mode enabled.

 3 To view this video, you will need to disable Restricted Mode.”

 4               124.   Defendants’ stamp of disapproval thus makes a specific and falsifiable

 5 misrepresentation to viewers of videos posted by Plaintiffs and other persons similarly situated, that

 6 the specific video that they have attempted to access contains content that is so inappropriate,

 7 shocking and outrageous, that the viewer must be protected from that content and that the

 8 YouTuber creator who has posted that content is responsible for having created and uploaded such

 9 inappropriate, shocking, and outrageous content.

10               125.   These specific and falsifiable factual representations are by no means limited to

11 Defendants’ “Restricted Mode” stamp of disapproval. Viewers who attempt to ascertain why a

12 particular video has been subjected to “Restricted Mode” are told by Defendants that videos are

13 eliminated from “Restricted Mode” when they include specific pieces of content, including content

14 (1) talking about drug use or abuse, or drinking alcohol in videos; (2) overly detailed conversations

15 about or depictions of sex or sexual activity; (3) graphic descriptions of violence, violent acts,

16 natural disasters and tragedies, or even violence in the news; (4) videos that cover specific details

17 about events related to terrorism, war, crime, and political conflicts that resulted in death or serious

18 injury, even if no graphic imagery is shown; (5) inappropriate language, including profanity; and
19 (6) video content that is gratuitously incendiary, inflammatory, or demeaning towards an individual

20 or group.

21               126.   In reality Defendants’ definition of “Restricted Mode” is applied in a significantly

22 over inclusive and under inclusive manner, which has caused significant damage to Plaintiffs and

23 other persons similarly situated. Even the most simple examination of Plaintiffs’ videos subject to

24 “Restricted Mode” shows that Defendants are not only dead wrong in their representations to the

25 public concerning African American videos that Defendants subject to the “Restricted Mode”

26 stamp of disapproval, but Defendants are hiding from the public valuable content and are doing so

27 in bad faith.

28

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 1               127.   To the extent that videos which have titles or tags which include “abbreviations like

 2 “BLM,” “KKK;” terms such as “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,”

 3 “Racial Profiling,” “Police Shootings,” “Police Brutality,” “Black Lives Matter;” names of

 4 individuals such as those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan;” names of

 5 organizations such as “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other

 6 euphemisms that are known and particular to the African American Community,” Defendants apply

 7 the “Restricted Mode” filter to these videos and limit viewer access to many compliant videos

 8 posted by Plaintiffs and other persons similarly situated, which contain content of interest to the

 9 African American community. Defendants do so, despite the fact that the videos do not contain

10 materials which discuss drug use or abuse or drinking alcohol; overly detailed conversations about

11 or depictions of sexual activity; graphic depictions of violence, violent acts; natural disasters or

12 tragedies or violence in the news; specific details about events related to terrorism, war, crime and

13 political conflicts that resulted in death or serious injury even if no graphic imagery is shown;

14 inappropriate language, including profanity, or content that is gratuitously incendiary,

15 inflammatory, or demeaning toward an individual or group.

16               128.   Defendants effectively use “Restricted Mode” as a damper to quiet the voices of

17 Plaintiffs and other persons similarly situated, from being heard by all YouTube users and to limit

18 Plaintiffs’ reach, thereby preventing them from growing their channels, increasing subscribers and
19 viewers, generating revenue, and meeting minimum participation standards to qualify for

20 Defendants’ other benefits such as YouTube partnership, Channel Membership, Mobile Streaming

21 and SuperChat.

22               129.   Once Defendants apply “Restricted Mode” to a video, Plaintiffs and other persons

23 similarly situated are then forced to spend time and effort to appeal Defendants’ decision and

24 persuade a human being to actually look at the content of the video. Even when the appeal is won,

25 Plaintiffs and other persons similarly situated lose the opportunity to generate interest in and

26 revenue from the new video for a period of weeks to months, and to thereby grow their channel

27 during the period that the video is restricted. Defendants never compensate for the erroneous

28

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 1 application of “Restricted Mode,” regardless of the length of time it takes for Defendants to

 2 actually review the restricted video content.

 3               130.   Defendants impose these restrictions to justify anticompetitive and unlawful actions

 4 intended to gain a competitive advantage for their own video content and/or to ensure that their

 5 sponsored creators, content partners, and advertisers have an unfair competitive advantage in the

 6 YouTube video market. By placing no restrictions on the monetization of their own videos or those

 7 of Defendants’ sponsored creators, content partners and preferred advertisers, Defendants gain a

 8 competitive advantage by restricting the financial reach of Plaintiffs and other disfavored users,

 9 while simultaneously ensuring that their own video content (and those of their sponsored creators,

10 content partners and preferred advertisers) are not subjected to the same (or any) Advertising

11 Restrictions.

12               131.   Defendants also impose these restrictions to facilitate their advertising practices,

13 whereby they profile videos by the race, identity and viewpoint of creators, subscribers and viewers

14 so as to identify the videos with the most valuable demographics which command the highest

15 prices from most advertisers, without regard to whether there are any advertisers which are willing

16 to purchase spots associated with videos posted by Plaintiffs and other persons similarly situated.

17               132.   Defendants’ actual practices unlawfully provide Defendants with monopoly power

18 over the video posting and viewership market, the video advertising market, and the ability to
19 manipulate, bully, and falsely denigrate legitimate YouTube users, like Plaintiffs and other persons

20 similarly situated, by subjectively designating their speech as “inappropriate,” because Defendants

21 do not like or agree with the speakers’ race, identity or point of view; or because Defendants are

22 too cheap to actually review the videos posted to the platform, and desire to rely on inexpensive

23 A.I., algorithms, and other filtering tools for purposes of selling advertisements and curating videos

24 on YouTube.

25                      4.     Shadow Banning Channels And Videos
26               133.   Defendants treat videos that present or discuss serious issues and current events that

27 are important to the communities of the Plaintiffs and all other persons similarly situated as “not

28 family friendly,” and as if they are inappropriate for all audiences simply because they were

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 1 uploaded by creators whose races, identities, and/or viewpoints are disfavored by Defendants.

 2 Defendants are not merely removing, restricting access to or limiting monetization for videos

 3 posted by Plaintiffs and all other persons similarly situated, Defendants are making those videos,

 4 and some channels invisible on the YouTube Platform, despite the fact that the videos comply with

 5 all of Defendants’ Community Guidelines and TOS.

 6               134.   In shadow banning videos, Defendants effectively prevent Plaintiffs’ subscribers

 7 and potential viewers from locating new videos which discuss issues and current events that are

 8 followed by the African American community; by excluding such videos from the YouTube search

 9 function on the platform, Defendants are preventing creators like Plaintiffs and all other persons

10 similarly situated from growing their channels by securing the necessary subscriber and viewer

11 numbers required to qualify for Defendants’ special programs and perks, such as YouTube

12 partnership, channel membership, mobile Livestreaming, or SuperChat applications, and are

13 preventing them from generating revenue from their videos.

14               135.   Defendants also shadow ban entire channels belonging to Plaintiffs and other

15 similarly situated persons, by making the channels unsearchable on the platform. Without a link to

16 Plaintiffs’ channels, subscribers and viewers cannot access Plaintiffs’ videos. As a result of

17 shadow banning of channels, many Plaintiffs and other persons similarly situated can only attract

18 new subscribers or viewers by “word of mouth,” and referrals from other members of their
19 community, or from other social media platforms where links to Plaintiffs’ YouTube channels are

20 posted.

21               136.   Defendants’ shadow bans not only impair the growth of channels belonging to, and

22 revenue generated from videos posted by Plaintiffs and other persons similarly situated,

23 Defendants’ conduct both effectively reduces the audience for videos posted by Plaintiffs and

24 muffles their voices across the platform, making it impossible for new YouTube viewers to locate

25 video content that is important to their specific communities. As a result, Plaintiffs, as African

26 American creators, and other persons similarly situated, cannot expand subscriber and viewer

27 numbers sufficient to grow their channels and fully enjoy full access to the YouTube platform and

28 all of the benefits Defendants offer others.

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 1                      5.     Delegating Content Review And Regulation To Racists And White
                               Supremacists
 2
                 137.   Defendants have configured the YouTube platform to allow any user to “report” or
 3
     “flag” videos which they believe violate the Google/YouTube Community Guidelines or TOS, e.g.,
 4
     video content which contains hate speech, nudity, profanity, graphic depictions of sexuality or
 5
     violence, disparaging remarks, content which violates existing copyrights or trademarks held by
 6
     persons other than the creator posting the video, or descriptions of violent events and scenes which
 7
     may disturb younger or more sensitive viewers. Defendants not only allow users to “report” or
 8
     “flag” videos posted by Plaintiffs and other persons similarly situated, Defendants take action
 9
     based on those third-party reports and flags and proceed to remove, restrict, and/or demonetize
10
     individual videos; issue community “strikes;” and to suspend, and/or remove whole channels of
11
     Plaintiffs and other persons similarly situated. Defendants do so without first verifying that the
12
     flagged video violates a specific Community Guideline or Term of Service. In effect, Defendants
13
     deputize YouTube users, including racists, sexists, white supremacists, Neo-Nazis, and other hate
14
     speech trolls. These delegated and affiliated users, exercise censorship powers on YouTube,
15
     including reporting, flagging, bullying and threatening creators whenever Plaintiffs and other
16
     persons similarly situated post content with which Defendants’ racist agents disagree.
17
                 138.   In allowing third parties to wield the power to report or flag a video as violating the
18
     applicable Community Guidelines and TOS, Defendants have deprived Plaintiffs and other persons
19
     similarly situated, of equal access to the YouTube platform and all of the services Defendants make
20
     available to others by creating the presumption that any flagged video does in fact contain content
21
     which violates the Community Guidelines and/or TOS. After being flagged by a third party,
22
     Plaintiffs and other persons similarly situated are forced to spend substantial time and effort to
23
     appeal the flag in order to restore the channel/video, remove the restriction, or obtain full
24
     monetization for channel/video, which, but for the flag, would have reached a wide audience and
25
     would have generated substantial revenue.
26
                 139.   Because of Defendants’ conduct and practices, trolls regularly appear on the
27
     channels of Plaintiffs and other persons similarly situated, threaten to shut down the channels – and
28

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 1 within a few days, the trolls succeed in getting Defendants to suspend the channels. As a result,

 2 Plaintiffs and other persons similarly situated engage in self-censorship and avoid posting videos

 3 that address issues of historical, political, cultural, and educational significance to their

 4 communities. Recently, Plaintiffs and other persons similarly situated have avoided timely topics

 5 such as the denial of Covid-19 testing and treatment to African American healthcare workers, the

 6 inability of African American businesses to apply for CARE loans, and the disparate enforcement

 7 of stay at home orders against African American communities. Defendants’ conduct therefore

 8 encourages and enables the agendas of racists, white supremacists, and Neo-Nazis on YouTube, by

 9 silencing the voices of Plaintiffs and other persons similarly situated.

10                      6.     Interfering With Livestream Broadcasts
11               140.   Livestream broadcasts are videos that are posted in a streaming live format which

12 are controlled exclusively by creators or by the moderators designated and authorized by individual

13 creators to review, edit, and remove viewer comments which appear as the video progresses over

14 time. Livestream broadcasts allow real time viewer participation in discussions on YouTube

15 channels and often involve hundreds of people all making comments regarding important issues,

16 current events, or topics. YouTube’s Livestream broadcast application allows the video creator and

17 her designated moderators to control the content of the broadcast. They control the viewer

18 participation in the comments section of the screen while the Livestream is played.
19               141.   Because Defendants routinely restrict viewer access to and revenue generation from

20 videos posted by Plaintiffs and other persons similarly situated, depressing subscriber and viewer

21 numbers, many African American channels do not generate significant income from advertising or

22 Channel Membership. They must rely on other applications to generate revenue, such as

23 Defendants’ SuperChat, Livestream Donations or Patreon Donations. As a result, Livestream

24 broadcasts have become a primary revenue generator.

25               142.   Defendants regularly interfere with the Livestream broadcasts by Plaintiffs and all

26 persons similarly situated, either using employees or independent contractors which Defendants

27 hire. Defendants’ Livestream interference includes such tactics as: (a) stopping Livestream

28 broadcasts, and forcing the creator to restart the broadcast, at the loss of viewers and to the

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 1 irritation of subscribers; (b) throttling (intentionally slowing ) broadcasting speeds during

 2 Livestream which distorts the oral discussion and disrupts viewer comments on the screen; (c)

 3 inserting new voice content and/or visual images into the video which are entirely unrelated to the

 4 decisions and choices of the channel creator and her chosen moderators, often such new voice

 5 overs and images are unrelated to the Livestream topic, and are offensive, misogynistic, racist, or

 6 obscene; (d) removing positive comments from viewers; and (e) disconnecting individual viewers

 7 who are in the process of leaving positive comments, thereby silencing viewers who would

 8 otherwise support the video or make monetary donations on the Livestream broadcast.

 9               143.   For the past two years, until stay at home orders for nonessential businesses were

10 imposed in the Bay Area in March of this year, Defendants’ Livestream broadcast interference was

11 relentless, causing Plaintiffs either to suspend Livestream broadcasts, to self-censor and refrain

12 from discussing issues or current events of interest to the African American community, or to

13 conduct them at odd hours without prior announcements. Defendants’ conduct in interfering with

14 Livestream broadcasts has reduced subscriber and viewer numbers for the channels of Plaintiffs

15 and other persons similarly situated, has reduced revenue generated from Livestream broadcasts

16 and from the channels overall, and has prevented the African American community from receiving

17 information about and discussing issues and current events which are important to members of that

18 community.
19               144.   Notably, for the weeks while stay at home orders were in place for the Bay Area,

20 Plaintiffs were able to conduct Livestream broadcasts unmolested. However, Defendants’

21 interference has recommenced with the lifting of stay at home orders. Defendants’ interference is

22 now ongoing.

23                      7.     Excluding Videos From “Trending” And “Up Next” Video
                               Recommendations
24
                 145.   Defendants routinely exclude videos posted by Plaintiffs and all persons similarly
25
     situated from YouTube’s “Trending” and “Up Next” Recommendations which appear on users’
26
     screens when they watch videos on YouTube. While Defendants exclude the videos of Plaintiffs
27
     and other persons similarly situated, they include in the “Trending” and “Up Next” applications
28

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 1 both reaction videos which copy, pirate, or parody the videos of Plaintiffs, and videos which violate

 2 Defendants’ Community Guidelines and/or TOS in so far as the videos contain hate speech,

 3 obscene, misogynistic, violent, threatening, or disparaging content which is directed specifically at

 4 Plaintiffs and other persons similarly situated. Defendants have continued to include these videos

 5 posted by third parties over the repeated flags, written objections, and complaints by Plaintiffs and

 6 their subscribers, and they have fully monetized many such videos despite having received flags,

 7 objections and complaints that the videos violate Defendants’ Community Guidelines and TOS.

 8                      8.     Freezing Channel Analytics Re Subscribers And Viewers
 9               146.   Defendants have stopped reporting accurate current data on the “Analytics” pages

10 for the channels of Plaintiffs and other persons similarly situated. For the past two years, many of

11 the Plaintiffs’ “Analytics” have remained the same or have varied by very small increments with

12 respect to the number of subscribers, viewers, and view time. This has been the case regardless of

13 the number of videos posted or the number of Livestream events broadcast on the channel.

14               147.   As with the Defendants’ interference with Livestream broadcasts, during the period

15 of time that stay at home orders were in effect in the Bay Area in the Spring of 2020, new and

16 larger numbers have been appearing on the “Analytics” pages for some of the channels of Plaintiffs

17 and other persons similarly situated. Whether the “Analytics” pages will continue to be updated

18 after the lifting of stay at home orders remains to be seen.
19               148.   Because Defendants stopped reporting accurate data regarding the number of

20 subscribers, viewers and view time for the channels of Plaintiffs and other persons similarly

21 situated, Plaintiffs have been unable to grow their channels, to demonstrate that they qualify for

22 Defendants’ additional benefits and perks such as monetization, Channel Membership, Mobile

23 Access, or SuperChat. Plaintiffs and other persons similarly situated have also lost revenue as they

24 are unable to prove to Defendants the number of viewers for their videos which have at least

25 limited monetization.

26

27

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 1                      9.     Promoting And Profiting From Hate Speech
 2               149.   Defendants regularly promote and monetize hate speech targeting Plaintiffs and all

 3 persons similarly situated on the YouTube platform in direct violation of Defendants’ Community

 4 Guidelines and TOS, and ignore repeated flags, reports and complaints regarding those videos.

 5               150.   Many hate speech videos targeting the African American community on YouTube

 6 include identifying information regarding Plaintiffs and other persons similarly situated, including

 7 without limitation their telephone numbers, residential addresses, registered trademarks, original

 8 copyrighted material, or personal likenesses, in direct violation of Defendants’ Community

 9 Guidelines and TOS. Plaintiffs and other persons similarly targeted on the YouTube platform have

10 followed Defendants’ published procedures to remove the hate speech, including flagging the

11 videos, reporting the violations of Defendants’ Community Guidelines and Terms of Use by email,

12 and sending follow up emails complaining of both the videos and the channels on which the videos

13 are posted. The subscribers of Plaintiffs have reported that they too have flagged, reported and

14 written follow up emails to Defendants complaining of the hate speech videos and their related

15 channels.

16               151.   Despite having received repeated, multiple flags, reports and written complaints

17 over a period of months concerning specific hate speech videos posted by Defendants’ favored

18 partners, Defendants have refused to do anything to enforce their own published Community
19 Guidelines and TOS and have not removed the videos or suspended the channels posting such

20 videos. To this day, many hate speech videos remain posted without restriction, and fully

21 monetized to generate revenue for their creators, despite having content that is patently false, racist,

22 and/or sexist, violent, abusive or obscene. Some of the hate speech videos include threats of bodily

23 harm or death specifically directed at the Plaintiffs and other persons similarly situated. Some hate

24 speech videos are posted in a way that falsely indicates that it was posted by Plaintiffs.

25               152.   Among the many YouTube channels which Defendants insulate for enforcement of

26 Community Guidelines and TOS, the channels of Tommy Sotomayor and Candace Owens

27 particularly stand out for their hateful, racist, and misogynist video content. Tommy Sotomayor

28 regularly posts videos which promote violence against members of the African American

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 1 community. Candace Owens regularly posts videos disparaging male members of the African

 2 American community. Though Plaintiffs, their subscribers and other persons similarly situated

 3 repeated flagged, reported and complained about these two channels and their posted videos, as

 4 wells as their trolls who engage in abusive, bullying conduct directed to YouTube users who

 5 mention Sotomayor or Owens, Defendants nonetheless regularly include videos posted by

 6 Sotomayor and by Owens in the “Trending,” and “Up Next” recommendation applications on the

 7 screens of African American viewers. Defendants have rendered “flag proof” the channels of

 8 Sotomayor and Owens, and videos posted there.

 9               153.   Defendants’ refusal to enforce their own Community Guidelines and TOS equally to

10 all YouTube users to eliminate hate speech videos; Defendants’ continued promotion of hate

11 speech videos by including them in the “Trending,” and “Up Next” applications; and Defendants’

12 continued monetization of hate speech videos and profiting from the sale of advertisements in

13 connection with such videos have substantially reduced racial diversity on the YouTube platform

14 and have endangered YouTube users like Plaintiffs and other persons similarly situated.

15 Defendants’ conduct has stifled the voices of Plaintiffs and other persons similarly situated, who

16 are unable to reach their intended audiences or to post videos which address or discuss issues and

17 current events of concern to the African American community because while Plaintiffs’ compliant

18 videos are wrongly removed, restricted and demonetized as “hate speech,” Defendants protect,
19 promote and profit from vile, vicious, hate speech, and personal attacks on Plaintiffs and other

20 persons similarly situated. Plaintiffs have received harassing telephone calls and written

21 communications, forcing them to change their telephone numbers and to move from their homes.

22 They have also lost subscribers, viewers and revenue as a result of Defendants’ failure and refusal

23 to enforce their own Community Guidelines and TOS equally on all YouTube users.

24                      10.    Interfering With, Obstructing, Ignoring And Delaying Appeals
25               154.   Following Defendants’ actions to limit monetization or demonetize a video, or to

26 remove or restrict a video, or to issue a strike against or to suspend a channel, Plaintiffs and other

27 persons similarly situated are forced to spend time and effort to appeal Defendants’ decision and to

28 persuade a human being to actually look at the otherwise compliant video(s) in question. Often,

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 1 appeals by Plaintiffs and other persons similarly situated drag on for months before Defendants

 2 respond to the appeal, but Defendants often do not even respond to Plaintiffs’ appeals and either

 3 ignore them entirely or confirm the action out of hand, without having a human being review the

 4 video content that was the basis for Defendants’ actions. In reality, Plaintiffs and other persons

 5 similarly situated often have no real appeal at all.

 6               155.   On those rare events when an appeal filed by Plaintiffs or other persons similarly

 7 situated are successful, after a human being actually review the video content in question and

 8 concludes that Defendants’ action was wrongly imposed, Defendants do not reimburse the creator

 9 for lost revenue from the video(s) or the channel during the appeal process. Defendants therefore

10 have a perverse incentive built in their platform regulation, filtering and curation process: by

11 automating the application of “Restricted Mode,” the monetization limitation process, and

12 authorizing members of the YouTube community to flag videos and channels following, which

13 Defendants automatically rely and act on those flags without first verifying videos/channels are in

14 violation of Community Guidelines or TOS, Defendants don’t have to pay the affected creators for

15 the use of their video content, and can withhold payment unless and until a success appeal occurs.

16 At each step of the appeal process, Defendants continue to withhold payment of revenue generated

17 by the affected videos, profiting from their own improper decisions. Defendants absolutely control

18 the process: they can ignore an appeal, delay the process by weeks, months or even years, or
19 simply confirm the adverse action without ever examining the offending video content – there is no

20 oversight, no higher authority, no way to force Defendants to follow their own Community

21 Guidelines or TOS.

22               156.   Defendants’ conduct in interfering with, obstructing, ignoring and/or delaying

23 appeals has deprived Plaintiffs and all persons similarly situated of the use of hundreds of their own

24 videos which Defendants have wrongly removed from the YouTube platform or placed in archives

25 where they cannot be viewed by anyone, have deprived Plaintiffs and all persons similarly situated

26 of subscriber and viewer numbers generated from their channels which Defendants have wrongly

27 suspended or removed from the YouTube platform, and have deprived Plaintiffs and all persons

28 similarly situated of the full financial benefits from all of their otherwise compliant videos which

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 1 Defendants have improperly removed, restricted or demonetized for any period of time.

 2 Defendants operate the YouTube platform like a Las Vegas casino, ensuring that “the house always

 3 wins,” no matter how much time, effort, or value Plaintiffs and other persons similarly situated

 4 contribute to the platform because in the end, Defendants pick the winners based on race and other

 5 immutable identity traits, and viewpoints; Defendants write and rewrite the Community Guidelines

 6 and TOS; Defendants determine which users are exempt from those Community Guidelines and

 7 TOS; and Defendants define the appeal process to be whatever they want for any given YouTube

 8 user.

 9               D.     Defendants Have Violated And Continue To Violate The Rights Of Plaintiffs
                        And The Class
10
                        1.     Kimberly Carleste Newman
11
                 157.   Plaintiff Newman has been a registered YouTube user since 2015, creating and
12
     posting approximately 1,654 videos on her “The True Royal Family” YouTube channel; and since
13
     2016, creating and posting 209 videos on her “True Royal” YouTube channel. Plaintiff Newman is
14
     an African American woman who identifies as such.
15
                 158.   Plaintiff Newman makes and posts videos that discuss and present information
16
     regarding issues and current events which are important to the African American community, from
17
     a Black perspective. While her videos are pro-Black, they are not intended solely to inform and
18
     entertain the African American Community; they are suitable for members of other communities
19
     who are sympathetic to or curious about issues and current events as perceived from a Black
20
     perspective. “The True Royal Family” channel has generated approximately 1 million views
21
     annually. The “True Royal” channel has generated approximately 200,000 views annually.
22
     Notwithstanding the substantial annual viewer numbers generated by her channels, Plaintiff
23
     Newman has only generated total revenues of $2,672.68 for videos posted on “The True Royal
24
     Family,” and $123.96 for videos posted on the “True Royal” channel.
25
                 159.   Plaintiff Newman is informed and believes that Defendants have gathered extensive
26
     information in order to generate metadata and then insert, embed, append, or associate such
27
     metadata with the videos posted to “The True Royal Family,” and “True Royal.” Defendants
28

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 1 gathered information regarding her race (Defendants know that Plaintiff Newman is an African

 2 American woman); that she makes and posts videos which have as a subject, relate to or discuss

 3 issues and current events that are important to members of the African American community; her

 4 subscribers either self-identify as members of the African American community or watch many

 5 videos posted by other creators who have self-identified as members of the African American

 6 community; and many of those who view her videos either self-identify as members of the African

 7 American community or watch videos posted by other creators who have self-identified as

 8 members of the African American community.

 9               160.   Plaintiff Newman is informed and believes that Defendants have applied “Restricted

10 Mode” and have limited monetization for videos she posted to “The True Royal Family” and “True

11 Royal” because Defendants have a policy and practice of using A.I., algorithms, and other filtering

12 tools to classify, curate, censor, and sell advertisements for YouTube videos based on metadata

13 Defendants create from information regarding the race, identity and viewpoint of creators,

14 subscribers and viewers, rather than the content of the videos posted to the YouTube platform.

15               161.   Defendants have applied “Restricted Mode” and have limited monetization to nearly

16 all of the videos which remain visible to viewers on “The True Royal Family,” and nearly all of the

17 videos posted to “True Royal,” despite the fact that each of the videos fully complies with all of

18 Defendants’ Community Guidelines and TOS, and contain no nudity, sexualized scenes or
19 language, graphic depictions of sex or violence, drug abuse, or alcohol consumption. Defendants

20 have applied “Restricted Mode” to most of the videos posted, and have allowed only very limited

21 monetization for some videos, without any explanation or rationale for doing so. Plaintiff Newman

22 is informed and believes that the sole reason that Defendants have acted in this fashion is that

23 Defendants discriminate against Plaintiffs and other persons similarly situated based on race, e.g.,

24 the videos were created by an African American; the videos relate to issues and events of concern

25 to the African American community, and the videos are viewed by large numbers of members of

26 the African American community.

27               162.   For various periods, off and on, throughout the past five years, Defendants have

28 shadow banned both individual videos posted by Plaintiff Newman, and her channels, “The True

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 1 Royal Family,” and “True Royal.” Viewers have informed Plaintiff Newman that they were unable

 2 to locate individual videos using YouTube search applications and terms such as “Kimberly

 3 Santana,” “The True Royal Family,” “True Royal,” or using as search terms the names of

 4 individual videos posted by Plaintiff Newman. Viewers have further informed Plaintiff Newman

 5 that when they searched for “African American” video content, YouTube search applications

 6 produced videos posted by Tommy Sotomayor consisting of hate speech and content which

 7 disparages members of the African American Community.

 8               163.   Defendants do not provide any receipt or record of any kind when YouTubers

 9 “flag,” report, or complain about videos posted by other YouTube creators. Because of

10 Defendants’ practices regarding such YouTube users’ efforts to obtain redress for violations of

11 their rights, individual creators like Plaintiffs and other persons similarly situated are not able to

12 prove that they, in fact, flagged any individual video or channel. For those users whom Defendants

13 disfavor, the videos and channels are not automatically removed, restricted or demonetized, and the

14 injured YouTube user cannot prove that she flagged the noncompliant or infringing video or

15 channel. Rather, disfavored users like Plaintiffs and other persons similarly situated are left to

16 make repeated written reports and complaints regarding the noncompliant or infringing video or

17 channel, often, to no effect whatsoever. Defendants merely ignore those written reports and

18 complaints too.
19               164.   Plaintiff Newman registered “The True Royal Family” name and an associated

20 image as trademarks. As part of the channel creation process, Defendants ask YouTube creators if

21 they are using marks which have been registered as a trademark. When she created “The True

22 Royal Family” channel, Plaintiff Newman informed Defendants that she had registered her channel

23 name and a specific image used with thumbnail tiles as trademarks. Nonetheless, Defendants

24 refused to remove videos using Plaintiff Newman’s registered trademark image from the channels

25 of other YouTube creators in response to Plaintiff’s repeatedly flagging such videos, reporting the

26 trademark infringement for the mark by the channel, and repeated unauthorized uses of “The True

27 Royal Family” name. For a period of years, Defendants have ignored Plaintiff Newman’s

28

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 1 complaints and allowed other YouTube users to infringe on her trademarks with impunity, in

 2 violation of Defendants’ own Community Guidelines and TOS.

 3               165.   While Defendants refuse to protect the intellectual property of Plaintiffs and other

 4 persons similarly situated, Defendants routinely flag or remove videos, and suspend channels for

 5 violating the intellectual property of others. Defendants flagged a video posted by Plaintiff

 6 Newman in which she personally sings acapella a song written by Stevie Wonder on grounds that

 7 she was infringing the copyright for the song. Plaintiff’s channel was suspended for two weeks for

 8 the purported infringement.

 9               166.   In September 2019, a third party hacked “The True Royal Family” channel and

10 removed over 600 of Plaintiff Newman’s videos so that neither the public nor Plaintiff Newman

11 could view, access, or download any of the videos or portions thereof. Plaintiff Newman promptly

12 applied to Defendants, asking that they restore the videos to “The True Royal Family” channel.

13 Defendants agreed to return the videos, but has not done so.

14               167.   Months later, in 2020, rather than restoring the original 600+ videos, Defendants

15 removed another group of videos from the channel totaling more than 100 individual videos.

16 Plaintiff Newman again appealed to Defendants to restore or return all of the 700+ missing videos

17 removed from “The True Royal Family,” but Defendants have failed and refused to do so without

18 any explanation as to why the original 600+ videos have not been restored, why the additional
19 100+ videos were removed, or why they have not been restored or returned.

20               168.   Plaintiff Newman has been deprived of subscribers, viewers and revenue from the

21 700+ missing videos for more than nine months, and Defendants have done nothing to address her

22 ongoing injury or lost revenue.

23               169.   Defendants have used A.I., algorithms, and filtering tools to restrict the reach of her

24 videos and to prevent her from increasing subscriber and viewer numbers to grow her channels and

25 generate revenue. For the past several years, the analytics page reflecting subscriber and viewer

26 numbers for “The True Royal Family” channel have remained steady, varying little from month to

27 month regardless of the number of new videos posted or the Livestream broadcasts. To avoid the

28 impact of Defendant’ A.I., algorithms and filtering tools on Defendants’ metadata generated from

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 1 video titles and tags, Plaintiff Newman intentionally self-censors: (a) she avoids using

 2 controversial video titles; (b) she avoids using abbreviations like “BLM,” “KKK;” terms such as

 3 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

 4 Shootings,” “Police Brutality,” “Black Lives Matter;” names, such as those of individuals such as

 5 those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan;” names of organizations such as

 6 “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and euphemisms that are known and

 7 particular to the African American Community; she intentionally misspells terms such as “Black,”

 8 “White,” “Race,” “Racism,” and “Racial Profiling,” because Defendants routinely flags such terms.

 9               170.   Despite her efforts to self-censor and avoid the reach of Defendants’ A.I.,

10 algorithms, and filtering tools, most of the videos posted on “The True Royal Family” and “True

11 Royal” have only limited monetization, if any, and produce next to no revenue.

12               171.   Plaintiff Newman has increasingly turned to Livestream broadcasts to generate

13 revenue from her video content. Viewers can make monetary donations to YouTube creators like

14 Plaintiffs using SuperChat during Livestream broadcasts. However, for the past two years,

15 Defendants have been interfering with Livestream broadcasts on “The True Royal Family.”

16 Subscribers to “The True Royal Family” have informed Plaintiff Newman that their favorable

17 comments have been interrupted or removed, they have been booted off of the Livestream or

18 prevented from posting comments, and they have been prevented from making donations during
19 Livestream broadcasts. The subscribers’ experiences, as related to Plaintiff Newman, involve

20 conduct which is the exclusive province of the channel owner or their designated moderator(s).

21 Plaintiff Newman had not designated any moderator for the Livestream broadcasts which were the

22 subjects of subscriber complaints. Defendants also have been throttling, interrupting and even

23 cutting off Livestream video broadcasts in the middle of the event. Additionally, Defendants have

24 been inserting voice and visual content which blocks out that which Plaintiff Newman is posting

25 live.

26               172.   Defendants’ conduct during “The True Royal Family” Livestream broadcasts have

27 reduced subscriber participation and interest in such events, have reduced new viewer participation,

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 1 and have reduced the number and size of viewer donations to “The True Royal Family” channel

 2 depriving Plaintiff Newman of new subscribers and revenue.

 3               173.   Plaintiff Newman has also experienced significant and extended bullying,

 4 harassment, disparaging remarks and threats of physical violence on YouTube, both in the form of

 5 trolls leaving comments on “The True Royal Family” channel, and in the form of abusive and

 6 threating videos posted by other YouTube creators. Videos bearing Plaintiff Newman’s name, and

 7 containing profanity and obscene content have been posted on the YouTube platform. A video

 8 threating to kill her was also posted on the platform. Such videos violate Defendants’ Community

 9 Guidelines and TOS, and should be removed as such. However, Defendants’ A.I., algorithm, and

10 other filtering tools not only failed to identify these violations of the applicable rules, Defendants

11 failed and refused to respond to efforts by Plaintiff and her subscribers to flag the videos, or to

12 written reports and complaints regarding the disparaging and threatening videos, much less to

13 enforce Defendants’ own public standards and remove the videos or suspend the channels

14 responsible for posting the videos.

15               174.   As a direct and proximate result of Defendants’ racial discrimination and wrongful

16 conduct, “The True Royal Family” and “True Royal” have not substantially increased their

17 respective subscriber and viewer numbers in recent years. Plaintiff Newman has suffered, and

18 continues to suffer from the loss of 700+ individual videos, improper application of Defendants’
19 A.I., algorithms, and other filtering tools resulting in the shadow banning of her videos and her

20 channels, the misapplication of “Restricted Mode,” the improper limitations on monetization for

21 most of her videos, violations of her intellectual property rights and personal disparagement and

22 threats to her person. Defendants’ conduct is willful, intentional and unlawful in discriminating

23 against Plaintiff based on her race, identity and viewpoints, and those of her subscribers and

24 viewers in limiting access to the YouTube platform, related benefits, and opportunities to generate

25 revenue.

26                      2.     Lisa Cabrera
27               175.   Plaintiff Cabrera has been a registered YouTube creator since 2015 when she

28 created the “Lisa Cabrera” channel. Plaintiff Cabrera registered “Lisa Cabrera” as a trademark in

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 1 connection with her YouTube channel. 4,423 individual videos have been posted to the “Lisa

 2 Cabrera” channel, 68 of those videos were archived by Defendants. The “Lisa Cabrera” videos

 3 have generated more than 20 million views, with 830,000 views in just the past 28 days.

 4               176.   Plaintiff Cabrera is a YouTube partner. She creates and posts videos about current

 5 events and news on her channels, displaying pictures and news clips in her videos with original

 6 voice over commentary and narration accompanying the visual images. Despite the substantial

 7 number of total and monthly views generated by the “Lisa Cabrera” channel, it has only generated

 8 revenue totaling $25,500 over the past four years.

 9               177.   Plaintiff Cabrera is informed and believes that Defendants have gathered extensive

10 information in order to generate metadata and then insert, embed, append, or associate such

11 metadata with the videos posted to “Lisa Cabrera,” and “Lisa C.” Defendants gathered information

12 regarding her race (Defendants know that Plaintiff Cabrera is an African American woman); that

13 she makes and posts videos which have as a subject, relate to or discuss news and current events

14 that are important to members of the African American community; her subscribers either self-

15 identify as members of the African American community or watch many videos posted by other

16 creators who have self-identified as members of the African American community; and many of

17 those who view her videos either self-identify as members of the African American community or

18 watch videos posted by other creators who have self-identified as members of the African
19 American community.

20               178.   Plaintiff Cabrera is informed and believes that Defendants have applied “Restricted

21 Mode” and have limited monetization for videos she posted to “Lisa Cabrera” and “Lisa C”

22 because Defendants have a policy and practice of using A.I., algorithms, and other filtering tools to

23 classify, curate, censor, and sell advertisements for YouTube videos based on metadata Defendants

24 create from information regarding the race, identity and viewpoint of creators, subscribers and

25 viewers, rather than the content of the videos posted to the YouTube platform.

26               179.   Defendants have applied “Restricted Mode” and have limited monetization to most

27 of the videos on “Lisa Cabrera,” despite the fact that each of the videos fully complies with all of

28 Defendants’ Community Guidelines and TOS, and contains no nudity, sexualized scenes or

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 1 language, graphic depictions of sex or violence, drug abuse, or alcohol consumption. Defendants

 2 have applied “Restricted Mode” to most of the videos posted, and have allowed only very limited

 3 monetization for some videos, without any explanation or rationale for doing so. Plaintiff Cabrera

 4 is informed and believes that the sole reason that Defendants have acted in this fashion is that

 5 Defendants discriminate against Plaintiffs and other persons similarly situated based on race, e.g.,

 6 Defendants restrict and demonetize the videos because they were created by an African American;

 7 they relate to issues and events of concern to the African American community, and they are

 8 viewed by large numbers of members of the African American community.

 9               180.   In addition to the Defendants’ efforts to reduced Plaintiff Cabrera’s reach by

10 misapplication of “Restricted Mode,” for various periods, off and on, throughout the past five

11 years, Defendants have shadow banned both individual videos posted by Plaintiff Cabrera, and her

12 channels, “Lisa Cabrera,” and “Lisa C” in their entirety. Viewers have informed Plaintiff that they

13 were unable to locate individual videos using YouTube search applications and terms such as “Lisa

14 Cabrera,” “Lisa C,” or using as search terms the names of individual videos posted by Plaintiff

15 Cabrera.

16               181.   Because Defendants single out Plaintiffs and other persons similarly situated for

17 rigorous enforcement of Defendants’ Community Guidelines and TOS, to avoid receiving a

18 “strike” for copyright infringement and related channel suspension, Plaintiff Cabrera is careful
19 about complying with ‘fair use’ rules when using clips from someone else’s videos: she keeps

20 news clips short, averaging 1-4 minutes in length; she does not alter the original material in any

21 way; she always gives full credit in the video to the source of the original material of others.

22               182.   Sometimes, Plaintiff Cabrera posts identical videos both on the “Lisa Cabrera”

23 channel and the “Lisa C” back up channel to see if they generate similar viewer numbers and are

24 treated the same by Defendants’ A.I., algorithms and other filtering tools. Sometimes, the identical

25 videos posted on the “Lisa C” channel generate more viewers and revenue than those posted on the

26 “Lisa Cabrera” channel. On six different occasions, Defendants flagged the “Lisa C” channel for

27 posting “100% of the video of another YouTube creator, despite the fact that the video was created

28 by Plaintiff Cabrera, registered owner of both channels, and despite Plaintiff Cabrera’s written

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 1 communications to Plaintiffs notifying them that she had given permission to “Lisa C” to repost

 2 each of the videos. Ultimately, Plaintiff was forced to archive each of the six videos that

 3 Defendants had flagged on the “Lisa C” channel simply because Defendants claimed that she was

 4 violating her own copyright on her own channel.

 5               183.   Defendants removed 68 of Plaintiff Cabrera’s videos without notice, explanation or

 6 justification other than the videos involved copyright infringements. Though she promptly

 7 appealed each removal, she was unable to have Defendants resolve the removal of the videos.

 8 Defendants permanently archived those 68 videos. Now they cannot be viewed, accessed or copied

 9 by anyone. They are simply “lost” to Plaintiff Cabrera. Defendants never informed Plaintiff

10 whether someone had flagged any of these videos; who, if anyone, asserted a copyright interest in

11 any content of any individual video; what, if anything, in the video triggered the Defendants’

12 conduct. Without such information, Plaintiff Cabrera could neither understand the Defendants’

13 strike against any one video or attempt to resolve the strike for any video.

14               184.   Defendants wrongly suspended the “Lisa Cabrera” channel for “hate speech in

15 connection with a video Plaintiff posted commenting on a report by NBC regarding the purchase of

16 illicit narcotics on the dark web. Plaintiff Cabrera promptly appealed the suspension. Defendants

17 rejected the appeal and refused to actually watch the video. It was only after Plaintiff Cabrera filed

18 a case against Defendants in small claims court that Defendants finally contacted Plaintiff Cabrera
19 and informed her that the suspension was erroneous. In all, “Lisa Cabrera” was suspended and

20 fully demonetized for six weeks due to Defendants’ error.

21               185.   Following the lifting of the suspension for the “Lisa Cabrera” channel, the channel

22 remained demonetized, without the SuperChat application, and with 0 subscribers listed for the

23 channel. Defendants waited two additional weeks to restore monetization for individual videos,

24 SuperChat and the prior existing subscribers for the channel. In all, Plaintiff Cabrera lost 8 weeks

25 of revenue due to Defendants’ wrongful conduct and refusal to even look at the video content that

26 they had improperly flagged as “hate speech.” Defendants never offered to compensate her for the

27 lost revenue they caused.

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 1               186.   Defendants deputize YouTube users (those who are not members of disfavored

 2 groups like those to which Plaintiffs and other persons similarly situated belong) to flag videos and

 3 channels that purportedly violate Defendants’ Community Guidelines and TOS, and then

 4 automatically remove, restrict, or demonetize flagged videos, and suspend or remove flagged

 5 channels, without verifying that the videos or channels in question actually violate any published

 6 standard. As a result of Defendants’ abdication to anonymous YouTubers of responsibility for

 7 enforcing applicable standards, Plaintiffs and other persons similarly situated are subjected to

 8 racist, misogynist, abusive trolls who target Plaintiffs’ videos and channels for adverse action by

 9 Defendants.

10               187.   In January of this year, Defendants again suspended all monetization for videos

11 posted to “Lisa Cabrera” following a threat made by YouTube user, Oxyman, during a Livestream

12 broadcast on his channel where he vowed, “I’m gonna make sure [Lisa Cabrera’s] channel gets

13 demonetized.” Plaintiff Cabrera is informed and believes that Oxyman flagged her channel

14 purportedly for violating Defendants’ Community Guidelines or TOS. Without taking any steps to

15 verify the flag or reported violation, Defendants then demonetized the “Lisa Cabrera” channel in

16 January of this year without any prior notification or explanation given to Plaintiff.

17               188.   Thereafter, Plaintiff Cabrera promptly appealed the Defendants’ action. Defendants

18 informed her that she could reapply for access to monetization only after waiting 30 days.
19               189.   After 60 days, Defendants restored monetization for the “Lisa Cabrera” channel

20 videos without any explanation as to why they had demonetized the channel to begin with.

21 Defendants never offered to compensate her for the lost revenue they caused by blindly assuming

22 the validity of Oxyman’s flag on the “Lisa Cabrera” channel.

23               190.   To compound the financial injury to Plaintiff Cabrera, during this same period,

24 Defendants were running advertisements for the World Health Organization regarding Covid-19

25 prevention, and receiving advertising revenue at the same time that “Lisa Cabrera” was completely

26 demonetized.

27               191.   Plaintiff Cabrera has also been the subject of improper posts by YouTube creator,

28 Michael Anderson, a known white supremacist. Michael Anderson posted a false video which had

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 1 as a subject Plaintiff Cabrera and disparaged her personally. Mr. Anderson also posted Plaintiff’s

 2 name and residential address in the comments section of his video. After recording an image of the

 3 video displaying Lisa Cabrera’s name and address in the comments section; Mr. Anderson then

 4 removed the video and reposted it without Lisa Cabrera’s address.

 5               192.   Following Mr. Anderson’s posting of the video and Plaintiff Cabrera’s residential

 6 address, numerous additional copies of the video with the address in the comments section

 7 appeared on multiple additional YouTube channels.

 8               193.   Plaintiff Cabrera used Defendants’ reporting tool, which sent links to the video to

 9 Defendants. Defendants never responded to Plaintiff. Approximately fifty of the subscribers to the

10 “Lisa Cabrera” channel informed Plaintiff that they too had reported links to the video to

11 Defendants using the reporting tool. Defendants took no apparent steps to remove the disparaging

12 video featuring Plaintiff Cabrera’s name and false information regarding her, despite the fact that

13 the video clearly violated Defendants’ Community Guidelines and TOS, while ignoring dozens of

14 reports with links flagging the Michael Anderson video.

15               194.   On another occasion, Michael Anderson made and posted another video which had

16 Plaintiff Cabrera as the subject, and “Lisa Cabrera” in the video’s title. This video featured an

17 image of Mr. Anderson in a car brandishing a revolver and talking about Plaintiff Cabrera. Again,

18 Plaintiff Cabrera used Defendants’ reporting tool and sent to Defendants a link to the video which
19 communicated a clear threat of violence by Mr. Anderson against Plaintiff Cabrera. Again multiple

20 subscribers to “Lisa Cabrera” communicated to Plaintiff that they too had flagged the video using

21 Defendants’ reporting tool. And again, Defendants did absolutely nothing to remove the video, or

22 to suspend or remove Michael Anderson’s channel for violating Defendants’ Community

23 Guidelines or TOS.

24               195.   As a direct and proximate result of Defendants’ blatant and overt racial

25 discrimination and wrongful conduct, “Lisa Cabrera” has not grown in subscriber numbers, viewer

26 numbers or view times as the channel would have otherwise grown absent Defendants’ conduct.

27 Plaintiff Cabrera has been subjected to public disparagement, racist and misogynist abuse, public

28 posting of her private contact information and overt threats of physical violence – all of which has

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 1 occurred with the tacit, if not overt, approval of Defendants who have repeatedly refused to enforce

 2 their own Community Guidelines and TOS. Plaintiff Cabrera has suffered lost revenue directly due

 3 to Defendants’ racist profiling, A.I., algorithms and other filtering tools, while her channel was

 4 demonetized, while her channel was suspended, while Defendants have held her 68 videos in

 5 “archive,” and Defendants continue to misapply “Restricted Mode” and limited monetization to

 6 individual videos she has posted.

 7                      3.     Catherine Jones
 8               196.   Plaintiff Catherine Jones (“Plaintiff Jones”) is an African American woman residing

 9 in the State of Vermont who is the creator and owner of “Cooking with Carmen Caboom,” a

10 YouTube cooking channel for African Americans, and “Carmen Caboom,” and “Carmen Caboom

11 Reloaded,” two YouTube channels dedicated to developing and posting both parodies and serious

12 videos which discuss and present information regarding issues and current events which are

13 important to the African American community.

14               197.   Plaintiff Jones created the “Carmen Caboom” channel in 2010, a backup “Carmen

15 Caboom” channel in 2014, the “Cooking with Carmen Caboom” channel in 2015 and the “Carmen

16 Caboom Reloaded,” channel in 2018. Defendants improperly removed the original “Carmen

17 Caboom” channel for purported nudity when no video posted to the channel included any nudity.

18               198.   Plaintiff Jones is also a YouTube partner. Since creation, Plaintiff Jones” 2014
19 “Carmen Caboom” channel has posted many videos, several of which Defendants improperly

20 removed as hate speech, the remaining videos have garnered approximately 500 -1,200 views per

21 video overall which have generated approximately $500 per year.

22                      4.     Denotra Nicole Lewis
23               199.   Plaintiff Lewis has been a registered YouTube user since 2006 and has posted her

24 own videos on her YouTube channel, “Nicole’s View” since 2016. When she registered “Nicole’s

25 View,” Plaintiff Lewis answered Defendants’ online questionnaire and self-identified as African

26 American or Black. Had Defendants not requested that she provide personal information about

27 herself for her profile, Plaintiff Lewis would not have done so. When she provided this

28 information, she had no idea that Defendants would use information about her race to generate

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 1 metadata about her, the videos she watched, and the videos she posted or that Defendants would

 2 insert, embed or associate such metadata with videos she posted, with her subscribers or with her

 3 viewers, much less that Defendants would do so to sell advertising based on race, identity or

 4 viewpoint; or that Defendants would filter, censor or restrict her videos based on information

 5 regarding her race, identity or viewpoint.

 6               200.   Plaintiff Lewis creates and posts videos to inform and entertain the African

 7 American community with respect to current events and issues of import to Black Americans. To

 8 date, she has posted 748 videos to her channel, some of which Defendants have removed from the

 9 platform, leaving only 731 of which remain available to be viewed by the public. While “Nicole’s

10 View” has generated in excess of 10.6 million views since 2016, she has generated approximately

11 $25,000 in all from those views.

12               201.   Plaintiff Lewis is informed and believes that Defendants have gathered extensive

13 information in order to generate metadata based on that information, and then insert, embed,

14 append, or associate such metadata with videos posted on “Nicole’s View.” Defendants gathered

15 information regarding her race (Defendants know that Plaintiff Lewis is an African American

16 woman); that she makes and posts videos which have as a subject, relate to or discuss issues and

17 current events that are important to members of the African American community; her subscribers

18 either self-identify as members of the African American community or watch many videos posted
19 by other creators who have self-identified as members of the African American community; and

20 many of those who view her videos either self-identify as members of the African American

21 community or watch videos posted by other creators who have self-identified as members of the

22 African American community.

23               202.   Plaintiff Lewis is informed and believes that Defendants have applied “Restricted

24 Mode” and have limited monetization for the videos she posted to “Nicole’s View” because

25 Defendants have a policy and practice of using A.I., algorithms, and other filtering tools to classify,

26 curate, censor, and sell advertisements for YouTube videos based metadata Defendants create from

27 information regarding the race, identity and viewpoint of creators, subscribers and viewers, rather

28 than the content of the videos.

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 1               203.   Defendants routinely limit viewer access by applying “Restricted Mode” and by

 2 limiting monetization to most of the videos posted on the “Nicole’s View” channel, despite the fact

 3 that the videos fully comply with all of Defendants’ Community Guidelines and TOS, and contain

 4 no nudity, sexualized scenes or language, graphic depictions of sex or violence, drug abuse, or

 5 alcohol consumption. Defendants have applied “Restricted Mode” to most of the videos posted,

 6 and have allowed only limited monetization to some videos, without any explanation or rationale

 7 other than to indicate that the “content identified is unsuitable for most advertisers.” Plaintiff

 8 Lewis is informed and believes that the sole reason that Defendants find the content is “unsuitable

 9 for most advertisers,” is because Defendants discriminate against Plaintiffs and other persons

10 similarly situated based on race, e.g., the content was created by an African American, relates to

11 issues and events of concern to the African American community, and is viewed by many members

12 of the African American community.

13               204.   For certain periods over the past four years, Defendants have shadow banned certain

14 individual compliant videos posted by Plaintiff Lewis on “Nicole’s View.” During various periods

15 of time, those videos did not appear in YouTube searches using the terms “Nicole Lewis,” or

16 “Nicole’s View,” or using their individual video titles as search terms.

17               205.   “Nicole’s View” video content consists roughly of 75% pre-recorded videos and

18 25% Livestream broadcasts. For Livestream broadcasts, she sometimes has as many as 1000
19 viewers participating. Plaintiff Lewis employs designated moderators to monitor, control and

20 censor viewer comments to ensure compliance with Defendants’ Community Guidelines and TOS,

21 promptly removing any non-compliant comments and blocking offending participants.

22               206.   For the past two years, Defendants have used A.I., algorithms, and filtering tools to

23 restrict the reach of videos posted on “Nicole’s View,” resulting in stagnant subscriber and viewer

24 numbers. “Nicole’s View” is no longer growing. The channel’s analytics page from month to

25 month reflects only minor changes to the numbers of subscribers, viewers, and view times. To

26 avoid the impact of Defendant’ A.I., algorithms and filtering tools on Defendants’ metadata

27 generated from video titles and tags, Plaintiff Lewis intentionally self-censors: (a) she avoids using

28 controversial video titles; (b) she avoids using abbreviations like “BLM,” “KKK;” terms such as

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 1 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

 2 Shootings,” “Police Brutality,” “Black Lives Matter;” names, such as those of individuals such as

 3 those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan;” names of organizations such as

 4 “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and euphemisms that are known and

 5 particular to the African American Community; she intentionally misspells terms such as “Black,”

 6 “White,” “Race,” “Racism,” and “Racial Profiling,” because Defendants routinely flags such terms.

 7               207.   Despite Plaintiff Lewis’ efforts to self-censor and avoid the reach of Defendants’

 8 A.I., algorithms, and filtering tools, most of the videos posted on “Nicole’s View” have only

 9 limited monetization, if any.

10               208.   On February 11, 2020, Plaintiff Lewis received an email from Defendants indicating

11 that “SuperChat was disabled,” purportedly because “Nicole’s View” was using the original

12 content of other YouTubers. However, after a week, it became apparent that Defendants had not

13 merely disabled SuperChat, but had completely demonetized the entire “Nicole’s View” channel.

14 Defendants did so without notice or explanation. Plaintiff Lewis promptly filed an appeal of the

15 decision to disable SuperChat and to demonetize the entire channel.

16               209.   Mindful of the stringent standards which Defendants have always applied to the

17 channels of Plaintiffs and other persons similarly situated, Plaintiff Lewis has always followed

18 Defendants’ Community Guidelines, and TOS. Whenever she uses a news clip, she limits the clip
19 to several minutes and generates her own original commentary as video content to accompany the

20 clip. The originators of all news clips incorporated into videos posted by Plaintiff Lewis are always

21 accorded full proper and credit in the video so that there is no possibility of viewers confusing the

22 news clip with her original commentary or content.

23               210.   Defendants did not respond to Plaintiff Lewis’ appeal. On or about June 7, 2020,

24 she suddenly noticed that Defendants had resumed placing advertisements on videos posted to

25 “Nicole’s View.” When she checked the channel’s analytics page, it reflected that her monetized

26 videos were again generating revenue and her Livestream broadcasts were generating donations.

27 Defendants have neither explained why the channel was fully demonetized for nearly two months,

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 1 nor why it was remonetized; nor have they offered compensation for the revenue which the channel

 2 lost during that period.

 3               211.   As a direct and proximate result of Defendants’ racial discrimination and wrongful

 4 conduct, “Nicole’s View” has not grown in subscriber numbers, viewer numbers or view times and

 5 it would have grown otherwise and Plaintiff Lewis has been deprived of significant revenue from

 6 Defendants’ sale of advertising, SuperChat and Livestream donations over the life of her channel.

 7 Plaintiff Lewis’ videos were all fully demonetized between February 11, 2020 and June 7, 2020,

 8 during which period “Nicole’s View” generated no income whatsoever.

 9 V.            CLASS ALLEGATIONS
10               212.   Plaintiffs bring this action on behalf of themselves and a putative class of similarly

11 situated persons who use or have used YouTube or any of the services that Defendants offer in

12 connection with YouTube and who come within the definition or classification of a protected class

13 of persons under 42 U.S.C. 1981 (the “Class”).

14               213.   Each and every claim alleged in this case is also alleged on behalf of every member

15 of the Class.

16               214.   The Class seeks both monetary damages, restitution, and/or other injunctive relief on

17 behalf of any persons who fall within the Class Definition:

18               All persons or entities in the United States who are or were:
19                      (i) a person or entity defined or classified as a protected class or

20                      person under 42 U.S.C. §1981; and

21                      (ii) are members, users and or consumers of YouTube who uploaded,

22                      posted, or viewed video content on YouTube subject to

23                      Google/YouTube’s Terms of Service, Mission Statement,

24                      Community Guidelines, and/or any other content-based filtering,

25                      monetization, distribution, personal data use policies, advertising or

26                      regulation and practices any other regulations or practices that are

27                      related to the YouTube Platform on or after January 1, 2015 and

28                      continuing through to June 16, 2020 (the “Class Period”).

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 1                      Excluded from the Class are Defendants and their employees,

 2                      affiliates, parents, subsidiaries, and co-conspirators, whether or not

 3                      named in this Complaint, and the United States government.

 4               215.   Class certification for the Class is authorized under Federal Rule of Civil Procedure

 5 23 and applies to both claims for injunctive and equitable relief, including restitution, under Rule

 6 23(b) (2) and for monetary damages under Rule 23(b)(3).

 7               216.   There are at least 42 million members of the Class.

 8               217.   The number of persons who fall within the definitions of the Class are so numerous

 9 and geographically dispersed so as to make joinder of all members of the Class or Subclass in their

10 individual capacities impracticable, inefficient, and unmanageable, and without class wide relief,

11 each member of the Class would effectively be denied his, her, its, or their rights to prosecute and

12 obtain legal and equitable relief based on the claims and allegations averred in this Complaint.

13               218.   There are questions of law and fact common to the Class that relate to and/or are

14 dispositive of the nature and allegations of unlawful conduct alleged in the Complaint, and the

15 nature, type and common pattern of injury and harm caused by that unlawful conduct and sustained

16 by the putative members of the Class and Subclass including, but not limited to:

17                      a.     Whether Defendants’ regulations and content-based restrictions violate the

18 free speech, antidiscrimination, consumer fraud and unfair competition, and contractual rights of
19 the members of the Class with respect to each cause of action averred by the Plaintiffs below.

20                      b.     Whether Defendants concealed, misrepresented or omitted to disclose

21 material policies and practices regarding the unlawful regulation of video content, advertising,

22 distribution, monetization, contractual obligations, and characteristics of the YouTube Platform to

23 the members of the Class;

24                      c.     Whether Defendants use or have used unlawful, discriminatory,

25 anticompetitive and fraudulent, deceptive, unfair, and/or bad faith filtering tools and practices, in

26 the code and operation of their machine based, algorithmic, or A.I. filtering tools, and/or other

27 practices and procedures to review, regulate, and restrict content, and/or regulate and restrict the

28 advertising, monetization, distribution, and property rights of the Class;

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 1                  d.     Whether Defendants are or have engaged in discriminatory practices against

 2 the members of the Class based on protected characteristics under 42 U.S.C § 1981 or the Unruh

 3 Civil Rights Act;

 4                  e.     Whether Defendants breached or are in breach of their form consumer

 5 contracts and obligations to the Class;

 6                  f.     Whether Defendants have or are engaged in unlawful, deceptive, unfair, or

 7 anticompetitive practices that violate federal or California law, and harmed and injured the Class;

 8                  g.     Whether the conduct of Defendants, as alleged in this Complaint, caused

 9 injury to the business and property of Plaintiffs and the members of the Class;

10                  h.     Whether Defendants’ alleged regulations, practices, and conduct have caused

11 or threaten to cause irreparable harm to the speech of the Class so as to warrant the issuing of

12 temporary, preliminary and/or final injunctive relief and corresponding declaratory relief with

13 respect to the legal rights of the Class;

14                  i.     The scope, nature, substance, and enforcement of injunctive and equitable

15 relief sought by the Class;

16                  j.     Whether Defendants were unjustly enriched or obtained profits or ill-gotten

17 financial gains as a result of the unlawful, discriminatory, deceptive, unfair, or anticompetitive

18 practices perpetrated against the Class;
19                  k.     Whether Defendants breached or are in breach of their contractual

20 obligations, implied duty of good faith and fair dealing, and or other promises under the consumer

21 form contracts entered into with members of the Class during the Class Period;

22                  l.     Whether Defendants’ content-based regulations and filtering practices, on

23 their face and/or as applied, violate the free speech rights of Plaintiffs and the Class under

24 California or federal law; and

25                  m.     whether the Class is entitled to declaratory and other relief based on

26 Defendants’ assertion of immunity from liability under the Communications Decency Act, 15

27 U.S.C. § 230 (c) (the “CDA”), with respect to any of the claims or allegations asserted by Plaintiffs

28 and the Class in this Lawsuit.

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 1               219.   Each of individual named Plaintiffs is a person protected under 42 U.S.C. § 1981,

 2 and a member of the Class.

 3               220.   The claims of Plaintiffs are typical of and identical to those of the Class.

 4               221.   Plaintiffs will fairly and adequately protect the interests of the members of the Class.

 5               222.   Plaintiffs are represented by counsel who are competent and experienced in the

 6 prosecution and defense of similar claims and litigation, including class actions filed, prosecuted,

 7 defended, or litigated in under California and federal law, in California and federal courts, in

 8 connection with claims and certification of consumer and civil rights classes composed of members

 9 who reside in California and/or the United States.

10               223.   The prosecution of separate actions by individual members of the Class would

11 create a risk of inconsistent or varying adjudications.

12               224.   The questions of law and fact common to the members of the Class predominate

13 over any questions of law or fact affecting only individual members of the Class or Subclass,

14 including legal and factual issues relating to liability and the nature of the harm caused by

15 Defendants’ unlawful actions.

16               225.   The questions of law and fact common to the members of the Class also

17 predominate over any questions of law or fact affecting only individual members of the Class

18 because all claims in this Lawsuit are governed under California or controlling federal law,
19 including legal and factual issues relating to liability and the nature of the harm caused by

20 Defendants’ unlawful actions.

21               226.   A class action is superior to other available methods for the fair and efficient

22 adjudication of this controversy. Treatment as a class action will permit a large number of

23 similarly situated persons to adjudicate their common claims in a single forum simultaneously,

24 efficiently and without the duplication of effort and expense that numerous individual actions

25 would engender.

26               227.   Certification of the Class is also superior to other available methods for the fair and

27 efficient adjudication of this controversy because and all claims in this Lawsuit must be brought

28 and venued in a court of competent jurisdiction located Santa Clara County.

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 1               228.    The Class are readily definable and are categories for which records should and do

 2 exist in the files of Defendants.

 3               229.    The prosecution as a class action will also eliminate the possibility of repetitious

 4 litigation.

 5               230.    Class treatment will also permit the adjudication of smaller claims by members of

 6 the Class who otherwise could not afford to litigate or assert the claims asserted by Plaintiffs in this

 7 Lawsuit.

 8 VI.           INDIVIDUAL CAUSES OF ACTION
 9                                         FIRST CAUSE OF ACTION
                  REQUEST FOR A DECLARATORY JUDGMENT THAT SECTION 230(c)
10                   IMMUNITY IS INAPPLICABLE TO DISCRIMINATION CLAIMS
                          (On Behalf Of Each Plaintiff Individually And The Class)
11               231. Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
12 each of the allegations set forth in paragraphs 1 through 230 above.

13               A.      Procedural Background Facts
14               232.    The CDA provides “Protection for ‘Good Samaritan’ blocking and screening of
15 offensive material:”

16               (1) Treatment of publisher or speaker
17               No provider or user of an interactive computer service shall be treated as the publisher or
18               speaker of any information provided by another information content provider.
19               (2) Civil liability
20               No provider or user of an interactive computer service shall be held liable on account of —
21               (A) any action voluntarily taken in good faith to restrict access to or availability of material
22               that the provider or user considers to be obscene, lewd, lascivious, filthy, excessively
23               violent, harassing, or otherwise objectionable, whether or not such material is
24               constitutionally protected; or (B) any action taken to enable or make available to
25               information content providers or others the technical means to restrict access to material
26               described in paragraph (1). 47 U.S.C. § 230(c).
27

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 1               233.   On November 19, 2019, the Honorable Brian C. Walsh, Judge of the Superior Court

 2 of the County of Santa Clara (the “State Court”), ruled in Prager University v. Google LLC, Santa

 3 Clara County Superior Court Case No. 19CV340667,that 47 U.S.C. § 230(c) “immunizes service

 4 providers [such as Defendants] who endeavor to restrict access to material deemed objectionable,”

 5 by employing filters to remove users’ content from their platforms based on the political, religious,

 6 or other personal identity or viewpoint of the user rather than the actual online content posted by

 7 the user on the platform. 2019 WL 8640569, at *7 (Cal. Super. Ct. Nov. 19, 2019).

 8               234.   Furthermore, the State Court ruled that, notwithstanding the express good faith

 9 language in Section 230(c)(2)(A), the content filtering and restrictions that internet service

10 providers like Defendants engage in are not subject to any good faith, objective judicial review of

11 the underlying content, or the internet providers filtering or restriction practices, but reside within

12 and are left to the sole, unfettered discretion of the internet provider who acts to filter and restrict

13 content at its whim. 2019 WL 8640569, at *10-11.

14               235.   In Prager, therefore, at least one state trial court has construed Section 230(c) as

15 granting Defendants absolute immunity for all content curation decisions, including decisions

16 based not on the actual on line material, but on the race, sex, or other identity and dismissing

17 plaintiffs’ claims without leave to amend despite detailed factual allegations, evidence, and party

18 admissions of identity and viewpoint based discrimination and animus in regulating and filtering
19 speech on YouTube). 2019 WL 8640569, at *10-12.

20               236.   A true and correct copy of the November 19, 1919-Order issued by the Hon. Brian

21 Walsh, granting Defendants’ immunity and dismissing all of plaintiffs’ claims for relief without

22 leave to amend is attached as Exhibit B hereto.

23               237.   On December 19, 2019, plaintiff timely filed a notice of appeal. The notice of

24 appeal rendered state court decision uncitable and of no precedential or legal value unless and until

25 the California appellate courts affirm the application of Section 230(c) to intentional discrimination

26 and the federal courts, which are the final authority on federal questions of law, concur in that

27 decision.

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 1               238.   On May 18, 2020, the United States Department of Justice intervened in the Divino

 2 case and filed a brief defending the application of Section 230(c) to ISP’s who filter, review,

 3 restrict, bock, or censor on line speech based on a user’s racial, sexual, or other identity or

 4 viewpoint without regard to whether the online speech of the user violated the content based rules

 5 of the internet site or the provisions of Section 230(c). A true and correct copy of the United States

 6 Department of Justice’s Notice of Intervention (Dkt.# 46) and Memorandum of Law in Support

 7 (Dkt.#47) are attached as Exhibit C.

 8               239.   On May 28, 2020 the President of The United States issued an Executive Order

 9 repudiating both the State Court decisions in Prager and contradicting the United States’ position

10 that Section 230(c) applies or can be applied to an ISP who engages in intentional race , sex or

11 other identity or viewpoint based discrimination alleged in this Lawsuit and Divino.

12               240.   In the May 28 Order, the President directed the U.S. Department of Justice (“DOJ”)

13 and other Article 2 agencies or departments to enforce the “policy of the United States” that

14 immunity law may not be applied or enforced with respect to any on line, publishing, filtering,

15 blocking, or censorship conduct undertaken by an Internet Service Provider (ISP) that was based in

16 any part on the user’s race, sex, or other personal identity or viewpoint.

17               241.   The May 28 Executive Order states in pertinent part:

18               Section 2 Protections Against Online Censorship.
19               (a) It is the policy of the United States to foster clear ground rules promoting free and open
20               debate on the internet. Prominent among the ground rules governing that debate is the

21               immunity from liability created by section 230(c) of the Communications Decency Act

22               (section 230(c)). 47 U.S.C. 230(c). It is the policy of the United States that the scope of that

23               immunity should be clarified: the immunity should not extend beyond its text and purpose

24               to provide protection for those who purport to provide users a forum for free and open

25               speech, but in reality use their power over a vital means of communication to engage in

26               deceptive or pretextual actions stifling free and open debate by censoring certain

27               viewpoints. * * * *

28

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 1               242.   In particular, subparagraph (c)(2) expressly addresses protections from "civil

 2 liability" and specifies that an interactive computer service provider may not be made liable "on

 3 account of" its decision in "good faith" to restrict access to content that it considers to be "obscene,

 4 lewd, lascivious, filthy, excessively violent, harassing or otherwise objectionable." It is the policy

 5 of the United States to ensure that, to the maximum extent permissible under the law, this provision

 6 is not distorted to provide liability protection for online platforms that -- far from acting in "good

 7 faith" to remove objectionable content -- instead engage in deceptive or pretextual actions (often

 8 contrary to their stated TOS) to stifle viewpoints with which they disagree. Section 230 was not

 9 intended to allow a handful of companies to grow into titans controlling vital avenues for our

10 national discourse under the guise of promoting open forums for debate, and then to provide those

11 behemoths blanket immunity when they use their power to censor content and silence viewpoints

12 that they dislike. When an interactive computer service provider removes or restricts access to

13 content and its actions do not meet the criteria of subparagraph (c)(2)(A), it is engaged in editorial

14 conduct. It is the policy of the United States that such a provider should properly lose the limited

15 liability shield of subparagraph (c)(2)(A) and be exposed to liability like any traditional editor and

16 publisher that is not an online provider.

17               (b) To advance the policy described in subsection (a) of this section, all executive
18               departments and agencies should ensure that their application of section 230(c)
19               properly reflects the narrow purpose of the section and take all appropriate actions in

20               this regard. In addition, within 60 days of the date of this order, the Secretary of

21               Commerce (Secretary), in Case 5:19-cv-04749-VKD Document 57 Filed 06/01/20

22               Page 6 of 8 consultation with the Attorney General, and acting through the National

23               Telecommunications and Information Administration (NTIA), shall file a petition

24               for rulemaking with the Federal Communications Commission (FCC) requesting

25               that the FCC expeditiously propose regulations to clarify:

26               (i) the interaction between subparagraphs (c)(1) and (c)(2) of section 230, in

27               particular to clarify and determine the circumstances under which a provider of an

28               interactive computer service that restricts access to content in a manner not

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 1               specifically protected by subparagraph (c)(2)(A) may also not be able to claim

 2               protection under subparagraph (c)(1), which merely states that a provider shall not

 3               be treated as a publisher or speaker for making third-party content available and

 4               does not address the provider's responsibility for its own editorial decisions; (ii) the

 5               conditions under which an action restricting access to or availability of material is

 6               not "taken in good faith" within the meaning of subparagraph (c)(2)(A) of section

 7               230, particularly whether actions can be "taken in good faith" if they are:

 8               (A) deceptive, pretextual, or inconsistent with a provider's terms of service; or (B) taken
 9               after failing to provide adequate notice, reasoned explanation, or a meaningful opportunity

10               to be heard; and (iii) any other proposed regulations that the NTIA concludes may be
11               appropriate to advance the policy described in subsection (a) of this section. (c) The
12               Department of Justice shall review the viewpoint-based speech restrictions imposed by each

13               online platform identified in the report described in subsection (b) of this section and assess

14               whether any online platforms are problematic vehicles for government speech due to

15               viewpoint discrimination, deception to consumers, or other bad practices. * * * *

16               Sec. 4. Federal Review of Unfair or Deceptive Acts or Practices. (a) It is the
17               policy of the United States that large online platforms, such as Twitter and

18               Facebook, as the critical means of promoting the free flow of speech and ideas
19               today, should not restrict protected speech. The Supreme Court has noted that social

20               media sites, as the modern public square, "can provide perhaps the most powerful

21               mechanisms available to a private citizen to make his or her voice heard."

22               Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017). Communication

23               through these channels has become important for meaningful participation in

24               American democracy, including to petition elected leaders. These sites are

25               providing an important forum to the public for others to engage in free expression

26               and debate. Cf. PruneYard Shopping Center v. Robins, 447 U.S. 74, 85-89 (1980). *

27               * *Sec. 5. State Review of Unfair or Deceptive Acts or Practices and Anti-

28               Discrimination Laws.

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 1               (a) The Attorney General shall establish a working group regarding the potential
 2               enforcement of State statutes that prohibit online platforms from engaging in unfair or

 3               deceptive acts or practices. The working group shall also develop model legislation for

 4               consideration by legislatures in States where existing statutes do not protect Americans

 5               from such unfair and deceptive acts and practices. The working group shall invite State

 6               Attorneys General for discussion and consultation, as appropriate and consistent with

 7               applicable law.

 8               (b) Complaints described in section 4(b) of this order will be shared with the working
 9               group, consistent with applicable law. The working group shall also collect publicly

10               available information regarding the following:

11               (i) increased scrutiny of users based on the other users they choose to follow, or their

12               interactions with other users;

13               (ii) algorithms to suppress content or users based on indications of political alignment or

14               viewpoint;

15               (iii) differential policies allowing for otherwise impermissible behavior, when committed by

16               accounts associated with the Chinese Communist Party or other anti-democratic

17               associations or governments;

18               (iv) reliance on third-party entities, including contractors, media organizations, and
19               individuals, with indicia of bias to review content; and

20               (v) acts that limit the ability of users with particular viewpoints to earn money on the

21               platform compared with other users similarly situated.

22 A true and correct copy of the President’s Executive Order is attached as Exhibit D to this

23 Complaint.

24               243.   In Divino, the “related” case to this Lawsuit, the LGBTQ+ plaintiffs asserted a claim

25 for a declaratory judgment under 28 U.S.C. § 2201, et seq. asking this Court to declare that the

26 immunity provision of Section 230(c) does not extend to intentional identity or viewpoint

27 discrimination conduct by an ISP and, if not so construed, the law is unconstitutional, both as

28 applied and on its face, under Denver Area and progeny.

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 1               244.   On June 2, 2020, this Court held a hearing in the Divino case on, among other

 2 things, the extent to which Section 230(c) applies, if at all, to intentional identity or viewpoint

 3 based discrimination by Defendants.

 4               245.   Defendants argued that Section 230(c)(1) immunizes them from identity and

 5 viewpoint based discrimination because such discrimination is “publishing conduct” that Congress

 6 enacted Section 230(c)(1) to protect.

 7               246.   Defendants contended that Section 230(c)(1) grants absolute immunity to an ISP for

 8 “publishing conduct” that includes discriminating against user based on the person’s racial or

 9 sexual identity to filter, review, or block the access of the online user or its content on a website

10 that is otherwise open to the general public.

11               247.   Although Defendants conceded at the oral argument that immunity might not be

12 available in limited but unspecified “circumstances” involving race discrimination, Defendants

13 maintained that intentional and systematic discrimination used to profile, review, and block the

14 access and content of LGBTQ+ users was a traditional publishing function that comes within the

15 conduct that Congress intended to protect under Section 230(c)(1).

16               248.   The LGBTQ+ plaintiffs in Divino argued that Section 230(c)(1) does not prevent the

17 enforcement of contractual promises and other preexisting legal relationships between an ISP and

18 user, including contractual based promises that Defendants may only filter, review and impose
19 access restrictions on users based on the content of the video under specific rules that apply equally

20 to all without reference or consideration of the user’s identity or viewpoint.

21               249.   The breaching of these legally enforceable promises and obligations, express or

22 implied, in a contract and license agreements between a user and an the ISP, and the other

23 obligations and rights codified in the state or federal laws that regulate businesses that prohibit

24 discrimination based on identity are neither specific or unique to publishers or traditional editorial

25 function, and do not implicate liability for third party defamation or wrongs, but are legal

26 obligations that apply to all business under contract and other legal obligations imposed on any

27 business and its customer or consumer.

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 1               250.   The Divino plaintiffs also argued, as the Plaintiffs and all persons similarly situated

 2 argue in this Lawsuit, that Section 230(c) applies only to the filtering, reviewing, restricting, or

 3 blocking of on line “material” not to or based upon a person’s identity or viewpoint, because racial

 4 profiling and identity or viewpoint censorship has nothing to do with and does not further the

 5 express statutory purpose of protecting minors from “offensive material” on the internet.

 6               251.   The extension of Section 230(c)(1) beyond a limited immunity for defamation and

 7 other liabilities that arise from the failure to block unlawful third party content also renders Section

 8 230(c)(2) statutory limits prohibiting bad faith or discriminatory filtering and blocking of on line

 9 appropriate content unenforceable, meaningless, and pure statutory surplussage.

10               252.   Finally, as in Divino, the application of either Section 230(c)(1) or (2) to immunize

11 an ISP that uses identity or viewpoint discrimination to regulate on line speech is an

12 unconstitutional permissive speech regulation law violates the First Amendment under Denver

13 Area and progeny.

14               253.   The use of Section 230(c) to censor users based on their race, identity, or viewpoint

15 is not viewpoint neutral, narrowly tailored to protect children from “offensive” material without

16 creating a risk of erroneous private veto over otherwise appropriate speech, and eviscerates the pre-

17 existing legal relationships, including the contractual and statutory obligations, and rights of the

18 parties that would otherwise be enforceable in a court of law.
19               254.   The Court has taken the arguments under submission.

20               255.   A true and correct copy of the transcript of the Section 230(c) arguments recorded at

21 the hearing in Divino is attached as Exhibit E to this complaint.

22               B.     Justiciable Legal Controversies Currently Exist Regarding The Construction
                        And Constitutionality Of 47 U.S.C. § 230(c).
23
                 256.   At least four actual controversies now exist between the parties regarding the proper
24
     construction, scope, application, and constitutionality of the CDA statutory immunity granted to
25
     internet service providers given the unique allegations and claims asserted against Defendants in
26
     this case.
27

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 1               257.   Each of the controversies arise from a dispute about the extent to which Section

 2 230(c) immunizes an internet service provider that discriminates against users because of the user’s

 3 race, personal identity or viewpoints, including any profiling or consideration of Plaintiffs’ race in

 4 making access decisions on YouTube

 5                      1.     An Actual Controversy Exist As To Whether The Provisions Of Section
                               230(c) Immunize Defendants From Race, Personal Identity, or
 6                             Viewpoint Discrimination In Filtering And Blocking On line Content
                               And Access
 7
                 258.   A justiciable controversy exist as to whether Section 230(c)(1) or (2) grants
 8
     immunity to an ISP that breaches and express or implied contractual promises not to discriminate
 9
     against users based on a person’s identity, or viewpoint when reviewing, restricting, or denying
10
     access to YouTube under license and use agreements between the user and the ISP.
11
                        2.     An Actual Controversy Exists As To Whether Section 230(c) Immunizes
12                             Defendants For Conduct That Violates
13               259.   A second justiciable controversy exists as to whether the provisions of Section

14 230(c)(1) or (2) permit Defendants to engage unlawful conduct that uses person’s race, identity, or

15 viewpoint to restrict on line material and access in contravention of established federal and state

16 laws prohibiting such discrimination in contract, 42 U.S.C. § 1981 and Unruh Civil Rights Act,

17 Cal. Civ. Code §§51, et seq., unlawful, deceptive or anticompetitive business practices, including

18 conduct prohibited under section 1124 of the Lanham Act and section 17200 of the California
19 Business and Professions Code, and discriminatory censorship in violation of the Liberty of Speech

20 Clause enshrined in Article 1, Section 2 of the California Constitution.

21                      3.     The Provisions And/or Application Of Any Part Of Section 230(c) To
                               Claims Arising Out Of Race, Identity, Or Viewpoint Discrimination Is
22                             Unconstitutional
23               260.   As a third justiciable controversy exists as to whether Section 230(c) is

24 unconstitutional because it violates the First Amendment and/or Equal Protection clause of the U.S.

25 Constitution on its face and/or as applied to this Lawsuit.

26               261.   Construing any provision of the “Good Samaritan Immunity For Blocking On line

27 Material” under Section 230(c) as permitting an ISP to use a person’s race, identity, or viewpoint to

28

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 1 filter, review, or block on line access or content is unconstitutional under the test governing the

 2 constitutionality of permissive private party speech laws.

 3               262.   Section 230(c) (1) and (2) is congressional law that was enacted to permit a private

 4 party to regulate on line speech. Consequently, under Denver Area and progeny, the law cannot be

 5 applied in a manner that is NOT identity or viewpoint neutral, must be narrowly tailored and

 6 applied to avoid the risk of erroneous private censorship, and may not be used to interfere or alter

 7 the pre-existing legal relationships between the parties.

 8                      4.     The Executive Order Precludes The Government From Arguing Or
                               Enforcing Section 230(c) To Claims Based On Intentional Identity Or
 9                             Viewpoint Discrimination.
10               263.   A fourth justiciable controversy exists as to legal effect of the President’s Executive

11 Order on the application of Section 230(c) to on line content and access regulation based on a

12 user’s identity and viewpoint, as is set forth in this Lawsuit.

13               264.   In the Order, the President declares that is the policy of the United States to ensure

14 that Section 230(c) must be applied in a manner that is viewpoint neutral and does not permit ISPs

15 to censor on line content or block on line user access based on the identity or viewpoint of the user.

16 If given full legal affect, the Executive Order mandates the obvious: Section 230(c) applies only to

17 filtering and blocking “offensive material,” not the persons who use the internet.

18               265.   The Executive Order provides that its application does not create a substantive legal
19 right that did not exist before, or otherwise alter the parties’ relationships. But that language begs

20 the question as to what rights and relationships already exist under Section 230(c) in this Lawsuit.

21 The Executive Order directs the United States to enforce the law and promulgate regulations that

22 preclude what Defendants want to use its provisions for in this Lawsuit: to discriminate against

23 Plaintiffs based on their race, identity and viewpoints.

24               266.   Consequently, the Executive Order also creates a conflict of interest for the

25 Department of Justice under Rule 5.1. The Order specifically instructs DOJ to take all steps,

26 including, but not limited to, promulgating regulations to ensure that Section 230(c) is not and will

27 never be used to permit identity or viewpoint discrimination in the regulation of on line content.

28

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 1               267.   At the same time, DOJ has intervened and formally taken the opposite position

 2 before this Court regarding the application of Section 230(c) to the very identity and viewpoint

 3 discrimination that the President has instructed DOJ to prohibit. That position effectively precludes

 4 DOJ or any agency of the United States from promulgating and enforcing the very regulations and

 5 other steps in the Order that preclude identity and viewpoint discrimination.

 6               268.   Furthermore, because of the conflicting positions taken by DOJ in Divino, the

 7 United States may be judicially estopped from enforcing or giving any affect to the President’s

 8 Executive Order.

 9               C.     Plaintiffs Served Rule 5.1 Notice On The U.S. Attorney General
10               269.   In challenging the Constitutionality of the CDA, Plaintiffs must comply with
11 Federal Rule of Civil Procedure 5.1 which requires that “[A] party . . . promptly [] file a notice of

12 constitutional question stating the question and identifying the paper that raises,” where “a federal

13 statute is questioned and the parties do not include the United States, one of its agencies, or one of

14 its officers or employees in an official capacity.” Fed. R. Civ. P. 5.1. Under Rule 5.1 “statute”

15 means any congressional enactment that would qualify as an “Act of Congress.”

16               270.   Rule 5.1 requires more than the court certification provided by 28 U.S.C. § 2403;
17 Rule 5.1 requires notice and certification to the United States Attorney General of any

18 constitutional challenge to a federal statute, not merely to challenges of laws “affecting the public
19 interest.” 28 U.S.C. § 2403.

20               271.   The CDA constitutes a federal statute under Rule 5.1.
21               272.   Plaintiffs have served the Rule 5.1 Notice on the United States Attorney General
22 stating that Plaintiffs are challenging the constitutionality of 47 U.S.C. § 230(c), identifying the

23 CDA, and attaching a copy of this Complaint, and a copy of Judge Walsh’s November 19,

24 2019Order.

25               273.   Plaintiffs have served the Rule 5.1 Notice and attachments by certified mail and
26 have sent a copy of the Notice and attachments to the United States Attorney General by overnight

27 delivery service.

28

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 1               274.   28 U.S.C. § 2403 also requires that the Court notify the United States Attorney

 2 General of Plaintiffs’ First Cause of Action set forth in this Complaint: “In any action, suit or

 3 proceeding in a court of the United States to which the United States or any agency, officer or

 4 employee thereof is not a party, wherein the constitutionality of any Act of Congress affecting

 5 the public interest is drawn in question, the court shall certify such fact to the Attorney

 6 General, and shall permit the United States to intervene for presentation of evidence, if evidence is

 7 otherwise admissible in the case, and for argument on the question of constitutionality. The United

 8 States shall, subject to the applicable provisions of law, have all the rights of a party and be subject

 9 to all liabilities of a party as to court costs to the extent necessary for a proper presentation of the

10 facts and law relating to the question of constitutionality.” 28 U.S.C. § 2403(a) (emphasis added).

11               275.   Accordingly, Plaintiffs respectfully request that the Court certify to the United

12 States Attorney General of the United States that 48 U.S.C. § 230(c), a federal statute, has been

13 challenged by Plaintiffs on the grounds averred below.

14               276.   At this time, United States has a potentially unwaivable conflict of interest under the

15 applicable law and ethics rules governing conflicts of interest and divided duty of loyalty.

16               277.   In complying with the notice requirements under Rule 5.1, Plaintiffs are not waiving

17 but are expressly reserving their rights to assert that the United States has a conflict of interest that

18 may preclude intervention under Rule 5.1, and/or to seek other appropriate relief, including
19 disqualification, and oppose intervention, in this Lawsuit or any other proceeding that conflicts

20 with the policy of the United States that Section 230(c) does not permit or immunize identity or

21 viewpoint discrimination.

22                                         SECOND CAUSE OF ACTION
                                           FOR BREACH OF CONTRACT
23                          (On Behalf Of Each Plaintiff Individually And The Class)
                 278.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
24
     alleged in paragraphs 1 through 277.
25
                 279.   The TOS and agreement(s) between Defendants and Plaintiffs governing filtering,
26
     review and access to content and services on YouTube provide that the right and obligations under
27

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 1 those agreements are governed and subject to California law, including federal law that California

 2 is obligated to enforce under the supremacy clause of the U.S. Constitution.

 3               280.   The elements of a breach of contract under California law are: (1) existence of a

 4 valid contract between Plaintiffs and Defendants; (2) Plaintiffs’ performance (or excuse for non-

 5 performance) under the contract; (3) Defendants’ breach of the contract; and (4) proof of harm or

 6 financial injury as a result of the breach.

 7               281.   Plaintiffs and Defendants have entered into agreement, including the TOS and

 8 related agreement(s) that are enforceable contract(s) governed by and under California law;

 9               282.   Plaintiffs have performed their obligations under the TOS and/or other contract(s),

10 including complying with YouTube’s viewpoint neutral content based access rules and granting

11 Defendants a perpetual and irrevocable license to their video content and all personal data and

12 consumer information derived or used in connection with Plaintiffs’ content on or use of YouTube.

13               283.   Defendants have breached their promises to provide Plaintiffs’ equal access to

14 YouTube and all related services that Defendants offer to other users, and are subject only to

15 content based rules that are viewpoint neutral and apply equally to all. Specifically, Defendants

16 have denied and interfered with Plaintiffs’ right of equal access to YouTube and its related services

17 by profiling and using Plaintiffs’ race, identity or viewpoints, not merely the material in the video

18 content, to review, filter and restrict Plaintiffs’ access to YouTube in a manner that is not permitted
19 by federal and California law.

20               284.   As a direct and proximate result of Defendants’ breach, Plaintiffs have suffered

21 monetary damages and other financial harms and losses in excess of $500.00 per year plus other

22 lost revenues, the total amount of which will be determined at trial.

23               285.   As a direct and proximate result of Defendants’ breach, Plaintiffs have also suffered

24 irreparable harm to their contractual based rights of free speech and expression provided for under

25 the express and implied provisions of the TOS and other contract(s).

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 1                                      THIRD CAUSE OF ACTION
                               FOR BREACH OF THE IMPLIED COVENANT
 2                                OF GOOD FAITH AND FAIR DEALING
                            (On Behalf Of Each Plaintiff Individually And The Class)
 3
                 286.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
 4
     alleged in paragraphs 1 through 285.
 5
                 287.   Under California law, every contract “imposes upon each party a duty of good faith
 6
     and fair dealing in its performance and its enforcement.” McClain v. Octagon Plaza, LLC, 159
 7
     Cal.App.4th 784, 798 (2008) (quoting Carma Developers (Cal.), Inc. v. Marathon Dev. Cal., Inc., 2
 8
     Cal.4th 342, 371– 72 (1992)).
 9
                 288.   The covenant “is based on general contract law and the long-standing rule that
10
     neither party will do anything which will injure the right of the other to receive the benefits of the
11
     agreement.” Waller v. Truck Ins. Exchange, Inc., 11 Cal.4th 1, 36 (1995). The covenant of good
12
     faith finds particular application in situations where one party is invested with a discretionary
13
     power affecting the rights of another. When a contract confers on one party a discretionary power
14
     affecting the rights of the other, a duty is imposed to exercise that discretion in good faith and in
15
     accordance with fair dealing” and such discretion “must be exercised in good faith.” Carma, 2
16
     Cal.4th at 372; see also Perdue v. Crocker Nat’l Bank, 38 Cal.3d 913, 923 (1985) (““where a
17
     contract confers on one party a discretionary power affecting the rights of the other, a duty is
18
     imposed to exercise that discretion in good faith and in accordance with fair dealing”).)
19
                 289.   Breach of the implied covenant occurs “[w]here the terms of a contract are literally
20
     complied with but one party to the contract deliberately countervenes the intention and spirit of the
21
     contract.” Hilton Hotels Corp. v. Butch Lewis Prod., Inc., 808 P.2d 919, 922–23 (Nev. 1991).
22
     “Establishing such a breach of the implied covenant depends upon the ‘nature and purposes of the
23
     underlying contract and the legitimate expectations of the parties arising from the contract.”
24
     Integrated Storage Consulting Servs., Inc. v. NetApp, Inc., No. 5:12-CV-06209-EJD, 2013 WL
25
     3974537, at *7 (N.D. Cal. July 31, 2013).
26
                 290.   Five factual elements are required to establish a breach of the covenant of good faith
27
     and fair dealing: (1) the parties entered into a contract; (2) the plaintiff fulfilled his obligations
28

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 1 under the contract; (3) any conditions precedent to the defendant’s performance occurred; (4) the

 2 defendant unfairly interfered with the plaintiff’s rights to receive the benefits of the contract; and

 3 (5) the plaintiff was harmed by the defendant’s conduct. Judicial Council of California Civil Jury

 4 Instruction 325.

 5               291.   Plaintiffs and Defendants have entered into contracts, including the TOS, in

 6 connection with Plaintiffs’ use and access to YouTube and the related services Defendants offer

 7 under those contracts.

 8               292.   Plaintiffs have fulfilled their obligations under the TOS and other agreement(s) and

 9 fulfilled or performed the conditions precedent, if any, under those agreement(s), including

10 complying with YouTube’s viewpoint neutral content based access rules and granting Defendants

11 an irrevocable and perpetual license to their video content and any personal information and data

12 derived from Plaintiffs’ use or content on YouTube, and paying Defendants other consideration for

13 services and access.

14               293.   Defendants unfairly interfered with Plaintiffs’ rights by profiling and using their

15 race, personal identity or viewpoint to deny them equal access to YouTube and its related services

16 based on conduct that that is prohibited by and not permitted under California or federal law.

17               294.   As a direct and proximate result of Defendants’ breach, Plaintiffs have suffered

18 monetary damages and other financial harms and losses in excess of $500.00 per year plus other
19 lost revenues, including the monetary value of unlawfully acquired property and license rights to

20 Plaintiffs’ content and the personal data and information derived from Plaintiffs and their

21 subscribers and viewers, the total amount of which will be determined at trial.

22               295.   As a direct and proximate result of Defendants’ breach, Plaintiffs have also suffered

23 irreparable harm to their contractual based speech rights and expression provided for subject to

24 only to viewpoint neutral content based rules as set forth in the express and implied provisions of

25 the TOS and other contract(s).

26

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 1                                       FOURTH CAUSE OF ACTION
                                        FOR PROMISSORY ESTOPPEL
 2                           (On Behalf Of Each Plaintiff Individually And The Class)
 3               296.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
 4 alleged in paragraphs 1 through 295.

 5               297.   “The elements of promissory estoppel are (1) a promise, (2) the promisor should
 6 reasonably expect the promise to induce action or forbearance on the part of the promisee or a third

 7 person, (3) the promise induces action or forbearance by the promise or a third person (which we

 8 refer to as detrimental reliance), and (4) injustice can be avoided only by enforcement of the

 9 promise. West v. JPMorgan Chase Bank, N.A., 214 Cal.App.4th 780, 803 (2013).

10               298.   Defendants have made at least 5 promises to Plaintiffs and other similarly situated
11 users:

12                      a.     Defendants promise Plaintiffs equal access to YouTube subject only to
13 viewpoint neutral content-based rules that apply equally to all users;

14                      b.     Defendants promise not to discriminate against Plaintiffs based on their race,
15 sexual identity, commercial status or identity, or the personal viewpoints except as permitted under

16 California or controlling federal law;

17                      c.     Defendants promise to provide viewer and audience reach, advertising,
18 subscription, monetization, and content curation services to Plaintiffs and other users who comply
19 with YouTube’s viewpoint neutral content-based rules;

20                      d.     Defendants promise only to use, appropriate, or derive revenue from
21 Plaintiffs’ content and data, and that of their viewers and subscribers subject to Defendants’

22 honoring and fulfilling their express and implied terms and obligations under the TOS and other

23 agreement(s); and

24                      e.     Defendants promise to operate YouTube as a public forum for freedom of
25 expression that is subject only to narrowly tailored, viewpoint neutral content based rules.

26

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 1               299.   Defendants made these promises with the reasonable expectation and intent of

 2 inducing Plaintiffs to grant Defendants an irrevocable license rights and other valuable

 3 consideration derived from Plaintiffs’ use of YouTube.

 4               300.   Defendants also made these promises with the intent of inducing Plaintiffs, as well

 5 as their viewers, subscribers, and followers, to access and use YouTube so that Defendants can

 6 monetize, advertise, and profit from user access and use of YouTube and the related services that

 7 Defendants offer.

 8               301.   Defendants, through these promises, induced Plaintiffs to grant Defendants an

 9 irrevocable license, rights and other valuable consideration derived from Plaintiffs’ use of

10 YouTube.

11               302.   Defendants, through these promises, induced Plaintiffs, as well as their viewers,

12 subscribers, and followers, to access and use YouTube so that Defendants can monetize, advertise,

13 and profit from user access and use of YouTube and the related services that Defendants offer.

14               303.   Enforcing Defendants’ promises will avoid injustices, including stopping overt,

15 intentional, and race and sex discrimination against Plaintiffs, prohibiting from misappropriating

16 Plaintiffs’ content and data, and prohibiting Defendants to become unjustly enriched and unfairly,

17 inequitably, and illegally obtain the benefits of promises that Defendants have failed to honor,

18 comply with, or enforce.
19               304.   As a proximate result of Defendants’ failure to honor and fulfill each of their

20 promises, Plaintiffs have suffered financial and monetary losses, had their intellectual and other

21 property rights unjustly misappropriated by Defendants’ own personal financial and unjust gain,

22 and have suffered irreparable harm to speech and expression promised by Defendants, in an amount

23 to be determined at trial.

24                                     FIFTH CAUSE OF ACTION
                 FOR DISCRIMINATION IN CONTRACT IN VIOLATION OF 42 U.S.C. § 1981
25                        (On Behalf Of Each Plaintiff Individually And The Class)
26               305.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
27 alleged in paragraphs 1 through 304.

28

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 1               306.   Title 42, Section 1981 of the U.S. Code codifies the right of each individual member

 2 of a protected racial classification to “have the same right in every State and Territory to make and

 3 enforce contracts, to sue, be parties, give evidence, and to the full and equal benefit of all laws and

 4 proceedings for the security of persons and property as is enjoyed by white citizens.” 42 U.S.C. §

 5 1981(a).

 6               307.   The statute defines “make and enforce contracts” as including “the making,

 7 performance, modification, and termination of contracts, and the enjoyment of all benefits,

 8 privileges, terms, and conditions of the contractual relationship.” Id. § 1981(b). The statutory

 9 protections apply to both “nongovernmental discrimination” and “impairment under color of State

10 law.” Id. § 1981(c).

11               308.   The elements of a claim for relief under 42 U.S.C. § 1981 are: (1) Plaintiff is a

12 member of a protected class; (2) impairment of a contractual relationship under which plaintiff has

13 rights; (3) defendant impaired that relationship on account of racial discrimination (such that, but

14 for race, plaintiff would not have suffered the loss of a legally protected right); and (4) plaintiff was

15 deprived of such services while similarly situated persons outside the protected class were not. See

16 Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020); Astre v.

17 McQuaid, 804 Fed. App’x 665, 666-67 (Mar. 25, 2020); Lindsey v. SLT Los Angeles, LLC, 447

18 F.3d 1138, 1145 (9th Cir. 2006).
19               309.   Plaintiff are African Americans and are members of the protected class under

20 section 1981.

21               310.   Plaintiffs entered into binding and legally enforceable contracts with Defendants

22 including the TOS and related agreement(s) under California and controlling federal law.

23               311.   The contractual relationship between each Plaintiff and Defendants was impaired

24 with respect to the TOS and each and every one of the related agreement(s) in at least five ways:

25                      a.     Defendants’ TOS and, any other agreements, under which they claim the

26 right to exercise “unfettered” discretion to impose content, use or services access restrictions based,

27 in any way, on Plaintiffs’ racial identity or viewpoint, violates and impairs the TOS, license

28 agreements, and other service agreement(s) on its face;

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 1                      b.     Defendants continue to breach the TOS and other agreement(s), by

 2 exercising their contractual discretion to profile, filter, restrict, and block Plaintiffs’ content and

 3 access to YouTube, based on Plaintiffs’ racial identity and viewpoint, in a manner that is not

 4 permitted, but is expressly prohibited under California and federal law;

 5                      c.     Defendants breached and continue to breach their express and implied

 6 promises under the TOS and other related agreement(s) that, You Tube shall not profile, use, base,

 7 or impose any restrictions on Plaintiffs’ content or access to YouTube based, in any way, on a

 8 user’s racial identity or viewpoint, and only review, filter, and restrict Plaintiffs’ videos based on

 9 on line video material that runs afoul of YouTube’s viewpoint neutral content based rules;

10                      d.     Defendants’ use of content filtering, review, restricting, and blocking tools

11 and procedures to profile and use Plaintiffs’ racial identity and viewpoint with respect to any

12 provision in the TOS or related agreements, impairs each and every one of Plaintiffs’ rights,

13 express or implied, that exist in the TOS or other related agreement(s) that Defendants entered into

14 with Plaintiffs; and

15                      e.     Defendants impaired their contractual relationship with each Plaintiff

16 because of Defendants’ intentional use of Plaintiffs’ racial identity or viewpoint to review, filter,

17 regulate, restrict, and block Plaintiffs’ videos and access to YouTube under the false pretext that the

18 material in the video was properly reviewed and found to violate one of YouTube’s content based
19 rules governing user content and access to the platform.

20               312.   Defendants impaired their contractual relationship with each Plaintiff on account of

21 intentional racial discrimination. Despite their promises of neutrality and a diversity of viewpoints,

22 Defendants engage in a pattern and practice of intentional willful and malicious discrimination in

23 the provision of their services, including discriminating against and censoring of Plaintiffs’ speech,

24 based not upon the content of speech, but on their race. Through the acts complained of herein,

25 Defendants intentionally denied, and aided or incited in denying, Plaintiffs full and equal

26 accommodations, advantages, privileges, and services, by discriminating against them in

27 demonetizing Plaintiffs’ content and by placing their videos in “Restricted Mode.” But for their

28

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 1 race, Plaintiffs would not have been subjected to Defendants’ filtering or the denial of their

 2 contractual benefits under the Agreements.

 3               313.   While Defendants have impaired and denied, and continue to impair and deny,

 4 Plaintiffs’ contractual benefits under the TOS and related agreement(s), similarly situated persons

 5 who are not protected under the section 1981 protected class were not similarly treated, including

 6 persons affiliated with or working for Defendants and/or their preferred users. Such persons are

 7 not being racially profiled and are not subject to the same content or access filtering, restrictions, or

 8 blocking despite material in their videos that violates YouTube’s content based rules.

 9               314.   As a direct and proximate result of Defendants’ unlawful discriminatory actions,

10 Plaintiffs suffered, and continue to suffer, irreparable injury in fact, including, but not limited to:

11 lower viewership, lost advertising opportunities otherwise available to other nonprofits, decreased

12 ad revenue, and reputational damage, for which there exists no adequate remedy at law.

13                                       SIXTH CAUSE OF ACTION
                                   FOR UNLAWFUL DISCRIMINATION
14                          IN VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
                            (On Behalf Of Each Plaintiff Individually And The Class)
15
                 315.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
16
     alleged in paragraphs 1 through 314.
17
                 316.   The elements of a claim for discrimination under the Unruh Civil Rights Act,
18
     California Civil Code §§ 51, et seq. are: (1) Defendants denied, aided or incited a denial of full and
19
     equal accommodations or services to Plaintiffs; (2) that a motivating reason for Defendants’
20
     conduct was Plaintiffs’ race or national origin; (3) that Plaintiffs were harmed and (4) that
21
     Defendants’ conduct was a substantial factor in causing that harm. Nkwuo v. Metro PCS, Inc., No.
22
     5:14–cv–05027–PSG, 2015 WL 4999978, at *2 (N.D. Cal. Aug. 21, 2015).
23
                 317.   Defendants Google and YouTube host business establishment(s) that solicit, induce,
24
     provide, and grant members of the public like Plaintiffs the right to access and use YouTube and its
25
     services, subject only to viewpoint neutral content based rules that apply equally to all..
26
                 318.   Defendants grant members of the public like Plaintiffs the right to use and access
27
     YouTube for commercial reasons and consideration, including obtaining a perpetual and
28

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 1 irrevocable license to Plaintiffs’ and the other public users’ content and data, including the right to

 2 appropriate that content and data for sale and other forms of monetization including advertising,

 3 data information sales and services, and other revenue and profit stream on YouTube through

 4 contract and business transactions including the TOs and related agreement(s).

 5               319.   A substantial motivating reason for Defendants’ conduct is Defendants’ use of the

 6 racial identity, viewpoints, and other protected racial classifications under the law of Plaintiffs and

 7 other persons similarly situated to impose restrictions on their video content.

 8               320.   Defendants’ conduct is the result of arbitrary, capricious, invidious, and pretext-

 9 based discrimination against Plaintiffs’ political and religious identity and race, color and/or

10 national origin and viewpoints.

11               321.   Defendants’ use of Plaintiffs’ racial or other identities to restrict their right to equal

12 access to YouTube is unlawful and fails to further any lawful, legitimate business interest,

13 including ensuring compliance with YouTube’s content based rules or protecting younger and

14 “sensitive” audiences.

15               322.   Defendants have censored and treated, and continue to censor and treat, Plaintiffs

16 and their videos differently from Defendants’ own or preferred content, solely because of

17 discriminatory animus towards Plaintiffs’ identities and views.

18               323.   Specifically, Defendants use AI, Algorithm, and other filtering machines,
19 procedures, and systems to knowingly and intentionally engage in and effectuate a pattern and

20 practice of discrimination for profit by reviewing, filtering, restricting, and blocking Plaintiffs’

21 content and access to YouTube based on Plaintiffs’ racial or other identity or viewpoints and other

22 traits or viewpoint that discriminate against Plaintiffs based on classifications that are protected

23 under the Unruh Act, namely race, color and/or national origin.

24               324.   Defendants’ wrongful actions were knowing and intentional, taken with oppression,

25 fraud and/or malice, and effectuated through algorithms, machines, and human reviews that use

26 Plaintiffs’ racial identity and viewpoints, or other protected classifications to interfere with and

27 block Plaintiffs’ content and access on YouTube under the pretextual promise that everyone has

28

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 1 equal access to YouTube subject only to viewpoint t neutral content based rules that apply equally

 2 to all.

 3               325.   As a direct and proximate result of Defendants’ unlawful discriminatory actions,

 4 Plaintiffs suffered, and continue to suffer, irreparable injury in fact, for which there is no complete

 5 adequate remedy at law, including, but not limited harm and injury to contract based speech rights,

 6 and lost financial and business opportunities including viewership, advertising, monetization, and

 7 other opportunities and rights to gain popularity and revenues that are otherwise available to other

 8 users who are not profiled and regulated on YouTube based on their racial identity or viewpoints.

 9               326.   As a direct and proximate result of Defendants’ discriminatory acts and practices,

10 Plaintiffs have also suffered monetary damages in an amount to be determined at trial.

11               327.   Defendants’ violations of the Unruh Act further entitle Plaintiffs to recover statutory

12 damages of up to three times the amount of actual damages in an amount to be proven at trial, or a

13 minimum of $4,000 per violation.

14                                     SEVENTH CAUSE OF ACTION
                              FOR FALSE ADVERTISING IN VIOLATION OF
15                                THE LANHAM ACT, U.S.C. § 1125, et seq.
                            (On Behalf Of Each Plaintiff Individually And The Class)
16
                 328.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
17
     alleged in paragraphs 1 through 327.
18
                 329.   The elements of a false advertising claim under the Lanham Act, 47 U.S.C. § 1125,
19
     et seq., are: (1) false statement of fact by defendant in a commercial advertisement about its own or
20
     another’s product; (2) the false statement actually deceived or has the tendency to deceive a
21
     substantial segment of the YouTube consumers or users; (3) the false statement is material, in that
22
     it is likely to influence the purchasing decision by a YouTube user; (4) the false statement entered
23
     interstate commerce; and (5) Plaintiffs have been, and are likely, to be injured as a result of the
24
     false statement. Wells Fargo & Co. v. ABD Ins. & Fin. Servs., Inc., 758 F.3d 1069, 1071 (9th Cir.
25
     2014).
26
                 330.   Defendants’ statements that Plaintiffs or their videos are “Restricted” is false
27
     because only videos that are reviewed and found to contain material that violates Plaintiffs’ content
28

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 1 based rules, including nudity, vulgarity, violence, hate, shocking or sexually explicit material are

 2 can be “Restricted.” Plaintiffs’ videos do not contain such “Restricted Material.”

 3               331.   Defendants’ statements are further false because Defendants used Plaintiffs’ race,

 4 identity or viewpoint to Restrict the video rather than any material that based on a review of the

 5 video violated YouTube’s rules.

 6               332.   Defendants’ false statements are also “commercial advertising” because the

 7 statements were made to penetrate the market of YouTube users and have the effect of limiting or

 8 steering viewers away from Plaintiffs’ channels and videos, to video content, channels, or creators

 9 who are sponsored by Defendants and for which or whom Defendants compete with Plaintiffs for

10 viewers, advertising, monetization, and other revenue streams on YouTube.

11               333.   Defendants’ false statements are likely to deceive users and advertisers on YouTube

12 because the expressly and implicitly insinuate that there is something inappropriate, offensive,

13 improper, or prohibited under YouTube’s viewpoint neutral rules.

14               334.   Defendants’ false statements are also material. They likely influence and affect a

15 user’s and/or advertiser’s viewing/purchasing decisions. Users and/or advertisers are likely

16 deceived that the video contains offensive material that violates YouTube’s rules after Defendants

17 reviewed the video for content violations under YouTube’s Community Guidelines, Age

18 Restrictions, and “Restricted Mode” prohibitions, when the basis for the restriction was Plaintiffs’
19 race, identity or viewpoint and was not undertaken in compliance with YouTube’s rules.

20               335.   Defendants’ false statements not only influence but categorically control every user

21 or advertiser’s purchasing decisions because the statement results blocking of a user or advertisers

22 access to the video on YouTube and precludes the user or advertiser from ever accessing, viewing

23 and purchasing the video or purchasing and placing and ad for the video, or otherwise making any

24 purchasing decision contrary to that of Defendants.

25               336.   Defendants’ false statements entered internet commerce and reached millions of

26 viewers who reside in all 50 States, U.S. Territories, and other users across the world.

27               337.   Plaintiffs are and are likely to continue to be financially harmed by the false

28 statements, including losing substantial amounts revenues for viewer CPMs, advertising,

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 1 monetization, and other user or advertiser revenue streams on YouTube in an amount to be

 2 determined at trial.

 3                                  EIGHTH CAUSE OF ACTION
                  FOR UNLAWFUL, DECEPTIVE, AND UNFAIR BUSINESS PRACTICES
 4                           CAL. BUS. & PROFS. CODE §17200, et seq.
                        (On Behalf Of Each Plaintiff Individually And The Class)
 5
                 338.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
 6
     alleged in paragraphs 1 through 337.
 7
                 339.   Defendants have committed acts of unfair competition, as defined by California
 8
     Business and Professions Code § 17200, by engaging in the practices described above.
 9
                 340.   Defendants’ profiling, filtering, restricting, and blocking Plaintiffs’ content and
10
     access on YouTube based on Plaintiffs’ race, identity, or viewpoint is an unlawful business practice
11
     under section 17200 because those practices, acts, and conduct violates 42 U.S.C. § 1981 and the
12
     Unruh Civil Rights Act.
13
                 341.   Defendants’ profiling, filtering, restricting, and blocking Plaintiffs’ content and
14
     access on YouTube based on Plaintiffs’ race, identity, or viewpoint are also deceptive business acts
15
     or practices as defined under section 17200 because they are based on intentionally false promises
16
     by Defendants to Plaintiffs, and other users, and advertisers that YouTube only restricts or blocks
17
     content or access based on violations of YouTube’s content based rules that apply equally to all. In
18
     fact, Defendants have knowingly and intentionally use Plaintiffs’ racial or other identity or
19
     viewpoint to block content and access to YouTube under the false pretext that the video was
20
     reviewed like all videos on YouTube, including those sponsored by Defendants, and that the review
21
     found that Plaintiffs’ videos actually contain material that violates YouTube’s viewpoint neutral
22
     rules.
23
                 342.   Defendants’ profiling, filtering, restricting, and blocking Plaintiffs’ content and
24
     access on YouTube based on Plaintiffs’ race, identity, or viewpoint are also unfair business acts or
25
     practices as defined under section 17200 because Defendants operate as both content review
26
     curators and content sponsors on YouTube. This conflict is on full display when Defendants use
27
     their “unfettered” authority to restrict or block Plaintiffs’ videos based on their race, identity, or
28

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 1 viewpoint but permit their own content or that of their preferred or sponsored content creators or

 2 channels to go without review, restriction, or blocking even where the content violates YouTube’s

 3 content based rules.

 4               343.   This includes inserting metadata and other signals into Plaintiffs’ videos that permit

 5 Defendants to profile and restrict or block content without reviewing the video and results in

 6 restrictions and blocking of Plaintiffs’ content based on Defendants’ embedding and creating the

 7 metadata, signals, or other racial profiling content that results in the restriction or blocking.

 8               344.   There is no utility to the public for Defendants’ actions, and the unlawful, deceptive

 9 and unfair practices and conduct do not further a legitimate interest in protecting users from

10 offensive content.

11               345.   As a direct and proximate result of Defendants’ unlawful, deceptive, and unfair

12 practices, conduct, and acts, Plaintiffs have suffered, and continue to suffer, immediate and

13 irreparable injury in fact, including lost income, reduced viewership, and damage to brand,

14 reputation, and goodwill, for which there exists no adequate remedy at law.

15               346.   Furthermore, as a result of such practices, conduct, and acts, Defendants

16 misappropriate and are unjustly enriched by taking consideration in the form of property rights to

17 content and data, and revenue that belongs to Plaintiffs in an amount that exceeds $5 million.

18               347.   Plaintiffs are therefore entitled to restitution of that and other amounts, as well as
19 other equitable relief to be determined at trial.

20               348.   At all times Defendants’ wrongful actions were taken with oppression, fraud and/or

21 malice. Indeed, at least dating back to 2017, Defendants have admitted and known that they were

22 targeting users like Plaintiffs, based on their race, identity, or viewpoint, in violation of their

23 promises and rules not to discriminate based on race, or any other identity or viewpoint.

24                               NINTH CAUSE OF ACTION
            FOR VIOLATION OF CALIFORNIA CONSTITUTION ARTICLE I, SECTION 2
25                   (On Behalf Of Each Plaintiff Individually And The Class)
26               349.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
27 each of the allegations set forth in paragraphs 1 through 348 above.

28

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 1               350.   Article I, section 2 of the California Constitution enshrines the right to liberty of

 2 speech: “Every person may freely speak, write and publish his or her sentiments on all subjects,

 3 being responsible for the abuse of this right.” Cal. Const., art. I, § 2, subd. (a).

 4               351.   The Liberty of Speech Clause is broader and more protective than the federal First

 5 Amendment. Los Angeles Alliance for Survival v. City of Los Angeles, 22 Cal.4th 352, 366-367

 6 (2000).

 7               352.   The Liberty of Speech provision “grants broader rights to free expression than does

 8 the First Amendment to the United States Constitution” because it enshrines the fundamental “idea

 9 that private property can constitute a public forum for free speech if it is open to the public in a

10 manner similar to that of public streets and sidewalks.” Fashion Valley Mall, LLC v. Nat’l Labor

11 Relations Bd., 42 Cal.4th 850, 857-58 (2007).

12               353.   Under the California Constitution, a person’s Liberty of Speech enjoys full

13 constitutional protection when it occurs on any private property that is used or designated by the

14 owner or operator as a place similar to areas that have already been determined to be public forums.

15 That includes privately owned internet sites.

16               354.   Consequently, the California Constitution protects the right to free speech on private

17 property even in cases when the federal Constitution may not.

18               355.   The threshold element of a claim under the Liberty of Speech Clause is that the
19 defendant property owner has so opened up his or her property for public use as to make it the

20 functional equivalent of a traditional public forum based on three factors: (1) the nature, purpose,

21 and primary use of the property; (2) the extent and nature of the public invitation to use the

22 property; and (3) the relationship between the ideas sought to be presented and the purpose of the

23 property’s occupants.” Albertson’s, Inc. v. Young, 107 Cal. App. 4th 106, 119 (2003); 73 Op. Cal.

24 Atty. Gen. 213, 222– 223 (1990).

25               356.   Defendants operate YouTube for the express purpose of inviting the public to use

26 the platform as a for profit “public forum” where the public is invited to engage in “freedom of

27 expression,” where everyone’s voice may be heard, subject only to viewpoint neutral rules that

28 apply equally to all and Defendants’ right to monetize and profit from the expression, speech, or

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 1 material that appears on YouTube through the property based license rights that the user must grant

 2 Defendants as the price of admission to the forum.

 3               357.   According to Defendants, the purpose, use, nature, invitation to use the forum, and

 4 relationship between that purpose and invitation, on the one hand, and the ideas sought to be

 5 presented the public, on the other, is that Defendants offer public internet service “that enables

 6 more than a billion users around the world to upload” videos, where users are urged to “Broadcast

 7 Yourself,” “promote yourself” or “do the broadcasting yourself.”

 8               358.   Under the TOS, Defendants also represent that YouTube is open to everyone for

 9 free expression and communication, regardless of race, identity, or viewpoint as long as the video

10 material complies with viewpoint neutral rules that apply equally to all.

11               359.   Based on these and other representations, Defendants have induced or attracted 2.3

12 billion people to use YouTube and Defendants currently use the YouTube “public forum” control

13 and regulate 95% of the global public video content that has currently or has ever existed in the

14 world.

15               360.   Under California law, Defendants’ regulation of speech on the YouTube platform is

16 state action because Defendants perform an exclusively and traditionally public function: the

17 regulation of 95% of the world’s public video based speech content by designating and operating

18 YouTube as a viewpoint neutral public forum for freedom of expression under California law.
19               361.   Accordingly, Defendants are prohibited from arbitrarily, unreasonably, or

20 discriminatorily excluding, regulating, or restricting videos or user access to services on YouTube

21 on the basis of viewpoint or identity of the speaker. And any such exclusions, restrictions, or

22 regulations must comply with protections afforded Plaintiffs’ free speech and expression under the

23 Liberty of Speech Clause, and the established jurisprudence that such protections apply to private

24 parties who use their property for purposes similar to the use of a government owned and operated

25 public forum.

26               362.   Plaintiffs’ video content and access services constitute expressive speech and

27 activity that is protected by Article I, section 2 of the California Constitution.

28

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 1               363.   Defendants have filtered, restricted, blocked or interfered with Plaintiffs’ rights to

 2 access, use, and express themselves on YouTube.

 3               364.   Defendants’ filtering, restricting, and blocking on Plaintiffs’ speech and expressive

 4 conduct on YouTube violates Plaintiffs’ Liberty of Speech because they are not based on the

 5 platform’s viewpoint neutral rules governing what content is and is not permissible, but on the race,

 6 identity or viewpoint of Plaintiffs.

 7               365.   Defendants’ censorship and other speech regulation conduct harms and violates

 8 Plaintiffs’ Liberty of Speech rights on YouTube in direct contravention of the procedural and

 9 substantive rules that Defendants created, published, and use to regulate that speech on YouTube.

10               366.   Furthermore Defendants’ rules, both as applied and on their face, are subjective,

11 vague, and overbroad criteria and proscription that Defendants use with unfettered and unbridled

12 discretion to censor speech for any reason, or no reason at all, no matter how arbitrary or capricious

13 in further violation of Plaintiffs’ Liberty of Speech rights.

14               367.   Defendants also maliciously use and apply the rules as a pretext to censor and

15 restrict Plaintiffs’ speech for unlawful purposes including race and identity discrimination against

16 protected classes of users and to gain a competitive advantage over Plaintiffs and other users who

17 Defendants compete with in YouTube.

18               368.   Defendants’ conduct, including the application of purportedly viewpoint neutral
19 rules, are arbitrary and capricious, and unlawfully restrains and harms Plaintiffs based upon racial,

20 political, religious, or other identity or viewpoint profiling the speaker, rather than the actual

21 content of the speakers words or expression. Defendants’ actions, therefore, also violate Plaintiffs’

22 right to free association and assembly under the Liberty of Speech Clause.

23               369.   Defendants’ actions violate Plaintiffs’ right to free association and assembly because

24 , by blocking viewers’ access to videos and comments based on the identity or viewpoint of the

25 speakers or their opinions or other content featured in their videos that do not violate YouTube’s

26 viewpoint neutral content based rules

27               370.   No compelling, significant, or legitimate reason justifies any or all of Defendants’

28 actions, including the purported interest claimed by Defendants for the need to protect minors or

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 1 sensitive audiences from offensive content because Plaintiffs’ content is not “offensive” or

 2 otherwise violates Defendants’ purported viewpoint neutral rules.

 3               371.   And even if such interests did exist to justify Defendants’ restriction and

 4 demonetization rules in theory, the conduct and restrictions imposed on Plaintiffs’ speech are

 5 unconstitutional because they are not narrowly or reasonably tailored to further such interests, but

 6 sweep within their ambit speech and expression that complies with the rules that Defendants use to

 7 purportedly protect minors and sensitive audiences and are applied by Defendants with unfettered

 8 power to censor speech based in race, identity, or viewpoint or for any other discriminatory or

 9 unlawful reason or no reason at all.

10               372.   Given Defendants’ monopolistic control over search results, on line advertising,

11 public video content, and the myriad of other information services that Defendants unilaterally

12 control, Plaintiffs have no alternative affording it a reasonable opportunity to reach their full

13 intended audience.

14               373.   Defendants’ discriminatory policies and application of those policies are not

15 viewpoint-neutral, are unreasonable in time, place, and manner, and are unreasonable in relation to

16 the nature, purpose, and use of the forum, but are unreasonable prior restraints on Plaintiffs’

17 protected political speech, motivated by impermissible discrimination against Plaintiffs’ racial

18 identity and viewpoint.
19               374.   Defendants’ intentional and wrongful actions were taken with oppression, fraud,

20 malice and/or are arbitrary and capricious, and as part of Defendants’ normal course of business,

21 effectuated through both algorithms, as well as through human agents. Additionally, Defendants’

22 actions were done knowingly and intentionally to deprive Plaintiffs and their viewers of their rights

23 under the California Constitution.

24               375.   As a direct and proximate result of Defendants’ violations of clearly established law

25 regarding public fora, Plaintiffs and all other persons similarly situated have suffered, and continue

26 to suffer, immediate and irreparable injury in fact to their right to Liberty of Speech, including, but

27 not limited to financial harms of lost income, reduced viewership, and damage to brand, reputation,

28 and goodwill, for which there exists no adequately complete remedy at law.

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 1                                      TENTH CAUSE OF ACTION
                        FOR FREEDOM OF SPEECH UNDER THE FIRST AMENDMENT,
 2                           UNITED STATES CONSTITUTION, AMENDMENT 1
                            (On Behalf Of Each Plaintiff Individually And The Class)
 3
                 376.    Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
 4
     each of the allegations set forth in paragraphs 1 through 375 above.
 5
                 A.      Procedural Background
 6
                 377.    The First Amendment prohibits a party from engaging in “state action” that violates
 7
     or harms a person’s right to engage in speech, association, expression, or other activity protected by
 8
     the Amendment.
 9
                 378.    Since at least 1946, the U.S. Supreme Court has held that the First Amendment
10
     protects persons from private parties who engage in “state action” to restrict speech in ways that
11
     violate the First Amendment.
12
                 379.    Private parties can be state actors whose conduct is subject to judicial scrutiny and
13
     held to account under the U.S. Constitution in a number of different circumstances, including, but
14
     not limited to, a private party who (1) engages in a public function that has been traditionally
15
     reserved as the exclusive province of government, such as operating a company town or providing
16
     a service for the administration of a traditional government function like elections or law
17
     enforcement (the “Public Function Test”); and/or (2) is the beneficiary of a government law that
18
     endorses or permits the party to engage in conduct that interferes with a fundamental constitutional
19
     right in a manner that the government may not (the “Permissive Endorsement Test”).
20
                 380.    The issue of when a private party is engaged in “state action” under either of these
21
     or other tests, is dependent on particular circumstances and has not been applied by the courts as a
22
     one size fits all.
23
                 381.    As a result, the extent to which circumstances may exist in which a private party
24
     engages in conduct that violates the First Amendment remains murky and unclear.
25
                 382.    In Manhattan Cmty. Access Corp. v. Halleck, --- U.S. --, --, 139 S. Ct. 1921 (2019),
26
     the Supreme Court held that and private owner-operator of a public access cable channel who
27
     regulates public speech on that channel does not become a state actor solely by the mere of making
28

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 1 a privately owned television channel available for as a forum for speech: “a private entity who

 2 provides a forum for speech is not transformed by that fact alone into a state actor.” Manhattan

 3 Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930, 204 L. Ed. 2d 405 (2019).

 4               383.   In so doing, however, the Court in Halleck limited its 5-4 decision to the

 5 circumstances of that case and declined to overrule prior cases in which a private party who

 6 regulates speech or engages in conduct that is otherwise prohibited under the Constitution was

 7 found to be a “state actor” who was subject to constitutional scrutiny.

 8               384.   Instead, the Court “stressed” that “very few” functions fall into that category of

 9 “state action,” including, “for example, running elections and operating a company town. Id. at

10 1929, 204 (citing Terry v. Adams, 345 U.S. 461, 468–470, 73 S. Ct. 809, 97 L. Ed. 1152 (1953)

11 (elections); Marsh v. Alabama, 326 U.S. 501, 505–509, 66 S. Ct. 276, 90 L. Ed. 265 (1946)

12 (company town); Smith v. Allwright, 321 U.S. 649, 662–666, 64 S. Ct. 757, 88 L. Ed. 987 (1944)

13 (elections); Nixon v. Condon, 286 U.S. 73, 84–89, 52 S. Ct. 484, 76 L. Ed. 984 (1932) (elections).

14               385.   The Court also stated that “a variety of functions do not fall into that category,

15 including, for example: running sports associations and leagues, administering insurance payments,

16 operating nursing homes, providing special education, representing indigent criminal defendants,

17 resolving private disputes, and supplying electricity.” Id. (citing American Mfrs. Mut. Ins. Co. v.

18 Sullivan, 526 U.S. 40, 55–57, 119 S. Ct. 977, 143 L.Ed.2d 130 (1999) (insurance payments);
19 National Collegiate Athletic Assn. v. Tarkanian, 488 U.S. 179, 197, n. 18, 109 S. Ct. 454, 102 L.

20 Ed.2d 469 (1988) (college sports); San Francisco Arts & Athletics, Inc. v. United States Olympic

21 Comm., 483 U.S. 522, 544–545, 107 S. Ct. 2971, 97 L.Ed.2d 427 (1987) (amateur sports); Blum,

22 457 U.S. at 1011–1012, 102 S. Ct. 2777 (nursing home); Rendell-Baker, 457 U.S. at 842, 102 S. Ct.

23 2764 (special education); Polk County v. Dodson, 454 U.S. 312, 318–319, 102 S. Ct. 445, 70 L.

24 Ed.2d 509 (1981) (public defender); Flagg Bros., 436 U.S. at 157–163, 98 S. Ct. 1729 (private

25 dispute resolution); Jackson, 419 U.S. at 352–354, 95 S. Ct. 449 (electric service).

26               386.   Consequently, allegations that the relevant function in this case is only the operation

27 of public access channels on a cable system, is not a “function [that is] traditionally and exclusively

28 been performed by government to be establish “state action” under the Public Function Test. Id.

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 1               387.   Beyond those statements, however, the Court in Halleck did not specify what the

 2 pleading requirements are for establishing state action under one of the few “public functions” that

 3 would trigger constitutional scrutiny. Nor was it presented with or had occasion to consider

 4 whether the private parties conduct was undertaken under a government enacted law that permitted

 5 unlawful conduct, including race discrimination, in contravention of fundamental constitutional

 6 rights, so as to trigger a limited state action under the Permissive Endorsement Test set forth in

 7 Skinner v. Ry. Labor Executives' Ass'n, 489 U.S. 602, 109 S. Ct. 1402, 1407, 103 L. Ed. 2d 639

 8 (1989).

 9               388.   In Prager University v. Google LLC, the Ninth Circuit applied Halleck to hold that

10 YouTube does not “lose its private character merely because the public is generally invited to use it

11 for designated purposes” because “YouTube may be a paradigmatic public square on the Internet,

12 but it is ‘not transformed’ into a state actor solely by “provid[ing] a forum for speech.” Prager

13 Univ. v. Google LLC, 951 F.3d 991, 997 (9th Cir. 2020) (citing Halleck, 139 S. Ct. at 1930, 1934).

14               389.   But like Halleck, Prager did not, nor could it, overrule or eliminate the Public

15 Function Test doctrine of state action nor did it specify what the pleading requirement were for

16 establishing one of “the few” functions that will trigger state action. And it appears that the

17 decision may be in conflict with Halleck and earlier cases when it held that public forum

18 designations are “not a matter of election by a private entity” and “[we] decline to subscribe to
19 Prager U’s novel opt-in theory of the First Amendment. Id. at 999 (9th Cir. 2020) (citing Cent.

20 Hardware, 407 U.S. at 547, 92 S. Ct. 2238 (holding only that “[b]efore an owner of private

21 property can be subjected to the commands of the First and Fourteenth Amendments the privately

22 owned property must assume to some significant degree the functional attributes of public property

23 devoted to public use”).

24               390.   Furthermore, the Ninth Circuit did not mention, or consider in any manner, the more

25 limited theory of Permissive Endorsement “state action” based on Defendants’ use of Section

26 230(c), a congressional speech regulation law, to unlawfully restrict speech 95% of the world’s

27 video speech based on race discrimination and other protected identity classifications or

28

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 1 viewpoints that conflict with Plaintiffs’ fundamental equal protection and speech rights under the

 2 Supreme Court’s seminal case in Skinner.

 3               391.   Consequently, no Court has ruled, nor could it, that Defendants can never engage,

 4 under any circumstances, in “state action” that is subject to judicial scrutiny under the First

 5 Amendment. Nor has the pleading standards and requirement for such a claim been established,

 6 other than Defendants must be engaged in one of the few public functions identified in Halleck or

 7 use a congressional statute to do what they could not otherwise do under established law:

 8 discriminate against Plaintiffs’ speech based on their race, identity or viewpoint.

 9               B.     Permissive Endorsement Allegations Of State Action
10               392.   In Skinner, private railroad companies were preparing to implement suspicion-based
11 breath and urine testing of their employees pursuant to recently enacted federal regulations referred

12 to in the case as “Subpart D.” Skinner, 489 U.S. at 611. Like Section 230(c)(2) of the CDA,

13 Subpart D was “permissive”; it did not compel the testing, but rather left the decision to the

14 railroads. Id. Crucially, however, again like Section 230(c)(2), Subpart D conferred state-law

15 immunity: it protected railroads from being sued under state law if they chose to test. Skinner, 489

16 U.S. at 611, 614-15 (Subpart D “pre-empt[ed] state laws, rules or regulations covering the same

17 subject matter” and thus “removed all legal barriers to the testing”). In so doing, a unanimous

18 Supreme Court held:
19               “[t]he fact that the Government has not compelled a private party to perform a
20               search does not, by itself, establish that the search is a private one. Here, specific
21               features of the regulations combine to convince us that the Government did more
22               than adopt a passive position toward the underlying private conduct.
23 Id. at 615.

24               393.   Under Skinner, the elements of a state action claim under the Permissive
25 Endorsement Test are: (1) reliance on a government law that removes all laws and legal barriers to

26 private conduct that would otherwise unlawful and does so in a way that impacts a fundamental

27 constitutional right; (2) a defendant uses the law to engage in that unlawful conduct; and (3) the

28 government shares in the fruits or benefits in some way from the unlawful conduct.

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 1               394.   Defendants rely on Section 230 to unlawfully discriminate against Plaintiffs and

 2 regulate their speech based on race, identity, viewpoint or in some other manner that violates

 3 federal or state law.

 4               395.   Defendants use Section 230(c) to pre-empt state law and obtain complete immunity

 5 in a manner that removes all legal barriers to the regulating, blocking, or restricting of content

 6 based on Plaintiffs’ race, identity, or viewpoint.

 7               396.   Plaintiffs are forced to submit to race discrimination and other violations of their

 8 legal rights when they use YouTube.

 9               397.   The Communications Decency Act was, as the statute’s name indicates, enacted by

10 Congress to restrict access to “indecent” content on the Internet. 141 Cong. Rec. S8330 (daily ed.

11 June 14, 1995) (statement of Sen. Exon).

12               398.   The express purpose of Section 230(c)(2) is to encourage Internet platforms like

13 Google and YouTube to “restrict” “obscene, lewd, lascivious, filthy, excessively violent, harassing,

14 or otherwise objectionable” material. 47 U.S.C. § 230(c)(2).

15               399.   “The intent of Congress in enacting § 230(c)(2) was to encourage efforts by Internet

16 service providers to eliminate such material.” Goddard v. Google, No. C 08-2738 JF (PVT), 2008

17 WL 5245490, at *6 (N.D. Cal. Dec. 17, 2008) (emphasis added).

18               400.   Section 230(c) makes clear Congress’ “strong preference” for regulating on line
19 speech based on race, identity or viewpoint and for allowing Defendants to discriminate against

20 Plaintiffs in violation of established federal and state law.

21               401.   The federal government has also made clear its “desire to share the fruits” of the

22 unlawful and discriminatory conduct undertaken by Defendants with respect to regulating on line

23 speech, law enforcement, information gathering, and other government services.

24               402.   By way of one example only, in the six-month period from January to June 2017,

25 when Defendants first admitted that they were knowingly and intentionally profiling and targeting

26 users based on race, identity, and viewpoint, Google received almost 17,000 requests from U.S. law

27 enforcement to turn over information regarding users’ content and searches. See Cooperation or

28

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 1 Resistance?: The Role of Tech Companies in Government Surveillance, 131 Harv. L. Rev. 1722,

 2 1722 (2018). Google provided information to the government in some 80% of those cases.

 3               403.   Under Section 230(c), Congress allows and affirmatively endorses the unlawful

 4 discrimination and other conduct by Defendants.

 5               404.   Defendants’ use of Section 230(c) to engage in discrimination and other unlawful

 6 conduct under state and federal law to regulate on line “ material” on the internet is government

 7 endorsed of the unlawful conduct and renders that conduct “state action” under Skinner and the

 8 Permissive Endorsement Test.

 9               C.     State Action Allegations Under The Public Function Test
10               405.   Under Halleck and Prager, the elements of state action under the Public Function
11 Test Appear to be: (1) Defendants are engaged in functions and conduct that fall into that

12 categories of “state action” that includes, but is not limited to, “running elections and operating a

13 company town.”

14               406.   On or about December 2019, Defendants merged their different TOS into a single
15 contract whereby Defendants’ discretion to find a violation YouTube’s content based rules can be

16 used by Defendants to bar the user from using any or all services offered by Defendants in any way

17 including, the purchase and use of hand held smart phone, email, search engines, applications, and

18 information or other services that are essential for public health, safety, law enforcement, election
19 administration, taxation, and any other service performed by governments.

20               407.   Defendants also operate a “company town” in which they control essential
21 information and communication services without which local, state, or federal government agencies

22 cannot provide or otherwise administer essential services including elections.

23               408.   Until, if ever, the Supreme Court eliminates the Public Function Test for “state
24 action” in all cases as a matter of law, Defendants’ use and regulation of speech and information

25 services on YouTube involves the “very few” functions that satisfy the Public Function Test for

26 “state action.”

27

28

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 1               D.     Defendants’ Conduct Violates The First Amendment
 2               409.   Defendants continue to filter, restrict, block and/or interfere with Plaintiffs’ rights to
 3 access, use, and express themselves on YouTube.

 4               410.   Defendants’ filtering, restricting, and blocking on Plaintiffs’ speech and expressive
 5 conduct on YouTube violates Plaintiffs’ First Amendment rights because the conduct is not based

 6 on the platform’s viewpoint neutral rules governing what content is and is not permissible, but on

 7 the race, identity or viewpoint of Plaintiffs.

 8               411.   Defendants’ censorship and other speech regulation conduct harms and violates
 9 Plaintiffs’ speech rights on YouTube in direct contravention of the procedural and substantive

10 viewpoint neutral content based rules that Defendants created, published, and use to regulate

11 speech on YouTube.

12               412.   Furthermore Defendants’ rules, both as applied and on their face, are subjective,
13 vague, and overbroad criteria and proscription that Defendants use with unfettered and unbridled

14 discretion to censor speech for any reason, or no reason at all, no matter how arbitrary or capricious

15 in further violation of Plaintiffs’ First Amendment Rights.

16               413.   Defendants also maliciously use and apply the Rules as a pretext to censor and
17 restrict Plaintiffs’ speech for unlawful purposes including race and identity discrimination against

18 protected classes of users and to gain a competitive advantage over Plaintiffs and other users who
19 Defendants compete with in YouTube.

20               414.   Defendants’ conduct, including the application of purportedly viewpoint neutral
21 rules, are arbitrary and capricious, and unlawfully restrains and harms Plaintiffs and all other

22 persons similarly situated, based upon racial, political, religious, or other identity or viewpoint

23 profiling of the speaker, rather than the actual content of the speaker’s words or expression.

24 Defendants’ actions, therefore, also violate Plaintiffs’ right to free association and assembly under

25 the First Amendment.

26               415.   Defendants’ actions violate Plaintiffs’ right to free association and assembly because
27 , by blocking viewers’ access to videos and comments based on the identity or viewpoint of the

28

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 1 speakers or their opinions or other content featured in their videos that do not violate YouTube’s

 2 viewpoint neutral content based rules

 3               416.   No compelling, significant, or legitimate reason justifies any or all of Defendants’

 4 actions, including the purported interest claimed by Defendants for the need to protect minors or

 5 sensitive audiences from offensive content because Plaintiffs’ content is not “offensive” or

 6 otherwise violates Defendants’ purported viewpoint neutral rules.

 7               417.   And even if such interests did exist to justify Defendants’ restriction and

 8 demonetization rules in theory, the conduct and restrictions imposed on Plaintiffs’ speech are

 9 unconstitutional because they are not narrowly or reasonably tailored to further such interests, but

10 sweep within their ambit speech and expression that complies with the rules that Defendants use to

11 purportedly protect minors and sensitive audiences and are applied by Defendants with unfettered

12 power to censor speech based in race, identity, or viewpoint or for any other discriminatory or

13 unlawful reason or no reason at all.

14               418.   Given Defendants’ monopolistic control over search results, online advertising,

15 public video content, and the myriad of other information services that Defendants unilaterally

16 control, Plaintiffs have no alternative affording them a reasonable opportunity to reach their full

17 intended audience.

18               419.   Defendants’ discriminatory policies and application of those policies are not
19 viewpoint-neutral, are unreasonable in time, place, and manner, and are unreasonable in relation to

20 the nature, purpose, and use of the forum, but are unreasonable prior restraints on Plaintiffs’

21 protected political speech, motivated by impermissible discrimination against Plaintiffs’ identity

22 and viewpoint.

23               420.   Defendants’ intentional and wrongful actions were taken with oppression, fraud,

24 malice and/or are arbitrary and capricious, and as part of Defendants’ normal course of business,

25 effectuated through both algorithms, as well as through human agents. Defendants’ actions were

26 done knowingly and intentionally to deprive Plaintiffs and their viewers of their rights under the

27 California Constitution.

28

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 1               421.   As a direct and proximate result of Defendants’ violations of clearly established law

 2 regarding constitutional speech regulation on YouTube, Plaintiffs have suffered, and continue to

 3 suffer, immediate and irreparable injury in fact to their right to Liberty of Speech, including, but

 4 not limited to financial harms of lost income, reduced viewership, and damage to brand, reputation,

 5 and goodwill, for which there exists no adequately complete remedy at law.

 6 VII.          PRAYER FOR RELIEF
 7               Wherefore Plaintiffs and all other persons similarly situated request that the Court grant the

 8 following relief:

 9               1.     A declaratory judgment remedy under 28 U.S.C. § 2201, et seq. for Plaintiffs’ First

10 Cause of Action challenging the construction, application, and constitutionality of Section 230(c)

11 of the Communications Decency Act, 47 USC § 230(c), that Section 230(c) does not grant

12 immunity to Defendants, or otherwise apply to claims and allegations that arise from, relate to, or

13 are based on, Defendants Google/YouTube’s unlawful racial profiling and use of the user’s race, or

14 other identity or viewpoint to filter, restrict, or block content, or otherwise deny Plaintiffs’ access

15 or use of any services offered by Google/YouTube in connection with Plaintiffs’ use of YouTube

16 on the grounds that:

17                      a.      The plain language of sections 230(c)(1) and/or (2) only immunizes and ISP

18 for filtering and blocking “offensive material,” and does not immunize the regulating, restricting or
19 blocking of material based on the racial, or other identity or viewpoint of the user posting or

20 viewing the video;

21                      b.      Sections 230(c)(1) or (c)(2) does not immunize an ISP who engages in race

22 based identity or viewpoint discrimination under contracts and other business conduct that violates

23 42 U.S.C. § 1981 or the Unruh Civil Rights Act;

24                      c.      The application of Section 230(c) in any way to permit and immunize race,

25 sex, or other identity or viewpoint based profiling and regulation of content and access on YouTube

26 is unconstitutional and violates the First Amendment under Denver Area 518 U.S. 727, 766-67;

27 and/or

28

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 1                     d.     The President’s Executive Order date May 28, 2020, prohibits the

 2 application of Section 230(c) immunity to the content and access filtering, restricting, and blocking

 3 decisions and requires the Department of Justice to clarify and enforce the law in accordance with

 4 identity and viewpoint neutrality.

 5               2.    A declaratory judgment remedy under section 2201that Defendants have violated

 6 and continue to violate Plaintiffs’ rights to free speech and expression subject only to viewpoint

 7 neutral content based rules that apply equally to all under Plaintiffs Second through Sixth, and

 8 Eighth through Tenth Causes of Action;

 9               3.    An injunction requiring Defendants to:

10                     a.     Cease and desist from capriciously restricting, demonetizing, or otherwise

11 censoring any content of videos uploaded to the YouTube based on Plaintiffs’ race, or other

12 identity or viewpoint in violation of federal and California law; and

13                     b.     Cease and desist from censoring, restricting, restraining, or regulating speech

14 based on the discretionary use or application of discriminatory, animus-based, arbitrary, capricious,

15 vague, unspecified, or subjective criteria, rules, guidelines, and/or practices;

16               4.    Compensatory, special, and statutory damages in an amount to be proven at trial,

17 including statutory damages pursuant to, inter alia, Civil Code § 51, 51.5, 52, Civil Procedure Code

18 § 1021.5, 15 U.S.C. § 1117, 42 U.S.C. §§ 1981, 1983;
19               5.    A civil penalty of $2,500 for each violation pursuant to Business and Professions

20 Code §§ 17200, 17206, and 17536;

21               6.    Punitive damages and exemplary damages in an amount to be proven at trial;

22               7.    Restitution of financial losses or harm caused by Defendants’ conduct and ill-gotten

23 gains, and disgorgement of profit obtained from all unlawful conduct in an amount to be proven at

24 trial;

25               8.    Attorneys’ fees and costs of suit;

26               9.    Prejudgment and post-judgment interest; and

27               10.   Any and all other relief that the Court deems just and proper.

28

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 1 VIII. JURY TRIAL DEMAND

 2               Plaintiffs demand trial by jury on all issues of law so triable.

 3 DATED: June 16, 2020                               Respectfully submitted,

 4                                                    BROWNE GEORGE ROSS LLP
                                                         Peter Obstler
 5
                                                         Eric M. George
 6                                                       Debi A. Ramos
                                                         Keith R. Lorenze
 7

 8
                                                      By:         /s/ Peter Obstler
 9
                                                                  Peter Obstler
10                                                    Attorneys for Plaintiffs Kimberly Carleste Newman,
                                                      Lisa Cabrera, Catherine Jones and Denotra Nicole Lewis
11

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10 BriaAndChrissy LLC, Bria Kam, Chrissy
   Chambers, Chase Ross, Brett Somers, and
11 Lindsay Amer, Stephanie Frosch, Sal
   Cinquemani, Tamara Johnson and Greg Scarnici
12

13                                      UNITED STATES DISTRICT COURT

14                    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

15 DIVINO GROUP LLC, a California limited                     Case No. 5:19-cv-004749-VKD
   liability company, CHRIS KNIGHT, an
16 individual, CELSO DULAY, an individual,                    DECLARATION OF STEPHANIE
   CAMERON STIEHL, an individual,                             FROSCH IN SUPPORT OF PLAINTIFFS’
17 BRIAANDCHRISSY LLC, a Georgia limited                      MOTION FOR LEAVE TO FILE SUR-
   liability company, BRIA KAM, an individual,                REPLY BRIEF AND REQUEST FOR
18 CHRISSY CHAMBERS, an individual,                           HEARING AND CASE MANAGEMENT
   CHASE ROSS, an individual, BRETT                           CONFERENCE
19 SOMERS, an individual, and LINDSAY
   AMER, an individual, STEPHANIE                             (Filed concurrently with Plaintiffs’ Sur-Reply
20 FROSCH, an individual, SAL                                 Brief; Declaration of Peter Obstler)
   CINEQUEMANI, an individual, TAMARA
21 JOHNSON, an individual, and GREG
   SCARNICI, an individual,
22
                    Plaintiffs,
23
            vs.                                               Date:
24                                                            Time: 10:00 a.m.
   GOOGLE LLC, a Delaware limited liability                   Place: Courtroom 2
25 company, YOUTUBE, LLC, a Delaware                          Before: Magistrate Judge Virginia DeMarchi
   limited liability company, and DOES 1-25,
26
                    Defendants.
27

28

     Stephanie Frosch Declaration in Support of Motion to
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                                                                                                EXHIBIT "A"
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 1            I, Stephanie Frosch, declare:

 2            1.       I am a named Plaintiff in the above-captioned action. I have firsthand, personal

 3 knowledge of the facts set forth below and if called as a witness could competently testify thereto,

 4 unless other specified.

 5            2.       I am an LGBTQ internet content creator and YouTube user who is active in the

 6 YouTube Community.

 7            3.       In 2009, I became a YouTube content creator and now operate two YouTube

 8 channels: Youtube.com/ElloSteph and Youtube.com/StephFrosch.

 9            4.       From 2009 through 2016, my YouTube channels were successful. However, in

10 2017, I started having problems with YouTube:

11                     a.       YouTube was classifying many of my videos as subject to Restricted Mode,

12 making them unavailable to a large number of viewers, even though the videos contained no

13 nudity, profanity, sexual conduct, or discussions of sexual activities. YouTube also allowed other

14 YouTube channels to copy my videos without permission, and the content in those videos was re-

15 posted by another user and was not subjected to Restricted Mode. .

16                     b.       Many of my videos were demonetized or subject to reduced monetization

17 despite the fact that they do not include graphic images of violence or sexuality, nudity, profanity,

18 sexual conduct, or discussions of sexual activities.
19                     c.       YouTube was running ads on channels which were posting copies of my

20 videos without permission.

21                     d.       At least one of the customized thumbnail images I crafted for each of my

22 videos uploaded to my channels was removed.

23                     e.       Longtime subscribers to my channels were being dropped from my

24 channels, and YouTube was preventing them from re-subscribing. As a result, my subscribers

25 were not receiving notices when I posted new content.

26            5.       YouTube no longer allows me to see the revenue I generated before October 2009.
27 My best recollection is that I earned approximately $23,000 from YouTube ad revenue in 2009. In

28 addition to ad revenue, I earn money from the sale of merchandise, from separate brand

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 1 sponsorship agreements connected with videos posted on my channels, and from the sale of

 2 merchandise from the website www.districtlines.com/ellosteph. This is a separate website which

 3 sells merchandise relating to my original videos posted to YouTube.

 4            6.       In 2017, I joined with other LGBTQ+ YouTube creators to publicly raise

 5 awareness about issues and concerns regarding Defendants’ discriminatory treatment of LGBTQ+

 6 channels. Among other issues, I expressly raised the concern that changes to YouTube’s

 7 algorithms and other content curation machine based procedures were disproportionately

 8 restricting and affecting access to and the reach of content, as well as affecting other YouTube

 9 services for LGBTQ+ YouTube creators and viewers who are members of what Defendants call

10 the “YouTube Community.”

11            7.       On September 8, 2017, an LGBTQ+ YouTube content creator forwarded to me an

12 email dated August 25, 2017, from Laura Chernikoff of the “Internet Creators Guild” inviting him

13 to an event co-sponsored by YouTube regarding changes to YouTube’s algorithm which were

14 adversely affecting the LGBTQ+ community.

15            Ms. Chernikoff’s invitation stated:

16            You're invited to an upcoming event put on by the Internet Creators Guild, in
              partnership with YouTube on Thursday, September 14th at 11:00 AM.
17
              Following the advertising situation on YouTube this spring (dubbed the
18            "Adpocalypse"), YouTube is interested in hearing about creators' experiences on
              the platform. In particular, it's important for creators to understand the advertising
19            guidelines and tools that brands interact with, in order to be aware how it may
              affect your monetization.
20
              We’ve been discussing this issue with YouTube, who have been working to address
21            creator concerns on this topic. They would like to share this presentation, which
              will be under NDA, in order to hear from ICG Members and creators we’re in
22            touch with as part of a small focus group.

23            We thought you would be an engaged and thoughtful participant and hope you’re
              able to attend.
24
     Attached as Exhibit 1 is a true and correct copy of the email I received with the invitation to the
25
     September 14-event. Based on the email, I understood that before YouTube would even speak to
26
     me or any other members of the group of LGBTQ+ creators about the problems with the new
27
     YouTube algorithm implemented in May of 2017, YouTube required each of us to sign a Non-
28
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 1 Disclosure Agreement (the “NDA”).

 2            8.       Ms. Chernikoff sent an email to me dated September 11, 2017 which confirms my

 3 participation in the September 14-event and states: “Please note that a non-disclosure agreement

 4 (NDA) will be sent via email by a member of the YouTube team and is required to be signed prior

 5 to the event, so keep an eye out!” Attached as Exhibit 2 is a true and correct copy of the email

 6 dated September 11, 2017 from Ms. Chernikoff.

 7            9.       On September 13, 2017, Defendants sent to me by email a request for my signature

 8 on an electronic Non-Disclosure Agreement in connection with the September 14-event. Upon

 9 signing the electronic document, I received a confirmation email which has a subject: “You have

10 accepted Google’s Non-Disclosure Agreement.” The text of the email sets forth my personal

11 information and a copy of the Non-Disclosure Agreement. Attached as Exhibit 3 is a true and

12 correct copy of the email from Google confirming receipt of my signed Non-Disclosure

13 Agreement.

14            10.      The Non-Disclosure Agreement states:

15            “In order to evaluate and possibly enter into a business transaction (the “Purpose”),
              Google Inc., for itself and its subsidiaries and affiliates, and the other party
16            identified below hereby agree:”

17 At the time that I signed the agreement, I had no idea what “business transaction” the document

18 was referring to. As a YouTube user, I had previously entered into a YouTube Terms of Service
19 Agreement and an AdSense Agreement. As of September 13, 2017, I was not thinking about

20 entering into any new “business transaction” with YouTube or Google, or changing the existing

21 agreements I had with YouTube and AdSense. Neither YouTube nor Google had mentioned any

22 new business transaction, or changes to any existing agreements. I was merely trying to meet with

23 YouTube representatives to discuss with them the many problems that I had been having with my

24 YouTube channel and the falling views and revenue I was experiencing as a result of changes

25 YouTube made to their algorithm in May of 2017. I did not expect for YouTube or Google to

26 give me trade secrets, computer codes, or any other proprietary information at the meeting. And
27 they did not. I simply talked to YouTube and/or Google about my problems and how to resolve

28 them.
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 1            11.      The Non-Disclosure Agreement does not define what “Confidential Information”

 2 is, except to say that it is whatever “the Discloser considers” to be “confidential.” I have no way

 3 of knowing what YouTube or Google consider to be confidential, or expect me to treat as

 4 confidential. “Confidential Information” is not limited to trade secrets such as YouTube or

 5 Google’s customer lists, computer codes, or processes.

 6            12.      On September 14, 2017, I went to the event at the YouTube Playa Vista Office in

 7 Los Angeles, California. Upon arrival at the September 14-event, I checked in at 11:00 a.m.

 8 YouTube provided lunch for the participants. Around 11:30, a YouTube representative announced

 9 that the YouTube analytics guy had limited time and was running late. The YouTube

10 representative asked us to quickly sign a hard copy Non-Disclosure Agreement so that we could

11 get started as fast as possible, and indicated that we had to move quickly so that there was time

12 with the analytics representative. The representative then came up to me, handed me a hard copy

13 Non-Disclosure Agreement, and asked me to sign it while he stood there waiting. I was not given

14 time to read the document which had multiple pages and appeared to be longer and more detailed

15 than the one I had signed online. The representative then took my signed document, and quickly

16 approached another creator requesting their signature. YouTube did not offer me a copy of this

17 Non-Disclosure Agreement. Immediately after signing the document, I was ushered into a large

18 conference room.
19            13.      The September 14 event involved 12 to 20. YouTube creators, each representing a

20 different class of video. While I was the only LGBTQ representative creator, there were other

21 LGBTQ creators who were posting videos in other categories. I recall there were individual

22 representatives for cooking, comedy, and gaming videos, some of which happened to identify as

23 LGBTQ although they were not specifically creating videos for the LGBTQ community. We were

24 seated at a large oval conference table, and offered notebooks and pens. The presenters all

25 identified as YouTube employees.

26            14.      During the September 14 event, we watched a PowerPoint presentation. We heard
27 from a man who identified himself as the YouTube employee responsible for analytics and a

28 woman who addressed algorithm issues. Also present were Ben Cramer and someone who was
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 1 handing out YouTube swag. In all, I recall that there were five YouTube representatives present at

 2 the event, in addition to the man who got me to sign the second Non-Disclosure Agreement before

 3 I entered the conference room for the presentation. YouTube specifically prohibited us from

 4 taking photos or recording the event.

 5            15.      The YouTube presenters stated that they wanted to work with us creators, and

 6 explained that YouTube makes money off of the creators who make the video content from

 7 advertisers, and that creators win by sharing in the advertising money. They explained that

 8 advertisers buy ads based on viewer demographics for the videos. YouTube and creators monetize

 9 off of each other and YouTube does not want to hurt creators. The YouTube presenters discussed

10 problems with filtering video content for purposes of restricted mode, monetization and the

11 payments for cpm (clicks per minute).

12            16.      When asked why videos which use gay couples are getting blocked as mature

13 content or inappropriate for all audiences, or videos are getting blocked for mentioning the word

14 “queer,” the YouTube representative made the following statements:

15                     a.       Blocking LGBTQ videos was caused when YouTube started using an

16 artificial intelligence algorithm to filter content based on what advertisers want; it is the algorithm

17 that is “targeting” LGBTQ videos. YouTube was not discriminating, the algorithm was

18 discriminating. The YouTube representative was talking about the algorithm as if it were some
19 independent video censor that was entirely unrelated to YouTube and its employees, and beyond

20 their control; rather than a tool which YouTube specifically designed and put in place to regulate

21 videos on the platform, which YouTube could change or remove from the platform entirely.

22                     b.       There are too many videos on YouTube to review all content manually.

23 YouTube must use artificial intelligence to conduct the content reviews on the YouTube platform.

24                     c.       The artificial intelligence algorithm identifies people, including the racial or

25 sexual identities or viewpoints of the creator or viewers when filtering and curating content and

26 restricting access to YouTube services; it does not review and make restrictions based only on the
27 video content. This is due in part to the fact that advertisers want to be able to target audiences

28 based on the demographics of the creators and their audiences. The result is that the algorithm
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 1 discriminates based on the identity of the creator or its intended audience when making what are

 2 supposed to be neutral content based regulations and restrictions for videos that run on YouTube.

 3                     d.       Despite the problems with the algorithm, YouTube and the creators are on

 4 the “same side.” The rules should apply equally to all regardless of the identity or viewpoint of

 5 the creator.

 6                     e.       When the creators told YouTube representatives that they understood why

 7 an advertiser would not want a Pampers ad on video content featuring guns, they still did not

 8 understand why content from homosexual creators was being demonetized when identical content

 9 from heterosexual creators was not, the YouTube representatives said that they were “going to fix

10 it.” No details of what they were doing, or planned on doing to fix the algorithm were provided

11 and no one (at the meeting or since) indicated when, if ever, the fix for this “problem” would be

12 completed.

13                     f.       In response to further questions from creators, the YouTube representatives

14 specifically acknowledged that the algorithm was looking at and profiling the sexual identities,

15 races, disabilities, religious and political affiliations of creators, intended audiences and viewers

16 alike.

17            17.      The YouTube representatives discussed the example of a YouTube creator who had

18 a chef’s channel and posted cooking videos: if the creator identified as gay, or had a lot of
19 subscribers or viewers who accessed a lot of LGBTQ related videos, the cooking video would be

20 tagged as a “gay” video for monetization and restricted mode purposes, regardless of the actual

21 content of the video.

22            18.      Towards the end of the September 14-event, which lasted about 2 hours, I

23 specifically asked the YouTube representative, “What are you doing to fix the problems we have

24 identified?” and “When will you be done fixing the problems?” The YouTube representative

25 responded to each question saying, “I cannot answer that question.” To this date, no one at the

26 September 14 event has ever provided me any substantive response to my questions regarding the
27 problems or the fix.

28            19.      As far as I can recall, no one at the September 14-event -- (a) said that what they
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 1 were saying was “confidential” in connection with either the online or hard copy Non-Disclosure

 2 Agreements; (b) said that what they were talking about was a “trade secret;” (c) described actual

 3 YouTube’s computer code or proprietary processes used in connection with YouTube, the

 4 analytics, the algorithm, or AdSense; (d) asked me not to repeat anything that was said during the

 5 event by other creators.

 6            20.      Until the time that Defendants finally released me from my NDAs in March of this

 7 year, I was prohibited by the NDAs from discussing, with anyone, including my attorneys in this

 8 case, the substance, nature, and details of the September 14-event, including the statements made

 9 by the YouTube representatives about identity and viewpoint discrimination in regulating

10 monetization, access to content and services. Consequently, the information and statements

11 presented at the September 14-event could not be included in the Second Amended Complaint.

12 Even though I have no idea what, if anything Defendants claim is “confidential,” I was afraid and

13 at risk that if I ever talked about what was said at the meeting, YouTube could or would sue me

14 for violating the NDA(s). I have also been afraid that Defendants would suspend or terminate my

15 channel, my gmail account, or even suspend my access to Google searches if I violated the

16 NDA(s).

17            21.      On March 26, 2020, after my lawyers had notified YouTube that I had decided to

18 file a motion to void or release me from the gag provisions of the NDAs, Defendants informed my
19 lawyers in writing that they had “no intention of enforcing the NDA.” Attached as Exhibit 4 is a

20 true and correct copy of the correspondence between my lawyers and Defendants’ attorneys,

21 including the email releasing me from the NDAs.

22            22.      Following the receipt of that email, I was finally able to inform my lawyers of the

23 substance of what was said by the YouTube representatives at the September 14-event.

24            23.      I have reviewed the Defendants’ Motion to Dismiss the Second Amended

25 Complaint. In the Motion to Dismiss, Defendants make a number of factual assertions which are

26 loosely based on allegations in the Complaint. As stated below, I believe that Defendants’ factual
27 assertions are either wrong or misleading, as indicated below:

28                     a.       Defendants state in their Motion:
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 1            Content creators upload videos to the service free of charge, enabling YouTube’s
              billions of users to view them, comment on them, and subscribe to their favorite
 2            creators’ channels. ¶ 52. MTD at 3:2-4.

 3            In truth, while there is no monetary charge for uploading videos, in exchange for the

 4 opportunity to use the YouTube website, Defendants required me to give them a license to use all

 5 of my original video content that is posted to the YouTube website, the right to collect data about

 6 me, and my use of the YouTube website, and also the right to collect data about people who view

 7 my videos on the YouTube website.

 8                     b.       Defendants state in their Motion:

 9            YouTube values the perspectives and experiences that LGBTQ+ content creators
              bring to the platform. MTD at 3:17-18.
10
              My experience with YouTube since 2017 is directly contrary to this statement. After the
11
     September 14-event, no one at YouTube followed up with me – no one checked to see if my
12
     problems had been resolved; no one checked to see how much the algorithm had cost me in lost
13
     subscribers, advertising revenue, cpm, or reduced viewers. In fact, no one from YouTube ever
14
     helped me solve the problems identified at the September 14-event. Rather, following the event,
15
     my subscribers, advertising revenues, cpm, and viewers continued to decline. Though my
16
     viewership was stable, AdSense revenues dropped substantially.
17
              24.      Since filing the lawsuit, YouTube shut off the analytics for the cpm so that creators
18
     like me are no longer able to calculate the lost revenue from reduced cpm due to demonetization.
19
     My viewer numbers have been cut dramatically and subscribers complain that they cannot get new
20
     video notices. Recently, I co-created a video with my girlfriend, who does not identify as
21
     LGBTQ. We both posted the same identical video at the same time. While my girlfriend earned
22
     $3,000 from the video, I earned only $300.
23
                       a.       Defendants state in their Motion:
24
              In 2017, when LGBTQ+ creators raised issues about Restricted Mode, YouTube
25            acknowledged that the feature was not fully working as intended and agreed to
              make improvements. ¶¶ 28, 87. MTD at 3:21-4:1.
26
              Defendants’ description of YouTube’s “acknowledgment” is misleading. Contrary to the
27
     Motion’s spin on the allegations in the Complaint, the concerns I and other LGBTQ+ creators
28
     Stephanie Frosch Declaration in Support of Motion to
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 1 raised were not limited to Restricted Mode, but extended to demonetization and cpm. In fact, at

 2 the September 14-event, YouTube’s representatives acknowledged that the algorithm was

 3 discriminating against LGBTQ creators as well as other creators based on their identities and

 4 personal affiliations, as well as those of their subscribers and viewers. YouTube’s representatives

 5 also stated that the feature was working as YouTube intended: it was profiling creators and

 6 viewers for YouTube’s advertisers so that the advertisers could target audiences based on personal

 7 identity including whether viewers were gay, disabled, members of a racial group or affiliated with

 8 specific viewpoints or groups. YouTube’s representatives confirmed that decisions regarding a

 9 video’s status vis a vis restricted mode, monetization and cpm were being made on grounds that

10 were unrelated to the actual content of the video. While the YouTube representatives agreed that

11 they were working to fix the problems, they did not specify what they were doing to stop the

12 discrimination in the interim or to otherwise provide a timeframe for completing the fix.

13                     b.       Defendants state in their Motion:

14            As for the Plaintiffs here, YouTube has addressed their individual concerns in good
              faith, and often removed restrictions from their videos, when appropriate under
15            YouTube’s policies, in response to their appeals. ¶¶ 186, 223, 227, 230, 233, 236.a.
              MTD at 4:1-4.
16
              Defendants’ statement is grossly misleading to the extent that it suggests that YouTube
17
     actually resolved any of the complaints I (or any other LGBTQ+ creator) raised at the 2017
18
     meeting with the Defendants. YouTube has not “addressed” my concerns, continues to profile
19
     my videos based on my identity as a member of the LGBTQ community and my affiliation with
20
     LGBTQ groups and has increased its discrimination against me by restricting the majority of my
21
     videos, and gutting my subscriber lists, viewers, ad revenue, and cpm.
22
                       c.       Defendants state in their Motion:
23
              The use of its service is governed by rules and an array of content policies. ¶¶ 10,
24            248, 288. Before creating channels and uploading their content to the service,
              Plaintiffs acknowledge they agreed to YouTube’s Terms of Service and the
25            incorporated Community Guidelines. ¶¶ 10, 14, 59, 248,

26            The Terms of Service provide that “YouTube reserves the right to remove Content
              without prior notice,” including videos uploaded by content creators. Ex. 2-3. The
27            Community Guidelines are twelve “common-sense rules” prohibiting certain kinds
              of content, including “[n]udity or sexual content” and “[v]ulgar language.” Exs. 3-
28            4. Google and YouTube reserve the right to remove any content that they believe to
     Stephanie Frosch Declaration in Support of Motion to
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 1            be contrary to the Terms of Service and the incorporated Community Guidelines.
              Ex. 2. MTD at 4:6-15.
 2
              YouTube allows content creators whose channels meet certain minimum
 3            viewership requirements to earn revenue from (or “monetize”) their videos by
              running advertisements with them as part of the YouTube Partner Program. To be
 4            eligible to monetize their videos, in addition to the Terms of Service and
              Community Guidelines discussed above, Plaintiffs agreed to certain additional
 5            “written contracts,” including YouTube’s Partner Program Terms and the AdSense
              Terms of Service. See ¶ 331; Exs. 5-6, 10. In addition, Plaintiffs agreed to comply
 6            with YouTube’s monetization policies, including the Advertiser-friendly content
              guidelines, which are designed to ensure that ads do not appear alongside videos
 7            with content that certain audiences might find objectionable. See ¶¶ 152, 248, 331;
              Exs. 5-11. YouTube uses automated software to identify content as inappropriate
 8            for advertising, and creators may appeal demonetization decisions for manual
              review. ¶ 94; Ex. 9. MTD at 5:9-19.
 9
              Defendants’ description of the website rules is misleading and deceptive: When I agreed
10
     to Defendants’ Terms of Service, Community Guidelines, Partnership Program Terms, and
11
     AdSense Terms of Service, I understood that these terms were nonnegotiable and that each
12
     YouTube user was agreeing to these same terms. YouTube stated in its Terms of Service and
13
     Community Guidelines that the rules to which I agreed would be applied equally to all YouTube
14
     users, in a neutral manner. At the September 14-event, YouTube representatives reaffirmed their
15
     commitment to the universal set of rules which apply equally to all; however, they also confirmed
16
     that they were using an artificial intelligence algorithm which discriminates against users based on
17
     their identities. As long as YouTube’s algorithm profiles users, then YouTube cannot be applying
18
     the same rules equally to all users in a neutral manner.
19
              25.      YouTube did not inform me that my videos would be distributed, made available
20
     for viewing, or monetized for profit based on who I am (a lesbian educator) or on my stated views
21
     regardless of the actual content of the video posted. Nor did YouTube inform me that to the extent
22
     that it sponsored other creators, or their channels or individual videos, that those sponsored
23
     creators/channels/videos would not be subject to the same Terms of Service, Community
24
     Guidelines, Partnership Program Terms, or AdSense Terms of Service that I must follow. Nor did
25
     YouTube inform me that it would be creating Defendants’ own original video content which
26
     would not be subjected to the same Terms of Service, Community Guidelines, Partnership
27
     Program Terms, or AdSense Terms of Service that I and other third-party users must follow.
28
     Stephanie Frosch Declaration in Support of Motion to
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 1            26.      YouTube did not inform me that in giving Defendants a license to use the videos I

 2 posted, that it would allow other YouTube users to copy my original videos, post them on the

 3 channels of other YouTube users, or receive revenue related to my original videos.

 4            27.      Tamara Johnson, one of the named Plaintiffs, is an LGBTQ+ creator who operates

 5 the YouTube channel, SVTV Network. Ms. Johnson also owns and operates an internet online

 6 on-demand monthly subscription network https://www.svtvnetwork.com/ dedicated to original

 7 content specifically designed for LGBTQ+ audiences. Ms. Johnson is an African American. Her

 8 original web series videos feature African American members of the LGBTQ community.

 9            28.      In their Reply Brief, Defendants assert that:

10            . . . Plaintiffs’ opposition brief also purports to represent the interests of “African
              American content creators and users” (see, e.g., Opp. 1), but the Complaint does
11            not include any actual allegations in support of any claim for racial discrimination.
              Reply fn.2 at p.3.
12
     This is not true. Plaintiffs’ Second Amended Complaint includes allegations that Defendants
13
     unlawfully use “data regarding the video creators,’ subscribers,’ or viewers’ . . . race, ethnicity,
14
     commercial, or political identities or viewpoints” (paragraph 7 emphasis added); and Defendants
15
     “rely upon and invoke federal law under Section 230(c) to preempt and immunize unlawful
16
     filtering, regulations, and practices on the YouTube Platform, including practices which
17
     discriminate based upon race . . . or individual viewpoints, and in doing so, engage in unlawful
18
     discriminatory, arbitrary, and capricious repression of public speech under color of federal law.”
19
     [Paragraph 289 emphasis added.] The Second Amended Complaint also alleges that Defendants
20
     are “using identity based censorship to determine who can and cannot continue to use the
21
     YouTube Platform” (paragraph 8); and that their representative “promised LGBTQ+ YouTubers
22
     that Defendants would ensure that ‘Restricted Mode’ should not filter out content belonging to
23
     individuals or groups based on certain attributes like gender, gender identity, political
24
     viewpoints, race, religion or sexual orientation,” (paragraph 29, 121, emphasis added).
25
              29.      The allegations of the Second Amended Complaint identified above are consistent
26
     with and supported by what I was told by the YouTube representatives at the September 14-event
27
     regarding racial profiling and discrimination embedded in the algorithm. When called to testify as
28
     Stephanie Frosch Declaration in Support of Motion to
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 1 a witness, I will testify specifically that the YouTube representatives at the September 14 event

 2 said that the algorithm was targeting African American creators, subscribers and viewers in the

 3 same way that it was targeting LGBTQ creators, subscribers and viewers.

 4            I declare under penalty of perjury under the laws of the United States of America that the

 5 foregoing is true and Executed this 20th day of April, 2020, at New York, New York.

 6
                                                            __________
 7                                                                ______________________________

 8                                                                  STEPHANIE FROSCH

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28
     Stephanie Frosch Declaration in Support of Motion to
     File Sur-Reply Brief                                    -13-                Case No. 5:19-cv-004749-VKD
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From: Steph Frosch <ellosteph@gmail.com>
Date: Tue, Aug 20, 2019 at 12:04 AM
Subject: Fwd: Focus Group event: YouTube's Advertising Guidelines
To: Stephanie Frosch <stephfrosch@gmail.com>


---------- Forwarded message ---------
From: Laura Chernikoff <laura@internetcreatorsguild.com>
Date: Thu, Sep 21, 2017 at 11:46 AM
Subject: Re: Focus Group event: YouTube's Advertising Guidelines
To: Steph Frosch <ellosteph@gmail.com>


Thanks for participating in this ICG event with YouTube. We know this session had some logistical challenges with the
timing and apologize. We’re still experimenting with this type of event, and thinking about ways to advocate for creators
about the difficult monetization and advertising guidelines challenges. We’d love to hear about your experience – you can
share your honest feedback by filling out this brief survey.

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

On Wed, Sep 13, 2017 at 2:57 PM, Steph Frosch <ellosteph@gmail.com> wrote:
Signed and sent! Looking forward to tomorrow.

All the best,
Stephanie Frosch
YouTube.com/ElloSteph

On Wed, Sep 13, 2017 at 11:21 AM, Laura Chernikoff <laura@internetcreatorsguild.com>
wrote:
Hey, I wanted to send a quick reminder to sign the NDA YouTube sent for tomorrow's event. They need everyone
attending the event to sign in order to participate, so I wanted to make sure you hadn't missed it. Let me know if you have
any questions or concerns!

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

On Mon, Sep 11, 2017 at 11:07 AM, Laura Chernikoff <laura@internetcreatorsguild.com>
wrote:
Thanks Davey! Moving you to bcc.
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Steph, we're excited to have you at this event this week. Here's a confirmation with details about
the location.

Please note that a non-disclosure agreement (NDA) will be sent via email by a member of the
YouTube team and is required to be signed prior to the event, so keep an eye out!

RSVP: You are confirmed.
Date: Thursday, September 14th
Check In Time: 11am
Presentation Starts: 11:30am
*Lunch and an opportunity to mingle with your fellow creators will be included.
Location: YouTube Playa Vista Office –
12400 W. Bluff Creek Drive. Los Angeles, CA 90094
Directions: At the intersection of S Centinela Ave & Jefferson Blvd, turn onto S Campus Center
Dr. Drive to the end of Campus Center Dr. Turn left on West Bluff Creek Drive and make a
quick right into “Lot B”. US-PLV-H10 will be the building just West of the parking lot.

If you have trouble finding the office, contact Ben Kramer: benkramer@google.com // 650-
495-7545

If your plans have changed and you are unable to attend, please let us know ASAP.

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

On Fri, Sep 8, 2017 at 5:36 PM, Davey Wavey <davey@daveywavey.tv> wrote:
Hey Laura,

CC'ing Steph Frosch on this. She'd love to attend!

On Thu, Aug 31, 2017 at 6:06 PM, Laura Chernikoff <laura@internetcreatorsguild.com> wrote:
Unfortunately this event is in-person only. Sorry to hear you can't make it, but we'll keep you in
mind for similar events in the future.

Do any other LA-based creators come to mind who were effected by this issue? I know the
LGBT community especially deals with this and I want to make sure their voices are well
represented in that room.

Laura

Laura Chernikoff
Executive Director
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Internet Creators Guild
internetcreatorsguild.com

On Tue, Aug 29, 2017 at 9:52 AM, Davey Wavey <davey@daveywavey.tv> wrote:
Hey Laura,

I'll be traveling - is there a remote option for attending?

Best,
Davey

On Fri, Aug 25, 2017 at 1:28 PM, Laura Chernikoff <laura@internetcreatorsguild.com> wrote:
Hey Davey,

You're invited to an upcoming event put on by the Internet Creators Guild, in partnership with YouTube on
Thursday, September 14th at 11:00 AM.

Following the advertising situation on YouTube this spring (dubbed the "Adpocalypse"), YouTube is
interested in hearing about creators' experiences on the platform. In particular, it's important for creators to
understand the advertising guidelines and tools that brands interact with, in order to be aware how it may affect your
monetization.

We’ve been discussing this issue with YouTube, who have been working to address creator concerns on this
topic. They would like to share this presentation, which will be under NDA, in order to hear from ICG Members
and creators we’re in touch with as part of a small focus group.

We thought you would be an engaged and thoughtful participant and hope you’re able to attend.

Please RSVP with either yes, no, or maybe by September 5th.

Thursday, September 14th
Check in 11:00 AM; presentation at 11:30 AM
YouTube Playa Vista Campus

Understanding YouTube's Advertising-Friendly Content Guidelines

In this session, YouTube will cover the recent changes to the platform's Advertiser-Friendly Content
Guidelines and what they mean to both advertisers and creators. They will review the updated guidelines,
discuss how YouTube surfaces ads, and the targeting systems advertisers leverage to place their ads.
This will be followed by a Q&A, where creators will be able to ask questions, as well as share their
experiences and feedback on these changes.

This event is invite-only and has limited space. If you know of other creators who would
be interested in the topic and available to attend, please let me know their name,
channel, and email address.

Thanks!


Laura
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Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com


--
Davey Wavey
Digital Storyteller |

--
Davey Wavey
Digital Storyteller |

         Stephanie Frosch



     YouTube | Instagram | Twitter

--

                          Stephanie Frosch
                          she/her/hers
                          Storyteller || Activist || Educator ||

                          phone: +1 954.235.4604
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From: Laura Chernikoff <laura@internetcreatorsguild.com>
Date: Mon, Sep 11, 2017 at 1:08 PM
Subject: Re: Focus Group event: YouTube's Advertising Guidelines
To:
Cc: Steph Frosch <ellosteph@gmail.com>

Thanks Davey! Moving you to bcc.

Steph, we're excited to have you at this event this week. Here's a confirmation with details about
the location.

Please note that a non-disclosure agreement (NDA) will be sent via email by a member of the
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Laura Chernikoff
Executive Director
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topic. They would like to share this presentation, which will be under NDA, in order to hear from ICG Members
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We thought you would be an engaged and thoughtful participant and hope you’re able to attend.

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Thanks!

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com


Davey Wavey
Digital Storyteller |


Davey Wavey
Digital Storyteller |

        Stephanie Frosch



  YouTube | Instagram | Twitter
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From: Google Legal <nda-noreply@google.com>
Date: Wed, Sep 13, 2017 at 4:56 PM
Subject: You have accepted Google's Non-Disclosure Agreement
To: <StephFrosch@gmail.com>

You have accepted the terms and conditions presented in Google's
Non-Disclosure Agreement on 2017-09-13 20:56:35.

Company Name: ElloSteph
Name: Stephanie Frosch
Title: Content Creator
Email: StephFrosch@gmail.com
Address:
1300 N Curson Ave Apt 4
West Hollywood, California, 90046
United States

Below is a copy of the Agreement for your reference:

NON-DISCLOSURE AGREEMENT

 In order to evaluate and possibly enter into a business transaction (the
“Purpose”), Google Inc., for itself and its subsidiaries and affiliates,
and the other party identified below hereby agree:

1. The Effective Date of this agreement is the date this agreement is
accepted by the party identified below.

2. A party (the “Discloser”) may disclose to the other party (the
“Recipient”) information pertaining to the Purpose that the Discloser
considers confidential (“Confidential Information”).

3. Recipient may use Confidential Information only for the Purpose.
Recipient must use a reasonable degree of care to protect Confidential
Information and to prevent any unauthorized use or disclosure of
Confidential Information. Recipient may share Confidential Information with
its employees, directors, agents or third party contractors who need to
know it and if they have agreed with either party in writing to keep
information confidential.

4. Confidential Information does not include information that: (a) was
known to Recipient without restriction before receipt from Discloser; (b)
is publicly available through no fault of Recipient; (c) is rightfully
received by Recipient from a third party without a duty of confidentiality;
or (d) is independently developed by Recipient. A party may disclose
Confidential Information when compelled to do so by law if it provides
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reasonable prior notice to the other party, unless a court orders that the
other party not be given notice.

5. Either party may terminate this agreement with thirty days prior
written notice, but this agreement’s provisions will survive as to
Confidential Information that is disclosed before termination.

6. Unless the parties otherwise agree in writing, Recipient’s duty to
protect Confidential Information expires five years from disclosure.

7. This agreement imposes no obligation to proceed with any business
transaction.

8. No party acquires any intellectual property rights under this agreement
except the limited rights necessary to use the Confidential Information for
the Purpose.

9. This agreement does not create any agency or partnership relationship.
This agreement is not assignable or transferable by either party without
the prior written consent of the other party.

10. This agreement is the parties’ entire agreement on this topic,
superseding any prior or contemporaneous agreements. Any amendments must be
in writing. The parties may execute this agreement in counterparts, which
taken together will constitute one instrument. Failure to enforce any of
provisions of this agreement will not constitute a waiver.

11. This agreement is governed by the laws of the State of California,
excluding its conflict-of-laws principles. The exclusive venue for any
dispute relating to this agreement shall be Santa Clara County, California.

CommMutual Rev 112707



                          Stephanie Frosch
                          she/her/hers
                          Storyteller || Activist || Educator ||

                          phone: +1 954.235.4604
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From: White, Lauren Gallo <lwhite@wsgr.com>
Sent: Thursday, March 26, 2020 6:21 PM
To: Debi Ramos <dramos@bgrfirm.com>
Cc: Kramer, David <DKramer@wsgr.com>; Willen, Brian <bwillen@wsgr.com>; Knoll, Kelly
<kknoll@wsgr.com>; Peter Obstler <pobstler@bgrfirm.com>; Grubbs, Deborah
<DGrubbs@wsgr.com>; Kathleen McCormick <kmccormick@bgrfirm.com>
Subject: Re: Divino Group, LLC v Google LLC, et al. [IWOV-DOCSLA.FID349140]

Debi:

As I said in my letter, further discussion would be productive to identify whether the information
Ms. Frosch wishes to disclose might be protected by her NDA with YouTube. That is because
we share your position that “any protective order [cannot] be used to keep non-confidential
information from being presented to the Court and the public.” Your continued argument and
apparent insistence on running to court despite defendants’ desire to meet and confer—and
despite the parties’ obligation to do so—are unwarranted and improper. Nevertheless, because
defendants are not aware of any confidential information that Ms. Frosch might have learned at
the September 14, 2017 event that might be protected by her NDA with YouTube, defendants
have no intention of enforcing the NDA against her. While it would of course be premature to
introduce testimony or other evidence at the current stage of the case, in the event this case gets
past the pleadings, defendants will not enforce the NDA to prevent Ms. Frosch from testifying
about her September 14, 2017 meeting. But YouTube’s willingness to release Ms. Frosch from
her obligations is not license to you to misstate the record, make misrepresentations, or
improperly offer evidence to the Court.

Best regards,
Lauren
      Case 5:19-cv-04749-VKD
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 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Los Angeles, State of California. My business address is 801 S.
 4 Figueroa Street, Suite 2000, Los Angeles, CA 90017.

 5          On April 20, 2020, I served true copies of the following document(s) described as

 6           PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY BRIEF;
      DECLARATION OF PETER OBSTLER; DECLARATION OF STEPHANIE FROSCH;
 7                    (Proposed) ORDER TO FILE SUR-REPLY
 8          on the interested parties in this action as follows:

 9                                  SEE ATTACHED SERVICE LIST
10         BY MAIL ON 4/21/20: I enclosed the document(s) in a sealed envelope or package
   addressed to the persons at the addresses listed in the Service List and placed the envelope for
11 collection and mailing, following our ordinary business practices. I am readily familiar with the
   practice of Browne George Ross LLP for collecting and processing correspondence for mailing.
12 On the same day that correspondence is placed for collection and mailing, it is deposited in the
   ordinary course of business with the United States Postal Service, in a sealed envelope with
13 postage fully prepaid. I am a resident or employed in the county where the mailing occurred. The
   envelope was placed in the mail at Los Angeles, California.
14
           BY EMAIL ON 4/20/20: I served the document via email transmission to the email
15 address listed above and did not, within a reasonable period of time, receive notice of an
   unsuccessful submission.
16
           I declare under penalty of perjury under the laws of the State of California that the
17 foregoing is true and correct.

18          Executed on April 20, 2020, at Los Angeles, California.
19
20

21
                                                        Kathleen McCormick
22

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                                                                             Case No. 5:19-cv-004749-VKD

                                               PROOF OF SERVICE
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 1                                           SERVICE LIST
                        Divino Group LLC v. Google LLC and YouTube, LLC
 2                    United States District Court - Case No. 5:19-cv-004749-VKD
 3

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                                                                       Case No. 5:19-cv-004749-VKD
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                Exhibit “B”
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                                                                                          Electronically Filed
                                                                                          by Superior Court of CA,
                                                                                          County of Santa Clara,
                                                                                          on 11/19/2019 3:51 PM
                                                                                          Reviewed By: R. Walker
                                                                                          Case #19CV340667
                                                                                          Envelope: 3671559




                                             SUPERIOR COURT OF CALIFORNIA
                                                COUNTY OF SANTA CLARA


      PRAGER UNIVERSITY,                                                    Case No.: 19CV340667

                            Plaintiff,

                                                                           ORDER AFTER HEARING ON
                VS.
                                                                           OCTOBER 25, 2019
      GOOGLE LLC’ et a1              _
                                         ’
                                                                           (l)   Demurrer by Defendants Goo le
                                                                                 LLC and YouTube, LLC to thge
                                                                                 First   Amended Complaint
                            Defendants-
                                                                           (2)   Motion by     Plaintiff Prager
                                                                                 University for Preliminary
                                                                                 Injunction



19              The   above-entitled matter      came on   for hearing   on Friday, October 25, 201 9        at   11:00

20   am.   in   Department       1   (Complex   Civil Litigation), the   Honorable Brian C. Walsh presiding.              A
2!   tentative ruling        was issued prior t0   the hearing.   The appearances        are as stated inthe record.

22   The Court has reviewed and considered              the written submissions of all parties and has reﬂected

23   0n the   oral    argument of counsel, including by reviewing the transcript lodged by plaintiff on

24   November         14,   201 9. Being fully advised, the Court adopts the tentative ruling as follows:

25


26              This action arises from Prager University’s allegations that YouTube,                LLC    and   its   parent

27   company Google LLC have unlawfully restricted content                   created   by Prager on YouTube,

28   defendants’ social media and video sharing platform. Before the Court are defendants’ demurrer




     Prager University v. Google LLC, et 31., Superior Court QfCaliﬁ)mia. Coumjy afSanta Clara, Case No. 19CV340667              1

     Order After Hearing on October 25, 2019 [Demurrer (o the First Amended Complaint and Molionfor Preliminary Injunction]

                                                                                                                        EXHIBIT "B"
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       t0 the operative First       Amended Complaint (“FAC”)                        and Prager’s motion for a preliminary

       injunction.       Both motions are opposed.



       I.    Factual and Procedural Background

                   As   alleged in the   FAC, Prager              is   a n011-pr0ﬁt, 501(c)(3) tax exempt, educational

      organization that promotes discussion 0n historical, religious, and current events
                                                                                                                     by
      disseminating educational videos intended for younger, student—based audiences between the

      ages 0f 13 and 35. (FAC,            1]   10.)    The Videos          depict scholars, sources, and other prominent

      speakers         who   often espouse Viewpoints in the mainstream 0f conservative thought. (Ibid)

                   Defendants operate YouTube as the largest and most proﬁtable mechanism for

      monetizing free speech and freedom 0f expression                             in the history   0f the world, generating $10     t0

      15 billion in annual revenue by monetizing the content 0f users like Prager                             Who   are invited t0

      post videos t0 YouTube. (FAC,                   1]   11.)    Since   its   inception, Prager has posted    more than 250 of
      its   Videos t0 YouTube.        (Id. at    ﬂ 39.)

                  A. The Alleged Content Restriction Scheme

                  T0 induce     users like Prager t0 upload Video content, defendants represent that                      YouTube
      is    a public place for free speech        deﬁned by “four                essential   freedoms” that govem the public’s use

     0f the platform:

             1.   Freedom 0f Expression:                   We
                                                believe people should be able t0 speak freely, share
                  opinions, foster open dialogue, and that creative freedom leads t0 116w voices,
                  formats and possibilities.


             2.   Freedom 0f Information:                   We     believe everyone should have easy, Open access
22
                  t0   information and that Video                   is a powerful   force for education, building
                  understanding, and documenting world events, big and small.
23


24           3.   Freedom       0f Opportunity:              We        believe everyone should have a chance to be
                  discovered, build a business and succeed 0n their                      own   terms, and that   people%not
25
                  gatekeepel‘s—decide what’s popular.

26
            4.    Freedom      t0 Belong:       We believe everyone should be               able t0 ﬁnd communities 0f
27                support, break    down       barriers, transcend borders             and come together around shared
                  interests   and passions.
28




     Prager University v. Googfe LLC e! mi, Superior Court ofCalifbl'Jzia, County Qf‘szm Clara, Case Na 19CV340667                        2
     Order/lfrer Hearing 0n October25, 20] 9 [Demtm‘er 10 the First Amended Compt'amz (md Moxionfor Preliminary
                                                                                                                [Igjunctionj
                     Case 3:20-cv-04011-VC Document 1 Filed 06/16/20 Page 141 of 239



       (FAC,         1]   12.)   Defendants fuﬁher promise that YouTube                        is   governed by content-based mles and

       ﬁltering           which “apply equally              t0 all,” regardless      0f the viewpoint,        identity, 0r source       0f the
       speaker.           (Id. at   1]   13.)


                      However, contrary              t0 these representations,         defendants censor,          restrict,   and restrain Video

       content based 0n animus, discrimination, proﬁt, and/or for any other reason “0r
                                                                                                                                110   reason.”

       (FAC,         1]   14.)   According         t0 Prager, an internal          memo   and presentation         entitled    “The Good
       Censor” shows              that defendants           have secretly decided              “
                                                                                          t0       ‘migrate’    away from [sewing            as]   a

      hosting platform ...where the public                        is   invited t0 engage in freedom 0f expression” t0                    become          a

      media company                 that proﬁts       “by promoting Defendants’ own,                  01'   their prefen‘ed content          through
      the exercise 0f unfettered discretion t0 censor and curate othelwise
                                                                           public content.”                                            (1d. at


      Tm 56-65.) T0 effectuate                     their discriminatory practices, defendants                 use clandestine ﬁltering             tools,

      including algorithms and other machine-based and manual review tools, that are
                                                                                     embedded with
      discriminatory and anti-competitive animus—based code, including code that                                               used
                                                                                                                          is          t0 identify

      and   restrict content              based 0n the       identity, Viewpoint, 0r topic            0f the speaker.     (1d,,   ﬂ   19.)    They
      also “ensure that the                    YouTube employees charged              With administering the content ﬁltering and

      regulation scheme                  ...   operate in a dysfunctional and politically panisan workplace environment.”

      (1d. at   1]    20.)

                 Against         this     background, Prager’s rights under California law have been violated
                                                                                                              by two
      unlawful contenbbased restrictions:                       (i)    “Restricted    Mode,” a       ﬁltering protocol that defendants

20   use t0 block what they deem, in their sole, unfettered discretion, t0 be “inappropriate”
                                                                                              for
21   “sensitive” audiences and                     (ii)   “Advertising Restrictions,” a content-based video advertising

22   restriction policy that prohibits potential advertisers                           from accessing Videos           that defendants         deem
23   “inappropriate” for advertising. (FAC,
                                                                      ﬂ]   17.)   Defendants use these mechanisms as a pretext                      t0
24   restrict   and censor Prager’s Videos, even though the content 0f its videos complies with

25   YouTube’s Terms 0f Service, Community Guidelines, and                                         cn'teria for “sensitive      audiences” and
26   advertisers, while they fail t0 restri ct the content                         0f other prefen‘ed users, content partners, and

     content produced               by defendants themselves                 that is not compliant.          (Id. at 1H] 18,   23.)   Defendants
28




     Prager Universiiy v. Google LLC, e! 01.. Superior Court qualy’bmia, Comuy
                                                                                ofSanm Clam, Case N0. 19CV340667                                         3
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      have provided n0 rational basis for                              restricting Prager’s content while allowing similar                          01'



      noncompliant content                      t0   g0   unrestricted. (Id. at           ﬂ 25.)

                       B. Restricted        Mode
                       According        t0 defendants, Restricted                Mode       is   intended “t0 help institutions like schools as

      well as people             who wanted               t0 better control the content they see                       on YouTube With an option             to

      choose an intentionally limited YouTube experience.” (FAC,                                                 1]   68.)   Viewers can choose           t0 turn

      Restricted         Mode 0n from                 their personal accounts, but                it   may      also   be turned 0n by system

      administrators for libraries, schools, and other institutions                                     01‘     workplaces. (Ibid) Defendants

      estimate that about 1.5 percent 0f YouTube’s daily Views                                          (01‘    approximately 75 million views per

     day)        come from        individuals using Restricted                    Mode.          (1d. at   1]   69.)    When Restricted Mode is
     activated, a video’s                 name, creator 0r subject, and content, along with any other infonnation

     related t0 the video, are blocked, as if the Video did not exist                                           0n the YouTube platform.                (Id. at


     1]   68.)

                   Defendants claim t0                    restrict content in Restricted               Mode       based upon their “Restricted

     Mode         Guidelines,” which identify                        ﬁve   criteria for     determining whether content warrants

     restriction:


            1.     Talking about drug use                      01'   abuse, or drinking alcohol in Videos;
           2.      Overly detailed conversations about 01‘ depictions 0f sex 0r sexual activity;
           3.      Graphic descriptions 0f Violence, violent acts, natural disasters and tragedies, 0r even
                   Violence in the news;
           4.      Videos that cover speciﬁc details about events related t0 terrorism, war, crime, and
                   political conﬂicts that resulted in                      death 0r serious injury, even if 110 graphic imagery                            is
                   shown;
           LI]
                   Inappropriate language, including profanity; and
22         6.      Video content           that is gratuitously incendiary,                      inﬂammatory,            01‘   demeaning towards an
                   individual       01'   group.
23


24
     (FAC,        1]   70.) Videos are initially restricted through an automated ﬁltem’ng algorithm that

25
     examines ceﬂain “signals”                         like the video’s metadata, title,                and language, 0r following manual
26                                      “ﬂagged”
     review       if a   Video     is                         as inappropriate      by public Viewers. (Id,                    1]
                                                                                                                                    71   .)


27
                  YouTube          also publishes               “Community Guidelines” and “Age Based                                    Restriction”

28
     guidelines similar t0                its   “Restricted           Mode Guidelines”;            however, content that complies with




     nger University        v.   Google LLC,         er (IL   Superior Court qua/Ifomia, County OfSrmta Clam, Case N0. I9CV340667                                 4
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       these guidelines             may nevertheless be subject t0                          Restricted    Mode. (FAC,         1H]   72-73.) Prager’s

       Videos have never been age restricted                         01‘   found           t0 Violate    YouTube’s Community Guidelines.

       (Id. at   1]   75.)

                  Defendants have admitted                 that they                make “mistakes          in   understanding context and

      nuances when [assessing] which Videos                            t0       make         available in Restﬁcted         Mode.” (FAC,              91
                                                                                                                                                 1]        .)


      For example, 0n March                   19,   201 7, they publicly admitted that they improperly restricted Videos

      posted 0r produced by members 0f the                            LGBTQ community and                         changed     their policy, ﬁltering

      algorithm, and manual review policies in response t0 complaints from this community.
                                                                                                                                                 (Id. at


      1H]   94-96.) However, Prager alleges that defendants have continued t0 improperly restﬁct
                                                                                                 videos

      by    LGBTQ users,              which   is    evidence 0f viewpoint animus.                          (Id. at    1N 97-98.)
                 C. Advertising Restrictions

                 Defendants also           restrict users like              Prager “from monetizing 0r boosting the reach or

      viewer distribution 0f [their] Videos.” (PAC,                                        78.) Prager alleges that these restrictions are
                                                                                     1]



      ostensibly       govemed by          the     “AdSense program                        policies,”   which    it   suggests are “similar[ly]

      vague, ambiguous, and arbitrary” t0 the Restricted                                         Mode   Guidelines.       (Id. at   W 78, 80.)   Prager

      claims     that, similar t0 their            “mistakes” in applying “Restricted Mode,” defendants once “denied
                                                                                                                     a

     reach boost 0r ad product” 0n the ground 0f “shocking content” based on a user’s sexual                                                      01‘


     gender orientation and Viewpoint.                    (1d. at          1]
                                                                                8   l .)    It   alleges that the application 0f such an

     “inappropriate” 0r “shocking content” designation falsely and unfairly
                                                                            stigmatizes Prager as

     well. (Id. at       1]    82.)   (However, while Prager alleges                              that certain   0f its videos have been

     demonetized,             it   does not allege whether defendants gave speciﬁc reasons for these actions 0r

     what those reasons were.) (See                    id. at   1]   84.)

                 D. The Parties’ Disgute

                 In July 0f 201 6, Prager discovered that defendants                                    were     restricting user access t0 its

25   videos through Restricted Mode. (FAC,                            1]    101       .)    It   raised the issue with defendants, but they

26   have    failed t0 offer          any reasonable 0r consistent explanation                             for   why    Prager’s Videos are being

27   restricted.       (Id. at      W 101-1    17.)   In 2016, at least 16 Prager videos                          were    restricted;   by 2017,      a total
28   0f 21 were. (Ibid)               By the time the FAC was                        ﬁled in       May 0f 201 9,       the total had risen t0 80.          (Id.




     nger   Universiry v. Goog/e LLC, 6f (11., Superior Court ofCa/{fbmim County ofSanm Clam, Case
                                                                                                   N0. 19CV340667                                               5
     Order Aﬂer Hearing 0n October 251 2019 [Demurrer f0 the First Amended Complaint and Mon'onfbr
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     at   1]   127.) Prager’s Videos                    were    either “restn'cted as t0 content, demonetized, or both.” (Id. at


     ﬂ 116.) Defendants also discontinued Prager’s “ad grants” account for more than                                                    six days in


     October 0f 2017.              (Id. at         1]   118.)   On pages         9~17 0f the         PAC, Prager provides          a chart listing   its


                                                                                                            3“
     restricted Videos            by   title,      along with videos from defendants                             preferred content providers” with

     similar     titles   that are unrestricted.                  (Id. at   ‘H   23.)


                 On October 23,               2017, Prager sued defendants in federal court, asserting claims for

     (1) violation        0f Article          I,   section 2 0f the California Constitution; (2) Violation Ofthe First

     Amendment 0f the United                            States Constitution; (3) Violation 0f the California                       Unruh   Civil Rights

     Act (“Unruh Act”),                Cal. Civ.          Code.     § 51 er       seq; (4) Violation 0f California’s Unfair Competition

     Law (“UCL”),            Cal. Bus.             & Prof.      Code   §    17200       er    seq;   (5)   breach 0f the implied covenant 0f

     good      faith   and   fair dealing; (6) Violation                    0f the Lanham Act, 15 U.S.C.                    §   1125 et seq; and

     (7) declaratory relief.              (Prager University                 v,    Google      LLC (ND.           Cal.,   Mar. 26, 2018, N0. 17-CV—

     06064-LHK) 2018               WL         1471939,           at *2.)    It    ﬁled a motion for a preliminary injunction in the

     federal action        0n December 29, 2017.                       (Id. at *3.)           On March       26, 201 8, the federal court granted

     defandants’ motion t0 dismiss Prager’s federal claims and denied Prager’s motion for a

     preliminary injunction, ﬁnding that Prager had failed t0 state a claim for Violation 0f the First

     Amendment because                   it   did not allege state action, and had also fai1ed t0 state a claim under the

     Lanham       Act. (Id. at *5-1 3.)                   Having dismissed              all   0f Prager’s federal claims, the court declined

     t0 exercise        supplemental jurisdiction over                       its   state      law claims, explaining:

20               Here, the factors of economy, convenience, fairness, and comity support dismissal
                 0f Plaintiff‘s remaining state law claims. This case is still at the pleading stage,
21
                 and n0 discovery has taken place. Federal judicial resources are conserved by
22               dismissing the state law theon'es 0f relief at this stage. Fuﬂher, the Court ﬁnds
                 that     dismissal           promotes comity as it enables California courts t0 interpret
23               questions 0f state law. This           is an especially important consideration in the instant

                 case because Plaintiff asserts a claim that demands an analysis 0f the reach 0f
24
                 Alﬁcle      1,   section 2 0f the California Constitution in the age 0f social                                      media and
                 the Internet.


     (Prager University             v.   Google LLC, supra, 2018                        WL      147193 9,     at   *13.) Prager has appealed the

27
     federal court’s ruling t0 the                      Couﬁ 0f Appeal             for the     Ninth Circuit, which heard argument              in the

28
     matter     011   August 27, 201 9.




     Prager University v. Goog/e LLC, et m". Superior Cour!                  ofCaII'form’a, County ofSanm Clam, Case N0. 1'9CV340667                       (J



     Order Aﬂerh’em'mg 0n 0clober25, 20/9 [Dcmm'rer lo                       me Fimt Amended Complmm and MotionforPreliminaryInjunction]
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                   Prager ﬁled this action 0n January                8,   2019, reasserting     its   state      law claims for

          (l) Violation    0f Article     I,   section 2 0f the California Constitution; (2) Violation of the                                 Unmh Act;
         (3) violation     0f the UCL; and           (4) breach     0f the implied covenant 0f good                    faith     and     fair dealing.

         On May      13, the   (301,111   entered a stipulated order establishing a brieﬁng schedule for Prager’s

         anticipated motion for a preliminary injunction and defendants’ anticipated demun‘er
                                                                                              and/or

         special   motion    to strike.        On May        20, pursuant t0 that order, Prager            moved         for a preliminary

         injunction and ﬁled the           FAC, Which          asserts the   same   four causes 0f action as                   its   original

         complaint. Defendants ﬁled their demurrer 0n June 28. Both matters are                                        now      fully briefed        and
         came on    for hearing      by   the Court      0n October 25, 2019.



         II.   Demurrer    t0 the    FAC
                   Defendants demur            t0   each cause 0f action in the          FAC for failure t0              state a claim.         (Code
         CiV. Proo, § 430.10, subd. (6).)              They contend        that Prager’s claims are barred                     by two provisions
         0f section 230 0f the Communications Decency Act                                “CDA”) and by
                                                                                 (the                              the First           Amendment,
         and othexwise     fail t0 state       a cause 0f action.

                  Defendants’ request for judicial notice, which                    is   unopposed,        is   GRANTED                 as t0 public

         web pages    displaying the terms 0f the various                 YouTube policies       at issue         1'11
                                                                                                                         this action (Exhibits

         1-9).   (Evid.   Code   §   452, subd.       (h);   see Pacific Employers 1m. C0.            v.    Slate ofCaZ.               (1   970) 3

     Cal.3d 573, 575, fn.l [where portions 0f agreement were attached t0 plaintiff‘s
                                                                                     complaint, the

     balance Ofthat agreement was properly a subject ofjudicial notice]; Ingram                                           v.   Flippo (1999) 74

     Cal.App.4th 1280, 1285 [judicial notice 0f letter and media release was proper where,
                                                                                           although

     they were not attached to the complaint, they formed a basis for the claims, and the complaint

23
     excerpted quotes and summarized paﬁs in detail, thus                           “it is essential that         we      evaluate the
24   complaint by reference t0 these docu111ents”].) Defendants’ request                               is       also     GRANTED              as t0 a

25   transcript 0f a case        management conference held                  in the federal action, although the Court is not

26   bound by       the court’s      comments 0r         rulings in that case. (Evid.         Code     §    452, subd.               ((1).)

27   /   H
28   / / /




     Prager University v. Google LLC, 6i 0]., Superior Cour! ofCaIffornia, County                                                                        7
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                  A. Legal Standard

                  The function 0f a demurrer       is    t0 test the legal          sufﬁciency 0f a pleading. (Trs, OfCapiraZ

       Wholesale Elec. Etc.       Fund v. Shearson Lehman               Bros. (1990) 221 Cal.App.3d 617, 621                                .)



          Consequently, “[a] demurrer reaches only              t0 the contents            of the pleading and such matters as

      may be considered         under the doctrine ofjudicial notice.” (South Shore Land C0.                                        v.


      Petersen (1964) 226 Cal.App.2d 725, 732, internal citations and quotations omitted; see also

      Code     Civ. Proc., § 430.30, subd. (3).) “It           is   not the ordinary function 0f a demurrer t0 test the

      truth   0f the plaintiff s allegations     01‘   the accuracy with            Which he describes the defendant’s

      conduct.        Thus,       the facts alleged in the pleading are                deemed          t0   be   true,   however improbable

      they    may be.”    (Align Technology, Inc.         v,   Tran (2009) 179 Cal.App.4th 949, 958, intemal

      citations    and quotations omitted.)

                 In ruling   0n a demurrer, the allegations 0f the complaint must be                              liberally construed,                 with

      a   View   t0 substantial justice   between      the parties. (Glennen               v.   Allergan, Inc. (2016) 247

      Cal.App.4th      1, 6.)   Nevertheless, while “[a] demun'er admits                        all   facts properly pleaded,                [it   does]

      not [admit] contentions, deductions          01'   conclusions oflaw 0r fact.” (George                             v.   Automobile Club

      quouthem        California (201 1) 201 Cal.App.4th               1 1   12, 1120.)         A demurrer will               lie


     where the      allegations and matters subject t0 judicial notice clearly disclose                             some defense                 01'   bar

     t0 recovery, including a statutory         immunity. (Casterson                  v.   Superior Court {C(zrdoso) (2002) 101

     Ca1.App.4th 177, 183.)

                 B. Violation 0f the Califomia Constitution

                 Because concepts related      t0 the parties’ speech rights                    under the    First       Amendment and
22   California Constitution are important t0 other aspects 0f its analysis, the Court will ﬁrst examine

23   whether Prager      states a claim for Violation          0f Article      I,   section 2 0f the California Constitution.

24               As urged by    defendants, “California’s free speech clause’°—like the First                                       Amendment»
25   “contains a state action limitation.” (Golden                  Gateway Center              v.    Golden Gateway Tenants
26   Assn. (2001) 26 Cal.4th 101 3, 1023.) However, the California Constitution’s protection 0f

27   speech has been interpreted        mom broadly in this regard.                   (See Fashion Valley Mall,                          LLC v.
28   National Labor Relations Bd. (2007) 42 Ca1.4th 850, 862-863.) Most notably, in the




     Prager Univensig: v, Goggle LLC, e! at", Superior Cour! ofCalifomin, County QfSanm Clam, Case N0, 19CV340667                                            8
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        “groundbreaking” decision ofRobins                       v.   Pruneyard Shopping Cenfer                (1   979) 23 Cal.3d 899, the

        Supreme Court 0f California “departed from                           the First          Amendment jurispmdence 0f the United
       States   Supreme Court and extended the reach 0f the                                free   speech clause 0f the California

       Constitution t0 privately              owned shopping               centers.” (Golden           Gateway Center     v.   Golden Gateway
       Tenants Assn, supra, 26 Cal.4th                   at p.   1016.)

                 More    than 20 years after Robins                   v.   Przmeyard, Golden Gateway Center conﬁrmed and

       began    t0   deﬁne the scope 0f the             state action limitation                 under the California Constitution, ﬁnding

       the requirement         was not satisﬁed where                 a tenants’ association sought to distribute leaﬂets in a

       private apartment         complex         that   was “not       freely      open    to the public.”     (Golden Gateway Center                v.

       Golden Gateway Tenants Assn, supra, 26 Cal.4th                                           1031.) Golder:
                                                                                        at p.                    Gateway Center looked
      t0 the   reasoning ofRobz’ns for guidance, noting that “Robins relied
                                                                            heavily 0n the functional

      equivalence 0f the shopping center t0 a traditional public forum-the
                                                                                                              downtown     0r central

      business district,” and relied 0n “the public character 0f the property,”
                                                                                emphasizing “the public’s

      unrestricted access.”            (Id. at   pp. 1032—1033, internal citations and quotations omitted.)
                                                                                                            Golden
      Gateway Center held              that this unrestricted access is a “threshold                      requirement for establishing

      state action”:    without        it,   private property “is not the functional equivalent 0f a traditional
                                                                                                                 public
      fomm.”      (Id. at p.    1033.) In announcing this requirement, the opinion                              conﬁrmed       that   it   “largely

      f0110w[ed] the Court 0f Appeal decisions constming Robins,” including
                                                                            Planned Parenthood                                                  v.

      Wilson (199]) 234 Ca1.App.3d 1662.                      (Id. at p.       1033.) Those decisions also emphasized
20   Robins’s focus 0n “the unique character Ofthe modern shopping
                                                                   center and                                             the public role
21
      such centers have assumed in contemporary society” by effectively replacing “the
                                                                                       traditional
22   town center business block, where                   historically the public’s First                 Amendment      activity      was
23
     exercised and      its   right t0 d0 so scrupulously guarded.”                         (Planned Parenthood v. Wilson, supra,
24   234 Cal.App.3d           at pp.   1669—1670.) This concept was again emphasized
                                                                                     by the California
25   Supreme Court       in    Fashion Valley, which repeatedly referenced “[t]he idea that private
                                                                                                    property
26   can constitute a public           fomm      for free speech if           it   is   open     t0 the public in a   manner similar        t0 that
27   ofpublic streets and sidewalks                ....”   (Fashion Valley Mall,                   LLC v.   National LaborRelaIions Bd,
28
     supra, 42 Cal.4th at p. 858; see also                 id. at p.       859.)




     Prager University v. Goog/e LLC, er 0]., Superior Cour! QfCalg'form'a,
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                      With     this   fundamental principle                in   mind,   it   is   apparent that Prager does not state a claim

           under the California Constitution. Prager contends                                that   “YouTube            is   the cyber equivalent 0f a

           town square where                citizens      exchange ideas 0n matters 0f public                       interest”      and    that defendants

           have opened         their platform t0 the public                by advertising           its   use for    this    purpose. However, Prager

           does not allege that             it   has been denied access to the core                  YouTube           sewice. Rather,             it   urges that

           its   access t0 “Restricted              Mode” and YouTube’s                advertising service has been restricted. Prager

          does not persuade the Court                      that these    sewices are freely open                t0 the public           01'   are the functional

          equivalent 0f a traditional public                    fomm      like a     town square 0r a           central business district}

          Considering “the nature, purpose, and primary use 0f the property; the extent and nature 0f the

          public invitation t0 use the property; and the relationship between the ideas sought t0 be

          presented and the purpose 0f the propeﬁy’s occupants” (Albertson                                            ’s,   Inc.   v.   Young (2003) 107
          Cal.App.4th        at p. 119),          it is   clear that these services are nothing like a traditional public forum.

          “Restricted       Mode”       is   an optional service that enables users                       t0 limit the content that they (0r their

          children, patrons,          01'   employees) view             in order t0 avoid          mature content. Limiting content                        is   the

          very purpose 0f this service, and defendants d0 not give content creators unrestricted access t0                                                        it


          01'   suggest that they will d0 so.                The     service exists t0 permit users t0 avoid the                          more open
          experience 0f the core                 YouTube      service.      Similarly, the use            onouTube’s               advertising sewice            is


          restricted t0     meet the preferences 0f advertisers. (See FAC,                                     80   [stated    purpose 0f advertising
                                                                                                          1]


          restrictions “is t0      keep Google’s content and search networks safe and clean for our advertisers

20        ...”];   Declaration ofBrian               M.     Willem, Exs. 7—9.)

21
                    Defendants correctly urge                  that    even     t0   recognize the core             YouTube platfonn               as a public

22    forum would be             a dramatic expansion 0f Robins.                        As one       federal court observed, “[t]he analogy

23    between a shopping mall and the Internet                             is   imperfect, and there are a host ofpotential ‘slippery

24    slope’ problems that are likely t0 surface                           were [Robins]           t0   apply t0 the Internet.” (hiQ Labs, Inc.
25          Lz’nkedln Corporation
      v.                                            (ND.    Cal.    2017) 273 F.Supp.3d 1099,                   11 I6 [observing that “[11]0 court

26


2’7

      1
          Prager   Cites   no authority      that   suppoﬂs   its   position that a court can never determine the applicability ofRobins 011
28    demurrer, and        this position is inCOITeCt.        v, Tmmmell Crow C0. (1990) 223 Cal.App.3d 1562,
                                                               (See Savage                                     1577, fn.
      4 [stating that scope ofRabins can be addressed 0n demun‘er in appropriate circumstances].)
                                                                                                  Here, the necessary
      facts are alleged in the FAC and/or subject t0 judicial notice,




      Pragcr University v. Googfe LLC, et (71,. Superior Court 0fC‘a/{f0rm'a, County ofSanra Ciara, Case No‘ 19CV340667                                               IO
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      has expressly extended [Robins] t0 the Internet generally”], aff’d and remanded (9th                                       Cir.   2019)

       938 F.3d 985.) However the courts 0f this                 state ultimately       view   that      analogy with regard t0 a

      dominant, widely—used          site like the core     YouTube       service, the     analogy         falls apart      completely on

      the facts alleged here. “Restricted             Mode” and YouTube’s              advertising service are new, inherently

      selective platforms that        d0 not resemble       a traditional public forum.              As discussed below, even
      more than       the core    YouTube     service, these platforms necessarily reﬂect the exercise                           of editorial

      discretion rather than serving as an open             “town square.”

                   Finally, Prager contends that cases that            have deemed web          sites t0     be “public fomms” for

      purposes 0f California’s “anti-SLAPP” statute require                   this     Court   t0   extend Robins t0             its   claim.

      However, the anti—SLAPP            statute     encompasses speech “in a place open                   t0 the public 0r a public

      forum in connection with an issue ofpublic                 interest”   (Code Civ.        Proc., § 425.1 6, subd. (c)(3),

      emphasis added), and has been applied               t0 locations that clearly        d0 not meet the standard

      described in Golden Gateway Center. (See,                  e.g.,   Seelig   v.   Inﬁnity Broadcasting Corp. (2002) 97

      Cal.App.4th 798, 807 [anti—SLAPP statute applied t0 comments made during on-air discussion

     0n   talk radio].)    “[T]he protections afforded by the anti-SLAPP statute are not coextensive with

     the categories 0f conduct         01'   speech protected by the First         Amendment             01‘ its   California

     counterparts (Cal. Const,         art.   I,   §§ 2—4).” (Industrial Waste           & Debris Box Service,               Inc. v.

     Murphy (2016) 4 Cal.App.5th               1   135, 1152.)   “As our high court recently reafﬁrmed:                       “courts

     determining whether conduct              is   protected under the anti—SLAPP statute 100k not t0 First

     Amendment         law, but t0 the statutory deﬁnitions in section 425.16, subdivision                                   ”
                                                                                                                     (e).’       (Ibid,

     quoting City ofMontebello           v.   Vasquez (2016)       l   Ca1.5th 409, 422.)

               Defendants’ demurrer t0 the ﬁrst cause 0f action will accordingly be sustained without

     leave to amend. In addition t0 failing t0 state a claim under Robins                           v.   Pruneyard,      this    cause 0f

     action   is   balred by section 230 0f the         CDA for the reasons discussed below.                       (See In re

     Garcia (2014) 58 Ca1.4th 440, 452 [supremacy clause 0f the federal Constitution requires that

26
     any conﬂicting       state   law give    way t0   federal statute], citing U.S. Const, art. VI,                  cl.    2 [“This

27   Constitution, and the laws 0f the United States               which     shall     be made      in   pursuance thereof               shall

28




     Finger University v. Google LLC', et (11., Superior Court ofCahfomim County QfSama Clara, Case Na 19CV340667                               I   1



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          be    the   supreme law 0f the land; and               the judges in every state shall     be bound thereby, any thing in

          the Constitution 0r laws 0f any state t0 the contraIy notwithstanding”].)

                       B.    CDA Immunity
                       Section 230(c)(1) 0f the             CDA provides that “[11]0 provider or user 0f an interactive
          computer sewice              shall    be treated as the publisher 0r speaker of any information provided
                                                                                                                   by
         another information content provider.” “§ 230 precludes 0011sz from entertaining
                                                                                          claims that

         would place           a    computer service provider         in a publisher’s role.    Thus, lawsuits seeking            t0   hold a

         service provider liable for                its   exercise 0f a publisher’s traditional editorial functions—such as

         deciding whether t0 publish, withdraw, postpone 0r alter content~are barred.”
                                                                                       (Hassell                                        v.


         Bird (2018)          5 Cal.5th 522, 536, quoting            Zeran        America Online,
                                                                             v.                      Inc. (4th Cir.   1997) 129 F.3d

         327, 330.)

                      “The     CDA—of which section 230 is a partwwas                    enacted in 1996.” (Delﬁno           v.   Agilent

         Technologies, Inc. (2006) 145 Cal.App.4th 790, 802.) “Its “primary goal                               was    t0 control the

         exposure 0f minors t0 indecent material’ over the Internet.” (Ibid, quoting Barzel                             v.   Smith (9th

         Cir.   2003) 333 F.3d 1018, 1026, superseded by statute 0n another point as stated in Breazeale                                    v‘


         Victim Services, Inc. (9th Cir. 2017) 878 F.3d 759, 766.) “Thus, an ‘important
                                                                                        purpose 0f

         [the   CDA] was t0            encourage [Internet] sewice providers t0 selﬁregulate the dissemination of

         offensive materials over their services.’ ” (Ibid, quoting Zeran                      v.   America Online, Ina, supra,

         129 F.3d       at p. 331.)         Section 230(c)(2) consequently immunizes service providersz                  who
20       endeavor       t0 restrict access t0 material            desmed    objectionable, providing that

21
                      [n]0 provider 0r user 0f an interactive computer service shall be held liable 0n
                      account 0f—~
22


23                (A) any action voluntarily taken in good faith t0 restrict access t0 01' availability 0f
                  material that the provider 0r user considers t0 be obscene, lewd, lascivious,
                                                                                                   ﬁlthy,
24
                  excessively Violent, harassing, or othem/ise objectionable, whether                           01‘   not such
                  materialis constitutionally protected; 0r
25


26                (B) any action taken t0 enable 0r                  make    available t0 information content providers
                  0r        others     the     technical     means    t0   restrict   access   t0   material   described          in
27


28
     2
         There   is   n0 dispute     that   defendants are providers 0f “an interactive computer service” under section 230.




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                          paragraph       (1).3



          (47 U.S.C.            § 230(c)(2).)


                          A   second, but related, objective 0f the               CDA “was         t0   avoid the chilling effect upon

          Internet free speech that                would be occasioned by               the imposition 0f tom liability               upon companies
         that      d0 not create potentially harmful messages but are simply intermediaries for                                           their delivery.”

         (Delﬁno           v.   Agilenr Technologies, Ina, supra, 145 Cal.App.4th                            at   pp. 802—803.)           The   legislative

         history reﬂects that Congress                     was responding        t0 a   New York trial             001111      case where “a service

         provider was held liable for defamatory comments posted 0n one ofits bulletin boards,
                                                                                               based 0n

         a ﬁnding that the provider had adopted the role 0f ‘publisher’
                                                                        by actively screening and editing
         postings.” (Barrett                    Rosemhal (2006) 40 Ca1.4th                              “
                                           v.                                            33, 44.)           ‘Fearing that the specter 0f liability

         would             deter service providers from blocking and screening offensive material,’ ” Congress

                     “ ‘the
         forbid             imposition            0f publisher         liability 011 a service    provider for the exercise 0f its editorial

         and self~regulat0ry functions.’ ” (Id, quoting                         Zemn      v.   America Online, Ina, supra, 129 F.3d                        at

              33                                                  “                                                                                  ”         “
         p.        I .)       Thus, section 230(c)(1)                 ‘confer[s] broad    immunity 0n              Internet intelmediaries’              in

         “a   strong demonstration 0f legislative                      commitment        t0 the   value 0f maintaining a free market for
                                          ”
         online expression.’                    (Hassell    v.   Bird, supra, 5 Cal.5th at p. 539, quoting Barrett                        v.   Rosenthal,

         supra, 40 Cal.4th              at p. 56.)


                      Of the two         provisions, section 230(c)(1) has been applied                           more frequently and broadly,
         including         by    courts in the Northern District 0f California t0 conduct indistinguishable from
                                                                                                                 that

         alleged in this action. Notably, in Sz'khsfor Justice "SFJ”, Inc.                                        Facebook,
                                                                                                             v.                    Inc.   (ND.    Cal.

     201 5) 144 F.Supp.3d 1088, 1090,                            qff’a’   sub nom. Sikhsfor Justice,               Inc.   v.   Facebook,       Inc. (9th
22
     Cir.      2017) 697 FedApp’x. 526, a human rights organization alleged                                          that      Facebook blocked
23
     access t0            its   page    in India   “0n   its     own   0r 0n the behest 0f the          Govemment 0f India,” because of
24
     discrimination               011   the grounds 0f race, religion, ancestry, and national origin. Quoting Barnes
                                                                                                                                                              v.
25
     Yahool, Inc. (9th Cir. 2009) 570 F.3d 1096 and FairHouSing Council ofSan Fernando
                                                                                       Valley                                                                 v.
26
     R00mmates.C0m,                     LLC (9th     Cir.    2008) 521 F.3d        1   157, the court reasoned that
27

     3
28     It is widely agreed that section 230(c)(2)(B)’s reference to “paragraph
                                                                               (1)” is an error, and the provision should be
     interpreted t0 refer 10 section 230(c)(2)(A) 0r “paragraph (A).” (See, e.g., Enigma Sqfnwn‘e
                                                                                                     Group USA, LLC v,
     Malwarebytes, Inc, (9th Cir. 2019) 938 F.3d 1026, 1031, fn. l.)




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     IQ
                         [p]ublication involves reviewing, editing, and deciding Whether t0 publish 0r t0
                        withdraw from publication third-party content. Thus, a publisher decides whether
                        to publish material submitted for publication.     It is immaterial  whether this
                        decision comes in the form 0f deciding what t0 publish in the ﬁrst place 01' what
                        t0 remove among the published material. In other words,
                                                                                  (my activity that can be
                        boiled down to deciding whether t0 exclude material that third parties seek t0
                        post online is pelforce immune under section 230.


              (SikhsfarJustice          “SF       Inc.   v.   Facebook, Inc, supra, 144 F.Supp.3d                  at p.   1094, emphasis

              added, internal citations and quotations omitted.) This approach has been endorsed                                             the Ninth
                                                                                                                                        by
              Circuit. (See      Riggs   v.   MySpace,        Inc. (9th Cir.   201      1)   444 FedApp’x. 986, 987             [district couIT

              properly dismissed claims “arising from MySpace’s decisions                              t0 delete   Riggs’s user proﬁles 0n

              its   social   networking website yet not delete other proﬁles Riggs alleged were created
                                                                                                        by celebrity
              imposters,” citing Fair Housing Council ofSan Fernando Valley                               v.    Roommates. Com, LLC,

              supra, 521 F.3d      at   pp. 1170-1 171 for the proposition that “any activity that can be boiled                                 down
              t0 deciding      whether   t0   exclude material that third parties seek                t0 post    online    is   perforce     immune
              under section 230”].) California opinions have similarly reasoned                               that the “type         0f activity”   at

              issue   here—“to     restrict 01'   make        available certain material”—“is expressly covered                        by section
              230.” (Doe II v.      MySpace Inc. (2009) 175 Cal.App.4th                        561, 572-573 [describing “the general

              consensus      t0 interpret section        230 immunity broadly, extending from Zeran                        ...”];     see also

          Hassel]       v.   Bird, supra, 5 Ca1.5th at p.             537 [California “courts have followed Zeran                      in adopting a

          broad View of section 230’s immunity provisions”].) This interpretation was recently applied

          again by the Northern District in Federal Agency                        ofNews LLC V. Facebook,                  Inc.      (ND.    Cal., July

22        20, 2019, N0.          18—CV-07041-LHK)               —-—   F.Sup.3d   ---,   2019    WL 3254208, where               it   was held    that

23        section 230(c)(1)         immunized Facebook from claims                       arising   from   its   removal 0f a Russian

24        company’s account and page due                      t0 its alleged control         by an   entity   found t0 have interfered in

25        the       2016 United    States presidential election.“

26

          4
27          See also Langdon v. Google, Inc. (D. Del. 2007) 474 F.Supp.2d 622, 630-631
                                                                                            (applying immunity under section
          230(c)(1) and/or (2) where plaintiff alleged defendants refused t0 display ads 0n his web pages criticizing the North
28        Carolina and Chinese governments based on political viewpoint discrinﬂnation); Levitt v.
                                                                                                      Yelp! Inc. (ND. CaL, Oct.
          26, 2011, No. C-10—1321 EMC) 2011               WL
                                                      5079526, at *7—9, aff‘d (9th Cir. 2014) 765 F.3d 1123 (section 230(c)(1)
          immunity applied lo allagations that Yelp manipulated plaintiffs’ user reviews in order t0 induce them to
                                                                                                                     pay for



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                     Consistent with the language 0f section 230(c)(1), these cases d0 not
                                                                                           question the sewice

           provider’s motive in deciding t0 remove content ﬁ‘om                                     its   service.    While Prager contends      that

           section 230(c)(1) immunity should not be applied where a plaintiff
                                                                              alleges a service provider

           acted in bad faith 0r t0 stiﬂe competition,                       it   cites   n0 persuasive authority adopting               this

          intelpretation.5


                     Coulis have expressed greater concern with the issue 0f motive                                         when   interpreting section

          230(c)(2), perhaps because paragraph (A) 0f that provision expressly includes a “good faith”

          requirement. Here, defendants rely 0n paragraph
                                                          (B) of that provision, which they                                              urgeahke
          section 230(c)(1)—does not require                         good   faith.      In Zango, Inc.         v.    Kaspersky Lab,     Inc. (9th Cir.

          2009) 568 F.3d 1169,               1   176-1   1’77,    the Ninth Circuit applied section 230(c)(2)(B) t0 a provider
                                                                                                                               0f
          Internet security software that                 deemed        the plaintiff" S software t0 be “malware,” noting that the

          plaintiff had   waived the issue 0f “whether subparagraph                                          which has no good
                                                                                                     (B),                            faith   language,



          advertising); Lancaster           Alphabet             (ND.
                                       v.                Inc.      2016, N0, 15—CV-05299-HSG) 2016
                                                                        Cal., July 8,
                                                                                                             3648608, at *2-         WL
      3 (“§ 230[(c)(1) of the      CDA prohibits any claim arising from Defendanls’
                                                                                 removal 0f Plaintiffs’ Videos”); Green v4
      YouTube, LLC (D‘N.H., Mar. 13, 2019, N0. 18—CV-203-PB) 2019                                   WL
                                                                              1428890, at *6, report and recommendation
      adoptedsub Ham. Green v. YouTube, Inc‘ (D,N.H., Mar. 29, 2019, N0. 18—CV-203-PB)
                                                                                               2019       1428311                  WL
      (applying immunity under section 230(c)(1) where plaintiff alleged his accounts
                                                                                       were improperly shut down);
      Brittaz'n v. Twitler, Inc, (ND. Cal., June
                                                 10, 2019, N0. 19—CV—001 14-YGR) 2019        2423375, at *3 (section   WL
      230(c)(1) immunity applied where plaintiff alleged improper suspension of his Twitter
                                                                                              accounts and that Twitter
      “limit[ed] users who reference new/competing networks and/or utilize
                                                                             Third Party API services”); King v.
      Facebook, Inc. (ND. (331., Sept. 5, 2019, No. 19—CV-01987—WHO) 2019                                    WL
                                                                                    4221768 (section      230(c)(1) immunity
      applied t0 theory that “Facebook has violated its (Telms 0f Service] in
                                                                                removing [plaintiff s] posts and suspending
      his account, and that Facebook treats black activists and their
                                                                      posts differently than it does other groups, particularly
      white supremacists and ceﬁain ‘ha1e groups’ ”).
2O
      5
          To                                 LLC 1d Google, Inc. (MD. Fla. 2016) I88 F.Supp.3d 1265 adopts Prager’s
               the extent e—ventm‘cs Worldw‘de,
2|    View,   does so by conﬂaling section 230(c)( 1) and section 230(c)(2) with n0
                it
                                                                                     analysis. The Court does 1101 ﬁnd this
     persuasive. While a subsequent, unpublished opinion in that action,
                                                                           e—venhzres Worldwide, LLC v. Google,
     Inc, (MD. Fla., Feb. 8, 2017, N0. 214CV646FTMPAMCM) 2017
22                                                                                                  WL
                                                                              2210029, *3-4 reasoned that applying
     section 230(c)(1) to service providers’ editorial decisions regarding plaintiff’s
                                                                          a            own content would swallow “the
23   more speciﬁc immunity in (c)(2)” with its good faith requirement, the opinion       went 0n t0 grant summary judgment
     based on the     FirstAmendment’s protection 0f editorial judgments, “no matter the motive,” This
                                                                                                           case does not
24   persuade the     Court t0 part ways with the courts that apply section 230(c)(1) to [he same
                                                                                                  end based 0n the same
     reasonmg.
25
     Similarly, Levitt    v.   Yelpllnc‘         (ND.   C211,,   Mar. 22, 201 1, N0.      C     10—1321MHP) 2011        WL
                                                                                                                        13153230, at *9 deemed it
26   “a[] close[] question         whether Yelp            may     be held liable for     its   removal ofpositive reviews for the alleged pumose
     0f coercing businesses       10   purchase advertising?” considering that this theory implicated bad faith.
                                                                                                                    The court
27   ultimately did not resolve the issue as       it found the complaint otherwise
                                                                                      failed t0 state a cause 0f action. A
     subsequent opinion in that case, Levitt v. Yelp! Inc. (ND.                               OcL
                                                                                    C211,,          26, 2011, No. C-10—1321      EMC) 2011      WL
28   5079526, *9 held that section 230(c)(1) does not include                      a   good     faith requirement,     and applied “even assuming
              have adequately pled allegations stating a claim 0f an extortionate threat with
     Plaintiffs
                                                                                              respect to Yelp’s alleged
     manipulation Ofuser reviews.” The Court ﬁnds the reasoning 0f the subsequent
                                                                                      opinion more persuasive.




     Prager Univem‘ly v. Google LLC, et (11., Superior Court               a_f‘Calf/bmia,  County ofSanta Clam, Case Na [90/340667                      15
     Order Aﬂel' Hearing 0n October 25, 20] 9 [Demi/Prer lo                the Firs!   Amended Complaint and M’otionfor Preliminary Injlmction]
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          should be construed implicitly t0 have a good                     faith   component       like   subparagraph (A).” The

          concurring opinion expressed concern with extending immunity beyond the
                                                                                  facts present in that

          03561


                    Congress plainly intended t0 give computer users the tools t0 ﬁlter the Internet’s
                    deluge 0f material users would ﬁnd objectionable, in part
                                                                                 by immunizing the
                    providers 0f blocking software from   liability. See § 230(b)(3). But under the
                   generous coverage of § 230(c)(2)(B)’s immunity language, a blocking software
                   provider might abuse that immunity t0 block content for anticompetitive
                                                                                           pulposes
                   0r merely         malicious whim, under the cover 0f considering such material
                                    at its

                   “otherwise obj ectionable.”


         (Zango, Inc.      v.   KasperS/gj Lab, Ina, supra, 568 F.3d                at p.   1178    (0011c.   opn. ofFisher,        J.).)

         Noting that    “[d]istrict courts        nationwide have grappled with the issues discussed in Zango’s

         majority and concurring opinions, and have reached differing results,” the Ninth
                                                                                          Circuit recently

         held that a service provider’s intent             may be relevant under section 23 0(c)(2)(B):                       speciﬁcally,

         where a    plaintiff alleges blocking            by a   direct competitor for anticompetitive purposes,                     its    claims

         survive dismissal. (Enigma Sofnvare                 Group USA,          LLC v.     Malwarebytes,         Inc. (9th Cir.      2019) 938
         F.3d 1026.)

                   Here, defendants’ creation 0f a “Restricted                   Mode”      t0   allow sensitive users t0 voluntarily

         choose a more limited experience 0f the YouTube service                            is   exactly the type 0f self—regulation

         that   Congress sought t0 encourage in enacting section 230, and ﬁts within section
                                                                                             230(c)(2)(B)’s

         immunity    for   “any action taken        t0 enable       01’   make   available to         others,” namely,          YouTuba
     users, “the technical            means   t0 restrict access t0” material “that the provider 0r user
                                                                                                         considers t0

     be obscene,                excessively violent,             0r othelwise objectionable.” Rather than unilaterally

     restm'cting access t0 material            0n   its   core platform as contemplated by section 230(c)(2)(A)—

23   which contains a “good              faith”   requirement—defendants allow users to voluntarily                             restrict access

24   t0 material that           defendants deem objectionable for the stated reason                     that, like the        categories 0f

25   material enumerated             by the   statute, it   may be        inappropriate for young          01’   sensitive viewers.“          The
26


27
     6
       Consistent with these circumstances, a page discussing options for administrators
                                                                                         employing “Restricted Mode,”
28   which was submitted by Pragel' in connection with its motion for preliminary injunction,
                                                                                               indicates that
     “[a]dministralors and designated approvers can 110w whitelisl entire channels,” in
                                                                                        addition to individual                      videos, t0
     ensure a channel      is   “watchable by your users” (Declaration 0f Peter Obstler, Ex.
                                                                                             L.) Thus,               it,   appears that users can



     Pragcr University V. Google LLC, ei (11‘, Superior Court ofCalgfbrnia, County
                                                                                   ofSanm Clam, Case N0. l 9CV340667           '6
     Order After Hearing 0n October 25, 20] 9 [Demurrer t0 fire First Amended Complaint
                                                                                         and Morianfor Preliminmjy Injunction]
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          Court Views         this as a critical difference                   between the two provisions and disagrees with the

          majority in        Enigma] who             ignore the plain language 0f the statute by reading a good faith

          limitation into section 230(c)(2)(B). (See                             Enigma Software Group USA,                      LLC v.        Malwarebytes,

         Ina, supra, 938 F.3d               at p.    1040     (dis.     opn. 0f Rawlinson,              J.)   [“The majority’s policy arguments

         are in conﬂict with our recognition in                          Zango        that the      broad language of the Act                 is   consistent With

         ‘the Congressional goals for                      immunity’ as expressed                   in the    language 0f the       statute.        [Citation]

         As   the district court cogently noted,                        we    ‘must presume that a legislature says in a statute what                               it


         means and means              in a statute         what    it   says there.’         ”].)


                   Finding         CDA      immunity here               is   also consistent with cases that apply                  it   in

         indistinguishable circumstances based 0n section 230(c)(1), and with their reasoning, which

         recognizes that challenges t0 a sewice provider’s editorial discretion “treat[]” the provider “as
                                                                                                           a

         publisher.” (See Sikhsforjustice ”SFJ”, Inc.                                  v,   Facebook,         1120.,   supra, 144 F.Supp.3d 1088

         [applying section 230(c)(1) t0 claim under Title                                   H   of the Civil Rights Act 0f 1964]; Federai

         Agency    quews LLC v.                 Faceboo/c, Inc, supra, 201 9                      WL 3254208            [applying section 230(c)(1) t0

         claims under Title           II   0f the Civil Rights Act of 1964, the                         Umuh Act,         and for breach 0f the

         implied covenant 0f good faith and                        fair      dealing.)          The Court ﬁnds          that   immunity under section

         230(c)(1) also applies here, t0 the allegations involving both “Restricted                                             Mode” and           defendants’

         advertising sewice.

I9
                  While the Court understands Prager’s argument                                       that    all   three provisions 0f section            230
2O   should have a good faith requirement,                              this     argument        is   contrary t0 the plain language 0f the

21
     statute.      (See Hassell            v.   Bird, supra, 5 Cal.5th at p.                    540 [noting         that Barrett   v.   Rosenthal, supra,
22   40 Cal.4th 33 voiced “qualms”                          that   Zemn’s          interpretation        0f section 230 provides blanket
23   immunity         for those        who      intentionally redistribute defamatory statements, but held “these

24   concerns were 0f 110 legal consequence” where principles 0f statutory intelpretation compelled
                                                                                                    a
25


26
     speciﬁcally override dei‘endants’ decisions t0 disable certain videos 01‘ channels in “Restricted                                   Moda,” conﬁrming
     that “RestrictedMode” is a tool made available t0 users rather than a unilateral ban.

     7
28     See People v. Williams (1997) 16 Cal.4th 153, 190 (“Decisions Oflower federal courts intemreting
                                                                                                            federal law ars
     not binding 0n state c0urts.”); Elliott u Albright (1989) 209 Cal.App.3d 1028, 1034
                                                                                           (although at times entitled t0
     great weight, the decisions 0f the lower federal courts 0n federal questions are merely
                                                                                             persuasive).




     Finger    Urlivcrsily   v.   Google LLC,    er 01,,   Superior   Com? ofCalifbmia, County QfSanm Clam. Case NO‘ 19CV340667                                     17
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       broad construction].)               And   while     it is   not this Court’s role t0 judge the            Wisdom 0f the policy
       embodied by section 230,                 there are     good reasons     t0 support             As   the   couﬁ   in Levitt
                                                                                                it.                                 v.   Yelp!

       Inc.   (ND.     Ca1., Oct. 26, 201          1,    N0. C-10-1321      EMC)      2011     WL 5079526 reasoned,
                    traditional editorial functions often include subjectivejudgments informed by
                    political and ﬁnancial considerations. [Citation] Determining what motives are
                    permissible and what are not could prove problematic. Indeed, from
                                                                                            a policy
                    perspective, permitting litigation and scrutinﬁzing] motive could result in
                                                                                                 the
                    “death by ten thousand duck-bites” against which the Ninth
                                                                                Circuit cautioned in
                    interpreting § 230(c)(1). [(Faz‘r Housing Council
                                                                        0f San Fernando Valley v.
                    RoommareSCom, LLC,                   supra, 521 F.3d     at p.   1174.)]


                    One 0f Congres[s]’s purposes                   in enacting §230(0) was t0 avoid the chilling effect
                    0f imposing          liability 011   providers     by both safeguarding the “diversity 0f political
                    discourse  and myriad avenues for intellectual activity” on the one hand, and
                “1‘61110V[ing] disincentives for the development and
                                                                       utilization 0f blocking and
                ﬁltering technologies” 0n the other hand.                 see also S.Rep. N0. 104~
                                                          §§ 230(3),                           (b);
                230,   86 (1996) (C0nfRep.), available at 1996
                         at                                                              WL 54191, at *[194]              (describing
                pulpose 0f section 230 t0 protect providers from                         liability “for actions t0 restrict 0r
                to enable restrictﬁon] 0f access t0 objectionable online material”).
                                                                                                                   For that reason,
                “[C]lose cases           must be resolved in favor 0f immunity, lest we cut the heart out
                0f section           230 ....” [(Faz'r Housing Councii 0f San. Fernando Valley v.
                RoommatesCom, LLC,                      supra, 521 F.3d     at p.    1174.)]


                As           by the case at bar, ﬁnding a bad faith exception t0 immunity under
                       illustrated

               § 230(c)(1) could force Yelp t0 defend its editorial decisions in the future on a
               case by case basis and reveal how it decides what t0 publish and
                                                                                     what not t0
               publish. Such exposure could lead Yelp t0 resist ﬁltering out
                                                                                  false/unreliable
               reviews (as someone could claim an improper motive for its                    01'                  decision),             t0
               immediately remove a1] negative reviews about which businesses complained
                                                                                           (as
               failure t0 d0 so could expose Yelp t0 a business’s claim that
                                                                             Yelp was strong-
               anning the business for advertising money). The Ninth Circuit has made it clear
               that the       need
                             t0 defend against a proliferation 0f lawsuits, regardless 0f
                                                                                          whether
               the provider ultimately prevails, undermines the pulpose 0f section
                                                                                   230.



     (Levitt   v.    Yelp! Ina, supra, 201          1    WL 5079526, at *8—9.)          In the Court’s view, these concerns are

     particularly salient here,             where the challenged sewices are by deﬁnition more curated than
25
     defendants’ core service and could not exist without                           more robust screening by defendants.
26
               In opposition t0 defendants’ demurrer, Prager cites a                           number 0f cases          that   afﬁrm the
27
     principle applied in Fair              Housing Council Qf‘San Fernando Valley                     v.   RoommatesCom, LLC,
28
     supra, 521 F.3d          1   157,   which held       that a service provider is not entitled t0              CDA     immunity with




     Prager Universiﬁy v. Goog/e LLC, e! (IL, Superior Cour! 0fCa/{fbrnim County ofSanta CM/‘a,
                                                                                                 CaSe N0. 1 9CV340667                            18
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                                                                                          (md Motionfbr Preliminmy Injunction]
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          regard t0 content              it    develops    itself.   However,     this principle is inapposite here.             Prager does not

          allege that defendants developed any 0f Prager’s content 0r
                                                                      appended any                                       commentary        t0   itﬁto
          the contrary, they allege the content                      became completely          invisible in “Restricted         Mode”     0r   was
          simply demonetized. Applying                        CDA      immunity under these Circumstances does not conﬂict with

         Roommates. (See FairHousing Council ofSan Fernando Valley                                         v.   Roommates, Com, LLC,
         supra, 521 F.3d at p. 1163 [in enacting                        CDA immunity,           “Congress sought         t0   immunize
         the removal 0f user-generated content, not the creation 0f content”].)8


                   Finally, Prager contends that applying                        CDA       immunity here would          constitute an unlawful

         prior restraint 011            its    speech    in Violation   0f the   First    Amendment. However,                a federal   couﬁ has
         already held that defendants’ conduct does not Violate the First                                Amendment, and           this   Court

         agrees With that analysis for the reasons discussed in connection with                                  its   analysis 0f Prager’s

         claim under the California Constitution. Moreover, Prager does not allege
                                                                                   that defendants

         prevented       it   from engaging              in speech,   even   011 their    own   p1atf01‘m——again,       it   contends that certain

         videos were excluded from “Restricted                          Mode”     and/or were demonetized.

                   The        C0111“:   consequently ﬁnds that section 230(c)(2v)(B) bars Prager’s claims related t0

         “Restricted      Mode” and                 section 230(c)(1) bars       all   0f its claims, with the possible exception 0f

         those based          011 its   own promises and             representations,       which are discussed below.9

                   C. Breach Ofthe Implied Covenant 0f Good Faith and Fair Dealing
                                                                                   and Fraud                                             Under
                   the   UCL

20
                  Finally, Prager correctly urges that                     some        California authority holds section 230(c)(1) 0f
21
     the    CDA does not apply t0 claims based 0n a defendant’s own promises and representations t0                                                a
22
     plaintiff, rather            than        its   role as a publisher.     (See Demetriades       v.   Yelp, Inc. (2014)        228
23
     Cal.App.4th 294,               3 13 [this         immunity does not apply where “plaintiffseeks                    t0    hold Yelp liable
24
     for    its   own    statements regarding the accuracy 0f its ﬁlter”]; but see Hassell                              v.    Bird, supra, 5
25
     Cal.5th at p. 542 [disapproving 0f “creative pleading” in an attempt
                                                                          t0 avoid section 230
26

     8
27     Although it does 1101 bring a claim for defamation, Prager appears t0 suggest
                                                                                     that defendants have defamed it by
     removing its content from “Restricted Mode” 0r demonetizing it. Such a claim
                                                                                      would likely be foreclosed by the
28   ruling in Bartholomew v. YouTube, LLC. (2017) 17 Cal,App.5th
                                                                       1217, 1234.

     9
         The Court   thus does not address defendants’ argument that Prager’s claims
                                                                                     are barred by the First                       Amendment.



     Prager University v‘ Google LLC, er a/,, Superior Cour! QfCaig'fomia, County                                               19
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       immunity].) This authority does not apply t0 the Court’s ﬁnding 0f immunity under section

       230(c)(2)(B). In any event, Prager’s claims asserting this type 0f theory—namely,                                                 its     claim for

       breach 0f the implied covenant 0f good                             faith   and   fair     dealing and   its   claim under the fraud prong

       0f the   UCL¥d0 not state a cause 0f action.
                   Prager does not and cannot state a claim for breach 0f the implied covenant
                                                                                               0f good faith
       and   fair   dealing in light 0f the express provisions 0f YouTube’s Terms 0f
                                                                                     Service, which provide

      that   “YouTube            reserves the right t0                remove Content without prior notice” and which                        also allow

      YouTube           t0 “discontinue              any aspect 0f the Sewice               at   any time.” (See Declaration of Brian

      Willem, Ex.           1;   Songﬁ Inc.          v.   Googfe, Inc,     (ND.      Cal. 201 5) 108 F.Supp.3d 876, 885 [plaintiff

      could not state a claim for Violation 0f the covenant 0f good faith and                                        fair   dealing based 0n

      content removal in light 0f YouTube’S Terms 0f Service].) Similarly, YouTube’s
                                                                                     AdSense
      Telms 0f Service reserve                   the right “t0 refuse 0r limit your access t0 the Services.”
                                                                                                             (Declaration

      ofBrian Willem, Ex.                 8;   see Sweet         v.   Google    Inc. (N.D. Ca1.,      Mar.     7,   2018, N0. 17-CV-03953—

      EMC)      201 8     WL       1184777,          at   *9-10 [plaintiff could not state a claim for Violation 0f
                                                                                                                    the covenant

      0f good       faith    and   fair   dealing based 0n demonitization in light 0f similar resewation 0f rights
                                                                                                                   in

      YouTube’s Partner Program Telms].) “[C]0uﬁs                                    are not at liberty t0          imply a covenant directly            at

      odds with a contract’s express grant 0f discretionary power except                                        in those relatively rare

      instances         when     reading the provision literally would, contrary t0 the parties’ clear
                                                                                                       intention,

     result in      an unenforceable, illusory agreement.” (Third Story Music,                                      Inc. v, Wairs (1     995) 41

     Cal.App.4th 798, 808.) That                          is   not the case here, and Prager does not contend that                      it is.    (See
21
     Sweet    v.    Google Ina, supra, 2018                      WL 1184777, at *9-10 [applying Third Storyl)
22
                As      t0 the    UCL fraud claim,                t0 the extent     it is   based 0n the “four essential freedoms” set
23   forth   above and similar statements, these statements are non—actionable                                        puffel‘y.    (See
24
     Demetriades          v.     Yelp, Ina, supra,              228 Cal.App.4th         at p. 3 11 [“ ‘a   statement that         is   quantiﬁable,
25
     that   makes a claim           as t0 the “speciﬁc 0r absolute characteﬁstics                        0f a product,”        may be       an
26   actionable statement 0f fact while a general, subjective claim about a
                                                                            product                                           is 11011-acti011able

27                  ”
     puffery,’          quoting Newcal Industries, Inc.                    v.   Ikon Ofﬁce Solution (9th Cir.2008) 513 F.3d 1038,
28
     1053];   nger University                   v.   Google LLC, supra, 201 8                WL 1471939, at *1          1   [“None 0f the




     Prager University v. Google LLC, er 0]., Superior Court QanI’g'fO/‘m'a, County
                                                                                    omelm Clara, Case N0. [90/340667          20
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                                                                                         and Motionfor Pl'eiimmmy Injunction]
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      statements about YouTube’s Viewpoint neutrality identiﬁed by Plaintiff resembles the kinds 0f

      ‘quantiﬁable’ statements about the ‘speciﬁc or absolute characteristics of a product’ that are

      actionable under the                 Lanham         Act.”].)


                Prager also alleges that defendants represented that “the ‘same standards apply equally t0

      all’   when   it     comes     t0 the content regulation              0n YouTube.” (FAC,                  1]   85; see also        id.   at   ‘1]   13.)

      While    this    statement           is   arguably more than mere pufﬁng (see Demetriades                                v.   Yelp, Ina, supra,

      228 Cal.App.4th             at p. 3       1   1-3 12), Prager does not allege that         it   suffered a loss 0f money                       01‘



      property as a result ofits reliance 0n this statement. “There are innumerable ways in which

      economic injury from unfair competition                            may be shown,” including where                        a plaintiff “ha[s] a

      present 0r future propeﬁy interest diminished.” (sz'kser Corp.                                       v.   Superior Court (Benson)

      (201 1) 51 Ca1.4th 310, 323; see alsoAIborzz'an                          v.   JPMorgan Chase Bank, NA. (2015) 23S

      Cal.App.4th 29, 38              [UCL           “unlawful” plaintiffs established standing by alleging diminished

      credit score         caused by defendant’s false negative reporting                        t0 credit agencies,                even where they

     never    made payments 0n                      the loan at issue].)     The    “lost   income, reduced viewership, and damage

     t0 brand, reputation,             and goodwill”            that   Prager alleges (FAC,           1]   157) would certainly satisfy this

     requirement           if there   were a causal connection between Prager’s alleged reliance 0n defendants”

     statement in participating in the                      YouTube      service and these harms.                However, these                injuries

     cannot have resulted from Prager’s decision t0 use YouTube: they could only have been caused

     by YouTube’s              later decisions t0 restrict and/or              demonetize Prager’s content. (See Prager

     Universizj/      v.      Google LLC, 51mm, 201 8                  WL   1471 93 9,   at *1   1—12 [“Plaintiff has not sufﬁciently

     alleged that        it   ‘has   been       01‘ is   likely t0   be injured as the      result   0f the’ statements about YouTube’s

22   viewpoint neutrality. [Citation]                        As   discussed above, any         harm        that Plaintiff suffered                  was
23   caused by Defendants’ decisions t0 limit access t0 some 0f Plaintiff’s Videos.”].) These                                                             later

24   decisions by          YouTube could                 not have been relied 0n by Prager. (See                     I’d.   at *1   l   [“Although

25   Plaintiff asserts that           it   has suffered injury in the form 0f ‘lower viewership, decreased ad

     revenue, a reduction in advertisers Willing t0 purchase advertisements                                           shown on          Plaintiff” s

27
     Videos, diverted viewership, and                       damage      t0 its brand, reputation           and goodwill,”                  nothing in

28   Plaintiff’s    complaint suggests that                   this   harm ﬂowed       directly   ﬁ‘om Defendants’ publication 0f




     Prager University v. Googie LLC, e! m". Superior Cour! Q/‘Ca/z’fbmia, Comtzjv ofSanta Clara, Case N0. 19CV340667        2]
     Order Aﬁer Hearing 0n October 25. 201 9 [Demurrer 10 the First Amended Complain: and Motion ﬁN' Pre/iminmy Ily'lmcn‘on]
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       their policies         and guidelines. Instead, any harm that Plaintiff suffered was caused
                                                                                                   by Defendants’
       decisions t0 limit access t0              some 0f Plaintiff’s Videos        ....”].)    Moreover, recognizing   this   theory

       would appear           to conﬂict with principles 0f defamation              law as recently discussed    in   Bartholomew
       v.    YouTube, LLC. (2017) 17 Cal.App.5th 1217.

                     Prager thus      fails t0 state   a cause of action based 0n the implied covenant 0f             good    faith

       and    fair   dealing    01'   the fraud prong 0f the        UCL.
                 D. Conclusion and Order

                 For    all   these reasons, the       demumer       t0 the ﬁrst   through fourth causes 0f action     is

       SUSTAINED WITHOUT LEAVE TO AMEND.


      III.    Motion     for Preliminary Injunction


                 As    discussed above, Prager has not               shown   a reasonable probability     0f success on the
      merits in this action.            Its   motion for   a    preliminary injunction    is   consequently   DENIED.       (See San
      Francisco NewspaperPrinting C0.                      v.   Superior Court (Miller) (1985) 170 Cal.App.3d 438, 442.)



                IT IS    SO ORDERED.


      Dated:     ﬂgﬁm                              $
                                                                              Honorable Brian C. Walsh
                                                                                                      C.
                                                                              Judge 0f the Superior Court



21


22


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28




     Prager Universal) v. Googlc LLC, er 171,. Superior Court ofCalffbmia, County                                              22
                                                                                  ofSa/Im Clam, Case N0. l9CV340667
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                                                                                             Moiionfor Preliminary Injunction]
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                Exhibit “C”
            Case
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 8   Counsel for the United States of America
 9
10                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN JOSE DIVISION
12
     DIVINO GROUP LLC, a California limited
13   liability company, CHRIS KNIGHT, an            Case No. 5:19-cv-004749-VKD
     individual, CELSO DULAY, an individual,
14   CAMERON STIEHL, an individual,                 UNITED STATES OF AMERICA’S
     BRIAANDCHRISSY LLC, a Georgia limited          NOTICE OF INTERVENTION
15   liability company, BRIA KAM, an individual,    TO DEFEND THE
     CHRISSY CHAMBERS, an individual, CHASE         CONSTITTUTIONALITY OF
16   ROSS, an individual, BRETT SOMERS, an          47 U.S.C. § 230(c)
     individual, and LINDSAY AMER, an individual,
17   STEPHANIE FROSCH, an individual, SAL
     CINEQUEMANI, an individual, TAMARA
18   JOHNSON, an individual, and GREG
     SCARNICI, an individual,
19
                     Plaintiffs,
20                                                  Action Filed: August 13, 2019
             vs.                                    Trial Date: None Set
21                                                  Rule 5.1 Notice Filed: December 20, 2019
      GOOGLE LLC, a Delaware limited liability
22    company, YOUTUBE, LLC, a Delaware
      limited liability company, and DOES 1-25,
23
                     Defendants.
24
25
26
27
28

      UNITED STATES’ NOTICE OF INTERVENTION                             U.S. DEPARTMENT OF JUSTICE
      Case No. 5:19-cv-004749-VKD                                     Civil Division, Federal Programs Branch
                                                                                     P.O. Box 883
                                                                              Washington, D.C. 20044
                                                                                 Tel: (202) 616-8488

                                                                                             EXHIBIT "C"
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 1          Under Federal Rules of Civil Procedure 5.1(c) and 24(a)(1), and in accordance with
 2   the authorization of the Solicitor General of the United States, the United States hereby
 3   intervenes in this action for the limited purpose of defending the constitutionality of Section
 4   230(c) of the Communications Decency Act of 1996 (“CDA”) (Pub. L. No. 104-104, § 509,
 5   codified at 47 U.S.C. § 230(c)).
 6          On December 20, 2019, Plaintiffs filed a notice of constitutional challenge regarding
 7   47 U.S.C. § 230(c) (Doc. 21). In that Notice, Plaintiffs stated that their pleadings allege that
 8   “Section 230(c) does not, and cannot, apply in this case, under the plain language of the
 9   statute or under the Constitution, to prevent the Plaintiffs from seeking legal redress for
10   harms and injuries caused by Defendants’ discrimination against them and other similarly
11   situated Plaintiffs and users of YouTube.” Id. at 3. Moreover, in opposition to the motion
12   to dismiss the operative complaint filed by Defendants (Doc. 25), Plaintiffs in their brief filed
13   February 24, 2020 made certain contentions regarding the constitutionality of 47 U.S.C. §
14   230(c) (Doc. 28). The Court has not yet certified a constitutional question under Rule 5.1(b)
15   and 28 U.S.C. § 2403.
16          The United States is entitled to intervene in this action under the Federal Rules of
17   Civil Procedure and by statute. Rule 5.1(c) permits the Attorney General to intervene in an
18   action where, as here, the constitutionality of a federal statute is challenged. See Fed. R. Civ.
19   P. 5.1(c). Rule 24 further permits a non-party to intervene when the non-party “is given an
20   unconditional right to intervene by a federal statute.” Fed. R. Civ. P. 24(a)(1). The United
21   States has an unconditional statutory right to intervene “[i]n any action . . . wherein the
22   constitutionality of any Act of Congress affecting the public interest is drawn in question

23   . . . .” 28 U.S.C. § 2403(a). In such an action, “the court . . . shall permit the United States

24   to intervene . . . for argument on the question of constitutionality.” Id. Here, Plaintiffs have

25   “drawn in question” the constitutionality of 47 U.S.C. § 230(c), and the United States has an

26   unconditional right to intervene to defend the statute.

27          The United States will immediately hereafter file its memorandum in defense of the

28   constitutionality of 47 U.S.C. § 230(c). The United States’ intervention, including its filing

      UNITED STATES’ NOTICE OF INTERVENTION                                   U.S. DEPARTMENT OF JUSTICE
      Case No. 5:19-cv-004749-VKD                                           Civil Division, Federal Programs Branch
                                                                                           P.O. Box 883
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 1   of a memorandum in support of the constitutionality of 47 U.S.C. § 230(c), will not interfere
 2   with the timely adjudication of this action. This notification is also timely. By this Court’s
 3   order of April 23, 2020, the United States’ deadline for intervention is today. Doc. 44.
 4          Accordingly, the United States hereby provides notice of intervention in this action
 5   for the purpose of defending the constitutionality of 47 U.S.C. § 230(c).
 6
                                              Respectfully submitted,
 7
     DATED: May 8, 2020                       JOSEPH H. HUNT
 8                                            Assistant Attorney General
 9                                            ERIC WOMACK
10                                            Assistant Branch Director

11                                            INDRANEEL SUR
                                              Trial Attorney
12
13                                            By: /s/ Indraneel Sur
                                                  INDRANEEL SUR
14
                                              U.S. Department of Justice
15                                            Counsel for the United States of America
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      UNITED STATES’ NOTICE OF INTERVENTION                                  U.S. DEPARTMENT OF JUSTICE
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 6      Washington, D.C. 20530
        Telephone: (202) 616-8488
 7      Facsimile: (202) 616-8470
 8   Counsel for the United States of America
 9
10                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN JOSE DIVISION
12
     DIVINO GROUP LLC, a California limited
13   liability company, CHRIS KNIGHT, an                Case No. 5:19-cv-004749-VKD
     individual, CELSO DULAY, an individual,
14   CAMERON STIEHL, an individual,                     MEMORANDUM OF LAW FOR
     BRIAANDCHRISSY LLC, a Georgia limited              INTERVENOR UNITED STATES
15   liability company, BRIA KAM, an individual,        IN SUPPORT OF THE
     CHRISSY CHAMBERS, an individual, CHASE             CONSTITUTIONALITY OF
16   ROSS, an individual, BRETT SOMERS, an              47 U.S.C. § 230(C)
     individual, and LINDSAY AMER, an individual,
17   STEPHANIE FROSCH, an individual, SAL
     CINEQUEMANI, an individual, TAMARA
18   JOHNSON, an individual, and GREG
     SCARNICI, an individual,
19
                     Plaintiffs,
20                                                      Action Filed: August 13, 2019
             vs.                                        Trial Date: None Set
21                                                      Rule 5.1 Notice Filed: December 20, 2019
      GOOGLE LLC, a Delaware limited liability
22    company, YOUTUBE, LLC, a Delaware
      limited liability company, and DOES 1-25,
23
                     Defendants.
24
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      UNITED STATES’S MEMORANDUM OF LAW IN SUPPORT OF                       U.S. DEPARTMENT OF JUSTICE
      CONSTITUTIONALITY OF 47 U.S.C. § 230(C)                             Civil Division, Federal Programs Branch
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 1                                        INTRODUCTION
 2          Plaintiffs, who are video creators seeking monetary and other recovery based on the
 3   alleged editorial decisions of a popular Internet platform, YouTube, have raised a
 4   constitutional challenge to Section 230(c) of the Communications Decency Act of 1996
 5   (“CDA”) (Pub. L. No. 104-104, § 509, codified at 47 U.S.C. § 230(c)). When the World Wide
 6   Web was in its early days in 1996, Congress sought through Section 230(c) to promote and
 7   protect “Good Samaritan” blocking and screening of offensive material by limiting the
 8   liability of website owners and operators. The statute immunizes for certain liability purposes
 9   an “interactive computer service” provider from being treated as the publisher or speaker of
10   content created by third parties and hosted by the service (47 U.S.C. § 230(c)(1)), or for
11   removing or restricting access to certain types of offensive material (§ 230(c)(2)).
12          In seeking Rule 12(b)(6) dismissal of the operative complaint, YouTube has invoked
13   the statute as an affirmative defense to Plaintiffs’ claims, and Plaintiffs have responded by
14   arguing, among other things, that the statute violates the First Amendment and the equal
15   protection guarantee of the Fifth Amendment to the extent it shields YouTube from liability
16   for Plaintiffs’ claims. Plaintiffs also seek a declaratory judgement to that effect.
17          The United States intervenes today in response to Plaintiffs’ constitutional challenge,
18   and, in defense of the statute, respectfully limits this brief to two arguments.
19          First, under the doctrine of constitutional avoidance, this Court should start by
20   deciding the statutory arguments presented by the parties regarding the pending Rule 12(b)(6)
21   motion, because those non-constitutional grounds may obviate the need for decision on any
22   constitutional question.    A court should decide a constitutional question only when

23   necessary, which would not be the situation here if the Court were to conclude that statutory

24   grounds suffice to dispose of the case.

25          Second, if the Court concludes that it must reach the constitutional question, Plaintiffs’

26   challenge should be rejected on the merits. Section 230(c) does not regulate Plaintiffs’

27   primary conduct. Instead, the statute establishes a rule prohibiting liability for certain

28   conduct by online platforms, including YouTube. Because the United States is intervening

      UNITED STATES’S MEMORANDUM OF LAW IN SUPPORT OF                         U.S. DEPARTMENT OF JUSTICE
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 1   for the limited purpose of defending the constitutionality of Section 230(c), it does not take
 2   a position on whether the statute forecloses the particular claims Plaintiffs have alleged. But
 3   assuming it does, that would not violate the First Amendment’s Speech Clause, because—as
 4   the Ninth Circuit squarely held in Prager University v. Google LLC, 951 F.3d 991 (9th Cir.
 5   2020)—YouTube is not a state actor capable of denying the freedom of speech. In other
 6   words, Section 230(c) would not deny Plaintiffs any constitutional claim they otherwise
 7   would have. Nor do Plaintiffs’ arguments find support in the First Amendment’s Petition
 8   Clause or in the constitutional guarantee of equal protection. In short, however Plaintiffs’
 9   challenge to Section 230(c) is framed, it is meritless, and should be rejected.
10                                              STATEMENT
11           I. Statutory Background
12           Section 230(c) of the CDA is entitled “Protection for ‘Good Samaritan’ blocking and
13   screening of offensive material.”           The Ninth Circuit has described the statute as
14   “immuniz[ing] providers of interactive computer services against liability arising from
15   content created by third parties.” Fair Hous. Council of San Fernando Valley v. Roommates.Com,
16   LLC, 521 F.3d 1157, 1163-64 (9th Cir. 2008) (en banc) (footnotes omitted).
17           In particular, Paragraph (1) states: “No provider . . . of an interactive computer
18   service shall be treated as the publisher or speaker of any information provided by another
19   information content provider.” 47 U.S.C. § 230(c)(1). The statute also provides that “[n]o
20   cause of action may be brought and no liability may be imposed under any State or local law
21   that is inconsistent with this section.” Id. § 230(e)(3). The result is to protect online
22   platforms from such liabilities as those the common law imposed on publishers or speakers

23   for libel or slander. Some courts have also construed the limitation to shield online platforms

24   against certain liabilities under federal law. See, e.g., Sikhs for Justice “SFJ”, Inc. v. Facebook, Inc.,

25   144 F. Supp. 3d 1088, 1096 (N.D. Cal. 2015), aff’d sub nom. Sikhs for Justice, Inc. v. Facebook, Inc.,

26   697 F. App’x 526 (9th Cir. 2017). The immunity applies only when the interactive computer

27   service provider is not also the “information content provider” of the material in question—

28

      UNITED STATES’S MEMORANDUM OF LAW IN SUPPORT OF                                U.S. DEPARTMENT OF JUSTICE
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 1   i.e., the person “responsible, in whole or in part, for the creation or development of” the
 2   “offending content.” See Roommates, 521 F.3d at 1162-63 (quoting § 230(f)(3)).
 3             For its part, Paragraph (2) describes a separate immunity. It states:
 4             No provider or user of an interactive computer service shall be held liable on account
 5             of —
                       (A)     any action voluntarily taken in good faith to restrict access to or
 6
                       availability of material that the provider or user considers to be obscene,
 7                     lewd, lascivious, filthy, excessively violent, harassing, or otherwise
                       objectionable, whether or not such material is constitutionally protected;
 8                     or
 9                     (B)    any action taken to enable or make available to information
                       content providers or others the technical means to restrict access to
10
                       material described in paragraph [A].
11             47 U.S.C. § 230(c)(2).*
12
               The problem Congress sought to solve in Section 230(c) arose from a New York state
13
     trial court’s ruling that an internet service provider that had voluntarily deleted some
14
     messages from an online message board was then “legally responsible for the content of
15
     defamatory messages that it failed to delete.” See Roommates, 521 F.3d at 1163 (discussing
16
     Stratton Oakmont, Inc. v. Prodigy Servs. Co., No. 31063/94, 1995 WL 323710 (N.Y. Sup. Ct. May
17
     24, 1995)). The statute responded by “immuniz[ing] the removal of user-generated content,
18
     not the creation of content.” Id. That is, Section 230 “provides ‘Good Samaritan’ protections
19
     from civil liability for providers . . . of an interactive computer service for actions to restrict
20
     . . . access to objectionable online material. One of the specific purposes of this section is to
21
     overrule Stratton . . . which . . . treated such providers . . . as publishers or speakers of content
22
     that is not their own because they have restricted access to objectionable material.”
23
     H.R. Rep. No. 104-458 (1996) (Conf. Rep.), as reprinted in 1996 U.S.C.C.A.N. 10.
24
25   *        The text of Paragraph (2)(B) refers to “the material described in paragraph (1),” but
     the Ninth Circuit “take[s] it that the reference to the ‘material described in paragraph (1)’ is
26   a typographical error, and that instead the reference should be to . . . § 230(c)(2)(A),”
     because “Paragraph (1) pertains to the treatment of a publisher or speaker and has nothing
27   to do with ‘material,’ whereas subparagraph (A) pertains to and describes material.” Zango,
     Inc. v. Kaspersky Lab, Inc., 568 F.3d 1169, 1173 n.5 (9th Cir. 2009).
28

         UNITED STATES’S MEMORANDUM OF LAW IN SUPPORT OF                         U.S. DEPARTMENT OF JUSTICE
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 1          According to the Ninth Circuit, Section 230(c)(1) shields the defendant from a claim
 2   wherever “the duty that the plaintiff alleges the defendant violated derives from the
 3   defendant’s status or conduct as a ‘publisher or speaker.’” Barnes v. Yahoo!, Inc., 570 F.3d
 4   1096, 1102 (9th Cir. 2009). In that context, the Ninth Circuit views “publication” as
 5   “involv[ing] reviewing, editing, and deciding whether to publish or to withdraw from
 6   publication third-party content.” Id.. The Ninth Circuit has remarked in an en banc opinion
 7   that “any activity that can be boiled down to deciding whether to exclude material that third
 8   parties seek to post online is perforce immune” under Section 230(c)(1). Roommates, 521 F.3d
 9   at 1170-71.
10          The Ninth Circuit has described one of the policies behind the liability shield as
11   promotion of speech—that is, to “avoid the chilling effect upon Internet free speech that
12   would be occasioned by the imposition of tort liability upon companies that do not create
13   potentially harmful messages but are simply intermediaries for their delivery.” Doe v. Internet
14   Brands, Inc., 824 F.3d 846, 852 (9th Cir. 2016) (quoting Delfino v. Agilent Techs., Inc., 145
15   Cal. App. 4th 790, 52 Cal. Rptr. 3d 376, 387 (Cal. Ct. App. 2006)). In enacting Section 230(c),
16   Congress made findings describing online platforms as offering “a forum for a true diversity
17   of political discourse, unique opportunities for cultural development, and myriad avenues for
18   intellectual activity.” § 230(a)(3). Accordingly, “the policy of the United States” is “to
19   preserve the vibrant and competitive free market that presently exists for the Internet and
20   other interactive computer services, unfettered by Federal or State regulation.”           § 230(b)(2)
21   (emphasis added). To be sure, Congress also determined that it was the policy of the United
22   States “to ensure vigorous enforcement of Federal criminal laws to deter and punish trafficking

23   in obscenity, stalking, and harassment by means of computer.” § 230(b)(5) (emphasis added).

24   But in balancing the various interests, Congress sought “not to deter harmful online speech

25   through the separate route of imposing tort liability on companies that serve as intermediaries

26   for other parties’ potentially injurious messages.” Zeran v. Am. Online, Inc., 129 F.3d 327, 330-

27   31 (4th Cir. 1997) (Wilkinson, C.J.) (emphasis added).

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      UNITED STATES’S MEMORANDUM OF LAW IN SUPPORT OF                         U.S. DEPARTMENT OF JUSTICE
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            II. Proceedings In Plaintiffs’ Case
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            The instant Plaintiffs are “Lesbian, Gay, Bisexual, Transgender, Transsexual or Queer
 2
     internet content creators” who make videos, including many that “discuss issues which affect
 3
     members of the LGBTQ+ community.” 2d Am. Compl. ¶¶ 1, 41 (Doc. 20) (“SAC”).
 4
     YouTube, owned by Google, is allegedly the dominant Internet video platform, hosting
 5
     “roughly 95%” of global “public video-based content,” and “monetizing the free speech and
 6
     expression of . . . the 2.3 billion people who now use” it. SAC ¶ 15. Plaintiffs allegedly
 7
     contracted with YouTube, licensing it to distribute their videos while agreeing that YouTube
 8
     retained various rights—including the right to enforce its community guidelines, and the
 9
     right to determine “in its sole discretion” whether the videos contained “material . . . in
10
     violation of” the agreement. Rule 12(b)(6) Opp. 4 (Doc. 28); see SAC ¶¶ 10, 117(d), 288.
11
     According to Plaintiffs, YouTube “monetize[s]” the videos by selling advertisements for
12
     display along with them, and some Plaintiffs have paid YouTube to promote their videos
13
     (individually or grouped into channels) to potential viewers. SAC ¶¶ 55, 89, 131. YouTube
14
     allegedly retains “unfettered and absolute discretion to restrict the viewership, reach, and
15
     monetization of [the] videos.” SAC ¶ 118.
16
            One way that YouTube allegedly exercises that discretion is through its “Restricted
17
     Mode,” which works “much like a curtain” to “block[] access” by “younger, sensitive
18
     audiences to video content that contains certain specifically enumerated ‘mature’ aspects.”
19
     SAC ¶ 77. When a viewer turns on “Restricted Mode” for a personal account (or when it is
20
     activated by a parent or system administrator, such as one acting on behalf of a public library,
21
     school, or other work place) and lands on a video placed in “Restricted Mode,” instead of
22
     showing the video, YouTube displays a warning, stating that the video is unavailable and that
23
     to view the video the viewer would “need to disable Restricted Mode.” SAC ¶¶ 77-79, 83,
24
     343. YouTube allegedly tells viewers who inquire that videos are placed in “Restricted Mode”
25
     when they include, among other things, “[o]verly detailed conversations about or depictions
26
     of sex or sexual activity,” “inappropriate language, including profanity,” or other sensitive
27
28

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 1   content. SAC ¶¶ 26, 85, 344, 345, 346. “On average, 1.5–2% of users view YouTube
 2   through Restricted Mode.” Prager Univ., 951 F.3d at 996.
 3          YouTube has allegedly styled itself (including in testimony to Congress) as a “neutral
 4   public forum.” SAC ¶¶ 61, 287, 342. But Plaintiffs allege that YouTube has used its “power
 5   over filtering” as a “censorship power to silence and crush Plaintiffs because they identify
 6   [as] LGBTQ+ and express LGBTQ+ viewpoints.” SAC ¶ 21. In particular, Plaintiffs allege
 7   that YouTube placed some of their videos into “Restricted Mode,” or rendered certain videos
 8   ineligible for generation of advertising revenue by “demonetizing” them, justified by
 9   YouTube’s alleged false statements that the videos contained “inappropriate” or “otherwise
10   objectionable” content. SAC ¶¶ 3, 26, 151, 345-47. According to Plaintiffs, the episodes of
11   “Restricted Mode” and demonetization misuse they allege are not isolated; rather, YouTube
12   purportedly has a “‘company policy’ of not selling ads to ‘gay’ content creators because the
13   ‘gay thing’ render[s] [their] video[s] ‘shocking’ and sexually explicit regardless of the actual
14   content of the video[s].” SAC ¶ 20; see SAC ¶¶ 122, 134, 146; SAC Ex. A (transcript of
15   communication with Google Support staff in Bangalore, India allegedly describing policy).
16          Plaintiffs seek a declaration that 47 U.S.C. § 230(c) violates the First and Fourteenth
17   Amendments; they allege that applying the statute as a bar on their claims would be “both
18   an unconstitutional restraint on Plaintiffs’ First Amendment rights to freedom of petition
19   and speech, and a violation of equal protection of law under the Fourteenth Amendment.”
20   SAC ¶ 261; see SAC ¶¶ 280-82. Plaintiffs also assert various claims against YouTube,
21   including two federal statutory claims—one alleging that YouTube engaged in
22   unconstitutional “[v]iewpoint-[b]ased [d]iscrimination” remediable under 42 U.S.C. § 1983

23   (SAC ¶¶ 283-303), and the other alleging that YouTube engaged in false advertising and false

24   association in violation of the Lanham Act, 15 U.S.C. § 1125 et seq. (SAC ¶¶ 337-48).

25          This Court has not yet certified any constitutional question under 28 U.S.C. § 2403

26   and Rule 5.1. On March 9, 2020, this Court endorsed a stipulation providing the United

27   States until April 24, 2020 to determine whether to intervene and to file a brief, if any. Doc.

28

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 1   32. On the Government’s motion, the Court later enlarged the time for the United States to
 2   intervene to May 8, 2020. Doc. 44.
 3                                             ARGUMENT
 4          I. The Court Should First Decide The Potentially Dispositive Statutory Issues
               Because They May Obviate The Need To Address Plaintiffs’
 5             Constitutional Challenge
 6          As an initial matter, this Court should not address the constitutionality of Section
 7   230(c) unless it first determines that the pending motion to dismiss cannot be resolved on
 8   non-constitutional grounds. “If there is one doctrine more deeply rooted than any other in
 9   the process of constitutional adjudication, it is that we ought not to pass on questions of
10   constitutionality . . . unless such adjudication is unavoidable.” Dep’t of Commerce v. U.S. House
11   of Representatives, 525 U.S. 316, 343 (1999) (quoting Spector Motor Serv. v. McLaughlin, 323 U.S.
12   101, 105 (1944)); see id., 525 U.S. at 344 (“[I]f a case can be decided on either of two grounds,
13   one involving a constitutional question, the other a question of statutory construction or
14   general law, the Court will decide only the latter”) (quoting Ashwander v. TVA, 297 U.S. 288,
15   347 (1936) (Brandeis, J., concurring)).
16          This Court should adhere to that doctrine of constitutional avoidance here and
17   decline to rule on the constitutionality of Section 230(c) unless the motion to dismiss cannot
18   be resolved on other grounds. The United States has intervened solely for the purpose of
19   defending the constitutionality of Section 230(c) and therefore takes no position on the
20   merits of the non-constitutional issues. It is apparent, however, that the Court’s resolution
21   of those issues might obviate the need to consider Section 230(c)’s constitutionality.
22          Here is one example: Plaintiffs assert a Section 1983 claim (SAC ¶¶ 283-303), and

23   Lanham Act claims for false advertising and false association (SAC ¶¶ 337-48). This Court

24   might decide that Plaintiffs have not alleged the elements of either of those federal statutory

25   claims in light of the Ninth Circuit’s twin conclusions in Prager University that (1) YouTube is

26   not a state actor constrained by the First Amendment (951 F.3d at 999), and (2) “YouTube’s

27   statements concerning its content moderation policies do not constitute ‘commercial

28   advertising or promotion’” within the meaning of the Lanham Act (id. at 999-1000 (quoting

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 1   15 U.S.C. § 1125(a)(1)(B))). And this Court might similarly decide that Plaintiffs have not
 2   alleged the elements of their state law claims.
 3          Here is another example: Plaintiffs contend that Section 230(c) does not apply to the
 4   misconduct alleged.     Rule 12(b)(6) Opp. 13-21.      If the Court were to conclude that
 5   YouTube’s acts as alleged by Plaintiffs do not fit within the terms of either paragraph
 6   230(c)(1) or (2), then the statute would not apply, and there would be no occasion for passing
 7   on the constitutionality of the statute.
 8          In short, where “dispositive” statutory grounds may be available, it is “incumbent on”
 9   this Court to examine and decide the case on those grounds first. Cf. N.Y.C. Transit Auth. v.
10   Beazer, 440 U.S. 568, 582 (1979) (“Before deciding the constitutional question, it was
11   incumbent on [lower courts] to consider whether the statutory grounds might be
12   dispositive.”).
13          II. If The Court Reaches the Question, It Should Conclude That
                Section 230(c) Is Constitutional
14
            If the Court were to reach the constitutional question, it should conclude that
15
     Plaintiffs’ challenge fails on the merits. Section 230(c) does not regulate or limit Plaintiffs’
16
     primary conduct, such as their expressive activities. For example, Plaintiffs do not allege that
17
     Section 230(c) prevents them from creating videos or posting them on the Internet. Cf.
18
     Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002) (restriction on virtual child pornography
19
     challenged by creators of erotic and nudist works). Instead, Section 230(c) establishes a
20
     substantive limitation on the liability of certain Internet companies for claims arising from
21
     certain specified conduct. But Plaintiffs cannot show that Congress violated Plaintiffs’
22
     constitutional rights by making that affirmative defense available here to YouTube, because
23
     none of the clauses of the Constitution on which Plaintiffs rely confers on Plaintiffs any right
24
     to bring an underlying claim.
25
            First, Plaintiffs do not identify any valid underlying First Amendment speech claim
26
     they could have brought against YouTube had Section 230(c) not been in force. To the
27
     contrary, the Ninth Circuit explicitly held in Prager University that “YouTube is a private
28

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 1   entity” that is not a state actor subject to the constraints of the First Amendment. See 951
 2   F.3d at 996, 999. The Ninth Circuit observed that “courts have uniformly concluded that
 3   digital internet platforms that open their property to user-generated content do not become
 4   state actors,” and held that “the state action doctrine precludes constitutional scrutiny of
 5   YouTube’s content moderation pursuant to its Terms of Service and Community
 6   Guidelines.” See id. at 997, 999. The Ninth Circuit thus concluded that “YouTube may be a
 7   paradigmatic public square on the Internet, but it is ‘not transformed’ into a state actor solely
 8   by ‘provid[ing] a forum for speech.’” Id. at 997 (quoting Manhattan Cmty. Access Corp. v.
 9   Halleck, 139 S. Ct. 1921, 1930, 1934 (2019)).
10          The Ninth Circuit relied on the “Supreme Court’s state action precedent,” including
11   “its recent teaching in Halleck.” Id. In that 2019 decision, the Supreme Court explained:
12   “[W]hen a private entity provides a forum for speech, the private entity is not ordinarily
13   constrained by the First Amendment because the private entity is not a state actor. The
14   private entity may thus exercise editorial discretion over the speech and speakers in the
15   forum.” Halleck, 139 S. Ct. at 1930. As one illustration, the Court commented: “Benjamin
16   Franklin did not have to operate his newspaper as ‘a stagecoach, with seats for everyone.’”
17   Halleck, 139 S. Ct. at 1931 (quoting F. Mott, American Journalism 55 (3d ed. 1962)). And the
18   Supreme Court made clear that an “imprecise and overbroad phrase” in “passing dicta” in
19   one of its prior decisions “should not be read to suggest that private property owners or
20   private lessees are subject to First Amendment constraints whenever they dedicate their
21   private property to public use or otherwise open their property for speech.” See id. at 1931
22   n.3 (discussing Cornelius v. NAACP Legal Defense & Educ. Fund, Inc., 473 U.S. 788, 801 (1985)).

23   No exception to that principle about private property owners applies to YouTube, as the

24   Ninth Circuit reasoned. See Prager Univ., 951 F.3d at 997-99.

25          Because YouTube is not a state actor, its alleged misconduct toward Plaintiffs does

26   not implicate Plaintiffs’ freedom of speech. And because YouTube’s actions do not implicate

27   the First Amendment, the liability protection Section 230(c) affords to YouTube likewise

28

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 1   does not implicate the First Amendment. Or, put another way, Section 230(c) has not
 2   deprived Plaintiffs of any valid underlying Speech Clause claim.
 3           Second, although Plaintiffs’ Petition Clause argument lacks detailed explanation, they
 4   appear to contend that the Petition Clause requires Congress to allow them to proceed with
 5   their federal and state law claims even though the challenged statute provides an affirmative
 6   defense potentially foreclosing those claims. See SAC ¶ 281 (alleging that unconstitutionality
 7   stems from “Google/YouTube’s use of Section 230(c) as a shield to prevent Plaintiffs from
 8   petitioning the courts for relief to redress violations of their civil, consumer, and contractual rights,
 9   including rights which expressly protect Plaintiffs as a class from identity or viewpoint based
10   discrimination and speech restrictions”) (emphasis added); see also Rule 12(b)(6) Opp. 20-21
11   (contending that “the [Communications Decency Act] cannot be construed to preclude
12   Plaintiffs from petitioning the Courts to redress discriminatory and unlawful restrictions their
13   rights to free speech and equal benefits and protection of the law”) (emphasis added). That
14   assertion mistakenly posits that the Petition Clause requires the Government to guarantee
15   Plaintiffs the ability to continue to litigate the particular claims for relief they have alleged
16   and to reach a particular outcome (here, denial of the Rule 12(b)(6) motion). Tellingly,
17   Plaintiffs have cited no precedents construing the Petition Clause as guaranteeing such an
18   outcome in litigation.
19           To be sure, the Supreme Court has observed that its “precedents confirm that the
20   Petition Clause protects the right of individuals to appeal to courts and other forums
21   established by the government for resolution of legal disputes. ‘[T]he right of access to courts
22   for redress of wrongs is an aspect of the First Amendment right to petition the government.’”

23   Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011) (quoting Sure-Tan, Inc. v. NLRB, 467

24   U.S. 883, 896-97 (1984)). “A petition,” the Supreme Court has further explained, “conveys

25   the special concerns of its author to the government and, in its usual form, requests action

26   by the government to address those concerns.” Guarnieri, 564 U.S. at 388-89 (citing Sure-

27   Tan, 467 at 896-97).

28

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 1          But the requirements of the Petition Clause have already been fully satisfied in this
 2   case, given that, by commencing this action, Plaintiffs “convey[ed] [their] special concerns
 3   . . . to the government and . . . request[ed] action by the government to address those
 4   concerns.” See Guarnieri, 564 U.S. at 388-89. And Plaintiffs remain free to urge Congress to
 5   amend the statute. The Petition Clause, however, does not mandate the substantive response
 6   to their petition that Plaintiffs desire—i.e., a decision disregarding the affirmative defense set
 7   forth in Section 230(c).
 8          Were it otherwise, every statute or precedent limiting or preempting previously-
 9   available legal remedies would violate the Petition Clause. To the contrary: As the Supreme
10   Court explained in interpreting the Due Process Clause of the Fourteenth Amendment, a
11   State (and, accordingly, the Federal Government) “remains free to create substantive
12   defenses or immunities for use in adjudication—or to eliminate its statutorily created causes
13   of action altogether . . . .” Logan v. Zimmerman Brush Co., 455 U.S. 422, 432-33 (1982).
14          Plaintiffs’ Petition Clause argument resembles the Due Process Clause argument the
15   Ninth Circuit rejected in Ileto v. Glock, Inc., 565 F.3d 1126 (9th Cir. 2009). The plaintiffs there
16   challenged a federal statute limiting the liability of firearms manufacturers in certain
17   circumstances. In upholding the law, the Ninth Circuit concluded that Congress’s “legislative
18   determination” creating the liability protection “provides all the process that is due.” Id. at
19   1141-42 (internal quotation marks omitted). The court also rejected the contention that the
20   statutory liability limitation deprived the plaintiffs of a property right, reasoning that “a
21   party’s property right in any cause of action does not vest until a final unreviewable judgment
22   is obtained.” See id. at 1140-41 (quoting Fields v. Legacy Health Sys., 413 F.3d 943, 956 (9th

23   Cir. 2005)).

24          Although Plaintiffs have not explicitly invoked the Due Process Clause as a basis for

25   their challenge here, they advance an interpretation of the Petition Clause that would

26   effectively circumvent Logan and Ileto. At least where, as here, Plaintiffs did not obtain a

27   “final unreviewable judgment” in their favor before Section 230(c) came into force, they have

28   no entitlement to the particular legal theories they have alleged. See Ileto, 565 F.3d at 1140-

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 1   41. Congress therefore retained authority to impose limitations on those theories by enacting
 2   Section 230(c). Logan and Ileto thus provide additional confirmation that Plaintiffs’ Petition
 3   Clause theory lacks merit.
 4          Third, Plaintiffs’ equal protection challenge fails for the same reasons as their First
 5   Amendment Speech and Petition claims, and does not require separate analysis under Ninth
 6   Circuit precedent. “It is generally unnecessary to analyze laws which burden the exercise of
 7   First Amendment rights by a class of persons under the equal protection guarantee, because
 8   the substantive guarantees of the Amendment serve as the strongest protection against the
 9   limitation of these rights.” Orin v. Barclay, 272 F.3d 1207, 1213 n.3 (9th Cir. 2001) (quoting
10   John E. Nowak, Ronald D. Rotunda & J. Nelson Young, Handbook on Constitutional Law
11   (1978)). On that basis, the Ninth Circuit treated an “equal protection claim as subsumed by,
12   and co-extensive with, [the Section 1983 plaintiff’s] First Amendment claim.” Id. This Court
13   need go no further in rejecting Plaintiffs’ equal protection theory.
14                                          CONCLUSION
15          For the foregoing reasons, the Court should decide Defendants’ Rule 12(b)(6) motion
16   without reaching any constitutional question if possible. If the Court reaches Plaintiffs’
17   challenge to the constitutionality of 47 U.S.C. § 230(c), it should reject it.
18   DATED: May 8, 2020                     Respectfully submitted,
19
                                            JOSEPH H. HUNT
                                            Assistant Attorney General
20
                                            ERIC WOMACK
21                                          Assistant Branch Director
22
                                            INDRANEEL SUR
23                                          Trial Attorney
24
                                            By: /s/ Indraneel Sur
25                                              INDRANEEL SUR
26                                          U.S. Department of Justice
                                            Counsel for the United States of America
27
28

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EXECUTIVE ORDER
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PREVENTING ONLINE CENSORSHIP
By the authority vested in me as President by the Constitution and the laws of the United
States of America, it is hereby ordered as follows:
Section 1. Policy. Free speech is the bedrock of American democracy. Our Founding
Fathers protected this sacred right with the First Amendment to the Constitution. The
freedom to express and debate ideas is the foundation for all of our rights as a free people.
In a country that has long cherished the freedom of expression, we cannot allow a limited
number of online platforms to hand pick the speech that Americans may access and convey
on the internet. This practice is fundamentally un-American and anti-democratic. When
large, powerful social media companies censor opinions with which they disagree, they
exercise a dangerous power. They cease functioning as passive bulletin boards, and ought
to be viewed and treated as content creators.
The growth of online platforms in recent years raises important questions about applying the
ideals of the First Amendment to modern communications technology. Today, many
Americans follow the news, stay in touch with friends and family, and share their views on
current events through social media and other online platforms. As a result, these platforms
function in many ways as a 21st century equivalent of the public square.
Twitter, Facebook, Instagram, and YouTube wield immense, if not unprecedented, power to
shape the interpretation of public events; to censor, delete, or disappear information; and to
control what people see or do not see.
As President, I have made clear my commitment to free and open debate on the internet.
Such debate is just as important online as it is in our universities, our town halls, and our
homes. It is essential to sustaining our democracy.
Online platforms are engaging in selective censorship that is harming our national
discourse. Tens of thousands of Americans have reported, among other troubling
behaviors, online platforms "flagging" content as inappropriate, even though it does not
violate any stated terms of service; making unannounced and unexplained changes to
company policies that have the effect of disfavoring certain viewpoints; and deleting content
and entire accounts with no warning, no rationale, and no recourse.
Twitter now selectively decides to place a warning label on certain tweets in a manner that
clearly reflects political bias. As has been reported, Twitter seems never to have placed
such a label on another politician's tweet. As recently as last week, Representative Adam
Schiff was continuing to mislead his followers by peddling the long-disproved Russian
Collusion Hoax, and Twitter did not flag those tweets. Unsurprisingly, its officer in charge of
so-called "Site Integrity" has flaunted his political bias in his own tweets.
At the same time online platforms are invoking inconsistent, irrational, and groundless
justifications to censor or otherwise restrict Americans' speech here at home, several online
platforms are profiting from and promoting the aggression and disinformation spread by
foreign governments like China. One United States company, for example, created a search
engine for the Chinese Communist Party that would have blacklisted searches for "human
rights," hid data unfavorable to the Chinese Communist Party, and tracked users
determined appropriate for surveillance. It also established research partnerships in China
that provide direct benefits to the Chinese military. Other companies have accepted
advertisements paid for by the Chinese government that spread false information about
China's mass imprisonment of religious minorities, thereby enabling these abuses of human
rights. They have also amplified China's propaganda abroad, including by allowing Chinese




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government officials to use their platforms to spread misinformation regarding the origins of
the COVID-19 pandemic, and to undermine pro-democracy protests in Hong Kong.
As a Nation, we must foster and protect diverse viewpoints in today's digital
communications environment where all Americans can and should have a voice. We must
seek transparency and accountability from online platforms, and encourage standards and
tools to protect and preserve the integrity and openness of American discourse and
freedom of expression.
Sec. 2. Protections Against Online Censorship. (a) It is the policy of the United States to
foster clear ground rules promoting free and open debate on the internet. Prominent among
the ground rules governing that debate is the immunity from liability created by section
230(c) of the Communications Decency Act (section 230(c)). 47 U.S.C. 230(c). It is the
policy of the United States that the scope of that immunity should be clarified: the immunity
should not extend beyond its text and purpose to provide protection for those who purport to
provide users a forum for free and open speech, but in reality use their power over a vital
means of communication to engage in deceptive or pretextual actions stifling free and open
debate by censoring certain viewpoints.
Section 230(c) was designed to address early court decisions holding that, if an online
platform restricted access to some content posted by others, it would thereby become a
"publisher" of all the content posted on its site for purposes of torts such as defamation. As
the title of section 230(c) makes clear, the provision provides limited liability "protection" to a
provider of an interactive computer service (such as an online platform) that engages in
"'Good Samaritan' blocking" of harmful content. In particular, the Congress sought to
provide protections for online platforms that attempted to protect minors from harmful
content and intended to ensure that such providers would not be discouraged from taking
down harmful material. The provision was also intended to further the express vision of the
Congress that the internet is a "forum for a true diversity of political discourse." 47 U.S.C.
230(a)(3). The limited protections provided by the statute should be construed with these
purposes in mind.
In particular, subparagraph (c)(2) expressly addresses protections from "civil liability" and
specifies that an interactive computer service provider may not be made liable "on account
of" its decision in "good faith" to restrict access to content that it considers to be "obscene,
lewd, lascivious, filthy, excessively violent, harassing or otherwise objectionable." It is the
policy of the United States to ensure that, to the maximum extent permissible under the law,
this provision is not distorted to provide liability protection for online platforms that -- far from
acting in "good faith" to remove objectionable content -- instead engage in deceptive or
pretextual actions (often contrary to their stated terms of service) to stifle viewpoints with
which they disagree. Section 230 was not intended to allow a handful of companies to grow
into titans controlling vital avenues for our national discourse under the guise of promoting
open forums for debate, and then to provide those behemoths blanket immunity when they
use their power to censor content and silence viewpoints that they dislike. When an
interactive computer service provider removes or restricts access to content and its actions
do not meet the criteria of subparagraph (c)(2)(A), it is engaged in editorial conduct. It is the
policy of the United States that such a provider should properly lose the limited liability
shield of subparagraph (c)(2)(A) and be exposed to liability like any traditional editor and
publisher that is not an online provider.
(b) To advance the policy described in subsection (a) of this section, all executive
departments and agencies should ensure that their application of section 230(c) properly
reflects the narrow purpose of the section and take all appropriate actions in this regard. In
addition, within 60 days of the date of this order, the Secretary of Commerce (Secretary), in
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consultation with the Attorney General, and acting through the National
Telecommunications and Information Administration (NTIA), shall file a petition for
rulemaking with the Federal Communications Commission (FCC) requesting that the FCC
expeditiously propose regulations to clarify:
(i) the interaction between subparagraphs (c)(1) and (c)(2) of section 230, in particular to
clarify and determine the circumstances under which a provider of an interactive computer
service that restricts access to content in a manner not specifically protected by
subparagraph (c)(2)(A) may also not be able to claim protection under subparagraph (c)(1),
which merely states that a provider shall not be treated as a publisher or speaker for making
third-party content available and does not address the provider's responsibility for its own
editorial decisions;
(ii) the conditions under which an action restricting access to or availability of material is not
"taken in good faith" within the meaning of subparagraph (c)(2)(A) of section 230,
particularly whether actions can be "taken in good faith" if they are:
(A) deceptive, pretextual, or inconsistent with a provider's terms of service; or
(B) taken after failing to provide adequate notice, reasoned explanation, or a meaningful
opportunity to be heard; and
(iii) any other proposed regulations that the NTIA concludes may be appropriate to advance
the policy described in subsection (a) of this section.
Sec. 3. Protecting Federal Taxpayer Dollars from Financing Online Platforms That Restrict
Free Speech. (a) The head of each executive department and agency (agency) shall review
its agency's Federal spending on advertising and marketing paid to online platforms. Such
review shall include the amount of money spent, the online platforms that receive Federal
dollars, and the statutory authorities available to restrict their receipt of advertising dollars.
(b) Within 30 days of the date of this order, the head of each agency shall report its findings
to the Director of the Office of Management and Budget.
(c) The Department of Justice shall review the viewpoint-based speech restrictions imposed
by each online platform identified in the report described in subsection (b) of this section
and assess whether any online platforms are problematic vehicles for government speech
due to viewpoint discrimination, deception to consumers, or other bad practices.
Sec. 4. Federal Review of Unfair or Deceptive Acts or Practices. (a) It is the policy of the
United States that large online platforms, such as Twitter and Facebook, as the critical
means of promoting the free flow of speech and ideas today, should not restrict protected
speech. The Supreme Court has noted that social media sites, as the modern public
square, "can provide perhaps the most powerful mechanisms available to a private citizen
to make his or her voice heard." Packingham v. North Carolina, 137 S. Ct. 1730, 1737
(2017). Communication through these channels has become important for meaningful
participation in American democracy, including to petition elected leaders. These sites are
providing an important forum to the public for others to engage in free expression and
debate. Cf. PruneYard Shopping Center v. Robins, 447 U.S. 74, 85-89 (1980).
(b) In May of 2019, the White House launched a Tech Bias Reporting tool to allow
Americans to report incidents of online censorship. In just weeks, the White House received
over 16,000 complaints of online platforms censoring or otherwise taking action against
users based on their political viewpoints. The White House will submit such complaints
received to the Department of Justice and the Federal Trade Commission (FTC).
(c) The FTC shall consider taking action, as appropriate and consistent with applicable law,
to prohibit unfair or deceptive acts or practices in or affecting commerce, pursuant to section
45 of title 15, United States Code. Such unfair or deceptive acts or practice may include
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practices by entities covered by section 230 that restrict speech in ways that do not align
with those entities' public representations about those practices.
(d) For large online platforms that are vast arenas for public debate, including the social
media platform Twitter, the FTC shall also, consistent with its legal authority, consider
whether complaints allege violations of law that implicate the policies set forth in section
4(a) of this order. The FTC shall consider developing a report describing such complaints
and making the report publicly available, consistent with applicable law.
Sec. 5. State Review of Unfair or Deceptive Acts or Practices and Anti-Discrimination Laws.
(a) The Attorney General shall establish a working group regarding the potential
enforcement of State statutes that prohibit online platforms from engaging in unfair or
deceptive acts or practices. The working group shall also develop model legislation for
consideration by legislatures in States where existing statutes do not protect Americans
from such unfair and deceptive acts and practices. The working group shall invite State
Attorneys General for discussion and consultation, as appropriate and consistent with
applicable law.
(b) Complaints described in section 4(b) of this order will be shared with the working group,
consistent with applicable law. The working group shall also collect publicly available
information regarding the following:
(i) increased scrutiny of users based on the other users they choose to follow, or their
interactions with other users;
(ii) algorithms to suppress content or users based on indications of political alignment or
viewpoint;
(iii) differential policies allowing for otherwise impermissible behavior, when committed by
accounts associated with the Chinese Communist Party or other anti-democratic
associations or governments;
(iv) reliance on third-party entities, including contractors, media
organizations, and individuals, with indicia of bias to review content; and
(v) acts that limit the ability of users with particular viewpoints to earn money on the platform
compared with other users similarly situated.
Sec. 6. Legislation. The Attorney General shall develop a proposal for Federal legislation
that would be useful to promote the policy objectives of this order.
Sec. 7. Definition. For purposes of this order, the term "online platform" means any website
or application that allows users to create and share content or engage in social networking,
or any general search engine.
Sec. 8. General Provisions. (a) Nothing in this order shall be construed to impair or
otherwise affect:
(i) the authority granted by law to an executive department or agency, or the head thereof;
or
(ii) the functions of the Director of the Office of Management and Budget relating to
budgetary, administrative, or legislative proposals.
(b) This order shall be implemented consistent with applicable law and subject to the
availability of appropriations.
(c) This order is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable at law or in equity by any party against the United States, its
departments, agencies, or entities, its officers, employees, or agents, or any other person.
DONALD J. TRUMP
THE WHITE HOUSE,
May 28, 2020.
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 1                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                             SAN JOSE DIVISION

 3      DIVINO GROUP LLC, ET AL.,

 4                 PLAINTIFFS,              CASE NO. CV-19-4749-VKD

 5          VS.                             SAN JOSE, CALIFORNIA

 6      GOOGLE LLC, ET AL.,                 JUNE 2, 2020

 7                 DEFENDANT.               PAGES 1 - 51

 8
                       TRANSCRIPT OF ZOOM PROCEEDINGS
 9                BEFORE THE HONORABLE VIRGINIA K. DEMARCHI
                        UNITED STATES DISTRICT JUDGE
10
                         A-P-P-E-A-R-A-N-C-E-S BY ZOOM
11
        FOR THE PLAINTIFFS:      BROWNE GEORGE ROSS LLP
12                               BY: PETER OBSTLER
                                 44 MONTGOMERY STREET
13                               SUITE 1280
                                 SAN FRANCISCO, CALIFORNIA 94104
14
                                 BY: DEBI ANN RAMOS
15                               801 S. FIGUEROA ST., SUITE 2000
                                 LOS ANGELES, CALIFORNIA 90067
16

17      FOR THE DEFENDANTS:      WILSON SONSINI GOODRICH & ROSATI
                                 BY: BRIAN M. WILLEN
18                               1301 AVENUE OF THE AMERICA, 40TH
                                 FLOOR
19                               NEW YORK, NEW YORK 10019-6022

20                               BY: LAUREN G. WHITE
                                 650 PAGE MILL ROAD
21                               PALO ALTO, CALIFORNIA 94304-1050

22                 (APPEARANCES CONTINUED ON THE NEXT PAGE.)

23      OFFICIAL COURT REPORTER:      IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                      CERTIFICATE NUMBER 8074
24
            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
25     TRANSCRIPT PRODUCED WITH COMPUTER.



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 1     A P P E A R A N C E S BY ZOOM: (CONT'D)

 2     FOR INTERESTED PARTY:
                                US DEPARTMENT OF JUSTICE
 3                              CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
                                BY: INDRANEEL SUR
 4                              1100 L ST.
                                RM. 12010
 5                              WASHINGTON, DC 20530

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           1     SAN JOSE, CALIFORNIA                               JUNE 2, 2020

           2                             P R O C E E D I N G S

10:24AM    3          (COURT CONVENED AT 10:24 A.M.)

10:24AM    4                THE CLERK:    THE NEXT MATTER IS DIVINO GROUP VERSUS

10:24AM    5     GOOGLE, CASE NUMBER 19-CV-4749.

10:24AM    6                THE COURT:    GOOD MORNING.   I'M WAITING FOR THE PRIOR

10:24AM    7     MATTER AND ALSO WITH OUR TECHNOLOGY.

10:24AM    8          WHO WILL BE SPEAKING ON BEHALF OF DIVINO GROUP TODAY?

10:24AM    9          MR. OBSTLER, YOU'RE ON MUTE.

10:24AM   10                MR. OBSTLER:    SORRY ABOUT THAT, YOUR HONOR.     THIS IS

10:24AM   11     THE MOST NERVE-RACKING PART OF THE WHOLE HEARING IS TRYING TO

10:24AM   12     GET THIS THING TO WORK.

10:24AM   13          (LAUGHTER.)

10:24AM   14                MR. OBSTLER:    PETER OBSTLER, MYSELF, WILL BE

10:24AM   15     SPEAKING ON BEHALF OF THE DIVINO PLAINTIFFS, YOUR HONOR.

10:24AM   16                THE COURT:    OKAY.   WHO WILL BE SPEAKING ON BEHALF OF

10:24AM   17     GOOGLE TODAY?

10:24AM   18                MR. WILLEN:    GOOD MORNING, YOUR HONOR.   THIS IS

10:24AM   19     BRIAN WILLEN.   ME AND MY COLLEAGUE, MS. WHITE, WILL BOTH BE

10:24AM   20     SPEAKING FOR GOOGLE.

10:24AM   21          I WILL BE ADDRESSING ANY ISSUES RELATED TO SECTION 230,

10:24AM   22     AND MS. WHITE WILL BE ADDRESSING ANY ISSUES RELATED TO THE

10:24AM   23     UNDERLYING CAUSES OF ACTION.

10:24AM   24                THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

10:24AM   25          AND I DO HAVE MR. SUR ON BEHALF OF THE UNITED STATES.



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10:25AM    1          ALL RIGHT.   SO WE ARE HERE ON THE DEFENDANTS' MOTION TO

10:25AM    2     DISMISS THE SECOND AMENDED COMPLAINT.

10:25AM    3          I WILL HEAR FROM ALL PARTIES, BUT I WOULD LIKE TO START

10:25AM    4     JUST BY IDENTIFYING THE ISSUES THAT I AM MOST INTERESTED IN

10:25AM    5     HEARING ABOUT, AND THEN I'LL LET YOU MAKE YOUR ARGUMENTS, AND I

10:25AM    6     HAVE SOME VERY SPECIFIC QUESTIONS.

10:25AM    7          SO PLAINTIFFS HAVE EIGHT CLAIMS FOR RELIEF, REALLY SEVEN

10:25AM    8     CLAIMS FOR RELIEF SINCE THE EIGHTH ONE IS A REQUEST FOR

10:25AM    9     DECLARATORY RELIEF AND MORE OF A REQUEST FOR A REMEDY.

10:25AM   10          MY PRINCIPAL CONCERN IS THE PRAGER DECISION.     IT DOES SEEM

10:25AM   11     THAT THE NINTH CIRCUIT'S DECISION IN PRAGER IS DISPOSITIVE WITH

10:25AM   12     RESPECT TO THE FEDERAL CLAIMS AND PERHAPS THE CALIFORNIA

10:25AM   13     CONSTITUTION CLAIM BECAUSE OF THE FINDING THAT THE

10:25AM   14     NINTH CIRCUIT MADE THAT GOOGLE AND YOUTUBE ARE NOT STATE

10:25AM   15     ACTORS.   THAT CONCLUSION SEEMS TO ELIMINATE THOSE CLAIMS.

10:25AM   16          THE CALIFORNIA CONSTITUTION CLAIMS ARE ALSO PREMISED ON

10:26AM   17     THE IDEA THAT GOOGLE AND YOUTUBE ARE STATE ACTORS, SO THAT ONE

10:26AM   18     ALSO SEEMS TO BE ELIMINATED BY THIS DECISION.

10:26AM   19          AND THEN WITH RESPECT TO THE LANHAM ACT CLAIM, THE FINDING

10:26AM   20     THAT THE TERMS OF SERVICE AND COMMUNITY GUIDELINES ARE NOT

10:26AM   21     COMMERCIAL ADVERTISING OR PROMOTION AND THAT THE OTHER

10:26AM   22     STATEMENTS THAT ARE CONTAINED -- THAT ARE HIGHLIGHTED IN THE

10:26AM   23     SECOND AMENDED COMPLAINT ARE OPERATIONAL OR PUFFERY MEANS THAT

10:26AM   24     THE PLAINTIFFS COULD NOT PREVAIL ON THE LANHAM ACT CLAIM.

10:26AM   25          SO I WOULD LIKE TO UNDERSTAND THE PARTIES' VIEWS ON THE



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10:26AM    1     SIGNIFICANCE OF PRAGER.   THAT'S THE FIRST THING.

10:26AM    2          AND THE SECOND ITEM THAT CAUGHT MY ATTENTION WAS THE

10:26AM    3     UNRAH ACT CLAIM WHICH DOESN'T HAVE -- DOESN'T GIVE MUCH

10:26AM    4     DISCUSSION IN THE PARTIES' PAPERS, BUT HERE'S MY QUESTION ABOUT

10:26AM    5     THE UNRAH ACT CLAIM, OR QUESTIONS.

10:26AM    6          DOES IT ACTUALLY APPLY TO THE GOOGLE YOUTUBE PLATFORM?

10:26AM    7     AND IF SO, UNDER WHAT SPECIFIC THEORY?

10:26AM    8          IF I CONSTRUE THE SECOND AMENDED COMPLAINT AS ALLEGING AN

10:27AM    9     UNWRITTEN POLICY TO DISCRIMINATE AGAINST THE LGBTQ CONTENT

10:27AM   10     CREATORS, IS THAT REALLY WITHIN THE SCOPE OF PUBLISHING

10:27AM   11     ACTIVITY UNDER SECTION 230(C)(1) OR (C)(2), WHICH HAS A GOOD

10:27AM   12     FAITH REQUIREMENT?

10:27AM   13          IS THAT KIND OF AN UNWRITTEN POLICY SUFFICIENT TO STATE A

10:27AM   14     CLAIM EVEN IF GOOGLE AND YOUTUBE'S OFFICIAL WRITTEN POLICY IS

10:27AM   15     VIEWPOINT NEUTRAL?

10:27AM   16          SO I HAVE SOME QUESTIONS AROUND THE UNRAH ACT CLAIM THAT I

10:27AM   17     WOULD LIKE THE PARTIES TO FOCUS ON.

10:27AM   18          AND THEN FINALLY I DID SEE THAT THE PLAINTIFFS DID FILE

10:27AM   19     YESTERDAY A REQUEST FOR JUDICIAL NOTICE ABOUT THE RECENT

10:27AM   20     EXECUTIVE ORDER, AND I'LL PERMIT THE PARTIES TO ADDRESS THAT,

10:27AM   21     ALTHOUGH I DO NOT SEE HOW THAT HAS ANY BEARING ON THE MOTION TO

10:27AM   22     DISMISS.

10:27AM   23          BUT THOSE ARE MY HIGH-LEVEL OBSERVATIONS AND FLAGGING

10:27AM   24     THOSE ISSUES FOR YOUR CONSIDERATION, BUT I WILL LET YOU ARGUE

10:28AM   25     HOWEVER YOU WOULD LIKE TO ARGUE.



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10:28AM    1          AND SINCE IT'S THE DEFENDANTS' MOTION, I WILL GO AHEAD AND

10:28AM    2     LET GOOGLE START.

10:28AM    3          SO MR. WILLEN.

10:28AM    4                  MR. WILLEN:   YES.   THANK YOU, YOUR HONOR.

10:28AM    5          I THINK I SHOULD PROBABLY TAKE YOUR FIRST SET OF QUESTIONS

10:28AM    6     FIRST WHICH HAS TO DO WITH THE IMPACT OF THE NINTH CIRCUIT'S

10:28AM    7     DECISION IN PRAGER, AND SINCE I THINK THAT RELATES TO THE

10:28AM    8     MERITS OF THE CAUSES OF ACTION RATHER THAN SECTION 230, I WILL

10:28AM    9     LET MY COLLEAGUE, MS. WHITE, ADDRESS THAT IN THE FIRST

10:28AM   10     INSTANCE.

10:28AM   11                  THE COURT:    ALL RIGHT.   VERY WELL.

10:28AM   12                  MS. WHITE:    THANK YOU, YOUR HONOR.

10:28AM   13          TAKING YOUR QUESTIONS IN ORDER, I'LL BEGIN WITH THE FIRST

10:28AM   14     AMENDMENT.    WE ABSOLUTELY AGREE WITH YOUR SUGGESTION THAT THE

10:28AM   15     NINTH CIRCUIT'S DECISION FORECLOSES PLAINTIFFS' FIRST AMENDMENT

10:28AM   16     CLAIM.

10:28AM   17          THEIR CLAIM IS PREDICATED ON AN INFRINGEMENT OF THEIR OWN

10:28AM   18     FIRST AMENDMENT RIGHTS, AND OF COURSE THE CASE LAW IS EXTREMELY

10:29AM   19     CLEAR FOLLOWING THE SUPREME COURT'S DECISION IN HALLECK AND NOW

10:29AM   20     THE NINTH CIRCUIT'S DECISION IN PRAGER, WHICH WAS BROUGHT BY

10:29AM   21     COUNSEL FOR PLAINTIFFS HERE AND ASSERTED CLAIMS BASED ON THE

10:29AM   22     SAME PRODUCTS AND SERVICES ON YOUTUBE'S PLATFORM THAT ARE AT

10:29AM   23     ISSUE IN THIS CASE.

10:29AM   24          THERE'S SIMPLY NO PATH FORWARD IN LIGHT OF THE COURT'S

10:29AM   25     HOLDING TO -- FOR THE COURT TO CONCLUDE THAT YOUTUBE IS A STATE



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10:29AM    1     ACTOR.

10:29AM    2          AND PLAINTIFFS HAVE FILED A SURREPLY ADDRESSING THAT

10:29AM    3     DECISION, ALTHOUGH THEY DID NOT ADDRESS JUDGE KOH'S UNDERLYING

10:29AM    4     DECISION THAT THE NINTH CIRCUIT AFFIRMED IN THEIR OPPOSITION

10:29AM    5     BRIEF.

10:29AM    6          AND IN THEIR SURREPLY THEY CLAIM THAT THIS CASE IS

10:30AM    7     DIFFERENT BECAUSE THEY HAVE ARTICULATED A DIFFERENT STATE

10:30AM    8     ACTION THEORY UNDER THE SO-CALLED ENDORSEMENT TEST UNDER THE

10:30AM    9     SUPREME COURT SKINNER DECISION.

10:30AM   10          BUT WHETHER THE COURT CONSIDERS THE ENDORSEMENT TEST OR

10:30AM   11     THE PUBLIC FUNCTION TEST THAT WAS ARGUED IN PRAGER, THE

10:30AM   12     PARTY -- THE PLAINTIFFS MUST SHOW THAT IN ORDER TO SHOW STATE

10:30AM   13     ACTION, THAT THE CONDUCT THAT ALLEGEDLY DEPRIVED THEM OF THEIR

10:30AM   14     RIGHTS CAN FAIRLY BE ATTRIBUTED TO THE STATE OR THE GOVERNMENT.

10:30AM   15          AND THERE IS NO BASIS TO ARGUE THAT YOUTUBE, IN MONITORING

10:30AM   16     ITS SERVICE AND MODERATING CONTENT ON ITS SERVICE WAS SOMEHOW

10:30AM   17     ACTING WITH THE GOVERNMENT'S ENDORSEMENT.    AND SECTION 230 BY

10:30AM   18     ITS EXPRESS TERMS, AND THE LEGISLATIVE HISTORY CONFIRMS, THAT

10:31AM   19     THE GOVERNMENT WAS, IN FACT, SEEKING TO TAKE ITSELF OUT OF THE

10:31AM   20     PROCESS OF CONTENT MODERATION ONLINE.    SO THERE IS NO BASIS FOR

10:31AM   21     THE COURT TO CONCLUDE THAT SECTION 230 SOMEHOW PUTS A THUMB ON

10:31AM   22     THE SCALE IN FAVOR OF THE CONTENT MODERATION DECISIONS THAT

10:31AM   23     YOUTUBE MADE WITH RESPECT TO THE PLAINTIFFS' CONTENT HERE.

10:31AM   24                THE COURT:   IT SEEMS ALMOST LIKE AN ABSENCE OF

10:31AM   25     ENDORSEMENT, SORT OF AN EXPLICIT NON-ENDORSEMENT OF ANY



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10:31AM    1     PARTICULAR MONITORING OR POLICING OR CENSORSHIP OR RESTRICTION.

10:31AM    2     IT'S LEAVING IT UP TO THE PLATFORM OR THE SERVICE PROVIDER IN

10:31AM    3     THIS CASE.

10:31AM    4          SO I TAKE YOUR POINT ABOUT THE ENDORSEMENT THEORY.       IT

10:31AM    5     DOESN'T SEEM TO FIT, BUT I WILL HEAR FROM THE PLAINTIFFS ON

10:31AM    6     THAT.

10:31AM    7          OKAY.    SO IN YOUR VIEW -- IN DEFENDANTS' VIEW DOES THE

10:32AM    8     PRAGER DECISION TAKE CARE OF THE FIRST AMENDMENT CLAIM AS WELL

10:32AM    9     AS THE CALIFORNIA CONSTITUTION CLAIM?

10:32AM   10          I MEAN, IT DOESN'T SPECIFICALLY ADDRESS THE CALIFORNIA

10:32AM   11     CONSTITUTION, THE NINTH CIRCUIT DOES NOT.      THAT WAS THE

10:32AM   12     PRAGER II DECISION.

10:32AM   13                  MR. WILLEN:   THAT'S RIGHT, YOUR HONOR.   WE THINK IT

10:32AM   14     DOES.   CALIFORNIA STATE COURTS HAVE MADE CLEAR THAT THE

10:32AM   15     CALIFORNIA CONSTITUTION HAS A STATE ACTION REQUIREMENT JUST

10:32AM   16     LIKE THE FIRST AMENDMENT.

10:32AM   17          AND AS THE NINTH CIRCUIT IN PRAGER HELD, THAT TO FIND A

10:32AM   18     PRIVATE PLATFORM INVOLVED IN HOSTING EXPRESSIVE CONDUCT A STATE

10:32AM   19     ACTOR WOULD ESSENTIALLY BE A PARADIGM SHIFT AND THAT HOLDING

10:32AM   20     BEARS ON THE CALIFORNIA CONSTITUTION CLAIM AS WELL.

10:32AM   21          NOW, PLAINTIFFS HAVE INVOKED THIS NARROW AND 40-YEAR-OLD

10:33AM   22     EXCEPTION ARTICULATED BY THE CALIFORNIA SUPREME COURT IN

10:33AM   23     ROBINS VERSUS PRUNEYARD, BUT THAT DECISION WAS APPLIED TO REAL

10:33AM   24     PROPERTY GIVEN THE NATURE OF REAL PROPERTY AND HAS NEVER BEEN

10:33AM   25     EXTENDED BEYOND THE SCOPE OF REAL PROPERTY.



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10:33AM    1          AND, IN FACT, EVERY CASE THAT HAS CONSIDERED SIMILAR

10:33AM    2     EFFORTS TO EXPAND ITS SCOPE TO ONLINE SERVICES HAS REJECTED

10:33AM    3     THOSE EFFORTS.   IN ADDITION TO PRAGER II THERE WAS THE DOMEN

10:33AM    4     CASE IN THE SOUTHERN DISTRICT OF NEW YORK AND JUDGE CHEN IN THE

10:33AM    5     HIQ DECISION.

10:33AM    6                THE COURT:   ALL RIGHT.   THANK YOU.

10:33AM    7          AND THE LANHAM ACT ISSUE?

10:33AM    8                MS. WHITE:   YES.   ON THAT, YOUR HONOR, I DON'T

10:33AM    9     ENTIRELY UNDERSTAND PLAINTIFFS' ARGUMENTS IN THEIR SURREPLY FOR

10:33AM   10     ATTEMPTING TO DISTINGUISH THE LANHAM ACT, BUT THERE'S

10:33AM   11     ESSENTIALLY FOUR CATEGORIES OF STATEMENTS AT ISSUE IN THEIR

10:34AM   12     CLAIM, AND THEY ALL RELATE TO STATEMENTS THAT THE NINTH CIRCUIT

10:34AM   13     CONSIDERED IN PRAGER, THOSE DEALING WITH THE TERMS OF SERVICE

10:34AM   14     DESCRIPTIONS OF RESTRICTED MODE AND SOME IMPLICIT STATEMENT BUT

10:34AM   15     NO ACTUAL STATEMENT REGARDING THE DECISION TO MAKE CERTAIN OF

10:34AM   16     PLAINTIFFS' VIDEOS UNAVAILABLE IN RESTRICTED MODE.

10:34AM   17          THE NINTH CIRCUIT ADDRESSED EACH OF THOSE CATEGORIES OF

10:34AM   18     STATEMENTS AND CLEARLY HELD THAT NO LANHAM ACT CLAIM COULD

10:34AM   19     PROCEED ON THE BASIS OF ANY OF THEM.    THEY ARE NOT MADE IN

10:34AM   20     COMMERCIAL OR PROMOTIONAL CONTEXTS AND THEY, WITH RESPECT TO

10:34AM   21     YOUTUBE'S PROMOTIONAL STATEMENTS AND MISSION STATEMENTS, ARE

10:34AM   22     NOT -- ARE ESSENTIALLY NONACTIONABLE PUFFERY.

10:34AM   23                THE COURT:   AND IF GOOGLE WERE TO ACT OR HAVE AN

10:34AM   24     INTERNAL UNWRITTEN POLICY THAT WAS INCONSISTENT WITH THOSE

10:34AM   25     PUBLIC STATEMENTS, WOULD THE ANSWER STILL BE THE SAME UNDER THE



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10:35AM    1     LANHAM ACT?   DOES IT MATTER?   THOSE ARE -- THE STATEMENTS THAT

10:35AM    2     ARE PUBLIC FACING AND DESCRIBE THE PLATFORM AS BEING VIEWPOINT

10:35AM    3     NEUTRAL, THAT'S NOT ADVERTISING, THAT'S NOT PROMOTION, SO IT

10:35AM    4     DOESN'T MATTER IF, IN FACT, THAT'S NOT THE WAY IT WORKS AND

10:35AM    5     THERE'S SOME UNWRITTEN POLICY THAT DISCRIMINATES AGAINST THE

10:35AM    6     LGBT CONTENT CREATORS AND STILL NOT ACTIONABLE UNDER THE

10:35AM    7     LANHAM ACT WOULD BE YOUR VIEW?

10:35AM    8                MS. WHITE:   THAT'S RIGHT, YOUR HONOR.   TO STATE A

10:35AM    9     CLAIM UNDER THE LANHAM ACT FOR FALSE ADVERTISING, WHICH IS WHAT

10:35AM   10     I UNDERSTAND THE PLAINTIFFS CLAIM TO BE HERE, THEY HAVE TO TIE

10:35AM   11     THE CLAIM TO SOME ACTUAL STATEMENT.

10:35AM   12          SO IMPLICIT OR ABSTRACT MOTIVE IS NOT SUFFICIENT TO STATE

10:35AM   13     A CLAIM UNDER THE LANHAM ACT.

10:35AM   14                THE COURT:   ALL RIGHT.   SO I DID HAVE A QUESTION

10:35AM   15     ABOUT TRYING TO FOCUS IN ON THIS ISSUE OF PLAINTIFFS ALLEGE

10:36AM   16     DISCRIMINATION BASED ON THEIR IDENTITY AS OPPOSED TO CONTENT.

10:36AM   17          AND I DON'T KNOW IF THIS IS A QUESTION FOR YOU OR

10:36AM   18     MR. WILLEN BECAUSE IT REALLY DOES GET INTO THE QUESTION OF WHAT

10:36AM   19     IS IMMUNIZED AND WHAT IS NOT.

10:36AM   20          PLAINTIFFS SAY IN THEIR COMPLAINT THAT THEIR CONTENT IS

10:36AM   21     BLOCKED OR RESTRICTED IN SOME WAY NOT BECAUSE OF THE CONTENT

10:36AM   22     ITSELF BUT BECAUSE THE CREATORS OF THE CONTENT ARE GAY OR ARE

10:36AM   23     SEEKING TO HAVE THEIR CONTENT VIEWED BY THE LGBT COMMUNITY, SO

10:36AM   24     THEY'RE TARGETING CONTENT TO THE LGBT COMMUNITY.

10:36AM   25          SO THAT MAKES ME WONDER WHETHER THAT KIND OF CONDUCT IS,



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10:36AM    1     AS I ASKED FROM THE BEGINNING, SO IF I CREDIT THAT AS AN

10:36AM    2     ALLEGATION THAT I MUST ACCEPT AS TRUE THAT IT'S A

10:36AM    3     DISCRIMINATION BASED ON IDENTITY, IS THAT WITHIN THE SCOPE OF

10:36AM    4     THE PUBLISHING ACTIVITIES UNDER SECTION (C)(1)?

10:37AM    5          AND THE SECOND PART IS IF YOU HAVE TO SHOW GOOD FAITH

10:37AM    6     UNDER (C)(2), IS THAT KIND OF DISCRIMINATION, IS THERE A

10:37AM    7     QUESTION WHETHER THAT KIND OF DISCRIMINATION IS NOT GOOD FAITH

10:37AM    8     UNDER (C)(2)?

10:37AM    9          SO THOSE ARE QUESTIONS FOR MR. WILLEN.

10:37AM   10                MR. WILLEN:    SURE.   I'D BE HAPPY TO ADDRESS THOSE,

10:37AM   11     YOUR HONOR.

10:37AM   12          SO WITH RESPECT TO (C)(1), THE COURT IS NOT WRITING ON A

10:37AM   13     BLANK SLATE HERE.    WE'VE HAD A SERIES OF DECISIONS, AT LEAST

10:37AM   14     SIX CASES IN THE LAST TWO OR THREE YEARS ALL OF WHICH HAVE

10:37AM   15     APPLIED SECTION 230(C)(1) TO CLAIMS UNDER VARIOUS

10:37AM   16     DISCRIMINATION LAWS, INCLUDING THE UNRAH ACT.

10:37AM   17          SO, FOR EXAMPLE, THE DOMEN CASE THAT MS. WHITE MENTIONED

10:37AM   18     IN THE SOUTHERN DISTRICT OF NEW YORK WAS A CLAIM OF THE

10:37AM   19     UNRAH ACT SPECIFICALLY HELD THAT THE STATE, YOU KNOW,

10:37AM   20     DISCRIMINATION LAWS AND CLAIMS ARISING UNDER THEM ARE WITHIN

10:37AM   21     THE SCOPE OF PUBLISHING ACTIVITY AT LEAST IN CERTAIN CONTEXTS

10:38AM   22     UNDER (C)(1).

10:38AM   23          WE HAVE THE SIKHS FOR JUSTICE CASE, JUDGE KOH'S DECISION,

10:38AM   24     WHICH HELD THE SAME THING AS DID TITLE II OF THE FEDERAL CIVIL

10:38AM   25     RIGHTS ACT, AND THAT DECISION WAS AFFIRMED IN AN UNPUBLISHED



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10:38AM    1     DECISION BY THE NINTH CIRCUIT, WHICH SPECIFICALLY SAID THERE'S

10:38AM    2     NO, THERE'S NO REASON TO EXEMPT THIS CLAIM FROM SECTION 230.

10:38AM    3          PRAGER HELD THE SAME THING.    SIKHS VERSUS FACEBOOK, THE

10:38AM    4     FEDERAL NEWS AGENCY CASE, ALSO A JUDGE KOH DECISION.     SO

10:38AM    5     THERE'S A LONG SERIES OF CASES THAT HAVE HELD THIS.

10:38AM    6          AND WHAT THAT REFLECTS IS THAT I THINK YOU HAVE TO LOOK IN

10:38AM    7     A CASE LIKE THIS, AS THOSE COURTS DID, AT THE NATURE OF THE

10:38AM    8     ACTIVITY THAT IS GIVING RISE TO THE CLAIM.

10:38AM    9          HERE PRIMARILY WHAT THE PLAINTIFFS ARE ALLEGING IS A

10:38AM   10     CHALLENGE TO TWO THINGS:

10:38AM   11          ONE IS THE DECISIONS THAT YOUTUBE MADE WITH RESPECT TO

10:38AM   12     RESTRICTED MODE, AND THAT'S THE EXCLUSION OF CERTAIN VIDEOS

10:38AM   13     FROM BEING ELIGIBLE TO BEING SHOWN IN YOUTUBE'S RESTRICTED

10:38AM   14     MODE;

10:39AM   15          AND THE SECOND IS THE DECISION TO DEMONETIZE SOME VIDEOS,

10:39AM   16     ALTHOUGH NOT ALL OF THE VIDEOS.

10:39AM   17          SO MS. WHITE CAN CERTAINLY ADDRESS WHETHER THOSE

10:39AM   18     ALLEGATIONS EVEN STATE A CLAIM UNDER THE UNRAH ACT, BUT

10:39AM   19     ASSUMING THAT THEY DID, THAT CHALLENGE, THE SPECIFIC ISSUES AT

10:39AM   20     ISSUE HERE, PLAINLY QUALIFY AS PUBLISHING ACTIVITY AS IT'S BEEN

10:39AM   21     DEFINED BY THE NINTH CIRCUIT AND THE SERIES OF NORTHERN

10:39AM   22     DISTRICT OF CALIFORNIA AND OTHER CASES THAT I MENTIONED.

10:39AM   23          SO WITH RESPECT TO RESTRICTED MODE, THAT WAS THE EXPRESS

10:39AM   24     HOLDING OF THE PRAGER II STATE COURT DECISION CHALLENGED THE

10:39AM   25     RESTRICTED MODE CLEARLY COMES UNDER SECTION 230(C)(2) AS



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10:39AM    1     PUBLISHING CONDUCT, EXCUSE ME, AND LIKEWISE THE SAME THING WITH

10:39AM    2     RESPECT TO DEMONETIZATION, AND THAT WAS CONFIRMED EVEN MORE

10:39AM    3     RECENTLY BY JUDGE KIM'S DECISION IN THE LEWIS CASE WHICH WE

10:39AM    4     SUBMITTED AS SUPPLEMENTAL AUTHORITY.     AND THAT WAS A CASE

10:40AM    5     INVOLVING DEMONETIZATION, AND THE COURT THERE EXPLAINED VERY

10:40AM    6     CLEARLY I THINK THAT DEMONETIZATION IS A FORM OF PUBLISHER

10:40AM    7     ACTIVITY.

10:40AM    8                 THE COURT:    LET ME PAUSE YOU RIGHT THERE,

10:40AM    9     MR. WILLEN, BECAUSE I GET THE POINT THAT OTHER CASES HAVE HELD

10:40AM   10     THAT PUBLISHING ACTIVITY ENCOMPASSES QUITE A BROAD SWATH OF

10:40AM   11     ACTIVITY, I UNDERSTAND THAT POINT.

10:40AM   12          BUT TO PUT A REALLY FINE POINT ON IT HERE, WHAT I'M

10:40AM   13     CONCERNED ABOUT IS IF, IF THE ALLEGATION IS, AND I KNOW THAT

10:40AM   14     GOOGLE DISPUTES THAT THIS IS REALLY WHAT IS ALLEGED, BUT IF THE

10:40AM   15     ALLEGATION IS THAT, A, SOMEONE WHO DOES ALL OF THOSE PUBLISHING

10:40AM   16     ACTIVITIES IS NEVERTHELESS DISCRIMINATING ON THE BASIS OF THE

10:40AM   17     AUTHOR'S IDENTITY, THE CONTENT CREATOR'S IDENTITY, REGARDLESS

10:40AM   18     OF WHAT IT IS THAT THE CONTENT HAS IN IT, IF THAT'S THE

10:40AM   19     ALLEGATION, ARE YOU SAYING THAT THAT IS PUBLISHING ACTIVITY,

10:40AM   20     DISCRIMINATION ON THE BASIS OF, LET'S JUST SAY SEXUAL

10:41AM   21     ORIENTATION OF THE CONTENT CREATOR, THAT'S WITHIN PUBLISHING

10:41AM   22     ACTIVITY UNDER (C)(1)?

10:41AM   23                 MR. WILLEN:   WELL, I WOULD SAY TWO THINGS.   SO,

10:41AM   24     FIRST OF ALL, I THINK IT'S ACTUALLY CLEAR FROM THE FACTS

10:41AM   25     ALLEGED IN THE COMPLAINT AS OPPOSED TO KIND OF RHETORIC IN THE



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10:41AM    1     COMPLAINT THAT THAT'S NOT WHAT IS PLAUSIBLY ALLEGED HERE.

10:41AM    2          YOU KNOW, WE KNOW, FOR EXAMPLE, THAT ALL OF THE -- NONE OF

10:41AM    3     THE PLAINTIFFS HERE HAVE HAD ALL OF THEIR VIDEOS EXCLUDED FROM

10:41AM    4     RESTRICTED MODE, NONE OF THEM HAVE ALL OF THEIR VIDEOS NOT

10:41AM    5     ELIGIBLE FOR MONETIZATION.

10:41AM    6          SO CLEARLY IF YOU ACTUALLY LOOK AT WHAT IS GOING ON IN

10:41AM    7     THIS CASE, IT'S VERY HARD TO SAY THAT THERE IS ANY SORT OF

10:41AM    8     IDENTITY OR USER BASE DISCRIMINATION.     SO I THINK THAT'S AN

10:41AM    9     IMPORTANT POINT.

10:41AM   10          BUT AGAIN, WITH RESPECT TO SORT OF THE LEGAL QUESTION

10:41AM   11     UNDER SECTION 230, I MEAN I THINK IT DOES FOLLOW, AND THERE MAY

10:41AM   12     BE SOME CASES WHERE THIS COULD NOT BE THE CASE DEPENDING ON THE

10:41AM   13     PARTICULAR CIRCUMSTANCES.

10:41AM   14          BUT THE NINTH CIRCUIT HAS BEEN VERY CLEAR THAT SECTION

10:42AM   15     230(C)(1) APPLIES WITHOUT REGARD TO THE NATURE OF THE CAUSE OF

10:42AM   16     ACTION.

10:42AM   17          THE THING THAT YOU'RE LOOKING AT IS WHAT IS THE DUTY THAT

10:42AM   18     THE CAUSE OF ACTION IMPOSES AND WHERE THAT DUTY TAKES THE FORM

10:42AM   19     OF A COMMAND EITHER TO PUBLISH OR NOT TO PUBLISH.     THAT IS

10:42AM   20     PRECISELY WHAT SECTION 230(C)(1) PROTECTS AGAINST.     SO

10:42AM   21     WITHDRAWING CONTENT FROM PUBLICATION, CLEAR PUBLIC ACTIVITY.

10:42AM   22          SO WHERE A DISCRIMINATION CLAIM TAKES THE FORM OF SEEKING

10:42AM   23     TO IMPOSE A DUTY ON THE PLATFORM TO EITHER PUBLISH OR NOT TO

10:42AM   24     WITHDRAW FROM PUBLICATION A PARTICULAR PIECE OF CONTENT OR A

10:42AM   25     PARTICULAR USER'S CONTENT, THAT I THINK JUST UNDER THE



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10:42AM    1     ESTABLISHED LAW APPLIES AND KICKS THE IMMUNITY IN.

10:42AM    2                THE COURT:    THAT'S WHY I WAS ASKING THIS QUESTION IN

10:42AM    3     THE CONTEXT OF THE UNRAH ACT BECAUSE THAT TO ME SEEMED LIKE THE

10:42AM    4     ONLY -- IT'S NOT -- IT CAN'T BE A FIRST AMENDMENT ISSUE.        WE

10:43AM    5     KNOW THAT FROM PRAGER.

10:43AM    6                MR. WILLEN:   YEAH.

10:43AM    7                THE COURT:    I DIDN'T REALLY SEE HOW . THERE'S A 14TH

10:43AM    8     AMENDMENT ISSUE.   IT'S NOT REALLY PLED THAT WAY.

10:43AM    9          IT'S MORE OF AS A RESPONSE TO THE AFFIRMATIVE RESPONSE

10:43AM   10     UNDER 230(C).   SO THAT'S WHY I WAS FOCUSSING ON THE UNRAH ACT

10:43AM   11     BECAUSE IMAGINE THAT A PUBLISHER WAS DISCRIMINATING AGAINST A

10:43AM   12     CONTENT CREATOR BASED ON RACE, AND JUST MAKE IT REAL

10:43AM   13     STRAIGHTFORWARD, AND THAT WAS THE ALLEGATION.

10:43AM   14          SO LET'S JUST REMOVE IT FROM THE ACTUAL CASE HERE, BECAUSE

10:43AM   15     I KNOW THAT GOOGLE HAS A DIFFERENT VIEW OF WHAT ACTUALLY IS

10:43AM   16     PLED AND WHAT WAS PLAUSIBLY PLED, AND I JUST WANTED TO AVOID

10:43AM   17     THAT ISSUE.

10:43AM   18          I'M ASKING YOU A HYPOTHETICAL QUESTION.       A PUBLISHER IS

10:43AM   19     DISCRIMINATING AGAINST A CONTENT CREATOR ON THE BASIS OF RACE,

10:43AM   20     NOT ON CONTENT, IS THAT PUBLISHING ACTIVITY UNDER (C)(1) AND IS

10:43AM   21     IT IMMUNIZED -- WOULD IT ALSO BE IMMUNIZED UNDER (C)(2)?

10:43AM   22                MR. WILLEN:   YEAH.   SO I THINK THE (C)(2) QUESTION

10:43AM   23     IS A DIFFICULT ONE BECAUSE OF THE GOOD FAITH LANGUAGE.

10:44AM   24          OBVIOUSLY WE HAVE NOT SPECIFICALLY RAISED (C)(2) IN

10:44AM   25     CONNECTION WITH THIS MOTION.     I THINK THIS ISSUE HAS NOT



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10:44AM    1     SPECIFICALLY COME UP IN THE (C)(2) CONTEXT.       I CAN IMAGINE SOME

10:44AM    2     COURTS TAKING THE POSITION THAT A PROPERLY PLEADED CLAIM OF THE

10:44AM    3     SORT THAT YOU DESCRIBE AS SORT OF FACIAL RACE DISCRIMINATION

10:44AM    4     CLAIM MAY NOT BE GOOD FAITH UNDER (C)(2), I CAN IMAGINE A COURT

10:44AM    5     TAKING THAT POSITION.

10:44AM    6          I THINK AGAIN, THOUGH, (C)(1) DOES NOT HAVE A GOOD FAITH

10:44AM    7     PROVISION, AND IT APPLIES WITH CIRCUMSTANCES AND APPLIES

10:44AM    8     DIFFERENTLY.

10:44AM    9          I THINK WE HAVE TO LOOK AT THE CARVE-OUTS THAT DO EXIST

10:44AM   10     UNDER (C)(1).   WE HAVE PARTICULAR STATUTES THAT CONGRESS CHOSE

10:44AM   11     TO EXEMPT, INTELLECTUAL PROPERTY, FEDERAL INTELLECTUAL PROPERTY

10:44AM   12     CLAIMS, CRIMINAL PROSECUTIONS, CLAIMS UNDER THE STORED

10:44AM   13     COMMUNICATIONS AND ELECTRONIC COMMUNICATIONS PRIVACY ACT.

10:45AM   14     DISCRIMINATION CLAIMS OBVIOUSLY ARE NOT, NOT THERE.

10:45AM   15          I THINK THERE COULD BE SOME STARK CASES WHERE A COURT

10:45AM   16     MIGHT FIND UNDER A PARTICULAR SET OF CIRCUMSTANCES THAT SOME

10:45AM   17     ALLEGED DISCRIMINATION DIDN'T TAKE THE FORM OF A PUBLISHER OF

10:45AM   18     ACTUALLY TARGETING PUBLISHER CONDUCT, AND, THEREFORE, DIDN'T

10:45AM   19     COME WITHIN (C)(1).

10:45AM   20          I THINK THIS CASE, WHICH IS THE CASE THAT WE HAVE TO LOOK

10:45AM   21     AT, IS I THINK CLEARLY ON THE OTHER SIDE OF THE LAW GIVEN THE

10:45AM   22     NATURE OF THE ALLEGATIONS FOCUSSED SPECIFICALLY ON RESTRICTED

10:45AM   23     MODE, FOCUSSED ON DEMONETIZATION.

10:45AM   24          WE KNOW FROM THE CASES THAT THOSE ARE CORE PUBLISHER

10:45AM   25     ACTIVITIES, AND WE KNOW FROM THE CASES THAT THE DISCRIMINATION



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10:45AM    1     CLAIMS THAT ARE TARGETING THOSE KINDS OF ACTIVITIES HAVE BEEN

10:45AM    2     REPEATEDLY PRECLUDED BY SECTION 230(C)(1).

10:45AM    3          SO I DON'T THINK THERE'S ANY BASIS IN THIS CASE, GIVEN

10:45AM    4     THESE ALLEGATIONS, TO DEPART FROM THAT CONSENSUS.

10:45AM    5                  THE COURT:    ALL RIGHT.   LET ME JUST ASK, DOES ANYONE

10:46AM    6     ON BEHALF OF GOOGLE WISH TO ADDRESS THE REQUEST FOR UNUSUAL

10:46AM    7     NOTICE?

10:46AM    8                  MR. WILLEN:   SURE.   I'D BE HAPPY TO TALK ABOUT THAT

10:46AM    9     AS WELL.   YEAH, I THINK WE SHARE YOUR SENSE, YOUR HONOR, THAT

10:46AM   10     THE EXECUTIVE ORDER REALLY HAS NOTHING TO DO WITH THE ISSUES ON

10:46AM   11     THIS MOTION.

10:46AM   12          THE EXECUTIVE ORDER SEEMS TO US, AT LEAST THE ONLY

10:46AM   13     PROVISION OF IT THAT PURPORTS TO HAVE ANY ACTUAL PRESENT

10:46AM   14     EFFECT, WHICH IS PARAGRAPH 2, IS ADDRESSED TO AN INTERPRETATION

10:46AM   15     OF SECTION 230(C)(2)(A), WHICH SEEMS TO REDUCE TO IF YOU DON'T

10:46AM   16     QUALIFY FOR PROTECTION UNDER 230(C)(2)(A), YOU'RE NOT PROTECTED

10:46AM   17     BY SECTION 230(C)(2)(A).

10:46AM   18          SO I DON'T THINK THAT HAS ANY BEARING ON THIS MOTION WHICH

10:46AM   19     DOESN'T RELY ON SECTION 230(C)(2) AT ALL.

10:46AM   20          EVERYTHING ELSE IN THE ORDER IS SORT OF DIRECTED TO THINGS

10:46AM   21     THAT MIGHT HAPPEN IN THE FUTURE AND DIRECTIVES FOR RULE MAKING,

10:47AM   22     ET CETERA.

10:47AM   23          SO I DON'T THINK THERE'S ANYTHING TO DO WITH IT.       I DON'T

10:47AM   24     THINK IT HAS ANY BEARING ON THESE ISSUES, AND CERTAINLY IT

10:47AM   25     DOESN'T DISPLACE AND IT'S REALLY NOT CAPABLE OF DISPLACING



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10:47AM    1     EITHER THE TEXT OF THE STATUTE OR THE LAW THAT HAS BEEN

10:47AM    2     ESTABLISHED WITH RESPECT TO (C)(1).

10:47AM    3                THE COURT:    ALL RIGHT.   THANK YOU FOR THAT.

10:47AM    4          IS THERE ANYTHING ELSE THAT YOU WOULD LIKE TO ARGUE IN

10:47AM    5     SUPPORT OF YOUR MOTION THAT I HAVEN'T FOCUSSED ON IN PARTICULAR

10:47AM    6     OR THAT YOU THINK NEEDS FURTHER ELABORATION AT THIS TIME?

10:47AM    7                MR. WILLEN:   I THINK THE ONLY THING, AND OBVIOUSLY I

10:47AM    8     WANT TO HEAR FROM THE PLAINTIFFS AND RESPOND TO WHAT THEY MIGHT

10:47AM    9     SAY, BUT I DO THINK THAT THE QUESTION OF THE CONSTITUTION, THE

10:47AM   10     CONSTITUTIONAL CHALLENGE TO SECTION 230 THAT THEY HAVE RAISED I

10:47AM   11     THINK, AS THE COURT RECOGNIZED, THE FINDING OF NO STATE ACTION

10:47AM   12     IN THE PRAGER CASE MAKING CLEAR THAT YOUTUBE IS A PRIVATE FORUM

10:48AM   13     AND NOT A GOVERNMENT ACTOR, I THINK THAT FINDING EQUALLY BARS

10:48AM   14     NOT JUST THE FIRST AMENDMENT CLAIM BUT ALSO ANY CHALLENGE TO

10:48AM   15     CONSTITUTIONALITY OF SECTION 230.

10:48AM   16          I THINK THE DECISION THAT IS PROBABLY MOST DIRECTLY ON

10:48AM   17     POINT IN EXPLAINING WHY THAT CHALLENGE FAILS IS THE

10:48AM   18     NINTH CIRCUIT'S DECISION IN ROBERTS VERSUS AT&T MOBILITY WHICH

10:48AM   19     WAS NOT A CASE THAT WE WERE ABLE TO CITE IN OUR PAPERS BECAUSE

10:48AM   20     IT RELATES TO AN ARGUMENT THAT THE PLAINTIFFS MADE IN THEIR

10:48AM   21     SURREPLY AND IN THEIR RESPONSE TO THE GOVERNMENT, BUT I THINK

10:48AM   22     THAT CASE WAS VERY HELPFUL.

10:48AM   23                THE COURT:    ALL RIGHT.   THANK YOU.   THANK YOU VERY

10:48AM   24     MUCH.

10:48AM   25          MR. OBSTLER, I WOULD LIKE FOR YOU TO HAVE IN MIND THE



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10:48AM    1     QUESTIONS THAT THE COURT ASKED AT THE BEGINNING, SO JUST TO

10:48AM    2     REVIEW THE SIGNIFICANCE OF THE PRAGER DECISION ON YOUR FEDERAL

10:48AM    3     CLAIMS AND POSSIBLY THE CALIFORNIA CONSTITUTION CLAIM AS WELL;

10:48AM    4          THE QUESTIONS THAT THE COURT HAD ABOUT THE APPLICATION OF

10:49AM    5     230(C)(1) AND (2) AND THE CONTEXT OF THE INTENTIONAL

10:49AM    6     DISCRIMINATION, AND I FRAMED IT AS A QUESTION UNDER THE

10:49AM    7     UNRAH ACT, BUT YOU MAY THINK OF IT DIFFERENTLY, AND THEN I'LL

10:49AM    8     ALSO GIVE YOU AN OPPORTUNITY TO -- I WOULD LIKE YOU TO ADDRESS

10:49AM    9     YOUR REQUEST FOR JUDICIAL NOTICE AND LET ME KNOW WHY YOU THINK

10:49AM   10     IT MATTERS TO THE MOTION TO DISMISS.    AND MAYBE IT'S JUST

10:49AM   11     SPECIFICALLY TO THE GOVERNMENT'S POSITION ON THE MOTION TO

10:49AM   12     INTERVENE, BUT I'D LIKE TO JUST UNDERSTAND THAT, AND ANYTHING

10:49AM   13     ELSE THAT YOU WOULD LIKE TO ARGUE.    ALL RIGHT.

10:49AM   14                MR. OBSTLER:    THANK YOU SO MUCH, YOUR HONOR.

10:49AM   15          I REALLY APPRECIATE AN OPPORTUNITY TO GET A HEARING ON

10:49AM   16     THIS CASE BECAUSE I THINK THERE ARE A LOT OF MISCONCEPTIONS

10:49AM   17     ABOUT WHAT WE HAVE ALLEGED IN 126 PAGES AND 354 PARAGRAPHS.

10:49AM   18          I'M GOING TO ANSWER ALL OF YOUR QUESTIONS, BUT I'M GOING

10:49AM   19     TO REFER VERY CLOSELY TO THE COMPLAINT IN DOING THAT BECAUSE I

10:49AM   20     THINK A LOT OF WHAT THEY'RE REALLY ARGUING WHEN YOU PEEL BACK

10:50AM   21     THE ONION IS FACT BASED.    IF THEY'RE DISCRIMINATING, THESE

10:50AM   22     ARGUMENTS FALL APART.

10:50AM   23          I'LL START WITH THE PRAGER CASE.    I THINK WAY TOO MUCH

10:50AM   24     TIME -- AND I BEAR A LOT OF RESPONSIBILITY FOR THIS BECAUSE I

10:50AM   25     LITIGATED THE PRAGER CASE -- IS BEING SPENT ON STATE ACTION.



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10:50AM    1     I'M GOING TO SUBMIT HERE ON STATE ACTION.     I DON'T WANT TO

10:50AM    2     WASTE ANY MORE TIME ON IT.    I THINK YOUR HONOR HAS HER VIEWS.

10:50AM    3          MY ONLY ISSUE WITH THE STATE ACTION DECISIONS THAT HAVE

10:50AM    4     COME DOWN SO FAR IS THAT THERE IS NOT A CLEAR PLEADING STANDARD

10:50AM    5     ON WHAT YOU WOULD HAVE TO PLEAD TO PLEAD PUBLIC FUNCTION OR TO

10:50AM    6     PLEAD ENDORSEMENT.

10:50AM    7          SO IF I COULD KNOW THAT, I COULD THEN MAKE A GOOD FAITH

10:50AM    8     DECISION AS TO WHETHER OR NOT I CAN ALLEGE THOSE TYPES OF

10:50AM    9     FACTS.   I WOULD LIKE TO HOLD, THOUGH, UNLESS THE COURT REALLY

10:50AM   10     WANTS TO HEAR FROM ME NOW ON THAT ISSUE, I WOULD REALLY LIKE TO

10:50AM   11     HOLD THAT TO THE END BECAUSE, FRANKLY, I'M PRETTY MUCH PREPARED

10:50AM   12     TO SUBMIT ON THAT.   WE'RE GOING TO HAVE TO GO UP ON THIS, AND

10:50AM   13     IT MAY BE THAT PRAGER AND HALLECK ENDS EVERYTHING.     I

10:50AM   14     UNDERSTAND THAT.   OKAY.   I DON'T THINK THAT'S THE KEY ISSUE IN

10:50AM   15     MY CASE AT THIS POINT.

10:50AM   16                THE COURT:    THE STATE ACTION ISSUE MAKES YOUR FIRST

10:51AM   17     AMENDMENT CLAIM YOUR WEAKEST CLAIM.

10:51AM   18                MR. OBSTLER:    I WOULD ABSOLUTELY AGREE WITH THAT,

10:51AM   19     YOUR HONOR.   I THINK SKINNER AND THE CONSTITUTIONALITY -- AND

10:51AM   20     SO SKINNER IS SORT OF UPSIDE-DOWN ON THE CONSTITUTIONALITY

10:51AM   21     ARGUMENT, BUT I WOULD AGREE THAT THAT, OF ALL OF THE CLAIMS IN

10:51AM   22     THIS CASE AT THIS POINT, DEPENDING ON WHAT THE STANDARD IS, IF

10:51AM   23     THAT'S THE WEAKEST CLAIM IN THIS CASE.

10:51AM   24          NOW, I WILL SAY THEY HAVE MERGED THEIR TERMS OF SERVICE

10:51AM   25     RECENTLY SO A VIOLATION ON YOUTUBE CAN ALSO LEAD TO THEM TAKING



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10:51AM    1     ANDROID DEVICES AWAY, CAN LEAD TO THEM SHUTTING DOWN ALL SORTS

10:51AM    2     OF GOOGLE SERVICES.      THEY'RE VERY INVOLVED IN ELECTIONS.    WE

10:51AM    3     KNOW THAT FOR WHAT WENT ON IN THE DISASTER THAT HAPPENED IN THE

10:51AM    4     CAUCUSES.

10:51AM    5                 THE COURT:    I WOULD RATHER NOT GET INTO THINGS THAT

10:51AM    6     ARE NOT ALLEGED IN YOUR COMPLAINT.

10:51AM    7                 MR. OBSTLER:    YOUR HONOR, WE HAVE ALLEGED THAT THEY

10:51AM    8     ARE INVOLVED IN THESE FUNCTIONS.       WE HAVE ALLEGED THAT.    IF I

10:51AM    9     NEED TO ALLEGE MORE SPECIFICITY BECAUSE I'VE GOT SOME VERY

10:51AM   10     STRINGENT PLEADING REQUIREMENTS HERE, WE CAN TAKE A LOOK AT

10:52AM   11     THAT.

10:52AM   12          SO MY ONLY REQUEST ON THAT IS THAT THE COURT ARTICULATE

10:52AM   13     THE STANDARD WHY WE FAIL AND GIVE US LEAVE TO CONSIDER WHETHER

10:52AM   14     WE CAN AMEND, BUT OTHERWISE WE'RE PREPARED TO GO UP ON THAT

10:52AM   15     ISSUE, YOUR HONOR.

10:52AM   16                 THE COURT:    ALL RIGHT.   LET'S HEAR ABOUT YOUR

10:52AM   17     ARGUMENTS THAT DON'T RELY ON STATE ACTION.

10:52AM   18                 MR. OBSTLER:    OKAY.   LET'S START WITH LANHAM.    THEY

10:52AM   19     SEEM TO BE FOCUSSED VERY MUCH ON THE STATEMENTS ABOUT FREEDOM

10:52AM   20     OF EXPRESSION AND ALL THIS TYPE OF STUFF.      THAT'S NOT THE BASIS

10:52AM   21     FOR A LANHAM CLAIM.

10:52AM   22          THE BASIS FOR A LANHAM CLAIM IS THEY WEAR TWO HATS.

10:52AM   23     THEY'RE ONE OF THE LARGEST CONTENT CREATORS ON THE YOUTUBE

10:52AM   24     PLATFORM.   THEY HAVE PREFERRED CONTENT DEALS WITH MAJOR, MAJOR

10:52AM   25     MAINSTREAM PUBLISHERS.     SO THEY'RE WEARING TWO HATS.



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10:52AM    1          AND WHAT THEY'RE DOING, YOUR HONOR, AND I HOPE YOU CAN SEE

10:52AM    2     THIS, THIS IS WHAT APPEARS --

10:52AM    3                THE COURT:   THAT'S OKAY.   I HAVE THE COMPLAINT.    YOU

10:52AM    4     DON'T NEED TO PUT IT ON THE VIDEO.

10:52AM    5                MR. OBSTLER:   YEAH.   THEY ARE SAYING TO ALL SORTS OF

10:52AM    6     VIEWERS AND AUDIENCES AROUND THE COUNTRY THAT MY CLIENT'S

10:52AM    7     VIDEOS ARE INAPPROPRIATE BECAUSE THEY CONTAIN SHOCKING CONTENT,

10:53AM    8     SEXUAL OR NUDITY, DRUGS, VIOLENCE, ET CETERA.     THAT'S WHAT THEY

10:53AM    9     ARE TELLING THE AUDIENCES WHEN THEY RESTRICT THOSE VIDEOS.

10:53AM   10          THIS CASE, BY THE WAY, IS NOT JUST ABOUT RESTRICTED MODE.

10:53AM   11     IT'S ABOUT EVERY SINGLE SERVICE THAT GOOGLE AND YOUTUBE OFFER

10:53AM   12     WHERE THE TRIGGER TO OBTAIN THE SERVICE IS BASED ON A CONTENT

10:53AM   13     BASED REVIEW OR CONTENT BASED PROCEDURE.

10:53AM   14          SO MY ARGUMENT IN LANHAM IS THAT THEY'RE USING THEIR ROLE

10:53AM   15     AS CONTENT REGULATORS TO BRAND OUR CONTENT AS INAPPROPRIATE, SO

10:53AM   16     WHEN THE READER LOOKS TO SEE WHAT IS ON RESTRICTED MODE, THEY

10:53AM   17     HAVE A LIST AND THAT IS AN AFFIRMATIVE STATEMENT THAT THEY HAVE

10:53AM   18     REVIEWED THE CONTENT AND THAT THEY HAVE FOUND THE CONTENT TO

10:53AM   19     VIOLATE THAT RULE.

10:53AM   20                THE COURT:   SO LET ME PAUSE YOU THERE FOR A MOMENT

10:53AM   21     AND LET ME MAKE SURE THAT I UNDERSTAND WHAT YOU'RE SAYING THE

10:53AM   22     LANHAM ACT CLAIM IS.

10:53AM   23          IS IT A FALSE ADVERTISING CLAIM UNDER 1125(A)(1)(B)?

10:54AM   24                MR. OBSTLER:   YES, YES.

10:54AM   25                THE COURT:   OKAY.   SO THEN YOU HAVE TO GO THROUGH



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10:54AM    1     THE ELEMENTS.

10:54AM    2          SO IF YOU HAD TO TELL ME AN ANSWER TO THIS QUESTION, WHAT

10:54AM    3     IS THE FALSE OR MISLEADING STATEMENT?

10:54AM    4                MR. OBSTLER:    THE FALSE OR MISLEADING STATEMENT THAT

10:54AM    5     THEY'RE MAKING IS THAT MY CLIENT'S VIDEOS ARE INAPPROPRIATE

10:54AM    6     SEXUALLY, CONTAIN SEXUAL NUDITY OR MATERIAL, CONTAIN VIOLENCE,

10:54AM    7     WHEN, IN FACT, THAT IS NOT TRUE BECAUSE THEY'RE NOT EVEN

10:54AM    8     LOOKING AT THE CONTENT.

10:54AM    9                THE COURT:   AND YOU'RE SAYING THAT THE STATEMENT IS

10:54AM   10     IMPLICIT BECAUSE A SCREEN DISPLAY THAT INDICATES TO THE VIEWER

10:54AM   11     THAT THAT IS BLOCKED, OR NOT AVAILABLE IN RESTRICTED MODE,

10:54AM   12     IMPLIES THAT IT MUST MEET ONE OF THOSE CATEGORIES OF CONTENT

10:54AM   13     THAT GOOGLE WILL NOT PERMIT TO BE SHOWN IN THAT MODE.

10:54AM   14          IS THAT THE THEORY?

10:54AM   15                MR. OBSTLER:    THAT IS CORRECT, YOUR HONOR.

10:54AM   16          BUT IT GOES A LITTLE DEEPER THAN THAT, OKAY?     BECAUSE IT

10:54AM   17     ALSO -- AND THIS OVERLAPS WITH THE (C)(1)(A) ISSUE, AND WE'VE

10:55AM   18     ALLEGED THIS AND THE FROSCH DECLARATION CONTAINS IT, TOO.

10:55AM   19          THEY'RE NOT ONLY USING DISCRIMINATORY ALGORITHMS TO DO

10:55AM   20     THIS.   THEY'RE ACTUALLY EMBEDDING METADATA INTO MY CLIENT'S

10:55AM   21     VIDEOS THAT ALLOW THE ALGORITHM TO DO THE PROFILE.

10:55AM   22          AGAIN, UNTIL WE DO DISCOVERY, THIS IS GOING TO BE A VERY

10:55AM   23     COMPLICATED CASE, AND WE'RE SAYING SHOW US THE CODE AND SHOW US

10:55AM   24     HOW THIS WORKS.

10:55AM   25          BUT WE DID A TEA VIDEO, AS YOUR HONOR KNOWS, WHERE WE



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10:55AM    1     ALLEGED AND WHERE WE PUT IN BOTH TAG LINES AND THEN WE PUT IT

10:55AM    2     IN WITHOUT THE TAG LINES AND ALL IT SAYS IS WE LIKE TEA.        IT

10:55AM    3     GOT RESTRICTED.

10:55AM    4          AND AS MS. FROSCH WAS TOLD AT THE MEETINGS, HOW COULD THAT

10:55AM    5     HAVE HAPPENED UNLESS SOMEBODY PUT SOME METADATA IN THERE THAT

10:55AM    6     ALLOWED THAT ALGORITHM TO FIND YOU.

10:55AM    7          AND SO WHAT WE'RE SAYING IS THAT BECAUSE THEY'RE SUCH

10:56AM    8     LARGE CONTENT CREATORS, AND THEY'RE USING THEIR ROLE AS CONTENT

10:56AM    9     REGULATORS TO ALSO FALSELY BRAND CONTENT THAT IS ABSOLUTELY

10:56AM   10     APPROPRIATE AS INAPPROPRIATE, AND THAT BLOCKS OUR REACH, AND

10:56AM   11     THAT'S HOW THEY'RE COMPETING WITH US.

10:56AM   12                THE COURT:    RIGHT.   SO THAT DOESN'T SOUND SO MUCH

10:56AM   13     LIKE FALSE ADVERTISING, AND SO THAT'S WHY I WAS ASKING YOU, IS

10:56AM   14     IT A FALSE ADVERTISING CLAIM OR IS IT SOMETHING ELSE?

10:56AM   15                MR. OBSTLER:    WHEN YOU SAY THAT THAT DOESN'T SOUND

10:56AM   16     LIKE FALSE ADVERTISING --

10:56AM   17                THE COURT:    YOU'RE SAYING -- SO YOU'RE FALSELY

10:56AM   18     BRANDING -- YOUR THEORY IS THAT GOOGLE AND YOUTUBE ARE FALSELY

10:56AM   19     BRANDING YOUR CLIENT'S CONTENT?

10:56AM   20                MR. OBSTLER:    THAT'S CORRECT, BUT THEY'RE DOING IT

10:56AM   21     BY SHOWING EVERY VIEWER WHO GOES THERE (INDICATING).

10:56AM   22          MY WIFE THE OTHER DAY ACTUALLY GOT A RESTRICTED MODE

10:56AM   23     NOTICE ON HER FACEBOOK PAGE.      SO THE RESTRICTED MODE IS NOW

10:56AM   24     GOING ACROSS PLATFORM.    AND SHE LOOKED IT UP AND SHE SAID WHAT

10:56AM   25     IS GOING ON HERE?



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10:56AM    1          THE POINT IS -- I'M SORRY, THE POINT IS --

10:57AM    2                THE COURT:   AGAIN, I'M JUST TRYING TO FIGURE OUT HOW

10:57AM    3     YOUR CLAIM FITS THE CLAIM THAT YOU'VE ALLEGED UNDER THE

10:57AM    4     LANHAM ACT, HOW YOUR FACTS FIT THAT CLAIM.      I'M STILL

10:57AM    5     STRUGGLING A LITTLE BIT WITH ALL OF THE ELEMENTS THAT YOU HAVE

10:57AM    6     TO SHOW FOR THE LANHAM ACT.

10:57AM    7          THE QUESTION THAT THE NINTH CIRCUIT FOCUSSED ON WAS THAT

10:57AM    8     THE STATEMENTS, AND THE SAME ARGUMENTS WERE MADE IN THAT CASE

10:57AM    9     AS FAR AS I CAN TELL, THE STATEMENTS WERE NOT MADE IN

10:57AM   10     COMMERCIAL ADVERTISING OR PROMOTION.

10:57AM   11                MR. OBSTLER:    YEP.

10:57AM   12                THE COURT:   THE FALSE STATEMENTS.

10:57AM   13          RATHER, THE STATEMENTS THAT WERE MADE WERE DESCRIBING

10:57AM   14     TRUTHFULLY WHAT HAD HAPPENED AS IN THIS GOT FLAGGED AS

10:57AM   15     SOMETHING THAT WOULD BE EXCLUDED FROM RESTRICTED MODE.

10:57AM   16          SO -- AND THE IMPLEMENTATION OF THAT, THE GUIDELINES THAT

10:57AM   17     RESULTED IN THAT DISPLAY BEING AS YOU DESCRIBE WERE NOT

10:58AM   18     ADVERTISING OR PROMOTION.

10:58AM   19          SO IN LIGHT OF PRAGER, HOW DO YOU AVOID THE CONCLUSIONS

10:58AM   20     THAT THAT COURT REACHED?    HOW DO YOU AVOID THOSE AND

10:58AM   21     EFFECTIVELY HAVE A CLAIM IN THIS CASE THAT DOESN'T HIT THOSE

10:58AM   22     SAME BARRIERS?

10:58AM   23                MR. OBSTLER:    BECAUSE THE COURT IN PRAGER MADE AN

10:58AM   24     INAPPROPRIATE FACTUAL FINDING.

10:58AM   25                THE COURT:   OKAY.     SO WHAT IS THE INAPPROPRIATE



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10:58AM    1     FACTUAL FINDING?

10:58AM    2                  MR. OBSTLER:   YEAH.   IT SAID THERE WAS NO

10:58AM    3     RELATIONSHIP BETWEEN THE STATEMENT THAT IS RESTRICTED IN ANY

10:58AM    4     ADVERTISING OR STATEMENT ABOUT THE QUALITY OF THE VIDEO.        THAT

10:58AM    5     WAS PLED IN THE COMPLAINT.

10:58AM    6          I ADMIT IT SHOULD HAVE BEEN MORE CLEARER.      WE EXPRESSLY

10:58AM    7     PLED THAT HERE, AND IT IS BY IMPLICATION AS YOU POINTED OUT

10:58AM    8     UNDER THE GRUBBS DECISION OR WHATEVER.

10:58AM    9          I MEAN, THIS IS THE INTERNET AND THEY'RE USING -- THEY'RE

10:58AM   10     RESTRICTING THE VIDEO.      THE PERSON LOOKED AT THAT RESTRICTION

10:58AM   11     AND WHAT IS IT -- WHY WOULD THEY RESTRICT THE VIDEO?       THERE HAS

10:58AM   12     TO BE SOMETHING WRONG WITH THAT VIDEO AND PEOPLE SEE THAT.

10:59AM   13          AND I THINK THAT IT IS A FACTUAL ISSUE AS TO WHETHER OR

10:59AM   14     NOT THERE IS A CONNECTION BETWEEN THIS STATEMENT OF FACT "MY

10:59AM   15     VIDEO IS RESTRICTED" AND A STATEMENT OF FACT ABOUT WHETHER OR

10:59AM   16     NOT THAT VIDEO CONTAINS INAPPROPRIATE MATERIAL, SHOCKING AND

10:59AM   17     SEXUALLY EXPLICIT, OR AS THE FLOOR MANAGER FOR GOOGLE SAID

10:59AM   18     "BECAUSE YOU'RE GAY" AND PUTTING THAT OUT ON THE NETWORK TO

10:59AM   19     EVERYBODY.

10:59AM   20          SECOND OF ALL, IF I WOULD GET LEAVE TO AMEND BECAUSE WE

10:59AM   21     JUST LEARNED THIS, RESTRICTED MODE SWEEPS BROADER THAN WHAT

10:59AM   22     THEY'VE TOLD US AND WHAT THEY'VE REPRESENTED TO THE COURT.       WE

10:59AM   23     NOW HAVE EVIDENCE THAT RESTRICTED MODE IS GOING TO PEOPLE WHO

10:59AM   24     DON'T EVEN HAVE IT ON, AND IT'S GOING ACROSS THE PLATFORM.

10:59AM   25          I'M SORRY, I LEARNED THAT RECENTLY.      THIS CASE HAS BEEN



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10:59AM    1     EVOLVING.   WE HAVEN'T GOTTEN A SINGLE LICK OF DISCOVERY ON THIS

10:59AM    2     TO DATE, YOUR HONOR.

10:59AM    3                 THE COURT:   RIGHT.    IT'S NOT UNUSUAL THAT AT THE

10:59AM    4     PLEADING STAGE YOU WOULDN'T HAVE HAD DISCOVERY.

10:59AM    5                 MR. OBSTLER:   FAIR ENOUGH.

11:00AM    6                 THE COURT:   THAT'S WHY WE'RE AT THE PLEADING STAGE.

11:00AM    7                 MR. OBSTLER:   YEAH.

11:00AM    8                 THE COURT:   SO THE ISSUE I STILL THINK IS

11:00AM    9     CHALLENGING FOR YOU IS CHARACTERIZING THESE STATEMENTS AS

11:00AM   10     ADVERTISING OR PROMOTION.    I THINK THAT'S STILL A CHALLENGING

11:00AM   11     POINT.

11:00AM   12          AND EVEN IF YOU HAD DISCOVERY ABOUT HOW RESTRICTED MODE IS

11:00AM   13     BEING APPLIED OR MISAPPLIED IN YOUR VIEW, OR OVERINCLUSIVE OR

11:00AM   14     UNDERINCLUSIVE, HOW IS THAT ADVERTISING OR PROMOTION IF WHAT

11:00AM   15     APPLE -- I'M SORRY, APPLE -- IF WHAT GOOGLE AND YOUTUBE ARE

11:00AM   16     DOING ARE SIMPLY SAYING THIS IS THE RESULT OF WHATEVER IT IS

11:00AM   17     BEHIND THE SCENES THAT RESULTED IN AN EXCLUSION FROM RESTRICTED

11:00AM   18     MODE, WHETHER IT'S A HUMAN DOING IT OR AN ALGORITHM DOING IT OR

11:00AM   19     A COMMUNITY FLAG, OR WHATEVER THE MECHANISM IS, THEY'RE

11:00AM   20     REPORTING ON THAT BLACK SCREEN THAT THAT PARTICULAR CONTENT IS

11:00AM   21     SUBJECT TO RESTRICTED MODE.

11:00AM   22          THAT'S A FACTUAL STATEMENT.

11:01AM   23                 MR. OBSTLER:   CORRECT, YOUR HONOR.

11:01AM   24                 THE COURT:   AND SO -- YOU KNOW, IT'S A LITTLE BIT --

11:01AM   25     WE CAN GET TO THE QUESTION OF WHETHER, YOU KNOW, WHAT THE



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11:01AM    1     INTERSECT IS WITH SECTION 230, BUT JUST FOCUSSING ON JUST THE

11:01AM    2     LANHAM ACT CLAIM ITSELF AND WHETHER YOU MEET THE ELEMENTS, I'M

11:01AM    3     STILL HAVING TROUBLE WITH THE ALLEGATION THAT THAT IS REALLY

11:01AM    4     COMMERCIAL ADVERTISING OR PROMOTION.

11:01AM    5                  MR. OBSTLER:   BUT THAT IS EXACTLY WHAT THE COURT

11:01AM    6     STRUGGLED WITH IN GRUBBS.     THAT IS EXACTLY WHAT THE COURT

11:01AM    7     STRUGGLED WITH IN THE DECISIONS THAT ARE CITED IN PRAGER AND

11:01AM    8     EVERY SINGLE ONE OF THEM WAS DONE ON A FACTUAL RECORD.     THERE

11:01AM    9     ISN'T A MOTION TO DISMISS IN ANY OF THOSE CASES.

11:01AM   10          NOW, I HAD TO MAKE A STRATEGIC DECISION OBVIOUSLY, AS TO

11:01AM   11     WHETHER WE WERE GOING TO MOVE FOR RECONSIDERATION WITH THE

11:01AM   12     NINTH CIRCUIT IN PRAGER.     WE CHOSE NOT TO DO SO.   THAT'S NOT

11:01AM   13     THIS CASE.    IT SHOULDN'T BE HERE, BUT YOU WERE ASKING ABOUT THE

11:01AM   14     CONSEQUENCES OF PRAGER.

11:01AM   15          FOR PRAGER PURPOSES WE CAN HAVE A LEGITIMATE DISPUTE, BUT

11:01AM   16     I THINK HERE WE ARE EXPRESSING ALLEGING THAT THESE ARE

11:02AM   17     STATEMENTS OF FACT THAT ARE BRANDING OUR VIDEOS AS

11:02AM   18     INAPPROPRIATE AT THE SAME TIME THAT THEY ARE NOT RESTRICTING

11:02AM   19     THEIR VIDEOS AND PUTTING THAT STUFF ON THEIR STUFF AND THAT TO

11:02AM   20     ME IS IMPLICIT FALSE ADVERTISING UNDER GRUBBS AND UNDER THE

11:02AM   21     OTHER CASES.

11:02AM   22          AND IF WE DEVELOP A RECORD, AND IT'S PRETTY CLEAR THAT

11:02AM   23     THIS IS NOT EVEN IN THE BALLPARK, YOUR HONOR, I'LL DISMISS THE

11:02AM   24     CLAIM.   BUT I THINK WE SHOULD GET AN OPPORTUNITY TO DO SOME

11:02AM   25     DISCOVERY ON THAT CLAIM.     I THINK THIS IS COMMERCIAL



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11:02AM    1     ADVERTISING AS ALLEGED, AND I BELIEVE THAT BASED ON DISCOVERY

11:02AM    2     AND IF YOU LOOK AT THE CASES AND IF YOU LOOK AT WHAT THEY

11:02AM    3     CONSIDERED IN THOSE CASES, THIS IS NOT A ONE SIZE FITS ALL.

11:02AM    4     THIS CASE IS EXTREMELY DIFFERENT AND ESPECIALLY GIVEN THE

11:02AM    5     NATURE OF MY CLIENTS AND WHAT THAT STATEMENT MEANS ON THEIR

11:02AM    6     VIDEOS.

11:02AM    7                THE COURT:   ALL RIGHT.   LET ME JUST ASK BECAUSE

11:02AM    8     THERE SEEMS TO BE SOME AMBIGUITY ABOUT THIS IN THE BRIEFING.

11:02AM    9          DO THE PLAINTIFFS ALSO ALLEGE AN 1125(A)(1)(A) FALSE

11:02AM   10     ASSOCIATION CLAIM OR ARE YOU LIMITING YOUR CLAIM UNDER THE

11:02AM   11     LANHAM ACT TO FALSE ADVERTISING?

11:03AM   12                MR. OBSTLER:   AT THIS POINT WE'RE LIMITING UNDER

11:03AM   13     FALSE ADVERTISING.

11:03AM   14                THE COURT:   OKAY.

11:03AM   15                MR. OBSTLER:   I HAVEN'T THOUGHT ABOUT THE FALSE

11:03AM   16     ASSOCIATION CLAIM TO BE HONEST, YOUR HONOR.

11:03AM   17                THE COURT:   OKAY.

11:03AM   18                MR. OBSTLER:   THE CONCERN IS, AND IT GOES TO THE

11:03AM   19     THEORY IN THE WHOLE CASE, IS THAT WE THINK THAT THE WEARING OF

11:03AM   20     THE TWO HATS AND THE USE OF THE COMPUTERS, BECAUSE THEY CAN'T

11:03AM   21     HAVE HUMANS DO THIS STUFF, HAS GOTTEN TO THE POINT WHERE IT HAS

11:03AM   22     GOTTEN ANTICOMPETITIVE.

11:03AM   23          I UNDERSTAND THE LIMITS OF A LANHAM ACT CLAIM AS OPPOSED

11:03AM   24     TO AN ANTITRUST OR A UCL CLAIM, AND I RESPECT THAT.     I

11:03AM   25     UNDERSTAND THE ISSUE HERE IS COMMERCIAL ADVERTISING.     I



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11:03AM    1     UNDERSTAND THAT IT IS VERY LEGITIMATE FOR YOUR HONOR TO SAY,

11:03AM    2     BOY, IT'S A FACT -- IT'S SAYING YOU'RE RESTRICTED.

11:03AM    3          BUT THE QUESTION IS, YOUR HONOR, DON'T YOU ASK YOURSELF

11:03AM    4     WHY WHEN YOU SEE THAT?      ISN'T IT REASONABLE TO SUGGEST THAT

11:03AM    5     PEOPLE ARE SAYING WHY?

11:03AM    6          AND FURTHERMORE, IF THE VIDEO ISN'T CONTAINING THAT

11:03AM    7     MATERIAL, WHY IS IT BEING RESTRICTED?      THAT IN AND OF ITSELF IS

11:04AM    8     A FALSE STATEMENT.    IT MAY NOT BE FALSE ADVERTISING.

11:04AM    9                  THE COURT:   I UNDERSTAND YOUR THESIS FOR THE LANHAM

11:04AM   10     ACT CLAIM.

11:04AM   11          SO LET ME ASK YOU TO ADDRESS THE QUESTION THAT I HAD

11:04AM   12     RAISED AND THAT MR. WILLEN AND I SPENT SOME TIME DISCUSSING,

11:04AM   13     WHICH IS THAT WHETHER THERE IS IMMUNITY UNDER 230(C)(1) AND (2)

11:04AM   14     IN THE CONTEXT OF A CLAIM FOR INTENTIONAL DISCRIMINATION BASED

11:04AM   15     ON IDENTITY.

11:04AM   16                  MR. OBSTLER:   YES, YOUR HONOR.   THIS IS PROBABLY THE

11:04AM   17     MOST IMPORTANT ISSUE IN THIS CASE, ABSOLUTELY THE MOST

11:04AM   18     IMPORTANT ISSUE IN THIS CASE AND ONE OF THE MOST IMPORTANT

11:04AM   19     ISSUES FOR THE INTERNET.

11:04AM   20          IT'S DIFFICULT FOR ME TO BELIEVE, AND I START WITH THIS

11:04AM   21     PREMISE THAT CONGRESS ENACTED THE LAW IN WHICH IT ALLOWED

11:04AM   22     INTERNET COMPANIES, EVEN IF THEY WANTED, TO SELF-REGULATE TO DO

11:04AM   23     SO BY FILTERING PEOPLE AND NOT CONTENT.

11:04AM   24          THERE IS NOTHING IN THE LANGUAGE OF (C)(1) OR (C)(2) THAT

11:04AM   25     PERMITS THIS TYPE OF BEHAVIOR.     NOTHING.    IT SAYS MATERIAL, IT



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11:05AM    1     DOESN'T SAY PEOPLE.

11:05AM    2          OUR ALLEGATION IN THIS CASE IS THEY'RE FILTERING PEOPLE.

11:05AM    3     THEY'RE NOT FILTERING -- SO GOING TO (C)(1), LET ME MAKE ONE

11:05AM    4     POINT BEFORE WE GET INTO THE STATUTORY CONSTRUCTION OF THE

11:05AM    5     WHOLE THING.

11:05AM    6          ON (C)(1), THE REASON THAT, THAT PRAGER II, JUDGE WALSH

11:05AM    7     DISMISSED THE CLAIM WAS THAT HE SAID THAT THERE WAS NO

11:05AM    8     ALLEGATION THAT GOOGLE ADDED ANYTHING TO THE CONTENT.

11:05AM    9          WE HAVE THAT ALLEGATION IN THIS CASE.

11:05AM   10                THE COURT:    I'M SORRY, NO ALLEGATION THAT GOOGLE

11:05AM   11     ADDED ANYTHING --

11:05AM   12                MR. OBSTLER:    ANYTHING TO MY CLIENT'S CONTENT.     HE'S

11:05AM   13     SAYING UNDER (C)(1), UNDER ROOMMATES, IF YOU'RE INVOLVED IN ANY

11:05AM   14     ASPECT OF WHAT THE CONTENT IS THAT IS BEING CENSORED, RIGHT,

11:05AM   15     THEN YOU DON'T GET IMMUNITY.      EVERYBODY AGREES IN ROOMMATES.

11:05AM   16     IN FACT, GOOGLE --

11:05AM   17                THE COURT:    ARE YOU REFERRING TO YOUR ALLEGATION

11:05AM   18     THAT GOOGLE OR YOUTUBE IS ADDING METADATA TO YOUR CLIENT'S

11:06AM   19     CONTENT.

11:06AM   20                MR. OBSTLER:    YES.   YES.

11:06AM   21                THE COURT:    AND THAT IS WHAT YOU'RE SAYING IS THE

11:06AM   22     ADDITION OF CONTENT AS WITH PUBLISHING OR MAKING DECISIONS

11:06AM   23     ABOUT PUBLISHING?

11:06AM   24                MR. OBSTLER:    YES, BECAUSE THE METADATA IS WHAT THE

11:06AM   25     ALGORITHM IS USING TO MAKE THE DECISION.



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11:06AM    1                THE COURT:   DOES A PUBLISHER NOT GET TO EDIT?

11:06AM    2                MR. OBSTLER:   YES, BUT A PUBLISHER WHO HAS A

11:06AM    3     CONTRACT WITH ITS AUTHOR THAT IT'S GOING TO BE VIEWPOINT

11:06AM    4     NEUTRAL DOESN'T GET TO DISCRIMINATE.

11:06AM    5          IN OTHER WORDS, IN OTHER WORDS, CAN THE -- CAN

11:06AM    6     SIMON & SCHUSTER GET YOUR LICENSING RIGHTS BY YOU AGREEING TO A

11:06AM    7     TERM OF SERVICE AND SAYING WE'RE GOING TO GIVE YOU VIEWPOINT

11:06AM    8     NEUTRAL EDITING OF YOUR STUFF AND THEN TURN AROUND AND BREACH

11:06AM    9     THAT?

11:06AM   10                THE COURT:   SO THAT'S A DIFFERENT QUESTION.    IF

11:06AM   11     YOU'RE SAYING THAT THERE'S A BREACH OF CONTRACT HERE BETWEEN A

11:06AM   12     PUBLISHER AND AN AUTHOR, THAT WOULD BE ONE THING, BUT THAT'S

11:06AM   13     NOT WHAT WE'RE FOCUSSING ON RIGHT NOW.

11:06AM   14          WE'RE TALKING ABOUT WHAT IS ENCOMPASSED WITHIN (C)(1) IN

11:07AM   15     TERMS PUBLISHING, AND I RAISED THIS QUESTION VERY DIRECTLY WITH

11:07AM   16     GOOGLE'S LAWYERS, DOES PUBLISHING INCLUDE DISCRIMINATING BASED

11:07AM   17     ON THE AUTHOR'S IDENTITY?   WHAT DOES THAT LOOK LIKE?

11:07AM   18          AND IS THAT AMONG THE FUNCTIONS A PUBLISHER IS ALLOWED TO

11:07AM   19     CONDUCT IN ITS ROLE AS A PUBLISHER AND THAT IS IMMUNIZED UNDER

11:07AM   20     (C)(1)?

11:07AM   21          (C)(2) HAS A GOOD FAITH REQUIREMENT.    (C)(1) DOES NOT.

11:07AM   22     YOUR ARGUMENT MAY BE SUBSTANTIALLY STRONGER UNDER (C)(2), BUT

11:07AM   23     UNDER (C)(1), IF THE PUBLISHER CAN CHOOSE WHAT TO PUBLISH AND

11:07AM   24     HOW, IT'S A VERY DIFFICULT ARGUMENT TO MAKE, AND THAT'S WHY I

11:07AM   25     WAS VERY INTERESTED IN THE QUESTION OF -- AND MR. WILLEN MADE



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11:07AM    1     THE POINT THAT THERE ARE CERTAIN KINDS OF CAUSES OF ACTION THAT

11:07AM    2     TAKE CONDUCT OUTSIDE OF THE SCOPE OF 230(C)(1), IS THAT -- IF I

11:08AM    3     WERE TO CONSTRUE YOUR CLAIM THIS WAY, AND THERE'S A DEBATE

11:08AM    4     ABOUT WHETHER IT'S APPROPRIATE TO CONSTRUE IT THIS WAY GIVEN

11:08AM    5     THE FACTS THAT ARE ALLEGED IN YOUR COMPLAINT, THAT THERE WAS

11:08AM    6     INTENTIONAL DISCRIMINATION BASED ON IDENTITY AS OPPOSED TO

11:08AM    7     CONTENT, WHAT IS YOUR BEST CASE FOR SAYING THAT 230(C)(1) DOES

11:08AM    8     NOT ENCOMPASS THAT?

11:08AM    9                MR. OBSTLER:   THE QUESTION IS DOES 230(C)(1)

11:08AM   10     IMMUNIZE THEM AS TO THE SPECIFIC CAUSES OF ACTION IN THE CASE;

11:08AM   11     RIGHT?

11:08AM   12                THE COURT:   YES.   YES.   SO THE UNRAH ACT IS THE ONLY

11:08AM   13     ONE THAT I THINK GIVES YOU A LEG TO STAND ON.

11:08AM   14                MR. OBSTLER:   WHAT ABOUT BREACH OF CONTRACT,

11:08AM   15     YOUR HONOR?

11:08AM   16                THE COURT:   I'M SORRY?

11:08AM   17                MR. OBSTLER:   WHAT ABOUT BREACH OF CONTRACT?

11:08AM   18                THE COURT:   SO YOU DON'T HAVE BREACH OF CONTRACT.

11:08AM   19     YOU HAVE BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR

11:08AM   20     DEALING, WHICH THAT'S A HARD ONE IN ANY CIRCUMSTANCE,

11:08AM   21     ESPECIALLY GIVEN THE ALLEGED CONTRACT TERMS THAT YOU CITE

11:08AM   22     SAYING THAT THERE WAS A BREACH OF THE IMPLIED COVENANT IS

11:09AM   23     REALLY DIFFICULT JUST ON A 12(B)(6) BASIS.

11:09AM   24          SO YOU DON'T HAVE A BREACH OF CONTRACT CLAIM.

11:09AM   25                MR. OBSTLER:   WELL, YOUR HONOR, WOULD YOU GIVE ME



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11:09AM    1     LEAVE TO AMEND AND ADD IT?

11:09AM    2                 THE COURT:   WELL, BEFORE WE GET TO THAT, I'M JUST

11:09AM    3     REALLY VERY INTERESTED IN THIS QUESTION.

11:09AM    4                 MR. OBSTLER:   I AM, TOO, YOUR HONOR.   LET ME TAKE

11:09AM    5     ANOTHER SHOT AT IT, PLEASE, IF I COULD.

11:09AM    6                 THE COURT:   SO WHAT IS THE BEST CASE THAT YOU HAVE?

11:09AM    7                 MR. OBSTLER:   OKAY.   NUMBER ONE, THERE IS NO (C)(1)

11:09AM    8     COVERAGE HERE BECAUSE THEY'RE ADDING OUR CONTENT, SO JUST ON

11:09AM    9     THE FACE OF THE STATUTE.

11:09AM   10          NUMBER TWO, CAN CONGRESS ENACT A LAW THAT IMMUNIZES

11:09AM   11     PUBLISHERS FROM RACE DISCRIMINATION IN THE ACT OF PUBLISHING?

11:09AM   12     IS THAT LAW CONSTITUTIONAL?

11:09AM   13          I WOULD SAY THAT UNDER DENVER AREA IT IS NOT.     THAT'S MY

11:09AM   14     ARGUMENT.

11:09AM   15                 THE COURT:   YOUR RESPONSE TO THE COURT'S QUESTION

11:09AM   16     WOULD BE IF (C)(1) DOES ALLOW IT, IT HAS TO BE

11:09AM   17     UNCONSTITUTIONAL?

11:09AM   18                 MR. OBSTLER:   THAT'S CORRECT.

11:09AM   19                 THE COURT:   IT DOES IMMUNIZE THAT KIND OF -- LET'S

11:09AM   20     CALL IT INTENTIONAL DISCRIMINATION BASED ON SOME PROTECTED

11:10AM   21     CHARACTERISTIC, THAT KIND OF STATUTE HAS TO BE

11:10AM   22     UNCONSTITUTIONAL?

11:10AM   23                 MR. OBSTLER:   YES, YOUR HONOR.

11:10AM   24                 THE COURT:   WHY?

11:10AM   25                 MR. OBSTLER:   BECAUSE UNDER DENVER AREA THE COURT



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11:10AM    1     SAID THAT A CONGRESSIONAL ACT THAT DOES PERMISSIVE SPEECH

11:10AM    2     REGULATION AND THE GRANTING OF IMMUNITY THAT THEY -- I MEAN, I

11:10AM    3     WOULD BE ABLE TO SUE THEM, RIGHT, BUT FOR THE CDA.

11:10AM    4          SO THEY ARE -- WHAT THE COURT SAID IN DENVER AREA, WHICH

11:10AM    5     HAS OFTEN BEEN CITED, AND IT'S WHY WE CAME TO THE GAME LATE IN

11:10AM    6     DENVER, AND I WANT TO APOLOGIZE ON THAT.    I HAVE TO ADMIT I

11:10AM    7     WITHDREW EARLY ON THAT ONE.

11:10AM    8          DENVER AREA WAS A FIGHT INITIALLY OVER WHETHER OR NOT,

11:10AM    9     EXACTLY WHAT THE GOVERNMENT AND MR. WILLEN ARE MAKING, WHETHER

11:10AM   10     OR NOT THEY'RE STATE ACTORS AND WHETHER STATE ACTORS -- AND THE

11:10AM   11     CABLE COMPANY SAID THEY'RE NOT STATE ACTORS.      HOW CAN THEIR

11:10AM   12     PERMISSION TO BLOCK THINGS THAT ARE INDECENT BE IN ANY WAY BE

11:10AM   13     SUBJECT TO THE FIRST AMENDMENT?

11:11AM   14          AND WHAT JUSTICE BREYER AND SIX JUDGES ON THE SUPREME

11:11AM   15     COURT SAID IS, YES, IT'S BEING DONE FOR A CONGRESSIONAL ACT,

11:11AM   16     BUT FOR THAT ACT YOU AND I ARE NOT HAVING THAT DISCUSSION.        WE

11:11AM   17     MAY BE HAVING A DISCUSSION ABOUT WHETHER I STATED A CLAIM, BUT

11:11AM   18     FOR CONGRESSIONAL LAW THAT ALLOWS THEM IMMUNITY ON THESE

11:11AM   19     CLAIMS, WE'RE NOT HAVING THIS DISCUSSION.

11:11AM   20          SO IF THEY'RE GETTING IMMUNITY UNDER THIS STATUTE, IT'S

11:11AM   21     NOT A STATE ACTION ISSUE, IT'S WHETHER THE STATUTE PASSES

11:11AM   22     MUSTER JUST LIKE SECTION 10(C) OF THE CABLE ACT UNDER

11:11AM   23     DENVER AREA.

11:11AM   24          WHAT DID THE COURT SAY?   THREE THINGS.

11:11AM   25          GOT TO BE VIEWPOINT NEUTRAL.    NOT VIEWPOINT NEUTRAL IN



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11:11AM    1     THIS CASE.

11:11AM    2          GOT TO BE NARROWLY TAILORED SO THERE'S NO RISK OF AN

11:11AM    3     IMPROPER VETO.

11:11AM    4          AND MOST IMPORTANTLY, IT CANNOT INTERFERE WITH PREEXISTING

11:11AM    5     LEGAL RELATIONSHIPS.

11:11AM    6          THIS IS SPOT ON WITH DENVER, AND THIS STATUTE CANNOT

11:11AM    7     WITHSTAND SCRUTINY UNDER DENVER.      IT IS A PERMISSIVE SPEECH

11:12AM    8     STATUTE JUST LIKE SECTION 10(C) OF THE CABLE ACT.

11:12AM    9                  THE COURT:   OKAY.   THAT SEEMS LIKE A STRETCH

11:12AM   10     HONESTLY, THAT THAT -- THAT THIS CASE FITS THE MOLD OF

11:12AM   11     PERMISSIVE REGULATION IN DENVER AREA.

11:12AM   12          I'LL LET THE GOOGLE FOLKS RESPOND ON THAT POINT, BUT LET

11:12AM   13     ME JUST MAKE SURE YOU DON'T HAVE ANYTHING FURTHER THAT YOU

11:12AM   14     WOULD LIKE TO MAKE SURE THAT THE COURT HEARS IN TERMS OF YOUR

11:12AM   15     ARGUMENT, ANYTHING YOU WOULD LIKE TO ADDRESS FURTHER IN SUPPORT

11:12AM   16     OF YOUR OPPOSITION.

11:12AM   17                  MR. OBSTLER:   WELL, I WANTED TO TALK ABOUT THE

11:12AM   18     EXECUTIVE ORDER.

11:12AM   19                  THE COURT:   OH, YES.

11:12AM   20                  MR. OBSTLER:   BUT I WANT TO COME BACK TO THIS POINT,

11:12AM   21     YOUR HONOR, BECAUSE YOU SAY IT SOUNDS LIKE A STRETCH.         AND I'D

11:12AM   22     BE CURIOUS IN KNOWING WHY YOUR HONOR BELIEVES THAT BECAUSE I

11:12AM   23     DON'T UNDERSTAND THE DIFFERENCE BETWEEN A STATUTE THAT WAS

11:12AM   24     ENACTED TO REGULATE IN INDECENT MATERIAL ON CABLE TELEVISION

11:12AM   25     CHANNELS AND A STATUTE THAT WAS ENACTED OSTENSIBLY TO ALLOW



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11:12AM    1     PRIVATE PARTIES TO REGULATE OFFENSIVE MATERIAL ON THE INTERNET.

11:13AM    2                THE COURT:    I THINK AT LEAST ONE OF THE KEY

11:13AM    3     DISTINCTIONS HERE IS THAT SECTION 230(C) PERMITS PRIVATE

11:13AM    4     PARTIES TO DO THEIR OWN SELF-REGULATION.       THERE'S NO MANDATE.

11:13AM    5     THERE'S NOTHING -- THERE'S NOTHING THAT IS REQUIRED.        THEY MAY

11:13AM    6     OR MAY NOT.    AND IF THEY DO, THEY'RE IMMUNIZED.

11:13AM    7          IT PROVIDES PROTECTION FROM LIABILITY.         THAT'S WHAT IT IS.

11:13AM    8     IT'S NOT A MANDATE TO REGULATE IN ANY WAY, SHAPE OR FORM.

11:13AM    9                MR. OBSTLER:    I AGREE WITH YOU.

11:13AM   10                THE COURT:    I THINK IT'S AN IMPORTANT DISTINCTION.

11:13AM   11                MR. OBSTLER:    THAT'S EXACTLY THE POINT THAT

11:13AM   12     JUSTICE BREYER MADE.    HE SAID THIS IS A PERMISSIVE PORTION.

11:13AM   13     THERE WAS A MANDATORY PORTION AND A PERMISSIVE PORTION.        10(C)

11:13AM   14     WAS THE PERMISSIVE PORTION.     IT DOESN'T REQUIRE THEM TO DO IT

11:13AM   15     BUT THEY'RE PERMITTED TO DO IT, AND THE COURT SAID THAT IS

11:13AM   16     UNCONSTITUTIONAL.

11:13AM   17          I COMPLETELY AGREE WITH THE DISTINCTION THAT YOUR HONOR IS

11:13AM   18     MAKING, AND I THINK THAT'S SQUARE WITH DENVER ON THE SECTION

11:14AM   19     10(C) CLAIM.

11:14AM   20                THE COURT:    WELL, I'LL HEAR FROM GOOGLE ON THAT

11:14AM   21     POINT, BUT LET ME GIVE YOU AN OPPORTUNITY TO ADDRESS THE OTHER

11:14AM   22     MATTERS THAT YOU SAID YOU WANTED TO ADDRESS, THE EXECUTIVE

11:14AM   23     ORDER.

11:14AM   24                MR. OBSTLER:    THE REASON WE CAME IN WITH THE

11:14AM   25     EXECUTIVE ORDER IS THAT WE JUST WEREN'T CLEAR REALLY ON WHAT



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11:14AM    1     THE GOVERNMENT'S POSITION REALLY IS.

11:14AM    2                THE COURT:   ALL RIGHT.

11:14AM    3                MR. OBSTLER:   THEY FILED THIS BRIEF, RIGHT, AND THEY

11:14AM    4     SAY IT CAN APPLY TO THE VIEWPOINT, IT'S CONSTITUTIONAL, IT CAN

11:14AM    5     APPLY TO A VIEWPOINT, IT CAN APPLY TO DISCRIMINATION.

11:14AM    6          AND THEN I READ SECTION 2 OF THE EXECUTIVE ORDER SAYING

11:14AM    7     IT'S THE POLICY OF THE UNITED STATES AND THE DEPARTMENT OF

11:14AM    8     JUSTICE IS DIRECTED TO DO EVERYTHING THAT THEY ARE ALLEGING IN

11:14AM    9     THEIR BRIEF.

11:14AM   10          SO I ONLY BRING IT UP TO SAY IF THE ORDER IS ENFORCEABLE

11:14AM   11     AT SOME POINT THEN I DON'T KNOW IF WE HAVE A NEW ISSUE HERE OR

11:14AM   12     WHAT.   AND IF THE ORDER IS NOT ENFORCEABLE, THEN THEY'RE

11:14AM   13     ARGUING THAT THE EXECUTIVE ORDER IS JUST SIMPLY NOT

11:14AM   14     ENFORCEABLE.   I'M NOT GOING TO TAKE A VIEW ON THAT, AND I DON'T

11:14AM   15     REALLY CARE.   AND I AGREE WITH YOUR HONOR, I DON'T THINK IT

11:15AM   16     REALLY MATTERS BECAUSE I THINK AT THE END OF THE DAY I THINK

11:15AM   17     THE STATUTE ON ITS FACE DOESN'T APPLY, AND I THINK THE STATUTE

11:15AM   18     IS UNCONSTITUTIONAL.

11:15AM   19          BUT THE ONLY REASON I BROUGHT IT UP WAS JUST I COULD NOT

11:15AM   20     SQUARE THAT EXECUTIVE ORDER AND HIM DIRECTING THE DEPARTMENT OF

11:15AM   21     JUSTICE AND SITTING THERE WITH BILL BARR WHEN THEY ANNOUNCED

11:15AM   22     THE ORDER WITH WHAT WAS IN THEIR BRIEF.    THAT WAS THE ONLY

11:15AM   23     REASON WE WANTED TO.

11:15AM   24                THE COURT:   WELL, LET ME GIVE MR. SUR AN OPPORTUNITY

11:15AM   25     TO ADDRESS THE EXECUTIVE ORDER BUT ALSO ANY OTHER MATTERS



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11:15AM    1     RAISED IN THE GOVERNMENT'S MEMORANDUM ON THE CONSTITUTIONALITY

11:15AM    2     QUESTION.

11:15AM    3          MR. SUR.

11:15AM    4                 MR. SUR:   THANK YOU VERY MUCH.

11:15AM    5          SINCE THE EXECUTIVE ORDER HAS COME UP, I GUESS I WILL

11:15AM    6     START THERE BUT MAYBE JUST TRY TO REITERATE IN OUR BRIEF IN

11:15AM    7     POINT ONE WE SIMPLY ARE RELYING ON ONE OF SEVERAL DOCTRINES OF

11:15AM    8     CONSTITUTIONAL AVOIDANCE, THE DOCTRINE THAT SAYS DECIDE THE

11:15AM    9     STATUTORY QUESTIONS FIRST.

11:15AM   10          MUCH OF THE DISCUSSION TODAY WAS ABOUT THE POTENTIAL

11:16AM   11     NUANCES OF THE STATUTE AND, RECENTLY OR NOT, TAKING A POSITION

11:16AM   12     ON THAT.

11:16AM   13          BUT OF COURSE THE PARTIES ARE WELL VERSED ON THAT AND SO

11:16AM   14     YOUR HONOR HAS BEEN WELL FURNISHED, I THINK, BY THE OPPOSING

11:16AM   15     VIEWS ON THE STATUTORY QUESTION, SIMILARLY WITH THE STATE LAW

11:16AM   16     CLAIMS AS WELL.

11:16AM   17          POINT TWO SIMPLY ARGUES THAT IF THE COURT DOES REACH THE

11:16AM   18     CONSTITUTIONAL QUESTION, THAT THERE REALLY IS NO PRECEDENT THAT

11:16AM   19     WOULD SUPPORT HOLDING THE STATUTE TO BE UNCONSTITUTIONAL,

11:16AM   20     PRINCIPALLY FOR THE REASONS THAT HAVE ALREADY BEEN DISCUSSED ON

11:16AM   21     THAT.

11:16AM   22          BUT JUST THE ONE NOTE I WOULD ADD IS DENVER AREA DID NOT

11:16AM   23     TRANSFORM THE NOTION OF STATE ACTION.     JUDGE KOH IN THE OPINION

11:16AM   24     THAT THE COURT OF APPEALS AFFIRMED IN PRAGER UNIVERSITY,

11:16AM   25     ALTHOUGH THE COURT OF APPEALS OPINION DIDN'T ADDRESS



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11:16AM    1     DENVER AREA, JUDGE KOH DID REJECT RELIANCE ON IT IN THE

11:16AM    2     UNPUBLISHED OPINION THAT THEN WENT UP TO THE NINTH CIRCUIT AND

11:17AM    3     SO I DO NOTE THAT.

11:17AM    4          AND AS HAS ALREADY BEEN MENTIONED, BUT I WILL REITERATE,

11:17AM    5     THE NINTH CIRCUIT'S OPINION IN ROBERTS VERSUS AT&T MOBILITY,

11:17AM    6     WHICH IS AT 877 F.3D 833, WAS REALLY A DETAILED ANALYSIS OF

11:17AM    7     THE, QUOTE, "SPLINTERED DECISION" IN DENVER AREA, AND REALLY

11:17AM    8     INFORMS ANY ATTEMPT TO APPLY IT CERTAINLY FOR THE COURTS WITHIN

11:17AM    9     THE NINTH CIRCUIT.

11:17AM   10          SO WE THINK THAT VERY HELPFULLY CLARIFIES THAT THE

11:17AM   11     DENVER AREA DOESN'T TRANSFORM THE NOTION OF THE STATE ACTION IN

11:17AM   12     A WAY THAT WOULD REALLY, REALLY CHANGE ANYTHING THAT WE HAVE

11:17AM   13     SAID IN THE BRIEF.

11:17AM   14          HAVING MADE THOSE POINTS, LET ME THEN TURN VERY BRIEFLY TO

11:17AM   15     THE EXECUTIVE ORDER.

11:17AM   16          I THINK IT IS HELPFUL TO CONSIDER THE TEXT OF THE ORDER AS

11:17AM   17     A WHOLE AND IN THAT RESPECT I DO THINK THAT IT IS NOT

11:17AM   18     INSIGNIFICANT THAT THE ORDER HAS A SET OF GENERAL PROVISIONS AT

11:18AM   19     THE END THAT APPLY TO ANY ATTEMPT TO READ THE ORDER ANYWHERE.

11:18AM   20          SO ONE OF THOSE GENERAL PROVISIONS, AND I REALIZE IT

11:18AM   21     BECAUSE THEY APPEAR OFTEN IN GENERAL PROVISIONS, MAYBE THEY

11:18AM   22     DON'T GET THAT MUCH ATTENTION, BUT IT DOES WARRANT SPECIAL

11:18AM   23     ATTENTION IN THE ATTEMPT TO RELY ON HERE.

11:18AM   24          SECTION 8, LETTER C SAYS THAT THE ORDER IS NOT INTENDED TO

11:18AM   25     AND DOES NOT CREATE ANY RIGHT OR BENEFIT, SUBSTANTIVE OR



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11:18AM    1     PROCEDURAL, ENFORCEABLE AT LAW OR IN EQUITY BY ANY PARTY

11:18AM    2     AGAINST THE UNITED STATES, ITS DEPARTMENTS, AGENCIES OR

11:18AM    3     ENTITIES, ITS OFFICERS, EMPLOYEES OR AGENTS OR ANY OTHER

11:18AM    4     PERSON.   SO I THINK WE HAVE TO START THERE.

11:18AM    5          THEN EVEN IF ONE WERE TO ASSUME IN THE ALTERNATIVE THAT

11:18AM    6     SECTION 8(C) SOMEHOW DIDN'T APPLY, I DO THINK TAKING EACH

11:19AM    7     SECTION IN TURN, THE COURT WILL SEE THAT THESE ARE ABOUT POLICY

11:19AM    8     AND THEY MAY BE EXPRESSED AT LENGTH, BUT THEY ARE ALL POINTS

11:19AM    9     ABOUT POLICY AND ESSENTIALLY DIRECTING VARIOUS EXECUTIVE BRANCH

11:19AM   10     ACTORS TO DO VARIOUS THINGS BUT DON'T GO INTO ANY QUESTION OF

11:19AM   11     CONSTITUTIONALITY.

11:19AM   12          REALLY THE ONLY POINT I WOULD MAKE ABOUT POLICY IS THAT

11:19AM   13     REALLY WHAT IT BRINGS OUR ATTENTION BACK TO IS PAGE 999 OF THE

11:19AM   14     OPINION OF THE COURT OF APPEALS IN PRAGER WHERE BEFORE THEY

11:19AM   15     CONCLUDED THEIR DISCUSSION OF A FIRST AMENDMENT THEY SAID THAT

11:19AM   16     THE PARTIES IN PRAGER UNIVERSITY HAD PROVIDED EXTENSIVE

11:19AM   17     ARGUMENTS ABOUT WHAT MIGHT HAPPEN IF THE COURT RULED ONE WAY OR

11:19AM   18     ANOTHER AND WHILE THOSE POLICY CONCEPTS WERE, QUOTE,

11:19AM   19     "IMPORTANT," THE COURT OF APPEALS IN THE NINTH CIRCUIT FOCUSSED

11:19AM   20     ON THE FIRST AMENDMENT DOCTRINE.

11:19AM   21          I THINK A SIMILAR CONCLUSION IS APPROPRIATE HERE THAT AT

11:19AM   22     MOST THE EXECUTIVE ORDER INDICATES THAT THERE MAY BE IMPORTANT

11:19AM   23     POLICY ISSUES SOMEWHERE IN THE GENERAL REALM OF SECTION 230,

11:20AM   24     BUT THAT THOSE ARE NOT BEFORE THE COURT IN ASSESSING THE

11:20AM   25     CONSTITUTIONALITY OF THE STATUTE.



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11:20AM    1          REALLY WITH THAT I WILL CONCLUDE, UNLESS THE COURT HAS ANY

11:20AM    2     FURTHER QUESTION.

11:20AM    3                THE COURT:    THANK YOU VERY MUCH, MR. SUR.      THAT WAS

11:20AM    4     VERY HELPFUL.   I APPRECIATE IT.

11:20AM    5                MR. SUR:    THANK YOU.

11:20AM    6                THE COURT:    ALL RIGHT.   SO I WOULD LIKE TO HEAR FROM

11:20AM    7     GOOGLE, YOUTUBE BUT -- WELL, ANYTHING THAT YOU WOULD LIKE TO

11:20AM    8     RESPOND TO FROM MY CONVERSATION WITH MR. OBSTLER, BUT I AM

11:20AM    9     INTERESTED IN THE -- IF YOU HAVE ANYTHING FURTHER TO ADD ON THE

11:20AM   10     DENVER AREA POINT AND ITS SIGNIFICANCE.

11:20AM   11                MR. WILLEN:    SURE.   SO WHY DON'T I START WITH THAT

11:20AM   12     AND TALK ABOUT A COUPLE OF THINGS RELATED TO SECTION 230, AND I

11:20AM   13     CAN LET MS. WHITE TALK ABOUT THINGS RELATED TO THE UNRAH ACT

11:20AM   14     AND THE LANHAM ACT.

11:20AM   15          WITH RESPECT TO DENVER AREA, I THINK MR. OBSTLER HAS

11:20AM   16     RIGHTLY POINTED TO THE NINTH CIRCUIT'S DECISION IN ROBERTS

11:20AM   17     WHICH AT LENGTH EXPLAINS THE VERY, VERY LIMITED, IF ANY, IMPORT

11:21AM   18     OF DENVER AREA ON THE QUESTION OF STATE ACTION.

11:21AM   19          SO ROBERTS POINTS OUT, FIRST OF ALL, THAT THERE'S NO

11:21AM   20     MAJORITY OPINION IN THE DENVER AREA CASE.      THE OPINION THAT

11:21AM   21     MR. OBSTLER IS RELYING ON IS JUSTICE BREYER'S OPINION FOR FOUR

11:21AM   22     JUSTICES THAT DOES NOT SPEAK FOR THE COURT.         JUSTICE KENNEDY

11:21AM   23     AND JUSTICE GINSBERG SUPPLIED TWO ADDITIONAL VOTES BUT ON A

11:21AM   24     VERY, VERY DIFFERENT THEORY.

11:21AM   25          SO JUSTICE BREYER'S OPINION DOESN'T BY ITS OWN TERMS SAY



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11:21AM    1     THAT PERMISSIVE SPEECH REGULATION IS SUBJECT TO SOME BRAND NEW

11:21AM    2     FIRST AMENDMENT SCRUTINY.     IT CONSTRUES A VERY, VERY SPECIFIC

11:21AM    3     PROVISION OF THE CABLE ACT, AND I THINK THE MOST IMPORTANT

11:21AM    4     POINT ABOUT THAT IS THAT IN ALLOWING THE CABLE COMPANIES TO

11:21AM    5     CENSOR, IT ALLOWED THEM TO CENSOR ONLY A PARTICULAR CONTENT

11:21AM    6     BASED SET OF MATERIALS, WHICH WAS SEXUALLY EXPLICIT CONTENT, SO

11:22AM    7     IT WAS VERY LIMITED IN THAT RESPECT, AND THE STATUTE WAS

11:22AM    8     ENACTED AGAINST A BACKDROP THAT THE CASE INVOLVED PUBLIC ACCESS

11:22AM    9     CHANNELS AND ACCESS CHANNELS ON CABLE NETWORK AND THE VERY

11:22AM   10     SPECIFIC CONTEXT.

11:22AM   11          ONE, THESE CHANNELS WERE HEAVILY REGULATED AND THE COURT

11:22AM   12     AND JUSTICE BREYER'S OPINION NOTED AND RELIED ON.

11:22AM   13          SECONDLY, AND I THINK EVEN MORE IMPORTANTLY, PRIOR TO THE

11:22AM   14     ENACTMENT OF THE STATUTE IN QUESTION, THE LAW FORBAD THE CABLE

11:22AM   15     COMPANIES FROM ENGAGING IN ANY CONTENT BASED OR ANY REAL

11:22AM   16     EDITORIAL DISCRETION WITH RESPECT TO THESE CHANNELS.

11:22AM   17          SO IT COMPLETELY CHANGED THE BACKGROUND LEGAL PRINCIPLES

11:22AM   18     WITH RESPECT TO THE RIGHT OF THE CABLE COMPANIES TO ENGAGE IN

11:22AM   19     CONTENT RESTRICTION.

11:22AM   20          THAT'S COMPLETELY DIFFERENT FROM WHAT WE HAVE HERE.        WE

11:22AM   21     HAVE A STATUTE THAT IS NOT CONTENT BASED.      SECTION 230(C)(1),

11:22AM   22     AS I THINK THE COURT POINTED OUT, SIMPLY SAYS THAT YOU CANNOT

11:22AM   23     BE TREATED AS A PUBLISHER FOR ANY SPEECH, SO WHETHER YOU ARE

11:23AM   24     RESTRICTING ACCESS TO CONTENT, WHETHER YOU ARE NOT RESTRICTING

11:23AM   25     ACCESS TO CONTENT, AND CERTAINLY NOT WITH RESPECT TO ANY GIVEN



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11:23AM    1     CATEGORY OF CONTENT, SECTION 230(C) WILL PROTECT YOU.     SO IT'S

11:23AM    2     NOT EVEN CLOSE TO CONTENT BASED AND VIEWPOINT BASED.

11:23AM    3          AND THEN SECONDLY, AND JUST AS IMPORTANTLY, THE BACKGROUND

11:23AM    4     PRIOR TO SECTION 230 WAS THAT ONLINE PLATFORMS, PARTICULARLY

11:23AM    5     PLATFORMS, THE PROGENITORS OF WHAT WE HAVE NOW, GOOGLES AND

11:23AM    6     TWITTERS, HAD FULL DISCRETION, COMPLETE EDITORIAL DISCRETION

11:23AM    7     AND INDEED A FIRST AMENDMENT RIGHT TO MAKE EDITORIAL

11:23AM    8     DETERMINATIONS ABOUT WHAT SPEECH APPEARS ON THEIR PLATFORM.

11:23AM    9          SO SECTION 230 WASN'T CREATING SOME NEW EDITORIAL RIGHT

11:23AM   10     THAT DIDN'T EXIST BEFORE WHEREAS DENVER AREA VERY MUCH WAS.     SO

11:23AM   11     THAT'S THE FIRST GENERAL POINT.

11:23AM   12          THE SECOND POINT IS WITH RESPECT TO JUSTICE KENNEDY'S

11:23AM   13     OPINION WHICH SUPPLIED THE SORT OF DECISIVE VOTES FOR THE

11:23AM   14     PROPOSITION THAT AT LEAST THE ONE PROVISION WAS

11:24AM   15     UNCONSTITUTIONAL, THAT WHOLE DECISION WAS BASED ON THE

11:24AM   16     PROPOSITION THAT AT LEAST IN PUBLIC ACCESS CHANNELS WERE A

11:24AM   17     PUBLIC FORUM UNDER THE CONSTITUTION BECAUSE IT WAS SO HEAVILY

11:24AM   18     REGULATED AND WHAT I JUST MENTIONED.

11:24AM   19          JUSTICE BREYER'S OPINION DIDN'T GET INTO THAT, BUT THAT'S

11:24AM   20     REALLY IMPORTANT HERE BECAUSE WE KNOW -- THE THING WE KNOW FROM

11:24AM   21     PRAGER IS THAT YOUTUBE IS NOT A CONSTITUTIONAL PUBLIC FORUM.

11:24AM   22     SO GIVEN THAT, IT'S A COMPLETELY DIFFERENT CASE.

11:24AM   23          AND I THINK IT'S QUITE TELLING THAT IN THE HALLECK CASE,

11:24AM   24     OF COURSE THE SUPREME COURT'S MOST RECENT DISCUSSION OF STATE

11:24AM   25     ACTION, THE ONE REFERENCE TO DENVER AREA THAT IS MOST --



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11:24AM    1                  THE OPERATOR:   THE RECORDING HAS STOPPED.

11:24AM    2                  MR. WILLEN:   EXCUSE ME.   CITING DENVER AREA, AND

11:24AM    3     THIS IS A QUOTE FOR THE PROPOSITION THAT THE FREE SPEECH DOES

11:24AM    4     NOT PROHIBIT PRIOR ABRIDGEMENT OF SPEECH.

11:24AM    5          SO THE SUPREME COURT HAS SPOKEN TO THIS.       TO THE EXTENT

11:25AM    6     THAT DENVER AREA HAS ANY SIGNIFICANCE, IT'S SIMPLY LIMITED TO

11:25AM    7     ITS UNIQUE FACTS AND DOESN'T APPLY HERE.      SO THAT IS

11:25AM    8     DENVER AREA.

11:25AM    9          THE OTHER COUPLE THINGS I WOULD WANT TO SAY IN RESPONSE TO

11:25AM   10     MR. OBSTLER, WE DIDN'T GET A CHANCE TO TALK ABOUT SECTION

11:25AM   11     230(C)(2)(D).    WE SPENT MOST OF OUR TIME TALKING ABOUT SECTION

11:25AM   12     230(C)(1).

11:25AM   13          AS WE ARGUED, SECTION 230(C)(2)(B) IS SORT OF A SEPARATE

11:25AM   14     IMMUNITY THAT CLEARLY APPLIES, AS WE KNOW FROM THE

11:25AM   15     PRAGER DECISION, WITH RESPECT TO ANY CLAIM ARISING FROM

11:25AM   16     RESTRICTED MODE.    AND I THINK FOR THE REASONS SET OUT IN

11:25AM   17     JUDGE DAVILA'S RECENT OPINION IN ASURVIO VERSUS MALWAREBYTES

11:25AM   18     CASE, THE ALLEGATIONS HERE THAT THERE IS SOME SORT OF

11:25AM   19     COMPETITIVE RELATIONSHIP JUST AREN'T ENOUGH TO GET PLAINTIFFS

11:25AM   20     OUTSIDE OF SECTION 230(C)(2)(B), SO THE COURT HAS ANOTHER PATH

11:25AM   21     AT LEAST WITH RESPECT TO A LOT OF THE CLAIMS HERE.

11:26AM   22          AND THEN I GUESS THE ONLY OTHER POINT I WOULD MAKE IS THAT

11:26AM   23     MR. OBSTLER WAS, TELLINGLY, NOT ABLE TO CITE ANY CASE THAT

11:26AM   24     HELPED HIM ON THE PROPOSITION THAT SECTION 230(C)(1) WOULDN'T

11:26AM   25     APPLY TO A CLAIM UNDER THE UNRAH ACTS UNDER THE CIRCUMSTANCES



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11:26AM    1     THAT WE HAVE HERE, AND THAT'S WHY HE RESORTED TO THE ARGUMENT

11:26AM    2     THAT THE STATUTE WOULD BE UNCONSTITUTIONAL IF APPLIED THAT WAY,

11:26AM    3     AND I DON'T THINK IT WOULD.    AND I DON'T THINK THERE'S ANY

11:26AM    4     SERIOUS ARGUMENT THAT IT WOULD, BUT HIS INABILITY TO POINT TO

11:26AM    5     ANY CASE LAW THAT HELPS HIM ON THE APPLICATION OF THE --

11:26AM    6                THE OPERATOR:   THIS MEETING IS BEING RECORDED.

11:26AM    7                MR. WILLEN:   -- I THINK IS VERY TELLING.

11:26AM    8          SO WITH THAT I WILL TURN IT OVER TO MS. WHITE AND LET HER

11:26AM    9     TALK ABOUT THE LANHAM ACT AND ANYTHING ELSE THAT SHE WANTS TO

11:26AM   10     SAY IN RESPONSE TO WHAT WE HAVE HEARD.

11:26AM   11                THE COURT:    THANK YOU, MR. WILLEN.

11:26AM   12          MS. WHITE.

11:26AM   13                MS. WHITE:    THANK YOU.

11:26AM   14          I'LL BEGIN JUST BRIEFLY ON THE LANHAM ACT QUESTION.        AS

11:27AM   15     YOUR HONOR CORRECTLY RECOGNIZED, TO STATE A CLAIM UNDER THAT

11:27AM   16     STATUTE PLAINTIFFS HAVE TO ALLEGE THAT YOUTUBE MADE A FALSE OR

11:27AM   17     MISLEADING STATEMENT IN COMMERCIAL ADVERTISING, AND THEY

11:27AM   18     HAVEN'T DONE THAT.   THEY REFER TO STATEMENTS ABOUT WHAT

11:27AM   19     RESTRICTED MODE DOES AND WHAT RESTRICTED GUIDELINES ARE, BUT

11:27AM   20     THOSE STATEMENTS ARE WHAT THE NINTH CIRCUIT HELD WERE NOT

11:27AM   21     COMMERCIAL ADVERTISING IN PRAGER.

11:27AM   22          THEY ALSO SUGGEST THAT THE DESIGNATION OF SOME OF

11:27AM   23     PLAINTIFFS' VIDEOS, AND I'LL NOTE THAT I THINK ONLY FOUR OF THE

11:27AM   24     NAMED PLAINTIFFS SPECIFICALLY ALLEGE THAT ANY OF THEIR VIDEOS

11:27AM   25     HAVE BEEN MADE UNAVAILABLE IN UNRESTRICTED MODE, BUT WITH



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11:27AM    1     RESPECT TO THOSE, THEY ARGUE THAT THAT DESIGNATION SOMEHOW

11:27AM    2     BRANDS THEM IN A NEGATIVE LIGHT, BUT THE NINTH CIRCUIT

11:27AM    3     ADDRESSED THAT ARGUMENT DIRECTLY AS WELL AND HELD THAT THAT

11:27AM    4     DESIGNATION IS NOT MADE IN COMMERCIAL ADVERTISING PROMOTION AND

11:28AM    5     THAT'S ON PAGE 1,000 OF THE COURT'S OPINION.

11:28AM    6          FINALLY, ANY IMPLICIT STATEMENT ABOUT THE REASON FOR WHY

11:28AM    7     PLAINTIFFS' VIDEOS WERE MADE UNAVAILABLE IN RESTRICTED MODE,

11:28AM    8     ONE, THOSE REASONS WERE NOT MADE PUBLIC, AND, TWO, THOSE

11:28AM    9     REASONS WOULD BE A MATTER OF OPINION WHICH WOULD NOT BE

11:28AM   10     ACTIONABLE AS A FALSE STATEMENT, AND, AGAIN, NOT A STATEMENT

11:28AM   11     MADE IN FURTHERANCE OF COMMERCIAL ADVERTISING OR PROMOTION.

11:28AM   12          SO UNLESS YOUR HONOR HAS ANY FURTHER QUESTIONS ABOUT THE

11:28AM   13     LANHAM ACT, I'LL JUST CONCLUDE BY ADDRESSING THE QUESTIONS

11:28AM   14     ABOUT THE UNRAH ACT CLAIM.

11:28AM   15          AS MY COLLEAGUE EXPLAINED, WE DO THINK THERE'S NO REASON

11:28AM   16     WHY SECTION 230(C)(1) AND (C)(2)(B) SHOULD NOT APPLY WITH

11:28AM   17     RESPECT TO PLAINTIFFS' CLAIM UNDER THE UNRAH ACT BUT IN

11:29AM   18     ADDITION TO THAT THE PLAINTIFFS HAVE NOT COME CLOSE TO STATING

11:29AM   19     A CLAIM.

11:29AM   20          THE UNRAH ACT, WHEN PLED HERE AS SEPARATE FROM AN ADA

11:29AM   21     VIOLATION, IS AN INTENTIONAL DISCRIMINATION STATUTE.

11:29AM   22     CALIFORNIA COURTS HAVE CLEARLY HELD THAT FACIALLY NEUTRAL

11:29AM   23     POLICIES ARE NOT ACTIONABLE AND THAT ALLEGATIONS OF DISPARATE

11:29AM   24     IMPACT ARE NOT ENOUGH.

11:29AM   25                THE COURT:    OKAY.   SO LET'S PAUSE THERE.   THAT WAS



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11:29AM    1     THE ARGUMENT YOU MADE IN YOUR BRIEF.      THEIR ARGUMENT IS NOT

11:29AM    2     THERE'S A DISPARATE IMPACT, BUT THAT THERE'S AN ACTUAL POLICY

11:29AM    3     OF DISCRIMINATION AGAINST LGBT CONTENT CREATORS.

11:29AM    4          SO I KNOW YOU DON'T THINK THAT THAT'S ACTUALLY WHAT THEY

11:29AM    5     HAVE ALLEGED.    BUT IF THAT'S THE ALLEGATION, DO YOU ALSO HAVE A

11:29AM    6     12(B)(6) ARGUMENT AGAINST -- FOR THE FAILURE TO STATE A CLAIM

11:29AM    7     UNDER THE UNRAH ACT ISSUE?

11:29AM    8                  MS. WHITE:   IF THERE WERE AN ALLEGATION THAT THERE

11:29AM    9     WERE AN ACTUAL AFFIRMATIVE POLICY TO DISCRIMINATE THAT MAY

11:29AM   10     STATE A CLAIM FOR THE UNRAH ACT, BUT THERE'S NOTHING CLOSE TO

11:30AM   11     THAT HERE.    AND THERE'S A LOT OF RHETORIC.    THE COMPLAINT IS --

11:30AM   12                  THE COURT:   RIGHT.   WELL, HERE'S THE QUESTION THAT

11:30AM   13     NOBODY WAS TALKING ABOUT IN THEIR PAPERS, BUT I JUST WONDERED,

11:30AM   14     THE UNRAH ACT, YOU KNOW, IN THE ADA CONTEXT YOU HAVE TO HAVE A

11:30AM   15     PUBLIC ACCOMMODATION AND YOU WOULD HAVE TO HAVE A BUSINESS.

11:30AM   16          DOES THIS PLATFORM QUALIFY FOR -- IN THAT CONTEXT UNDER

11:30AM   17     THE LANGUAGE OF THE STATUTE?

11:30AM   18                  MS. WHITE:   SO THE UNRAH ACT APPLIES TO ALL BUSINESS

11:30AM   19     SERVICES AND THE CALIFORNIA COURTS HAVE HELD THAT THEY DIDN'T

11:30AM   20     APPLY TO WEBSITES.

11:30AM   21          I THINK THERE IS SOME AMBIGUITY IN PLAINTIFFS' CLAIMS

11:30AM   22     ABOUT EXACTLY WHAT -- WHO IS BEING DISCRIMINATED AGAINST AND ON

11:30AM   23     WHAT BASIS THAT THEY REFER TO MAINLY LGBTQ IDENTITIES.      THEY

11:30AM   24     ALSO REFER TO VIEWPOINTS.

11:30AM   25          I THINK WHILE THE UNRAH ACT IS INTENDED TO BE CONSTRUED



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11:31AM    1     BROADLY, THERE MAY BE SOME CATEGORIES OF PERSONS TO WHOM IT

11:31AM    2     WOULDN'T APPLY, BUT GIVEN THEIR FAILURE TO ALLEGE THAT THERE IS

11:31AM    3     IN FACT A POLICY OF DISCRIMINATION OR THAT THESE PLAINTIFFS

11:31AM    4     DISCRIMINATED AGAINST BASED ON THEIR SEXUAL IDENTITIES, THE

11:31AM    5     COURT DOESN'T NEED TO REACH THOSE QUESTIONS IN THIS CASE.

11:31AM    6                THE COURT:   ALL RIGHT.   THANK YOU.

11:31AM    7          MR. OBSTLER, I'LL GIVE YOU A VERY BRIEF RESPONSE.      I DON'T

11:31AM    8     WANT TO HEAR ANYTHING YOU HAVE TOLD ME BEFORE, BUT IF THERE'S A

11:31AM    9     VERY BRIEF RESPONSE YOU WOULD LIKE TO MAKE, I'LL LET YOU HAVE

11:31AM   10     THE LAST WORD.

11:31AM   11                MR. OBSTLER:    THANK YOU SO MUCH, YOUR HONOR.   AGAIN,

11:31AM   12     I REALLY APPRECIATE IT.    AND YOUR QUESTIONS ARE DEAD ON ON

11:31AM   13     THIS.

11:31AM   14          FIRST OF ALL, ON DENVER AREA, IT WAS A SIX TO THREE

11:31AM   15     DECISION ON THE 10(C) PART OF THE OPINION AND PLEASE READ THE

11:31AM   16     OPINION.

11:31AM   17                THE COURT:   I WILL MAKE SURE THAT I AM WELL VERSED

11:31AM   18     ON THE EXACT HOLDINGS OF --

11:31AM   19                THE OPERATOR:   THE RECORDING HAS STOPPED.

11:32AM   20                MR. OBSTLER:    ON THE UNRAH ACT ISSUE --

11:32AM   21                THE OPERATOR:   THIS MEETING IS BEING RECORDED.

11:32AM   22                MR. OBSTLER:    ON THE UNRAH ACT ISSUE, THE THING THAT

11:32AM   23     REALLY BOTHERS ME HERE IS THAT I FEEL LIKE I'M ARGUING A

11:32AM   24     FACTUAL ISSUE ON A 12(B)(6) MOTION.

11:32AM   25          WE HAVE ALLEGED THAT WE HAD A CLIENT WHO, OR WE WILL



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11:32AM    1     ALLEGE IF YOU TAKE THE DECLARATION, WHO WENT TO A MEETING ON

11:32AM    2     2017 AND WAS TOLD TO HER FACE FOUR TIMES THAT THE ALGORITHM

11:32AM    3     IS --

11:32AM    4                  THE COURT:   YOU KNOW, I WILL READ -- I WILL MAKE

11:32AM    5     SURE THAT I LOOK AT ALL OF THE MANY, MANY ALLEGATIONS IN YOUR

11:32AM    6     COMPLAINT.    SO I DON'T NEED YOU TO ARGUE AGAIN ABOUT WHETHER

11:32AM    7     THERE IS A POLICY OF DISCRIMINATION ALLEGED OR NOT.

11:32AM    8          I THINK I AM -- I HAVE THE COMPLAINT, AND I'M GOING TO

11:32AM    9     RELY ON THE COMPLAINT.      THE PARTIES BRIEFED THAT ISSUE

11:32AM   10     EXTENSIVELY.

11:32AM   11          I'M REALLY TRYING TO SORT OUT THE LEGAL ISSUES HERE.

11:32AM   12          SO IS THERE SOMETHING FURTHER ON WHAT THE UNRAH ACT

11:33AM   13     REQUIRES OR NOT, THAT IS WHAT I'M LOOKING FOR.      IF THERE'S

11:33AM   14     NOTHING ELSE, YOU DON'T HAVE TO HAVE ANYTHING.

11:33AM   15                  MR. OBSTLER:   THERE IS ONE OTHER THING.

11:33AM   16                  THE COURT:   OKAY.

11:33AM   17                  MR. OBSTLER:   YOU DON'T HAVE TO PLEAD THERE'S A

11:33AM   18     POLICY UNDER THE UNRAH ACT.       ALL I HAVE TO SHOW UNDER THE

11:33AM   19     UNRAH ACT IS THAT THERE WAS AN ACT OF DISCRIMINATION, AND I

11:33AM   20     THINK WE HAVE DONE THAT.     THAT WOULD BE MY LAST POINT.

11:33AM   21          THERE DOESN'T HAVE TO BE A WRITTEN POLICY UNDER THE

11:33AM   22     UNRAH ACT.    I DON'T THINK ANYBODY WOULD HAVE SUCH A POLICY.

11:33AM   23     OKAY.

11:33AM   24                  THE COURT:   ALL RIGHT.   THANK YOU ALL VERY MUCH.   I

11:33AM   25     APPRECIATE ALL OF THE PRESENTATIONS AND THE EXTENSIVE BRIEFING.



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11:33AM    1          AND I APPRECIATE YOU BEARING WITH OUR VERY FIRST ZOOM

11:33AM    2     WEBINAR.     I WILL TAKE THIS MATTER UNDER SUBMISSION, AND I'LL

11:33AM    3     ISSUE A WRITTEN ORDER.      ALL RIGHT.   THANK YOU VERY MUCH.

11:33AM    4                  MR. WILLEN:    THANK YOU, YOUR HONOR.

11:33AM    5                  MR. OBSTLER:   THANK YOU, YOUR HONOR.   WE APPRECIATE

11:33AM    6     YOUR TIME.

11:33AM    7          (ZOOM COURT CONCLUDED AT 11:33 A.M.

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 1

 2

 3                          CERTIFICATE OF REPORTER

 4

 5

 6

 7          I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8     STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9     280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10     CERTIFY:

11          THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12     A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13     ABOVE-ENTITLED MATTER.

14

15
                                ______________________________
16                              IRENE RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
17

18
                                DATED:   JUNE 4, 2020
19

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